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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA

ALEX EMRIC JONES:                        :
TIMOTHY D. ENLOW;                        :
                                         :
               Plaintiffs,               :       Dkt. No.: 1:21-cv-03316-CRC
                                         :
v.                                       :
                                         :
SELECT COMMITTEE TO                      :
INVESTIGATE THE JANUARY 6                :
ATTACK ON THE UNITED STATES              :
CAPITOL;                                 :
                                         :       :
NANCY PELOSI, in her official            :
capacity as Speaker of the U.S.          :
House of Representatives;                :
                                         :
BENNIE G. THOMPSON, in his official :
capacity as Chair of the Select          :
Committee To Investigate the January :
6th attack on the United States Capitol; :
                                         :
ELIZABETH L. CHENEY, in her official :
Capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
ADAM B. SCHIFF, in his official          :
Capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
JAMES B. RASKIN, in his official         :
Capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
SUSAN E. LOFGREN, in her official        :
capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
ELAINE G. LURIA, in her official         :
capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
PETER B. AGUILAR, in his official        :
capacity as a member of the U.S.         :



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House of Representatives;                   :


STEPHANIE MURPHY, in her official           :
Capacity as a member of the U.S.            :
House of Representatives;                   :
                                            :
ADAM D. KINZINGER, in his official          :
capacity as a member of the U.S.            :
House of Representatives;                   :
                                            :
               Defendants.                  :       FEBRUARY 15, 2022


                           PROPOSED AMENDED COMPLAINT

          1.   This is an action to protect individual liberties and rights as old as the United

States Constitution itself, rights that the United States Congress now seeks to suspend

in coercive secret proceedings specifically designed to satiate a political witch hunt,

bypass constitutional safeguards, and hijack the role of the Executive Branch while

threatening criminal prosecution against anyone who dares to assert his rights and

liberties against its demands. Alex Jones and Tim Enlow seek declaratory and injunctive

relief.

                                          PARTIES

          2.   The Plaintiff, Alex Jones, is a controversial American journalist, political

commentator, activist, and businessman. He hosts a worldwide radio and television show

– The Alex Jones Show – and operates a media brand, Infowars, and a media company,

Free Speech Systems, LLC.

          3.   The Plaintiff, Timothy D. Enlow, has been employed by Free Speech

Systems, LLC since December 2018 as a security operations manager. In his role as




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security operations manager, he is regularly privy to journalistic communications involving

Jones and other journalists.

       4.      The Defendant – the Select Committee to Investigate the January 6th Attack

on the United States Capitol – is a congressional committee ostensibly organized and

operating under cloak of the Rules of the United States House of Representatives.

       5.      Defendant Nancy Pelosi (“Speaker Pelosi”) is a Democrat member of the

United States House of Representatives and its current speaker. She is sued in her official

capacity only.

       6.        Defendant Bennie G. Thompson (“Chairman Thompson”) is a Democrat

member of the United States House of Representatives and the Chairman of the Select

Committee to Investigate the January 6th Attack on the United States Capitol. He is sued

in his official capacity only.

       7.      Defendant Elizabeth L. Cheney is purportedly a Republican member of the

United States House of Representatives and a member of the Select Committee to

Investigate the January 6th Attack on the United States Capitol. She is sued in her official

capacity only.

       8.      Defendant Adam B. Schiff is a Democrat member of the United States

House of Representatives and a member of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. He is sued in his official capacity only.

       9.      Defendant James B. Raskin is a Democrat member of the United States

House of Representatives and a member of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. He is sued in his official capacity only.




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       10.    Defendant Susan E. Lofgren is a Democrat member of the United States

House of Representatives and a member of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. She is sued in her official capacity only.

       11.    Defendant Elaine G. Luria is a Democrat member of the United States

House of Representatives and a member of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. She is sued in her official capacity only.

       12.    Defendant Peter R. Aguilar is a Democrat member of the United States

House of Representatives and a member of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. He is sued in his official capacity only.

       13.    Defendant Stephanie Murphy is a Democrat member of the United States

House of Representatives and a member of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. She is sued in her official capacity only.

       14.    Defendant Adam D. Kinzinger is purportedly a Republican member of the

United States House of Representatives and a member of the Select Committee to

Investigate the January 6th Attack on the United States Capitol. He is sued in his official

capacity only.

                                     JURISDICTION

       15.    This Court has jurisdiction under 28 U.S.C. §§ 1331 and 2201 as well as

the principles established in Bivens v. Six Unknown Named Agents of Federal Bureau of

Narcotics, 403 U.S. 388 (1971). Venue is proper under 28 U.S.C. § 1391.




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                                FACTUAL ALLEGATIONS

                                      Background.

       16.    On November 3, 2020, the United States held a general election, and

Democrat Joseph R. Biden, Jr., was declared the winner of the presidential race.

       17.    In the aftermath of Election Day, President Donald J. Trump, his campaign,

and prominent national political commentators raised questions about electoral

misconduct including voter fraud, claimed irregularities with voting machines, and alleged

mishandling of mail-in ballots – questions all fairly prompted by the first mass mail-in

voting presidential election.

       18.    Under the requirements of the United States Constitution, both houses of

the United States Congress scheduled themselves to convene in a joint session on

January 6, 2021 to receive and certify the votes of the Electoral College.

       19.    President Trump and his supporters protested that the election had been

stolen, and various supporters of President Trump began to organize protests in

Washington D.C. opposing the certification of the Electoral College votes and voicing

displeasure with President Biden, the Democrat Party, its leadership, and their policy

proposals.

       20.    In a well-known episode on January 6, 2021, a large group of protestors in

Washington, D.C. entered the United States Capitol, breached security, and disrupted the

counting of the Electoral College votes until order was restored. The United States

Department of Justice has arrested and charged more than 500 individuals in connection

with the activities on January 6, 2021 including an employee of Plaintiff Jones’ company

– Owen Shroyer.




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                           Formation of The Select Committee.

      21.    In the aftermath of Congress’ second failed attempt to impeach President

Trump and after he left office, the House of Representatives explored mechanisms for

investigating the January 6 protests.

      22.    On June 30, 2021, the House approved H. Res. 503 – a resolution

introduced by Speaker Pelosi – on a partisan vote of 222 yeas and 190 nays. Only two

Republicans, Defendant Cheney and Defendant Kinzinger, voted in favor of it.

      23.    H.R. 503 established the following purposes for the Committee:

             a. “To investigate and report upon the facts, circumstances, and causes

                 relating to the January 6, 2021, domestic terrorist attack upon the United

                 States Capitol Complex (hereafter referred to as the “domestic terrorist

                 attack on the Capitol”) and relating to the interference with the peaceful

                 transfer of power, including facts and causes relating to the

                 preparedness and response of the United States Capitol Police and

                 other Federal, State, and local law enforcement agencies in the National

                 Capital Region and other instrumentalities of government, as well as the

                 influencing factors that fomented such an attack on American

                 representative democracy while engaged in a constitutional process.

             b. “To examine and evaluate evidence developed by relevant Federal,

                 State, and local governmental agencies regarding the facts and

                 circumstances surrounding the domestic terrorist attack on the Capitol

                 and targeted violence and domestic terrorism relevant to such terrorist

                 attack.




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              c. “To build upon the investigations of other entities and avoid unnecessary

                 duplication of efforts by reviewing the investigations, findings,

                 conclusions, and recommendations of other executive branch,

                 congressional, or independent bipartisan or nonpartisan commission

                 investigations into the domestic terrorist attack on the Capitol, including

                 investigations into influencing factors related to such attack.”

       24.    Among other things, the Select Committee has been tasked with

investigating “the facts, circumstances, and causes relating to the domestic terrorist

attack on the Capitol, including facts and circumstances relating to… influencing factors

that contributed to the domestic terrorist attack on the Capitol and how technology,

including online platforms, financing, and malign foreign influence operations and

campaigns may have factored into the motivation, organization, and execution of the

domestic terrorist attack on the Capitol, and other entities of the public and private sector

as determined relevant by the Select Committee for such investigation.”

       25.    The Select Committee is also tasked with issuing a final report to the House

containing its findings, conclusions, and recommendations for corrective measures to

prevent future incidents similar to January 6, 2021. It, however, is forbidden to hold

markups of legislation – the usual process by which legislation is developed in the House

of Representatives.

     Selection of the Select Committee’s Membership & Purported Leadership
                                    Formation

       26.    H. Res. 503 requires Speaker Pelosi to appoint 13 members to the Select

Committee and to consult with the minority leader about 5 of the 13 appointments. It also

requires her to designate one Member to serve as chair of the Select Committee.



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       27.    As of this date, Speaker Pelosi has only appointed 9 members to the Select

Committee. The Democrat members of the Select Committee are Rep. Susan Lofgren of

California, Rep. Elaine Luria of Virginia, Rep. Adam Schiff of California, Rep. Peter Aguilar

of California, Rep. Stephanie Murphy of Florida, and Rep. James Raskin of Maryland.

The Republican members of the Select Committee are Rep. Elizabeth Cheney of

Wyoming and Rep. Adam Kinzinger of Illinois. Speaker Pelosi has not made any efforts

to comply with her obligation to appoint the remaining four members of the Select

Committee.

       28.    Speaker Pelosi designated Chairman Thompson to serve as the Chair of

the Select Committee.

       29.    Speaker Pelosi’s actions both flout the requirements of H. Res. 503 and

longstanding House practices. House Minority Leader Kevin McCarthy recommended five

Republican members to serve on the Select Committee as H. Res. 503: Rep. Jim Banks

of Indiana, Rep. Rodney Davis of Illinois, Rep. Jim Jordan of Ohio, Rep. Kelly Armstrong

of North Dakota, and Rep. Troy Nehls of Texas. He designated Rep. Banks as the

Republican’s Party’s ranking minority member.

       30.    Speaker     Pelosi   did   not       appoint   any   of   Leader   McCarthy’s

recommendations. In a public statement on July 21, 2021, she stated that objections had

been raised about Representatives Banks and Jordan and the fact that their presence on

the Select Committee may impact the “integrity of the investigation.” Instead, she

indicated a willingness to appoint Representatives Davis, Armstrong, and Nehls, and she




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asked him to recommend two additional members. She characterized her decision as

“unprecedented.” 1

        31.   Despite her public statement, Speaker Pelosi has never appointed

Representatives Davis, Armstrong, and Nehls to the Select Committee. Instead, she

unilaterally appointed Representatives Cheney and Kinzinger over Leader McCarthy’s

objections – something that H. Res. 503 never contemplated and that she herself has

acknowledged is unprecedented.

        32.   On September 2, 2021, Chairman Thompson announced that he appointed

Defendant Cheney to serve as the Vice Chair of the Select Committee despite being

unable to point to any authority that empowered him to do so. 2

     Activities Of The Select Committee & Its Systematic Violation of House Rules

        33.   Since its formation, the Select Committee has issued numerous subpoenas

to compel deposition testimony and document production. These actions have

systematically violated H. Res. 503 and the House of Representatives Rules.

        34.   H. Res. 503, § 503 requires the Select Committee chair to confer with the

ranking minority members prior to ordering the taking of depositions pursuant to a

subpoena in a manner consistent with H. Res. 8, § 3(b)(1) of the 117th Congress, which

establishes rules for the use of deposition authority. Those rules require the ranking

minority to receive three days’ notice before a deposition is taken as well as permit

counsel designated by the ranking minority member to question the witness. See Exhibit

A.



1 https://www.speaker.gov/newsroom/72121-2
2 https://january6th.house.gov/news/press-releases/chairman-thompson-announces-
representative-cheney-select-committee-vice-chair

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      35.    The Select Committee has never had a ranking minority member. Each of

the two political parties in Congress have rules and procedures governing how their

ranking minority members are designated. For the Republican Party, those rules establish

crystal clear procedures for appointing ranking members. 3 Rule 14(a) of the Republican

Conference Rules of the 117th Congress provides that the Republican Steering

Committee must nominate ranking members who then must been approved by the full

Republican House Conference. See Exhibit B.

      36.    By rule and the customs, traditions, and precedents of the House, each

party retains the right, in line with its own internal processes, to designate committee

chairs and ranking members, and the other party cannot usurp that authority.

      37.    The House Republican Steering Committee has never voted to appoint

Defendant Cheney or Defendant Kinzinger to the position of minority ranking member on

the Select Committee, and the House Republican Conference has never voted to approve

such an appointment.

      38.    Chairman Thompson has sought to circumvent House rules, customs,

precedents, and traditions by appointing Defendant Cheney as Vice-Chair of the Select

Committee despite having no authority to do so.

      39.    A question exists as to whether Defendant Cheney is still a member of the

Republican Party. The Wyoming Republican Party has expelled her as a member, and

Chairman Thompson’s act of appointing her to the position of Vice Chair confirms under




3 Rule 2(d)(2) of the Republican Conference Rules of the 117th Congress establishes
the same rules for the appointment of the ranking Republican minority members as it
does for committee chairs.

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House Rules that she is a member of the Democrat party because House Rule XI(2)(d)

states that vice chairs are to be members of the majority party. See Exhibit C.

       40.     The lack of a minority ranking member on the Select Committee since its

existence renders it impossible for Chairman Thompson to confer with the minority

ranking member before issuing deposition subpoenas, thus violating H. Res. 503 and

house rules for the taking of depositions.

       41.     Every deposition subpoena that Chairman Thompson has issued pursuant

to H. Res. 503 is null and void because he has not conferred with a ranking minority

member.

  The Select Committee Seeks To Uncover Information To Criminally Prosecute
                           United States Citizens

       42.     The Select Committee has no intention of preparing reports for the purposes

of future legislation, nor does it have any authority to propose and report legislation to the

full House of Representatives.

       43.     The Select Committee and its members consider themselves and most of

the other members of Congress victims of domestic terrorism. They also consider a small

minority of Congressmen and Senators as well as Donald Trump to be domestic terrorists.

       44.     The Select Committee and its members purport to be investigating “a

domestic terrorist attack,” and Select Committee members have littered the public record

with comments indicating that they are primarily working to expose matters for the mere

sake of exposing them and to secure individual determinations of guilt or innocence – an

activity squarely within the providence of the Article II executive and the Article III judiciary:

               a. In a series of public statements since the Select Committee’s inception,

                  Chairman Thompson and Defendant Cheney have articulated three



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                  purposes of its work: (1) to ensure “those responsible are held

                  accountable,” (2) to “tell[] the complete story of the unprecedented and

                  extraordinary events of January 6th,” and (3) to “get answers for the

                  American people about what happened on January 6th.” The Law

                  Enforcement Experience on January 6th: Hearing Before the H. Select

                  Committee to Investigate the January 6th Attack on the United States

                  Capitol, 117th Cong. (2021) (Statement of Elizabeth Cheney,

                  ViceChair); Press Release, Thompson & Cheney Statement on

                  Pentagon Officials’ Reported Actions After January 6th (Sept. 16, 2021);

                  Press Release, Thompson Statement on Cooperation of Witnesses

                  (Oct. 14, 2021).

               b. On November 10, 2021, Chairman Thompson made the following public

                  comments about Select Committee efforts to obtain documents from

                  President Trump’s administration: “If we have access to the records,

                  they’ll speak for themselves. So we look forward, as a committee, to

                  getting it. And we’ll let the evidence based on what we look at determine

                  guilt or innocence.”4

               c. On December 1, 2021, Chairman Thompson made the following

                  comments about witnesses subpoenaed by the Select Committee

                  asserting their Fifth Amendment right to remain silent: “But you know, if

                  you say you haven’t done anything wrong, but on the other hand, you

                  want to assert the Fifth Amendment in terms of self-prosecution, it says



4   https://www.yahoo.com/now/judge-denies-trump-effort-shield-023557589.html

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                    that you have something to hide. So we’re going to give him an

                    opportunity to do it. He can do it and it will be under oath and he is still

                    subject to certain penalties should he decide to not tell us anything. If he

                    is saying ‘I’ll come but I’ll plead the Fifth,’ in some instances that says

                    you are part and parcel guilty to what occurred.” 5

       45.    On December 13, 2021, Defendant Cheney publicly articulated the main

focus of the Select Committee’s “investigation” in the Select Committee’s hearing on

whether to hold former White House Chief of Staff Mark Meadows in contempt after he

asserted various privileges that the Select Committee rejected: “Mr. Meadows’ testimony

will bear on a key question in front of this committee: Did Donald Trump, through action

or inaction, corruptly seek to obstruct or impede Congress’ official proceeding to count

electoral votes?”

       46.    Defendant Cheney’s statement practically quotes from 18 U.S.C. § 1505,

Clause 2, which criminalizes corrupt obstruction of Congress by force under the penalty

of fines and, in the case of claimed domestic terrorism, up to 8 years of incarceration.

       47.    On December 14, 2021, the House held Meadows in contempt for asserting

legal claims of privilege.

       48.    The Select Committee has not focused on President Trump alone. They

have targeted other protestors for similar investigation and criminal referrals under 18

U.S.C. § 1505.




5

https://www.realclearpolitics.com/video/2021/12/02/january_6_committee_chairman_be
nnie_thompson_if_you_plead_the_fifth_youre_part_and_parcel_guilty.html

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             A Continuation Of Impeachment & A Well-Rehearsed Playbook

       49.     Since the House first impeached Donald Trump in December 2019 and

failed in February 2020, House Democrats have repeatedly cast themselves as victims in

a tragedy.

       50.     As Defendant Schiff documents, they began to plan their revenge on Donald

Trump and his political allies while still huddled in a Congressional safe room on January

6, 2021. See Adam B. Schiff, Midnight in Washington, p. 11 (2021). In doing so, they

clearly contemplated criminal charges against Donald Trump and his allies regardless of

whether they had a basis for them

       51.     As the lead impeachment manager in Trump’s first impeachment trial,

Defendant Schiff completed a playbook on how to conduct Congressional prosecutions

that he had been writing for decades.

       52.     Schiff’s playbook emphasizes a draconian use of Congress’s coercive

powers to bypass assertions of constitutional rights. The key features of it are:

               a. Refuse to resolve assertions of privilege in court. Adam B. Schiff,

                  Midnight in Washington, p. 230 (2021).

               b. Create public crimes of obstruction for assertions of constitutional and

                  common law privileges. Id. at p. 230.

               c. Attach a presumption of guilt to assertions of constitutional and common

                  law privileges. Id. at p. 230.

               d. Demand information about virtually every part of a witness’s life,

                  including information that is constitutionally protected.

       53.     Schiff’s playbook also includes old-fashioned machinations as well, such

as:


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              a. Issue last minute subpoenas to closed-door proceedings.

              b. Force witnesses to testify in depositions without being fully prepared with

                 the intention of creating perjury traps.

              c. Leak selectively from closed door proceedings or quote selectively from

                 evidence gathered so as to create public clamor for criminal or political

                 prosecutions and destroy hostile witnesses’ reputations.

       54.    The Select Committee has adopted all of these tactics in its treatment of

private citizens with the express goal of teeing them up for criminal prosecution.

                      The Select Committee Targets Alex Jones.

       55.    On November 22, 2021, Chairman Thompson issued a subpoena to Alex

Jones ordering to produce documents to the Select Committee by December 6, 2021 and

to testify at a deposition before the Select Committee on December 18, 2021. See Exhibit

D. At the request of Jones’ counsel, these initial dates have been postponed.

       56.    As the factual basis for its subpoena, it cites statements made by Jones

indicating that he assisted in organizing the January 6, 2021 protest held at the Ellipse in

Washington, D.C., that President Trump’s campaign asked him to led a march to a

permitted protest area at the United States Capitol to hear President Trump speak, that

he had assisted in securing funding for various permitted protests throughout

Washington, D.C., and that the January 6th protests would be “wild.” It also cites

recordings in which Jones encouraged people at the Capitol to remain peaceful, act

lawfully, and gather to hear President Trump’s second speech.

       57.    The Select Committee has requested countless documents that Jones

possesses for various subjects including about his participation in legally permitted




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protests in Washington, D.C., financial transactions pertaining to those protests, and

documents sufficient to determine how he promoted the protests. See Exhibit D.

       58.    Through counsel, Jones has raised a number of constitutional objections to

both the deposition subpoena and the document subpoena. However, Jones has offered

to submit documents and answer written questions with written responses. The Select

Committee has refused to accept that offer and insists that he appear in person for a

deposition in Washington, D.C. on January 10, 2022. Jones has notified the Select

Committee that he intends to plead his right to remain silent under the Fifth Amendment.

The Select Committee has suggested that it may turn to the courts to seek a grant of

immunity for Jones and other witnesses.

       59.    Jones further informed the Select Committee that he will raise First

Amendment objections as appropriate when the Select Committee seeks to inquire as to

journalistic activities as well as protected speech and political activity. Jones will also

assert his Fifth Amendment rights to due process.

       60.    With respect to his deposition subpoena, Jones has informed the Select

Committee that he will assert his First, Fourth, and Fifth Amendment rights to decline to

produce the documents requested by the Select Committee, asserting that he engaged

in constitutionally protected political and journalistic activity under the First Amendment,

that the Fourth Amendment guarantees him a right of privacy in his papers, and that he

is entitled to due process and the right to remain silent under the Fifth Amendment.

       61.    Counsel for the Select Committee has disputed Jones’ assertion of these

rights and whether Jones has any grounds for asserting any of these rights before the

Select Committee on any questions whatsoever.




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         62.   On November 24, 2021, the Select Committee also issued a subpoena to

AT&T for comprehensive information pertaining to Jones’ telecommunications from

November 1, 2020 to January 31, 2021 – the full copy of which Jones is unable to locate.

See Exhibit E. Upon information and belief, the Select Committee has requested virtually

every phone call and text that Jones made for the requested time period and data

associated with those phone calls and texts.

         63.   Jones has good and substantial reason to fear that the Select Committee

may cite him for contempt of Congress if he refuses to answer its questions on grounds

of constitutional privilege or produce documents on the basis of his constitutional privacy

interests.

         64.   After extensive discussions between Jones’ counsel and counsel for the

Select Committee, the Select Committee offered Jones the opportunity to speak to its

investigators informally about certain limited topics. Jones seriously considered this offer,

but he ultimately rejected it for the following reasons:

               a. The Select Committee has not treated others that it has offered the same

                  deal to fairly and with respect.

               b. The Select Committee’s members have made it abundantly clear that

                  they are only interested in prosecuting political adversaries.

         65.   Jones ultimately appeared before the Select Committee’s lawyers in a

deposition, and he asserted his Fifth Amendment right to remain silent more than 100

times.




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    The Select Committee Turns Its Attention To Tim Enlow To Obtain Jones’
                              Communications

       66.    Jones’ filing of this action on December 20, 2021 halted the Defendants’

attempts to obtain his communications from AT&T.

       67.    On February 1, 2022, the Defendants issued a subpoena to AT&T

commanding it to provide Tim Enlow’s communications

       68.    AT&T notified Enlow of the subpoena on February 9, 2022, and it informed

him that it would comply on February 23, 2022 if he did not provide it notice of a legal

filing contesting the subpoena by February 22, 2022. Exhibit F.

       69.    As reported by the New York Times and confirmed by the Defendants’ staff

who spoke anonymously to the New York Times, the Defendants’ subpoena of Enlow’s

communications is a backdoor attempt to obtain Jones’s communications while his

constitutional privacy claims are being litigated. Exhibit G. The Defendants’ staff

confirmed that they were using link analysis – a technique used to hunt down terrorists –

to trace connections with targets of the Defendants’ investigations. Id. They further

confirmed that the Defendants are employing a strategy of targetting employees of

investigational targets who are less capable of defending themselves against the

Defendants’ subpoenas from a financial perspective and would yield the information that

they could not obtain otherwise. Id.

       70.    The Defendants have targetted Enlow regardless of his constitutional

privacy interests to obtain Jones’ communications.

       71.    Enlow additionally anticipates that the Defendants will issue him additional

subpoenas for documents and deposition testimony in accordance with this strategy in

the near future.



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         The Consequences of the House Holding Jones In Criminal Contempt.

         72.   Under 2 U.S.C. § 192, a person who willfully fails to comply with a

Congressional subpoena or refuses to answer questions faces the possibility of a

misdemeanor conviction carrying a mandatory minimum of one month’s incarceration

and a maximum of 12 months’ incarceration. People can also be fined up to $1,000.

         73.   Both Houses of Congress have also exercised historically inherent

contempt power to unilaterally arrest and imprison an individual found to be obstructing

Congress’ performance of its duties. Jurney v. MacCracken, 294 U.S. 125 (1935).

         74.   Thus, Jones and Enlow stand in an unconscionable position. If they

exercise their constitutional rights, they could be criminally charged and imprisoned

before this Court for merely claiming their rights without receiving a determination as to

the extent to which they may properly exercise them. Likewise, the House itself may

choose to try them and imprison them for asserting their constitutional rights without ever

affording them an independent and fair tribunal or an opportunity to obtain a judicial

determination as to the assertion of their rights.

  COUNT ONE – VIOLATION OF ARTICLE I, §§ 1, 8 OF THE U.S. CONSTITUTION

         75.   Paragraphs 1 through 74 are incorporated herein.

         76.   Authorized congressional committees have implied subpoena authority

under Article I, §§ 1 and 8 of the Constitution. McGrain v. Daugherty, 273 U.S. 135 (1927).

         77.   Article III courts have jurisdiction over congressional actions that fail to

observe its own rules. See Yellin v. United States, 374 U.S. 109, 114 (1963) (compiling

cases). This jurisdiction takes on a special consideration when a person’s rights are at

stake.




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       78.    As pled previously, Speaker Pelosi has continuously failed to comply H.

Res. 503 in assembling the Select Committee and, to this day, has not cured her failures.

Her failures include:

              a. Failing to appoint the requisite number of members (13) as mandated

                 by H. Res. 503;

              b. Failing to appoint the proper apportionment of members (8 Democrats

                 and 5 Republicans) as mandated by H. Res. 503;

              c. Purporting to appoint Defendant Cheney and Defendant Kinzinger as

                 Republican members of the Select Committee over the House

                 Republican Conference’s objection and despite the fact that Defendant

                 Cheney has been expelled from the Wyoming Republican Party;

              d. Failing to appoint Reps. Davis, Armstrong, and Nehls to the Select

                 Committee despite her promise to do so and House Minority Leader

                 Kevin McCarthy’s recommendation that she do so.

              e. Declining to appoint Reps. Banks and Jordan to the Select Committee

                 in violation of longstanding House traditions, precedents, rules, and

                 customs despite House Minority Leader Kevin McCarthy’s designation

                 of Rep. Banks as the ranking minority member; and

              f. Failing to confer with House Minority Leader Kevin McCarthy on the

                 appointment of Republican members of the Committee.

       79.    As pled previously, Chairman Thompson and the Select Committee have

continuously and repeatedly violated H. Res. 503 and other House rules by:




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                a. Operating without the appointment of all 13 members of the Committee

                   as required by H. Res. 503;

                b. Purporting to appoint Defendant Cheney as Vice Chair of the Select

                   Committee to circumvent the House rules regarding the minority ranking

                   member;

                c. Issuing subpoenas, including to Alex Jones, without consulting with a

                   minority ranking member as required by H. Res. 503 and House rules.

       80.      The Defendants have issued subpoenas to Alex Jones and AT&T without

complying with H. Res. 503 and House Rules under the form of a committee, which has

not been constituted according to its authorizing resolution.

       81.      The Defendants now threaten to hold Alex Jones in criminal contempt of

Congress for asserting his constitutional rights and legal objections to being compelled

to answer to an unlawfully constituted Congressional committee that has violated House

Rules.

       82.      The Defendants’ conduct violates Article I, §§ 1, 8 of the United States

Constitution.

 COUNT TWO – VIOLATION OF THE SEPARATION OF POWERS CONTAINED IN
                      THE U.S. CONSTITUTION

       83.      Paragraphs 1 through 82 are incorporated herein.

       84.      The United States Constitution divides the powers of government into three

branches of government: the legislature, the executive, and the judiciary.

       85.      Congress does not have freewheeling power to investigate just for the sake

of investigating or for purposes that belong exclusively to the executive branch. Instead,

its investigative powers are inseparable from its legislative authority. Trump v. Mazars



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USA, LLP, 140 S.Ct. 2019 (2020). Thus, every subpoena that Congress or its committees

issue must serve a valid legislative purpose.

       86.    Determining if someone committed a crime and punishing what Congress

perceives is a crime is not a valid legislative action. Instead, the law calls such activity a

criminal prosecution and exclusively reserves that power to the Executive branch.

       87.    Likewise, Congress cannot merely investigate a matter simply because it

desires to expose the facts for the sake of exposure. Watkins v. United States, 354 U.S.

178, 200 (1957). In other words, everyone has natural curiosity, but Congress cannot

satiate its members’ curiosity and political desires simply by exposing information without

looking to legislate.

       88.    Additionally, even if Congress conducts an investigation to seek relevant

information to legislate, it must still tailor a specific subpoena to serve a valid purpose.

Trump v. Mazars USA, LLP, 140 S.Ct. 2019, 2031 (2020). A subpoena may still be invalid

if the contemplated legislation would be unconstitutional. McGrain v. Daugherty, 273 u.S.

135, 171 (1927).

       89.    As pled above, the Defendants have repeatedly stated that their goal is to

hold individuals accountable for the events of January 6, 2021, and they have made

constitutionally baseless declarations of guilt and innocence simply because some targets

of subpoenas have chosen to assert legal privileges and rights not to produce documents

or testify. In other words, the Defendants have transformed themselves in a law

enforcement tool with free license to circumvent the Bill of Rights.

       90.    The Select Committee has not identified any legislative purpose served by

the Jones subpoena or the AT&T subpoenas. It has not considered any draft legislation,




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nor does H. Res. 503 permit it to engage in such a process. It has also not provided any

explanation for why its requests to Jones or AT&T would further any valid legislative end.

       91.    H. Res. 503 has also presupposed that a crime has taken place, terming

the events of January 6, 2021 a “domestic terrorist attack.” The Select Committee now

seeks to investigate it, not to draft new legislation, but to find out “who done it” and ensure

that they are punished. That task is strictly the responsibility of the Executive Branch.

       92.    None of the information sought by the Jones subpoena or the AT&T

subpoenas will even remotely inform a valid legislative purpose. Jones’ and Enlow’s

activities pertaining to January 6, 2021 are protected by the First Amendment, which also

provides a corresponding right to privacy in their activities to coordinate peaceful and

lawful protests.

       93.    Nothing that Jones, Enlow, or AT&T can possibly provide the Select

Committee will have any bearing on any contemplated constitutional legislation, and it is

only relevant to the Defendants’ witch-hunt against political opponents and putative

prosecutions under 18 U.S.C. § 1505 and other criminal statutes.

             COUNT THREE – VIOLATION OF THE FIRST AMENDMENT

       94.    Paragraphs 1 through 93 are incorporated herein.

       95.    The documents that the Defendants seek from Jones through the Jones

subpoena fall into six broad categories and cover the time period December 19, 2020 to

January 21, 2021:

              a. First, they request all documents pertaining to political protests and

                   demonstrations that Jones attended in the days preceding and after

                   January 6, 2021.




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            b. Second, they ask Jones to identify all communication methods that he

                used that are related to the political protests and demonstrations that

                they have requested him to produce documents on.

            c. Third, they have asked Jones to disclose all financial accounts

                pertaining to financial transactions, donations, speaking fees, and other

                fees that Jones received in connection with the political protests and

                demonstrations in the days preceding and after January 6, 2021. This

                includes the financial accounts for his business.

            d. Fourth, they have asked Jones to produce all documentation regarding

                his trips to Washington D.C. on or about January 5-6, 2021, including

                his hotel accommodations and security.

            e. Fifth, they have asked Jones to produce any documents that he has

                about fundraising for any of the protests and political demonstrations

                that he attend in the days preceding and after January 6, 2021.

            f. Sixth, they have identified a list of individuals, including President

                Trump, and asked Jones to produce any documents including

                communications that he has had with them about the events

                immediately preceding the protests in Washington D.C. against the

                certification of the election.

      96.   In the AT&T subpoena for Jones’ communications, the Defendants also

seek every phone call, text, voicemail, and other telecommunication that Jones made

between November 1, 2020 and January 31, 2021 as well as all telecommunications data

associated with those communications.




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       97.    Upon information and belief, in the AT&T subpoena for Enlow’s

communications, the Defendants have sought the same scope of phone calls, texts,

voicemails, and other telecommunication that Enlow made between November 1, 2020

and January 31, 2021 as well as all telecommunications data associated with those

communications.

       98.    Each of the categories of documents, telecommunications, and data

requested by the Select Committee in its subpoena concern associational and expressive

activities protected by the First Amendment, including the right to free speech, the right

to petition the government for redress of grievances, and associational freedom. See

Buckley v. Valeo, 424 U.S. 1, 64-66 (1976). Closely correlating to these expressive rights

is the First Amendment right to privacy in group advocacy. NAACP v. Alabama, 357 U.S.

449 (1958).

       99.    Both the Jones subpoena and the AT&T subpoenas violate both Jones’ and

Enlow’s expressive and associational rights under the First Amendment as well as their

rights to privacy and group advocacy. The Defendants have no legitimate purpose for

probing what they have requested from Jones, Enlow, and AT&T, and no legislative action

that they could possibly contemplate can constitutionally be based on Jones’ or Enlow’s

activities. Their actions will irreparably chill constitutionally protected political expression

in the United States if allowed to proceed.

       100.   The Defendants also seek to probe activities that Jones and Enlow

conducted in their capacities as journalists. While the First Amendment may permit the

Executive Branch to compel a journalist’s testimony and production before a grand jury,

it does not permit a Congressional Committee on a witch-hunt for the sole purpose of




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exposing for the sake of exposing to breach First Amendment privacy. Branzburg v.

Hayes, 408 U.S. 665, 699-700 (1972).

      101.    In their capacities as journalists, Jones and Enlow possess no information

relevant to the carrying out of valid legislative purposes. They, however, retain a First

Amendment right as journalists to protect their sources and the information that they have

gathered from congressional action that serves no legitimate legislative purpose.

      102.    Thus, the Jones subpoena and the AT&T subpoenas violate Jones’ and

Enlow’s rights as journalists under the First Amendment.

             COUNT FOUR – VIOLATION OF THE FOURTH AMENDMENT

      103.    Paragraphs 1 through 102 are incorporated herein.

      104.    The Fourth Amendment protects a private individual’s right to be free from

unreasonable government searches and seizures as it pertains to their persons, houses,

papers, and effects, and it protects a person’s reasonable privacy expectations. Katz v.

United States, 389 U.S. 347, 351 (1967).

      105.    The Fourth Amendment also prohibits the Defendants from issuing

sweeping subpoenas untethered from valid legislative purposes. Oklahoma Press Pub.

Co. v. Walling, 327 U.S. 186, 196 (1946). All encompassing requests for personal,

nonofficial documents exceed Congress’s legitimate legislative power. Trump v. Mazars

USA, LLP, 140 S.Ct. 2019, 2040 (2020). Additionally, the fact that a third party stores a

person’s cell phone data does not alter his privacy expectation or its reasonableness.

Carpenter v. United States, 138 S.Ct. 2206, 2217 (2018).

      106.    Both the Jones subpoena and the AT&T subpoenas seek communications

and papers from Jones and Enlow that are so broadly encompassing as to exceed the

authorized purpose of the Select Committee. McPhaul v. United States, 364 U.S. 372,


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381 (1960). Thus, even by congressional standards, the Jones subpoena and the AT&T

subpoenas constitute an unhinged fishing expedition designed to skirt the Fourth

Amendment and obtain private documents and information that the United States could

never get a search warrant for.

       107.   Coerced compliance with the Jones subpoena would violate Jones’ right to

be free from unlawful searches and seizures, and AT&T’s compliance with the AT&T

subpoenas would violate Jones’ and Enlow’s right to be free from unlawful searches and

seizures as well.

              COUNT FIVE – VIOLATION OF THE FIFTH AMENDMENT

       108.   Paragraphs 1 through 107 are incorporated herein.

       109.   The right to remain silent under the Fifth Amendment is so well-established

that it should be axiomatic even in Congressional proceedings.

       110.   Jones has informed the Defendants that he intends to exercise his Fifth

Amendment right to remain silent during his deposition, and they have informed his

counsel that they do not believe that he can properly assert that right.

       111.   The right to remain silent also encompasses broad document production

requests contained in subpoenas that seek to discover sources of potentially incriminating

evidence. United States v. Hubbell, 530 U.S. 27, 43-44 (2000).

       112.   Jones has informed the Defendants that he will assert his Fifth Amendment

right not produce documents in response to their broad requests because it would be akin

to telling inquisitors “the combination to a wall safe.” Id. They have informed his counsel

that they do not believe that he can properly assert that right.

       113.   Rather than seek a determination from the Article III judiciary as to Jones

claims stated within this claim, the Defendants have communicated a serious expression


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of intent to hold Jones in criminal contempt for refusing to comply with requests that are

unlawful and unconstitutional. They have further intimated an intent to arrest, imprison,

try, and punish him themselves, essentially appointing themselves judges to a dispute to

which they are a party.

      114.   Jones subequently asserted his Fifth Amendment right to remain silent

during his deposition before the Defendants.

      115.   Both with respect to Jones’ assertion of his Fifth Amendment right to remain

silent and his assertions of other objections including constitutional objections to

responding to the Defendants’ request, their intention to hold him in criminal contempt

and possibly punish him themselves violates Jones’ rights to due process under the Fifth

Amendment, which guarantees him the bare minimum of fairness that is well-established

at the common law: no man may be a judge in his own case.

COUNT SIX – VIOLATION OF THE STORED COMMUNICATIONS ACT (18 U.S.C. §
                               2702)

      116.    Paragraphs 1 through 115 are incorporated herein.

      117.   The Stored Communications Act provides that “a person or entity providing

electronic communication service to the public shall not knowingly divulge to any person

or entity the contents of a communication while in electronic storage by that service.” 18

U.S.C. § 2702(a)(1).

      118.   None of the exceptions enumerated in 18 U.S.C. § 2702(a)(1) apply.

      119.   Jones has not given his consent to AT&T to produce the records requested

by the AT&T subpoena.

      120.   Enlow has not given his consent to AT&T to produce the records requested

by the AT&T subpoena.



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       121.   Congress has not amended 18 U.S.C. § 2702(a)(1) to create a specialized

exception for itself or for the Select Committee.

       122.   18 U.S.C. § 2702(a)(1) bars the Defendants from obtaining the

communications requested in their AT&T subpoena.

       123.   To the extent that the Defendants seek the production of non-

communication records and information, 18 U.S.C. § 2702(c) prohibits such a disclosure,

and no exception applies.

       124.   Thus, AT&T’s compliance with the subpoena and the Defendants’ issuance

of one violates 18 U.S.C. § 2702(c).

                                 PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff seek declaratory and injunctive relief as follows:

         A. A declaratory judgment that the Select Committee is not a lawfully

              constituted committee and that its actions to date have been wholly without

              legal authority;

         B. A declaratory judgment that the Defendants have violated the Rules of the

              United States House of Representatives by issuing a deposition subpoena

              to Jones without Defendant Thompson first consulting with a duly appointed

              minority ranking member on the Select Committee;

         C. A declaratory judgment that the subpoena to Alex Jones and the subpoenas

              to AT&T serve no valid legislative purposes and exceed the Select

              Committee’s and Congress’s constitutional authority in violation of the

              separation of powers principles contained in the United States Constitution;




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 D. A declaratory judgment that coerced compliance with the subpoena to Alex

    Jones and the subpoenas to AT&T violate Alex Jones’ and Tim Enlow’s First

    Amendment rights.

 E. A declaratory judgment that coerced compliance with the subpoena to Alex

    Jones and the subpoenas to AT&T violate Alex Jones’ and Tim Enlow’s

    Fourth Amendment rights.

 F. A declaratory judgment that coerced compliance with the subpoena to Alex

    Jones and the subpoenas to AT&T violate Alex Jones’ and Tim Enlow’s Fifth

    Amendment rights.

 G. A declaratory judgment that the issuance of the AT&T subpoenas and

    coerced compliance violates the Stored Communications Act (18 U.S.C. §

    2702).

 H. An injunction quashing the subpoena issued to Alex Jones and prohibiting

    its enforcement by the Defendants.

 I. An injunction prohibiting the Defendants from imposing sanctions on Alex

    Jones for noncompliance with the subpoena issued to him.

 J. An injunction quashing the subpoenas issued to AT&T and prohibiting its

    enforcement by the Defendants.

 K. An injunction prohibiting the Defendants from imposing sanctions on AT&T

    for noncompliance with the subpoenas issued to it.

 L. Reasonable costs and attorneys’ fees; and

 M. Any and all other relief that the Court deems just and proper.




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                                        The Plaintiff

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                      Exhibit A
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                      Exhibit B
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          Conference
          Rules of the
          117th Congress




CONFERENCE RESOLUTION

Resolved, that the following shall be the rules of the House Republican Conference for the 117th Congress:

Rule 1—Conference Membership

(a) Inclusion.—All Republican Members of the House of Representatives (including Delegates and the Resident
Commissioner) and other Members of the House as determined by the Republican Conference of the House of
Representatives (“the Conference”) shall be Members of the Conference.
(b) Expulsion.—A ⅔ vote of the entire membership shall be necessary to expel a Member of the Conference. Proceedings
                     Casethe
for expulsion shall follow 1:21-cv-03316-CRC        Document 8 Filed
                              rules of the House of Representatives,      02/15/22
                                                                     as nearly         Page 36 of 132
                                                                               as practicable.

Rule 2—Republican Leadership

(a) Elected Leadership.—The Elected Republican Leaders of the House of Representatives are—

(1) the Speaker;

(2) the Republican Leader;

(3) the Republican Whip;

(4) the Chair of the Republican Conference;

(5) the Chair of the National Republican Congressional Committee;

(6) the Chair of the Committee on Policy;

(7) the Vice-Chair of the Republican Conference; and,

(8) the Secretary of the Republican Conference.

(b) Designated Leadership.—The designated Republican Leaders of the House of Representatives are—

(1) the Chair of the House Committee on Rules;

(2) the Chair of the House Committee on Ways and Means;

(3) the Chair of the House Committee on Appropriations;

(4) the Chair of the House Committee on the Budget;

(5) the Chair of the House Committee on Energy and Commerce;

(6) the Chief Deputy Whip;

(7) one member of the sophomore class elected by the sophomore class; and,

(8) one member of the freshman class elected by the freshman class.

(c) Leadership Committee Limitation.—

(1) The Speaker, Republican Leader, Whip, and the Chairs of the Republican Conference and the National Republican
Congressional Committee shall not serve on more than one standing committee or subcommittee of the House of
Representatives and in no case shall any of these individuals serve as chair of a standing committee of the House of
Representatives. Upon the recommendation of the Steering Committee and the approval of the Conference this provision
may be waived.

(2) If a Member shall, at any time, cease to serve in any of the Leadership positions named above, he or she may resume
his or her position on the standing committee on which he or she previously served.

(3) If a member of Elected Republican Leadership as described in rule 2(a) publicly announces his or her intention to seek
other elected office in Federal, state, or local government, that Member shall resign from such leadership position. That
position shall be filled pursuant to rule 2(e) of the Conference rules.

(d) Authority and Responsibilities in the Minority.—

(1) The Speaker and Republican Leader.—During any time that the Republican Party is not the majority party of the
House of Representatives, the office of Speaker shall be considered as vacant, and any reference to, or authority vested
in, the Speaker under these rules shall be considered references to and authority vested in the Republican Leader.

(2) Committee Chairs and Ranking Republican Members.—During any time that the Republican Party is not the majority
party of the House of Representatives, any reference to, responsibility of, or authority vested in, the chair of a committee
of the House in these rules shall be considered a reference to, responsibility of, or authority vested in the Ranking
Republican Member of such committee.
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(e) Vacancies in Elected Leadership.—In the event of a vacancy in an office described in paragraph (a) (other than a
vacancy addressed by rule 26), that vacancy shall be filled in the manner described in rules 3 and 4 as though as a
continuation of the organizational meeting under rule 3(a).

Rule 3—Organizing Conference

(a) Organizing Conference.—The organizational meeting of the Conference shall be called by the Speaker, except as
otherwise provided by law. The meeting shall be held not later than the 20th day of December.

(b) Order of Elections.—At the organizational meeting of the Republican Conference, the Conference shall nominate and
elect the Elected Leadership for that Congress in the following order—

(1) the Speaker;

(2) the Republican Leader;

(3) the Republican Whip;

(4) the Chair of the Republican Conference;

(5) the Chair of the National Republican Congressional Committee;

(6) the Chair of the Committee on Policy;

(7) the Vice-Chair of the Republican Conference; and,

(8) the Secretary of the Republican Conference.

Except that during any time that the Republican Party is not the majority party of the House of Representatives, there shall
be no election held for the office of Speaker.

(c) Prior to the convening of the organizational meeting called pursuant to paragraph (a), the current Chair of the
Republican Conference shall call a meeting to provide each of the announced candidates for Elected Leadership time to
make an oral presentation and entertain questions from Members of the Conference. In establishing the time, date, and
format of such meeting, the Chair shall consult with all announced candidates for Elected Leadership and a cross-section
of Members of the Conference.

Rule 4—Conference Election Procedures

(a) Votes by Secret Ballot.—All contested elections shall be decided by secret ballot, and no proxy voting shall be allowed.

(b) Nominations.—

(1) Candidates for office shall be nominated in alphabetical surname order.

(2) For each Leadership nomination there shall be one nominating speech (not to exceed three minutes in length), and
there may be two seconding speeches (each not to exceed one minute in length).

(c) Balloting Procedures.—When there are more than two candidates for any office and none receives a majority of the
votes on the first ballot, a quorum being present, the candidate with the lowest number of votes on that and each
succeeding ballot will be dropped from the ballot until one candidate receives a majority of the votes, a quorum being
present.

Rule 5—Conference Meetings

(a) Call and Notice.— Meetings of the Republican Conference may be called at any time by the chair of the Conference,
after consultation with the Speaker.

(b) Speaker’s Annual Meeting.—The Speaker shall hold an annual Meeting at the beginning of each session of Congress
at which the Republican Leadership shall report to the Membership on their plans for the upcoming session.
(c) With respect to a meeting called under this rule, whenever possible, at least 24 hours notice of the time, place, and
agenda of a meeting Case
                      shall1:21-cv-03316-CRC
                           be given to Members of theDocument   8 Filed 02/15/22 Page 38 of 132
                                                        Conference.

(d) Decorum.—Meetings of the Republican Conference shall be conducted in accordance with the applicable provisions of
the Rules of the House of Representatives, including rule XVII, that govern decorum and the personal behavior of the
Members of the Conference.

Rule 6—Rules of Procedure and Order of Business

(a) Rules of the House.—The Rules of the House of Representatives, insofar as they are applicable, shall govern the
proceedings of the Republican Conference.

(b) Motions.—

(1) No motion shall be available other than those described in clause 4 of rule XVI (relating to the precedence of motions)
or rule XIX (relating to motions after the amendment stage) of the Rules of the House of Representatives.

(2) When a motion has been made and carried or lost, it shall be in order for any member of the prevailing side, in the
same or succeeding meeting of the Republican Conference, to move for the reconsideration thereof. The procedures for
reconsideration shall be consistent with the Rules of the House.

(c) Resolutions.—

(1) Any matter to be considered by the Republican Conference shall be in the form of a resolution.

(2)(A) Referral of resolutions, generally.—Except as provided in subparagraph (3), all resolutions brought before the
Republican Conference shall be referred by the Chair to the appropriate committee for consideration.

(B) Resolutions proposing a change in Republican Conference rules.—

(i) A resolution proposing a change to the rules of the Republican Conference shall be referred to an ad hoc committee for
the purpose of consideration of that measure.

(ii) The committee shall be appointed by the Speaker and chaired by the senior Republican member of the Committee on
Rules of the House.

(iii) In making the appointments under this subparagraph, the Speaker shall appoint at least one Member who is a
proponent of the resolution.

(3) Precedence of resolutions offered by the Speaker.—The Speaker, or a designee, may present any resolution to the
Conference for its immediate consideration.

(d) Petitions.—

(1) Discharge of committee of the Republican Conference.—

(A) A resolution which has 25 or more signatures of Members shall be considered by the appropriate committee of the
Republican Conference as soon as practicable, but not later than 10 legislative days, and reported back to the
Conference.

(B) If the resolution is not acted on by the committee to which it was referred as soon as practicable, but not later than 10
legislative days, a petition of 50 or more Members will discharge the resolution for consideration before the Conference.

(2) Petition for a special meeting.—

(A) If 20 percent of the Members of the Republican Conference petition the Chair for a special meeting of the Conference,
the Chair shall schedule such special meeting as soon as practicable, but not later than 10 legislative days.

(B) The Chair shall provide a means by which Members may submit such a petition or other evidence of support
electronically.
(e) Suspension Procedure.—Two-thirds of the Members voting, a quorum being present, may suspend the Conference
rules. All motions toCase  1:21-cv-03316-CRC
                      suspend                         Document
                              the rules shall be seconded          8 Filedif 02/15/22
                                                             by a majority,            Page
                                                                             demanded. The   39 of 132 of a motion to
                                                                                           consideration
suspend the rules, to the extent practicable, shall follow the rules of the House.

Rule 7—Conference Meetings: Quorum

A majority of the Members of the Conference shall constitute a quorum.

Rule 8—Conference Meetings: Secret Ballot

On demand of one Member, with the support of five others, the vote on any matter properly pending before the
Conference shall be taken by secret ballot.

Rule 9—Conference Meetings: Admittance

(a) The Chair may decide whether meetings of the Conference shall be open or closed to the public, subject to an appeal
by any Member.

(b) The Chair may designate Leadership staff or other eligible persons to attend Conference meetings which are closed to
the public. Those individuals shall be excused at the discretion of the Chair.

(c) Upon timely notice from the Chair, an executive session of the Conference may be called. This meeting shall be closed
to all persons except Members of the Conference.

(d) On the demand of one Member, with the support of 25 others, a Conference meeting shall be taken into executive
session.

Rule 10—Conference Meetings: Journal

The Secretary of the Conference shall keep a journal of the Conference proceedings and each journal entry shall be
signed by the Conference Secretary and the Conference Chair. The journal shall be open for inspection at the request of
any Member of the Conference.

Rule 11—Republican Steering Committee

(a) Establishment and Purpose.—

(1) There is hereby established a Republican Steering Committee which shall recommend to the Republican Conference
—

(i) the membership of the standing committees; and

(ii) the chairs of the standing committees.

(2) The Republican Steering Committee shall interview each Member seeking election as chair of a standing committee
before making its recommendation, even if that Member served as chair of such standing committee in the prior congress.

(3) This subsection shall not apply to a standing committee listed in rule 12.

(b) Composition.—The Republican Steering Committee shall be comprised of—

(1) the Speaker, who shall serve as its chair;

(2) the Republican Leader;

(3) the Republican Whip;

(4) the Chief Deputy Whip;

(5) the Chair of the Republican Conference;

(6) the Chair of the National Republican Congressional Committee;

(7) the Chair of the Committee on Policy;

(8) the Vice-Chair of the Republican Conference;
(9) the Secretary of the Republican Conference;
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(10) the former Chair of the National Republican Congressional Committee;

(11) the chair of a standing committee when the Steering Committee is considering members for election to or removal
from such standing committee;

(12) a Member designated by the Speaker;

(13) Members elected by geographic regions of the conference;

(14) a Member elected by the sophomore class;

(15) a Member elected by the freshman class; and

(16) the Dean of the House, when the Dean is a member of the House Republican Conference.

(c) Election of Regional and Class Representatives.—

(1)(A) Prior to the election of the Members elected pursuant to subsection (b)(13) of this rule, the Republican Conference
shall adopt a resolution establishing the structure of such regions.

(B)(i) The Speaker shall appoint a task force of Members to recommend a regional plan.

(ii) If the task force is unable to recommend a regional plan to the Speaker, the Speaker shall recommend a regional plan
to the Republican Conference.

(C) It shall not be in order to consider the regional plan until the third calendar day (exclusive of Saturdays, Sundays, and
Federal holidays, unless the House is in session on such day) on which the regional plan has been available to Members.

(D) Any proposed amendments to the regional plan shall be submitted to the Republican Conference not later than the
calendar day prior to consideration of the regional plan by the Republican Conference. The Chair of the Republican
Conference shall make all such amendments available to the Members of the Republican Conference prior to
consideration of any such amendment.

(2) It shall not be in order to elect regional and class representatives to the Republican Steering Committee until the
second calendar day (exclusive of Saturdays, Sundays, and Federal holidays, unless the House is in session on such
day) after adoption of the regional plan. Any such election shall be conducted by secret ballot.

(d) Voting Strength.—Each member of the Republican Steering Committee shall have a single vote, except the Speaker,
who shall have 4, and the Republican Leader, who shall have 2. During any time that the Republican Party is not the
majority party of the House of Representatives, the Republican Leader shall have 4 votes and the Republican Whip shall
have 2 votes.

(e) Definition.— For purposes of this rule, the term “regional plan” shall mean a plan establishing geographic regions for
purposes of electing representatives under subsection (b)(13) of this rule.

Rule 12—Election Procedures for Standing Committees

(a) In General.—

(1) The Republican Steering Committee shall recommend to the Republican Conference the Republican Members of the
standing committees of the House of Representatives, except as otherwise provided in this rule.

(2) In those cases where the Steering Committee nominated Members for membership on standing committees, the
Steering Committee shall recommend directly to the House of Representatives the Republican Members to fill vacancies
on standing committees which occur following the organization of a Congress. Whenever possible, a vacancy shall be
filled within thirty days while Congress is in session.

(b) Election of Members of the Committee on Rules.—

(1) Nomination.—The Speaker shall nominate the Republican Members of the Committee on Rules, including the chair.
These nominations shall be submitted to the Conference along with the other nominees from the Steering Committee.
(2) Rejection and New Nomination.—If the Republican Conference rejects the nominee for Chair of the Committee on
Rules, the SpeakerCase    1:21-cv-03316-CRC
                   shall again submit a nominationDocument    8 Filed 02/15/22 Page 41 of 132
                                                   to the Conference.

(3) Retention of Seniority Rights.—A Member newly assigned to the Rules Committee shall have the option of being “on
leave with seniority” from one standing committee on which he or she served previously. At such time as service on the
Rules Committee shall cease, such member shall have the right to return to active membership on that standing
committee with the relative seating and seniority accumulated during his or her tenure on the Rules Committee.

(c) Election of the Members of the Committee on the Budget.—

(1) Chair.—The Republican Steering Committee shall nominate the Member to serve as the Chair of the Committee on
the Budget. Limits on the term of service for the Chair shall be determined by the Rules of the House.

(2) Leadership Member.—The Speaker shall appoint one member to serve on the committee. That Member will serve as
the second highest-ranking Republican on the committee.

(3) Nomination of other Members.—The Steering Committee shall recommend members from the Committee on
Appropriations, the Committee on Ways and Means, and the Committee on Rules for service on the Committee on the
Budget in such numbers as may be consistent with the Rules of the House. Chairs and Leadership Members are
considered towards these requirements if that member also happens to serve on the Committee on Appropriations, the
Committee on Ways and Means, or the Committee on Rules.

(d) Election of the Members of the Committee on House Administration.—

(1) Nomination.—The Speaker shall nominate the Republican Members of the Committee on House Administration,
including the Chair. These nominations shall be submitted to the Conference along with the other nominees from the
Steering Committee.

(2) Rejection and New Nomination.—If the Republican Conference rejects the nominee for Chair to the Committee on
House Administration, the Speaker shall again submit a nomination to the Conference.

Rule 13—Appointments to Joint and Select Committees

The Speaker shall recommend to the House all Republican Members of such joint, select, and ad hoc committees as shall
be created by the House, in accordance with law.

Rule 14—Nomination and Election of Committee Chairs

(a) Nominations by the Steering Committee.—

(1) The Republican Steering Committee shall nominate the Republican Members who shall serve as chairs, except as
provided in rules 12 and 13. The Member nominated by the Steering Committee for this position need not be the Member
with the longest consecutive service on the Committee, and such nominations shall be out of order except as
recommended in the report of the Steering Committee.

(2) The Republican Steering Committee may also designate the Republican Members who shall serve as Vice Chair. The
Member designated by the Steering Committee for this position need not be the Member with the longest consecutive
service on the Committee.

(b) Voting Procedure.—The Conference shall vote on the recommendation of the House Republican Steering Committee
for the position of Chair. The call of the Conference at which such voting will take place shall name and list the individuals
recommended by the Committee. Nothing in this rule shall be construed to limit the ability of any member to request a
secret ballot under Rule 8.

(c) Rejection and new nominations.—If the Republican Conference fails to approve a recommendation of the Steering
Committee with respect to a nomination for the position of Chair, the matter shall be automatically recommitted without
instructions to that Committee.

(d) Obligation of committee chairs.—
(1) The Republican Chair of each committee has an obligation to ensure that each measure on which the Republican
                  Case
Conference has taken     1:21-cv-03316-CRC
                     a position                  Document
                                is managed in accordance  with8such
                                                                 Filed  02/15/22
                                                                    position        Pageof42
                                                                             on the Floor  theofHouse
                                                                                                 132 of
Representatives.

(2)(A) If the chair of a committee receives a written request from the sponsor of a measure requesting a hearing on that
measure and the measure is—

(i) primarily referred to such committee;

(ii) cosponsored by a majority of the members of the Republican Conference; and

(iii) cosponsored by not fewer than 1/3 of the Republican members of such committee;

then the chair of such committee shall schedule a hearing on the measure within 15 legislative days and hold such
hearing not later than 30 legislative days after receipt of such request or prior to the sine die adjournment of the congress
in which such request is made, whichever occurs first.

(B) This provision shall not apply to a measure directing the Secretary of the Treasury to strike and issue a
commemorative coin or strike a Congressional Gold Medal, or a measure naming a postal facility.

(e) Term limitation.—No individual shall serve more than three consecutive terms as chair or Ranking Member of a
standing, select, joint, or ad hoc Committee or Subcommittee.

(f) Candidates for other offices.—If a Chair of a committee addressed by rule 14 or a subcommittee addressed by rule
19(b) publicly announces his or her intention to seek other elected office in Federal, State, or local government, that
Member shall resign as chair of such committee or subcommittee and the next ranking Republican Member shall serve as
acting chair until such time as the Committee on Steering nominates a replacement consistent with this rule. This
paragraph may be waived by an affirmative vote of the Steering Committee.

Rule 15—Limitation on Number of Committee Chairs and Subcommittee Chairs

No individual shall serve as chair of more than one standing Committee or Subcommittee except for the Committee on
Standards of Official Conduct; or the Committee on House Administration; or any joint, select, or ad hoc Committee; or
any subcommittee thereof. Provided, however, that upon recommendation of the Steering Committee and approval of the
Conference this provision shall be waived.

Rule 16—Vacancies in Committee Chair Positions

A vacancy which occurs during a session of Congress for the position of Chair shall be filled in accordance with rule 14.
Whenever possible, a vacancy shall be filled within thirty days while Congress is in session.

Rule 17—Committee Organizing Caucuses

(a) Each Committee shall have an organizing caucus of the Republican Members before the organizing meeting of the full
Committee. The committee chair shall call the meeting, giving at least three days written notice to all Republican Members
of the committee.

(b) During any time in which the Republican Party is the majority party in the House of Representatives, the chair of a
committee shall seek to the maximum extent possible to avoid overlapping scheduling of subcommittee meetings in order
to assure maximum Member participation.

Rule 18—Periodic Committee Caucuses

Meetings of a committee caucus shall be called if requested by a majority of the Republican Members of the Committee or
at any time by the chair. A majority of the Members may request a meeting provided the request to the chair is in writing
and states the subject matter to be discussed at the meeting. A meeting so requested must be called by the chair within
ten days after receipt of the written request, and after notice to all committee caucus Members.

Rule 19—Election of Subcommittee Chairs

(a) In General.—
(1) In accordance with rule 15, the method for the selection of chairs of the Committee’s subcommittees shall be at the
discretion of the fullCase 1:21-cv-03316-CRC
                       Committee                    Document
                                 chair, unless a majority         8 Filed 02/15/22
                                                          of the Republican Members ofPage
                                                                                       the full43 of 132 disapprove the
                                                                                                Committee
action of the chair.

(2) The chair shall formalize in writing for the other Republican Members of the Committee the procedures to be followed
in selecting subcommittee chairs and individual subcommittee assignments and shall do so in advance of the Committee’s
organization. The procedures may be modified by a majority vote of the Republican Members of the full Committee.

(b) Appropriations Subcommittee Chairs.—The Chair of the Committee on Appropriations shall bring his nominations for
the subcommittee chairs to the Republican Steering Committee for approval. If any nomination is rejected by the Steering
Committee, the Chair shall submit the new nomination(s) in a timely fashion.

Rule 20—Vacancies in the Position of Subcommittee Chairs

Vacancies in the position of subcommittee chairs shall be filled according to the procedures established by the various
Committees in accordance with rule 19.

Rule 21—Committee on Standards of Official Conduct

No Member shall serve on the Committee on Standards of Official Conduct for more than three consecutive terms.

Rule 22—Committee on Policy

(a) In general.—

(1) The Committee on Policy shall be an advisory Committee to the Membership of the House Republican Conference.
The Committee on Policy shall meet at the call of the Chair of the Committee on Policy or the Speaker, and shall discuss
legislative proposals with Republican Members of the appropriate standing and special committees and with such other
Republican Members as the Chair may invite to meetings.

(2) The Committee on Policy shall report its suggestions for Republican action and policy to the Republican Members of
the House. The Chair of the Committee on Policy may appoint, in consultation with the Speaker, such subcommittees
from the Republican Members of the House for such purposes as may be deemed appropriate.

(b) Composition.—The Committee on Policy shall be composed of—

(1) One Member elected from each region, State, or group of States under the Steering Committee structure;

(2) Two Members elected by the sophomore class and one Member elected by the freshman class;

(3) The House Republican Leadership, as designated by rule 2;

(4) One Member from each standing committee of the House appointed by the Speaker; and,

(5) Such Members-at-large as may be appointed by the Speaker.

(c) Seniority.—The traditions and privileges of seniority shall not apply to membership of the Committee on Policy and the
Committee may, at its direction, make such rules as are necessary for conduct of its business.

Rule 23—The National Republican Congressional Committee

(a) Composition.—The National Republican Congressional Committee (“NRCC”) shall be composed of an executive
committee of 38 members, to be composed of—

(1) the Speaker;

(2) the Republican Leader;

(3) the Republican Whip;

(4) the Chair of the Republican Conference;

(5) the Chair of the National Republican Congressional Committee;

(6) the Chair of the Committee on Policy;
(7) the Vice Chair of the Republican Conference;
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(8) the Secretary of the Republican Conference; and,

(9) Thirty members appointed to serve on the executive committee by the Chair of the National Republican Congressional
Committee.

(A) Appointments pursuant to this subparagraph shall be reported to the Conference for its approval, and the executive
committee roster shall be made publicly available upon approval.

(B) The Conference shall vote on such recommendation. Nothing in this rule shall be construed to limit the ability of any
member to request a secret ballot under Rule 8.

(C) If the Republican Conference fails to approve a recommendation of the Chair of the NRCC with respect to a
nomination, the matter shall be automatically recommitted to the Chair of the NRCC without instructions.

(b) Duties.—The duties of the National Republican Congressional Committee shall be to—

(1) act as counsel and advisor to the Members of the House Republican Conference;

(2) furnish support services to the extent consistent with the Rules of the House; and,

(3) have oversight in election campaigns in all general and special elections for membership in the House of
Representatives.

Rule 24—Republican Personnel

(a) The House Republican Conference hereby vests in the Speaker supervisory authority over all Republican employees
of the House of Representatives, and direct authority over the Republican Floor Assistants and Republican Cloakroom.

(b) The Speaker is hereby empowered to offer recommendations and advise the Republican Conference as to the
location and use of all personnel and funds, appropriated or otherwise, of the Republican Conference or any committee or
officer thereof including but not limited to: the Republican Whip, the Republican Committee on Policy and the National
Republican Congressional Committee, to avoid duplication and improve coordination and best utilization of those assets.

(c) The funds appropriated for the offices of the Republican Leader, the Republican Whip, and the Republican Conference
may be allocated and utilized by the Republican Leader, the Republican Whip and the Chair of the Republican
Conference, respectively, only after a budget, prepared in consultation with the Speaker, detailing the proposed use of
such funds has been established.

(d) The Speaker shall provide general personnel referral services to Republican Members and such other services as he
or she deems necessary.

(e) The staff employed by the elected Republican Leadership as defined under rule 2, or under the direct authority of the
Speaker, will be considered a unified staff, although directly responsible to the employing office, will work for all others of
the Leadership as directed by the Speaker in consultation with the employing office.

Rule 25—Temporary Step Aside of a Member who is Indicted

(a) A member of a standing, select, joint or ad hoc committee, or any subcommittee thereof, who is indicted for a felony
for which a sentence of two or more years imprisonment may be imposed, shall submit his or her resignation from any
such committees to the House promptly. Vacancies created by this paragraph shall be filled pursuant to rule 12.

(b) In the case of the resignation of a chair pursuant to this rule, the next ranking Republican member of the committee or
subcommittee concerned shall serve as acting chair for the remainder of the Congress, unless the Steering Committee
nominates a Member consistent with rule 14, or unless the chair resumes his position in accord with paragraphs (c) or (d)
of this rule.

(c) If a committee member or chair resigns pursuant to this rule, and subsequently during that Congress is acquitted or the
charges are dismissed or reduced to less than a felony as described in paragraph (a), the Chair of the Republican
Conference shall take such steps as may be necessary to promptly reinstate the Member to such committees at the same
seniority as when the Member resigned, including the position of chair if applicable, unless the Republican Conference
                   Case10
decides otherwise within 1:21-cv-03316-CRC
                           legislative days.      Document 8 Filed 02/15/22 Page 45 of 132

(d) The Conference may waive the provisions of this rule at any time by majority vote.

Rule 26—Temporary Step Aside of a Member of Leadership who is Indicted

(a) A member of the Republican Leadership shall step aside if indicted for a felony for which a sentence of two or more
years imprisonment may be imposed.

(b) If a member of the Republican Elected Leadership is indicted, the Republican Conference shall meet and elect a
Member to temporarily serve in that position.

(c) If a member of the Republican Leadership resigns pursuant to this rule, and subsequently during that Congress is
acquitted or the charges are dismissed or reduced to less than a felony as described in paragraph (a), such Member shall
resume the position from which they resigned, unless the Republican Conference decides otherwise within 10 legislative
days.

Rule 27—Removal of a Committee Member who is Convicted

A member of a standing, select, joint or ad hoc committee, or any subcommittee thereof, who is convicted of a felony for
which a sentence of two or more years imprisonment is imposed, shall be removed from any such committee within 10
legislative days. The Chair of the Republican Conference shall take such steps as may be necessary to facilitate the
removal from committees of such Member in the House. Vacancies created by this paragraph shall be filled pursuant to
rule 12.

Rule 28—Automatic Replacement of a Chair who is Censured

(a) The chair of a standing, select, joint or ad hoc committee, or subcommittee thereof, who is censured by a vote of the
House when the Republican Party is the majority party in the House of Representatives, shall cease to exercise the
powers of such position. The Chair of the Republican Conference shall take such steps as may be necessary to facilitate
the removal from the position of chair in the House. Vacancies created by this paragraph shall be filled pursuant to the
applicable rule.

(b) The Conference may waive the provisions of this rule at any time by majority vote.

Rule 29—Guidelines on Suspension of House Rules

(a) The Republican Leader shall not schedule, or request to have scheduled, any bill or resolution for consideration under
suspension of the Rules which—

(1) fails to include a cost estimate;

(2) has not been the subject of a notification to the minority;

(3) creates a new program, unless it also eliminates or reduces a program of equal or greater size;

(4) authorizes appropriations without including a sunset provision;

(5) authorizes an increase in authorizations, appropriations, or direct spending in any given year, unless fully offset by at
least an equal reduction in current spending;

(6) expresses appreciation, commends, congratulates, celebrates, recognizes the accomplishments of, or celebrates the
anniversary of, an entity, event, group, individual, institution, team or government program; or acknowledges or
recognizes a period of time for such purposes; or

(7) directs the Secretary of the Treasury to strike a Congressional Gold Medal unless—

(A) the recipient is a natural person;

(B) the recipient has performed an achievement that has an impact on American history and culture that is likely to be
recognized as a major achievement in the recipient’s field long after the achievement;
(C) the recipient has not received a medal previously for the same or substantially the same achievement;
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(D) the recipient is living or, if deceased, has not been deceased for less than five years or more than twenty-five years;

(E) the achievements were performed in the recipient’s field of endeavor, and represent either a lifetime of continuous
superior achievements or a single achievement so significant that the recipient is recognized and acclaimed by others in
the same field, as evidenced by the recipient having received the highest honors in the field; and

(F) adoption of such measure does not cause the total number of measures authorizing the striking of such medals in that
congress to substantially exceed the average number of such measures enacted in prior congresses.

(b) A waiver of this rule can be granted by the majority of the Elected Leadership as defined under rule 2.

Rule 30—Transparency

(a) To the maximum extent practicable, the Chair shall make the text of matters adopted during the organizational
conference held pursuant to rule 3 publicly available in electronic form.

(b) Not later than January 31 of each odd-numbered year, the Chair shall make available in electronic form to all Members
of the Conference a listing of the various boards, commissions, and committees that include appointees by the Speaker or
the Majority Leader.

Standing Orders for the 117th Congress

Article I Funding Requests

(a) In order to responsibly execute Congress’ Article I authority to control the power of the purse, it is the policy of the
House Republican Conference that no Member shall request a congressional earmark, limited tax benefit, or limited tariff
benefit, as such terms have been described in the Rules of the House, unless the following accountability criteria are met:

(1)       the request is publicly disclosed at the time the request is made, including a written justification for why the
project is an appropriate use of taxpayer funds and the name of the requesting Member;

(2)      neither the Member nor his or her immediate family has a financial interest in the request; and

(3)     the request comports with any further regulations and guidance the Republican Chairs or Ranking Members of
the committees of jurisdiction shall promulgate.

(b) It is further the policy of the Republican Conference that Republican Chairs or Ranking Members shall not give
consideration to a Member’s seniority, committee assignments, or position in the elected leadership when facilitating a
request made pursuant to this order.

Policy Statements on Article I Powers

(a) It is the policy of the Republican Conference that all Members of the Republican Conference shall, to the maximum
extent practicable, draft legislation so as to preserve Congress’ authorities under Article I of the Constitution. It is further
the policy of the Republican Conference that authorizing committees shall, as agencies and programs are reauthorized—

(1)   seek opportunities to move, where appropriate, mandatory programs with automatic funding streams to the annual
appropriations process to increase oversight and accountability; and

(2)   limit agency discretion in implementing statutes and rulemaking through more effective drafting practices for bills
and committee reports, including, to the maximum extent practicable, provisions to allow congressional review of new
major regulations as defined in the Congressional Review Act, so as to limit executive overreach.

(b) It is further the policy of the Republican Conference that—

(1)    the Majority Leader shall prioritize measures that seek to preserve Congress’ authorities under Article I of the
Constitution when scheduling the House Floor, which should periodically include, after receiving concurrence from the
appropriate committee chairs of primary jurisdiction, designated floor time for consideration of single-issue bills related to
exercising such authorities; and
(2)   the Republican Conference shall periodically schedule Planning Conferences to include the topic of preserving and
                     Case
exercising Article I of     1:21-cv-03316-CRC Document 8 Filed 02/15/22 Page 47 of 132
                        the Constitution.

Government-to-Government Land Conveyances

It shall not be a violation of House Republican Conference rules, House rules, or any general protocols to enact a
government-to-government land conveyance.
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                      Exhibit C
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                                                                               RULES

                                                                                   of the

                      HOUSE OF REPRESENTATIVES
                                                    ONE HUNDRED SEVENTEENTH CONGRESS




                                                                                PREPARED BY

                                                                          Cheryl L. Johnson
                                                           Clerk of the House of Representatives
                                                                         FEBRUARY 2, 2021




                       (Rev. 02–02–21)




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              RULES OF THE HOUSE OF REPRESENTATIVES

                                                        ONE HUNDRED SEVENTEENTH CONGRESS

                          RULE I                              may use such voting procedures as may                      the system may be paid from applica-
                      THE SPEAKER                             be invoked under rule XX.                                  ble accounts of the House for official
                                                              Discretion to vote                                         expenses.
     Approval of the Journal
                                                                7. The Speaker is not required to vote                   Designation of travel
       1. The Speaker shall take the Chair
                                                              in ordinary legislative proceedings, ex-                     10. The Speaker may designate a
     on every legislative day precisely at
                                                              cept when such vote would be decisive                      Member, Delegate, Resident Commis-
     the hour to which the House last ad-
                                                              or when the House is engaged in voting                     sioner, officer, or employee of the
     journed and immediately call the
                                                              by ballot.                                                 House to travel on the business of the
     House to order. Having examined and
                                                              Speaker pro tempore                                        House within or without the United
     approved the Journal of the last day’s
                                                                                                                         States, whether the House is meeting,
     proceedings, the Speaker shall an-                         8. (a) The Speaker may appoint a                         has recessed, or has adjourned. Ex-
     nounce to the House approval thereof.                    Member to perform the duties of the                        penses for such travel may be paid
     The Speaker’s approval of the Journal                    Chair. Except as specified in paragraph                    from applicable accounts of the House
     shall be deemed agreed to unless a                       (b), such an appointment may not ex-                       described in clause 1(k)(1) of rule X on
     Member, Delegate, or Resident Com-                       tend beyond three legislative days.                        vouchers approved and signed solely by
     missioner demands a vote thereon. If                       (b)(1) In the case of illness, the                       the Speaker.
     such a vote is decided in the affirma-                   Speaker may appoint a Member to per-
     tive, it shall not be subject to a motion                form the duties of the Chair for a pe-                     Committee appointment
     to reconsider. If such a vote is decided                 riod not exceeding 10 days, subject to                       11. The Speaker shall appoint all se-
     in the negative, then one motion that                    the approval of the House. If the                          lect, joint, and conference committees
     the Journal be read shall be privileged,                 Speaker is absent and has omitted to                       ordered by the House. At any time
     shall be decided without debate, and                     make such an appointment, then the                         after an original appointment, the
     shall not be subject to a motion to re-                  House shall elect a Speaker pro tem-                       Speaker may remove Members, Dele-
     consider.                                                pore to act during the absence of the                      gates, or the Resident Commissioner
     Preservation of order                                    Speaker.                                                   from, or appoint additional Members,
                                                                (2) With the approval of the House,                      Delegates, or the Resident Commis-
       2. The Speaker shall preserve order                    the Speaker may appoint a Member to                        sioner to, a select or conference com-
     and decorum and, in case of disturb-                     act as Speaker pro tempore only to                         mittee. In appointing Members, Dele-
     ance or disorderly conduct in the gal-                   sign enrolled bills and joint resolutions                  gates, or the Resident Commissioner to
     leries or in the lobby, may cause the                    for a specified period of time.                            conference committees, the Speaker
     same to be cleared.                                        (3)(A) In the case of a vacancy in the                   shall appoint no less than a majority
     Control of Capitol facilities                            Office of Speaker, the next Member on                      who generally supported the House po-
       3. Except as otherwise provided by                     the list described in subdivision (B)                      sition as determined by the Speaker,
     rule or law, the Speaker shall have                      shall act as Speaker pro tempore until                     shall name those who are primarily re-
     general control of the Hall of the                       the election of a Speaker or a Speaker                     sponsible for the legislation, and shall,
     House, the corridors and passages in                     pro tempore. Pending such election the                     to the fullest extent feasible, include
     the part of the Capitol assigned to the                  Member acting as Speaker pro tempore                       the principal proponents of the major
     use of the House, and the disposal of                    may exercise such authorities of the                       provisions of the bill or resolution
     unappropriated rooms in that part of                     Office of Speaker as may be necessary                      passed or adopted by the House.
     the Capitol.                                             and appropriate to that end.                               Recess and convening authorities
                                                                (B) As soon as practicable after the
     Signature of documents                                   election of the Speaker and whenever                         12. (a) To suspend the business of the
                                                              appropriate thereafter, the Speaker                        House for a short time when no ques-
       4. The Speaker shall sign all acts and
                                                              shall deliver to the Clerk a list of                       tion is pending before the House, the
     joint resolutions passed by the two
                                                              Members in the order in which each                         Speaker may declare a recess subject
     Houses and all writs, warrants, and
                                                              shall act as Speaker pro tempore under                     to the call of the Chair.
     subpoenas of, or issued by order of, the
                                                              subdivision (A).                                             (b)(1) To suspend the business of the
     House. The Speaker may sign enrolled
                                                                (C) For purposes of subdivision (A), a                   House when notified of an imminent
     bills and joint resolutions whether or
                                                              vacancy in the Office of Speaker may                       threat to its safety, the Speaker may
     not the House is in session.
                                                              exist by reason of the physical inabil-                    declare an emergency recess subject to
     Questions of order                                       ity of the Speaker to discharge the du-                    the call of the Chair.
       5. The Speaker shall decide all ques-                  ties of the office.                                          (2) To suspend the business of the
     tions of order, subject to appeal by a                                                                              Committee of the Whole House on the
                                                              Other responsibilities                                     state of the Union when notified of an
     Member, Delegate, or Resident Com-
     missioner. On such an appeal a Mem-                        9. The Speaker, in consultation with                     imminent threat to its safety, the
     ber, Delegate, or Resident Commis-                       the Minority Leader, shall develop                         chair of the Committee of the Whole
     sioner may not speak more than once                      through an appropriate entity of the                       may declare an emergency recess sub-
     without permission of the House.                         House a system for drug testing in the                     ject to the call of the Chair.
                                                              House. The system may provide for the                        (c) During any recess or adjournment
     Form of a question                                       testing of a Member, Delegate, Resi-                       of not more than three days, if the
       6. The Speaker shall put a question                    dent Commissioner, officer, or em-                         Speaker is notified by the Sergeant-at-
     in this form: ‘‘Those in favor (of the                   ployee of the House, and otherwise                         Arms of an imminent impairment of
     question), say ‘Aye.’ ’’; and after the af-              shall be comparable in scope to the sys-                   the place of reconvening at the time
     firmative voice is expressed, ‘‘Those                    tem for drug testing in the executive                      previously appointed, then the Speaker
     opposed, say ‘No.’ ’’. After a vote by                   branch pursuant to Executive Order                         may, in consultation with the Minority
     voice under this clause, the Speaker                     12564 (Sept. 15, 1986). The expenses of                    Leader—
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                                                                         RULES OF THE
     Rule I, clause 12                                                                                                                                 Rule II, clause 3

           (1) postpone the time for recon-                   that any officer or Department is re-                      fore the House and entered on the
        vening within the limits of clause 4,                 quired to make to Congress, citing the                     Journal.
        section 5, article I of the Constitu-                 law or resolution in which the require-                      (h) The Clerk may receive messages
        tion and notify Members, Delegates,                   ment may be contained and placing                          from the President and from the Sen-
        and the Resident Commissioner ac-                     under the name of each officer the list                    ate at any time when the House is in
        cordingly; or                                         of reports required to be made by such                     recess or adjournment.
           (2) reconvene the House before the                 officer.                                                     (i) The Clerk shall supervise the staff
        time previously appointed solely to                     (c) The Clerk shall—                                     and manage the office of a Member,
        declare the House in recess within                         (1) note all questions of order, with                 Delegate, or Resident Commissioner
        the limits of clause 4, section 5, arti-                the decisions thereon, the record of                     who has died, resigned, or been expelled
        cle I of the Constitution and notify                    which shall be appended to the Jour-                     until a successor is elected. The Clerk
        Members, Delegates, and the Resi-                       nal of each session;                                     shall perform similar duties in the
        dent Commissioner accordingly.                             (2) enter on the Journal the hour at                  event that a vacancy is declared by the
        (d) The Speaker may convene the                         which the House adjourns;                                House in any congressional district be-
     House in a place at the seat of govern-                       (3) complete the distribution of the                  cause of the incapacity of the person
     ment other than the Hall of the House                      Journal to Members, Delegates, and                       representing such district or other rea-
     if, in the opinion of the Speaker, the                     the Resident Commissioner, together                      son. When acting as a supervisory au-
     public interest shall warrant it.                          with an accurate and complete index,                     thority over such staff, the Clerk shall
        (e) During any recess or adjournment                    as soon as possible after the close of                   have authority to terminate employees
     of not more than three days, if in the                     a session; and                                           and, with the approval of the Com-
     opinion of the Speaker the public in-                         (4) send a copy of the Journal to                     mittee on House Administration, may
     terest so warrants, then the Speaker,                      the executive of and to each branch                      appoint such staff as is required to op-
     after consultation with the Minority                       of the legislature of every State as                     erate the office until a successor is
     Leader, may reconvene the House at a                       may be requested by such State offi-                     elected.
     time other than that previously ap-                        cials.                                                     (j) In addition to any other reports
     pointed, within the limits of clause 4,                    (d)(1) The Clerk shall attest and affix                  required by the Speaker or the Com-
     section 5, article I of the Constitution,                the seal of the House to all writs, war-                   mittee on House Administration, the
     and notify Members, Delegates, and the                   rants, and subpoenas issued by order of                    Clerk shall report to the Committee on
     Resident Commissioner accordingly.                       the House and certify the passage of all                   House Administration not later than 45
        (f) The Speaker may name a designee                   bills and joint resolutions.                               days following the close of each semi-
     for purposes of paragraphs (c), (d), and                   (2) The Clerk shall examine all bills,                   annual period ending on June 30 or on
     (e).                                                     amendments, and joint resolutions                          December 31 on the financial and oper-
                                                              after passage by the House and, in co-                     ational status of each function under
                       RULE II                                operation with the Senate, examine all
            OTHER OFFICERS AND OFFICIALS                                                                                 the jurisdiction of the Clerk. Each re-
                                                              bills and joint resolutions that have                      port shall include financial statements
     Elections                                                passed both Houses to see that they are                    and a description or explanation of cur-
        1. There shall be elected at the com-                 correctly     enrolled   and    forthwith                  rent operations, the implementation of
     mencement of each Congress, to con-                      present those bills and joint resolu-                      new policies and procedures, and future
     tinue in office until their successors                   tions that originated in the House to                      plans for each function.
     are chosen and qualified, a Clerk, a                     the President in person after their sig-                     (k) The Clerk shall fully cooperate
     Sergeant-at-Arms, a Chief Administra-                    nature by the Speaker and the Presi-                       with the appropriate offices and per-
     tive Officer, and a Chaplain. Each of                    dent of the Senate, and report to the                      sons in the performance of reviews and
     these officers shall take an oath to sup-                House the fact and date of their pre-                      audits of financial records and admin-
     port the Constitution of the United                      sentment.                                                  istrative operations.
     States, and for the true and faithful ex-                  (e) The Clerk shall cause the cal-
                                                              endars of the House to be distributed                      Sergeant-at-Arms
     ercise of the duties of the office to the
     best of the knowledge and ability of                     each legislative day.                                        3. (a) The Sergeant-at-Arms shall at-
     the officer, and to keep the secrets of                    (f) The Clerk shall—                                     tend the House during its sittings and
     the House. Each of these officers shall                       (1) retain in the library at the Of-                  maintain order under the direction of
     appoint all of the employees of the de-                    fice of the Clerk for the use of the                     the Speaker or other presiding officer.
     partment concerned provided for by                         Members, Delegates, Resident Com-                        The Sergeant-at-Arms shall execute
     law. The Clerk, Sergeant-at-Arms, and                      missioner, and officers of the House,                    the commands of the House, and all
     Chief Administrative Officer may be                        and not to be withdrawn therefrom,                       processes issued by authority thereof,
     removed by the House or by the Speak-                      two copies of all the books and print-                   directed to the Sergeant-at-Arms by
     er.                                                        ed documents deposited there; and                        the Speaker.
                                                                   (2) deliver to any Member, Dele-                        (b) The symbol of the Office of the
     Clerk                                                      gate, or the Resident Commissioner                       Sergeant-at-Arms shall be the mace,
        2. (a) At the commencement of the                       an extra copy of each document re-                       which shall be borne by the Sergeant-
     first session of each Congress, the                        quested by that Member, Delegate, or                     at-Arms while enforcing order on the
     Clerk shall call the Members, Dele-                        Resident Commissioner that has been                      floor.
     gates, and Resident Commissioner to                        printed by order of either House of                        (c) The Sergeant-at-Arms shall en-
     order and proceed to record their pres-                    Congress in any Congress in which                        force strictly the rules relating to the
     ence by States in alphabetical order,                      the Member, Delegate, or Resident                        privileges of the Hall of the House and
     either by call of the roll or by use of                    Commissioner served.                                     be responsible to the House for the offi-
     the electronic voting system. Pending                      (g) The Clerk shall provide for the                      cial conduct of employees of the Office
     the election of a Speaker or Speaker                     temporary absence or disability of the                     of the Sergeant-at-Arms.
     pro tempore, and in the absence of a                     Clerk by designating an official in the                      (d) The Sergeant-at-Arms may not
     Member acting as Speaker pro tempore                     Office of the Clerk to sign all papers                     allow a person to enter the room over
     pursuant to clause 8(b)(3)(A) of rule I,                 that may require the official signature                    the Hall of the House during its
     the Clerk shall preserve order and de-                   of the Clerk and to perform all other                      sittings and, from 15 minutes before
     corum and decide all questions of                        official acts that the Clerk may be re-                    the hour of the meeting of the House
     order, subject to appeal by a Member,                    quired to perform under the rules and                      each day until 10 minutes after ad-
     Delegate, or Resident Commissioner.                      practices of the House, except such of-                    journment, shall see that the floor is
        (b) At the commencement of every                      ficial acts as are provided for by stat-                   cleared of all persons except those priv-
     regular session of Congress, the Clerk                   ute. Official acts performed by the des-                   ileged to remain.
     shall make and cause to be delivered to                  ignated official shall be under the                          (e) In addition to any other reports
     each Member, Delegate, and the Resi-                     name of the Clerk. The designation                         required by the Speaker or the Com-
     dent Commissioner a list of the reports                  shall be in writing and shall be laid be-                  mittee on House Administration, the
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                                                          HOUSE OF REPRESENTATIVES
     Rule II, clause 3                                                                                                                                 Rule II, clause 9

     Sergeant-at-Arms shall report to the                       (b) In addition to any other reports                       employee of the House of any rule of
     Committee on House Administration                        required by the Committee on House                           the House or of any law applicable to
     not later than 45 days following the                     Administration, the Chief Administra-                        the performance of official duties or
     close of each semiannual period ending                   tive Officer shall report to the Com-                        the discharge of official responsibil-
     on June 30 or on December 31 on the fi-                  mittee on House Administration not                           ities that may require referral to the
     nancial and operational status of each                   later than 45 days following the close                       appropriate Federal or State authori-
     function under the jurisdiction of the                   of each semiannual period ending on                          ties under clause 3(a)(3) of rule XI.
     Sergeant-at-Arms. Each report shall                      June 30 or December 31 on the financial                    Office of the Historian
     include financial statements and a de-                   and operational status of each function
                                                              under the jurisdiction of the Chief Ad-                      7. There is established an Office of
     scription or explanation of current op-
                                                              ministrative Officer. Each report shall                    the Historian of the House of Rep-
     erations, the implementation of new                                                                                 resentatives. The Speaker shall ap-
     policies and procedures, and future                      include financial statements and a de-
                                                              scription or explanation of current op-                    point and set the annual rate of pay for
     plans for each function.                                                                                            employees of the Office of the Histo-
       (f) The Sergeant-at-Arms shall fully                   erations, the implementation of new
                                                              policies and procedures, and future                        rian.
     cooperate with the appropriate offices
     and persons in the performance of re-                    plans for each function.                                   Office of General Counsel
     views and audits of financial records                      (c) The Chief Administrative Officer                       8. (a) There is established an Office of
     and administrative operations.                           shall fully cooperate with the appro-                      General Counsel for the purpose of pro-
       (g)(1) The Sergeant-at-Arms is au-                     priate offices and persons in the per-                     viding legal assistance and representa-
     thorized and directed to impose a fine                   formance of reviews and audits of fi-                      tion to the House. Legal assistance and
     against a Member, Delegate, or the                       nancial records and administrative op-                     representation shall be provided with-
     Resident Commissioner for the use of                     erations.                                                  out regard to political affiliation. The
     an electronic device for still photog-                     (d)(1) Upon notification from the                        Speaker shall appoint and set the an-
     raphy or for audio or visual recording                   chair of the Committee on Ethics pur-                      nual rate of pay for employees of the
     or broadcasting in contravention of                      suant to clause 3(g)(3)(C), the Chief Ad-                  Office of General Counsel. The Office of
     clause 5 of rule XVII and any applica-                   ministrative Officer shall deduct the                      General Counsel shall function pursu-
     ble Speaker’s announced policy on                        amount of any fine levied under clause                     ant to the direction of the Speaker,
     electronic devices.                                      3(g) from the net salary otherwise due                     who shall consult with the Bipartisan
       (2) A fine imposed pursuant to this                    the Member, Delegate, or the Resident                      Legal Advisory Group.
     paragraph shall be $500 for a first of-                  Commissioner.                                                (b) There is established a Bipartisan
     fense and $2,500 for any subsequent of-                    (2) The Chief Administrative Officer                     Legal Advisory Group composed of the
     fense.                                                   is authorized to establish policies and                    Speaker and the majority and minority
       (3)(A) The Sergeant-at-Arms shall                      procedures for such salary deductions.                     leaderships. Unless otherwise provided
     promptly notify the Member, Delegate,                    Chaplain                                                   by the House, the Bipartisan Legal Ad-
     or the Resident Commissioner, the                          5. The Chaplain shall offer a prayer                     visory Group speaks for, and articu-
     Speaker, the Chief Administrative Offi-                  at the commencement of each day’s                          lates the institutional position of, the
     cer, and the Committee on Ethics of                      sitting of the House.                                      House in all litigation matters.
     any such fine.                                                                                                        (c) The House, the Speaker, a com-
                                                              Office of Inspector General
       (B) Such Member, Delegate, or Resi-                                                                               mittee or the chair of a committee au-
     dent Commissioner may appeal the fine                      6. (a) There is established an Office of                 thorized during a prior Congress to act
     in writing to the Committee on Ethics                    Inspector General.                                         in a litigation matter is authorized to
     not later than 30 calendar days or five                    (b) The Inspector General shall be ap-                   act as the successor in interest to the
     legislative days, whichever is later,                    pointed for a Congress by the Speaker,                     House, the Speaker, such committee or
     after notification pursuant to subdivi-                  the Majority Leader, and the Minority                      the chair of such committee of a prior
     sion (A).                                                Leader, acting jointly.                                    Congress, respectively, with respect to
       (C) Upon receipt of an appeal pursu-                     (c) Subject to the policy direction                      such litigation matter, and to take
     ant to subdivision (B), the Committee                    and oversight of the Committee on                          such steps as may be appropriate, in-
     on Ethics shall have a period of 30 cal-                 House Administration, the Inspector                        cluding, but not limited to, the
     endar days or five legislative days,                     General shall only—                                        issuance of subpoenas, to ensure con-
     whichever is later, to consider the ap-                      (1) provide audit, investigative, and                  tinuation of such litigation matter.
     peal. The fine will be upheld unless the                   advisory services to the House and
                                                                joint entities in a manner consistent                    Office of Diversity and Inclusion
     appeal is agreed to by a majority of the
     Committee. Upon a determination re-                        with government-wide standards;                            9. (a) There is established an Office of
     garding the appeal or if no appeal has                       (2) inform the officers or other offi-                 Diversity and Inclusion. The Speaker,
     been filed at the expiration of the pe-                    cials who are the subject of an audit                    in consultation with the Minority
     riod specified in subdivision (B), the                     of the results of that audit and sug-                    Leader, shall appoint a Director of the
     chair of the Committee on Ethics shall                     gesting appropriate curative actions;                    Office from recommendations provided
     promptly notify the Member, Delegate,                        (3)   simultaneously     notify   the                  by the chair of the Committee on
     or the Resident Commissioner, the                          Speaker, the Majority Leader, the                        House Administration in consultation
     Speaker, the Sergeant-at-Arms, and                         Minority Leader, and the chair and                       with the ranking minority member of
     the Chief Administrative Officer, and                      ranking minority member of the                           such committee.
     shall make such notification publicly                      Committee on House Administration                          (b) Subject to the policy direction
     available. The Speaker shall promptly                      in the case of any financial irregu-                     and oversight of the Committee on
     lay such notification before the House.                    larity discovered in the course of car-                  House Administration, the Office of Di-
       (4) The Sergeant-at-Arms and the                         rying out responsibilities under this                    versity and Inclusion shall—
     Committee on Ethics are authorized to                      clause;                                                      (1) direct and guide House employ-
     establish policies and procedures for                        (4) simultaneously submit to the                         ing offices to recruit, hire, train, de-
     the implementation of this paragraph.                      Speaker, the Majority Leader, the                          velop, advance, promote, and retain a
                                                                Minority Leader, and the chair and                         diverse workforce;
     Chief Administrative Officer                               ranking minority member of the                               (2) survey and evaluate diversity in
       4. (a) The Chief Administrative Offi-                    Committee on Appropriations and                            House employing offices;
     cer shall have operational and finan-                      the Committee on House Administra-                           (3) through the Director of the Of-
     cial responsibility for functions as as-                   tion a report of each audit conducted                      fice at the end of each session of Con-
     signed by the Committee on House Ad-                       under this clause; and                                     gress, submit a House of Representa-
     ministration and shall be subject to                         (5) report to the Committee on Eth-                      tives diversity report to the Speaker,
     the policy direction and oversight of                      ics information involving possible                         the Majority Leader, the Minority
     the Committee on House Administra-                         violations by a Member, Delegate,                          Leader, the chair and ranking minor-
     tion.                                                      Resident Commissioner, officer, or                         ity member of the Committee on
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                                                                         RULES OF THE
     Rule II, clause 9                                                                                                                                Rule IV, clause 6

       House Administration, and the chair                    select committee, joint committee, or                        (b) Until 15 minutes of the hour of
       and ranking minority member of the                     conference committee.                                      the meeting of the House, persons em-
       Subcommittee on the Legislative                                        RULE IV                                    ployed in its service, accredited mem-
       Branch of the Committee on Appro-                                                                                 bers of the press entitled to admission
                                                                       THE HALL OF THE HOUSE
       priations; and                                                                                                    to the press gallery, and other persons
         (4) provide consultation and guid-                   Use and admittance                                         on request of a Member, Delegate, or
       ance in furtherance of increasing di-                    1. The Hall of the House shall be used                   Resident Commissioner by card or in
       versity and inclusion in the House.                    only for the legislative business of the                   writing, may be admitted to the Hall of
     Office of the Whistleblower Ombuds                       House and for caucus and conference                        the House.
                                                              meetings of its Members, except when                         4. (a) A former Member, Delegate, or
       10. (a) There is established an Office
                                                              the House agrees to take part in any                       Resident Commissioner; a former Par-
     of the Whistleblower Ombuds. The
                                                              ceremonies to be observed therein.                         liamentarian of the House; or a former
     Speaker, in consultation with the
                                                                2. (a) Only the following persons shall                  elected officer of the House or former
     chairs and ranking minority members
                                                              be admitted to the Hall of the House or                    minority employee nominated as an
     of the Committee on House Adminis-
                                                              rooms leading thereto:                                     elected officer of the House shall not be
     tration and the Committee on Over-
                                                                  (1) Members of Congress, Members-                      entitled to the privilege of admission
     sight and Reform, shall appoint a Di-
                                                                elect, Delegates, Delegates-elect, the                   to the Hall of the House and rooms
     rector of the Office.
                                                                Resident Commissioner, and the                           leading thereto if such individual—
       (b) Subject to the policy direction
                                                                Resident Commissioner-elect.                                 (1) is a registered lobbyist or agent
     and oversight of the Committee on
                                                                  (2) Contestants in election cases                        of a foreign principal as those terms
     House Administration, and in consulta-
                                                                during the pendency of their cases on                      are defined in clause 5 of rule XXV;
     tion with any other committee (at the
                                                                the floor.                                                   (2) has any direct personal or pecu-
     request of the chair or ranking minor-
                                                                  (3) The President and Vice Presi-                        niary interest in any legislative
     ity member of such other committee),
                                                                dent of the United States and their                        measure pending before the House or
     the Office of the Whistleblower Ombuds
                                                                private secretaries.                                       reported by a committee;
     shall—
                                                                  (4) Justices of the Supreme Court.                         (3) is in the employ of or represents
         (1) promulgate best practices for
                                                                  (5) Elected officers and minority                        any party or organization for the
       whistleblower intake for offices of
                                                                employees nominated as elected offi-                       purpose of influencing, directly or in-
       the House; and
                                                                cers of the House.                                         directly, the passage, defeat, or
         (2) provide training for offices of
                                                                  (6) The Parliamentarian.                                 amendment of any legislative pro-
       the House on whistleblower intake,
                                                                  (7) Staff of committees when busi-                       posal; or
       including establishing an effective
                                                                ness from their committee is under                           (4) has been convicted by a court of
       reporting system for whistleblowers,
                                                                consideration, and staff of the respec-                    record for the commission of a crime
       maintaining whistleblower confiden-
                                                                tive party leaderships when so as-                         in relation to that individual’s elec-
       tiality, advising staff of relevant
       laws and policies, and protecting in-                    signed with the approval of the                            tion to, or service to, the House.
       formation     provided   by   whistle-                   Speaker.                                                   (b) The Speaker may promulgate reg-
       blowers.                                                   (8) Not more than one person from                      ulations to carry out this rule includ-
                                                                the staff of a Member, Delegate, or                      ing regulations that exempt ceremo-
                     RULE III                                   Resident Commissioner when that                          nial or educational functions from the
          THE MEMBERS, DELEGATES, AND                           Member, Delegate, or Resident Com-                       restrictions of this clause.
        RESIDENT COMMISSIONER OF PUERTO                         missioner has an amendment under                           5. A person from the staff of a Mem-
                        RICO                                    consideration (subject to clause 5).                     ber, Delegate, or Resident Commis-
     Voting                                                       (9) The Architect of the Capitol.                      sioner may be admitted to the Hall of
                                                                  (10) The Librarian of Congress and                     the House or rooms leading thereto
       1. Every Member shall be present
                                                                the assistant in charge of the Law Li-                   under clause 2 only upon prior notice
     within the Hall of the House during its
                                                                brary.                                                   to the Speaker. Such persons, and per-
     sittings, unless excused or necessarily
                                                                  (11) The Secretary and Sergeant-at-                    sons from the staff of committees ad-
     prevented, and shall vote on each ques-
                                                                Arms of the Senate.                                      mitted under clause 2, may not engage
     tion put, unless having a direct per-
                                                                  (12) Heads of departments.                             in efforts in the Hall of the House or
     sonal or pecuniary interest in the
                                                                  (13) Foreign ministers.                                rooms leading thereto to influence
     event of such question.
                                                                  (14) Governors of States and of the                    Members with regard to the legislation
       2. (a) A Member may not authorize
                                                                Territories and the Mayor of the Dis-                    being amended. Such persons are ad-
     any other person to cast the vote of
                                                                trict of Columbia.                                       mitted only to advise the Member, Del-
     such Member or record the presence of
                                                                  (15) Former Members, Delegates,                        egate, Resident Commissioner, or com-
     such Member in the House or the Com-
                                                                and Resident Commissioners; former                       mittee responsible for their admission.
     mittee of the Whole House on the state
                                                                Parliamentarians of the House; and                       A person who violates this clause may
     of the Union.
                                                                former elected officers and minority                     be excluded during the session from the
       (b) No other person may cast a Mem-
                                                                employees nominated as elected offi-                     Hall of the House and rooms leading
     ber’s vote or record a Member’s pres-
     ence in the House or the Committee of                      cers of the House (subject to clause                     thereto by the Speaker.
     the Whole House on the state of the                        4).
                                                                  (16) One attorney to accompany a                       Gallery
     Union.
                                                                Member, Delegate, or Resident Com-                         6. (a) The Speaker shall set aside a
     Delegates and the Resident                                 missioner who is the respondent in                       portion of the west gallery for the use
     Commissioner                                               an investigation undertaken by the                       of the President, the members of the
       3. (a) In a Committee of the Whole                       Committee on Ethics when a rec-                          Cabinet, justices of the Supreme Court,
     House on the State of the Union, each                      ommendation of that committee is                         foreign ministers and suites, and the
     Delegate and the Resident Commis-                          under consideration in the House.                        members of their respective families.
     sioner shall possess the same powers                         (17) Such persons as have, by name,                    The Speaker shall set aside another
     and privileges as Members of the                           received the thanks of Congress.                         portion of the same gallery for the ac-
     House. Each Delegate and the Resident                      (b) The Speaker may not entertain a                      commodation of persons to be admitted
     Commissioner shall be elected to serve                   unanimous consent request or a motion                      on the cards of Members, Delegates, or
     on standing committees in the same                       to suspend this clause or clauses 1, 3, 4,                 the Resident Commissioner.
     manner as Members and shall possess                      or 5.                                                        (b) The Speaker shall set aside the
     in such committees the same powers                         3. (a) Except as provided in paragraph                   southerly half of the east gallery for
     and privileges as the other members of                   (b), all persons not entitled to the                       the use of the families of Members of
     the committee.                                           privilege of the floor during the session                  Congress. The Speaker shall control
       (b) The Delegates and the Resident                     shall be excluded at all times from the                    one bench. On the request of a Member,
     Commissioner may be appointed to any                     Hall of the House and the cloakrooms.                      Delegate, Resident Commissioner, or
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                                                          HOUSE OF REPRESENTATIVES
     Rule IV, clause 6                                                                                                                               Rule VII, clause 6

     Senator, the Speaker shall issue a card                  shall supervise the execution of their                     House or a committee or a sub-
     of admission to the family of such indi-                 duties.                                                    committee.
     vidual, which may include their visi-                    News media galleries                                          (2) An investigative record that con-
     tors. No other person shall be admitted                                                                             tains personal data relating to a spe-
     to this section.                                           2. A portion of the gallery over the                     cific living person (the disclosure of
                                                              Speaker’s chair as may be necessary to                     which would be an unwarranted inva-
     Prohibition on campaign contributions                    accommodate representatives of the                         sion of personal privacy), an adminis-
       7. A Member, Delegate, Resident                        press wishing to report debates and                        trative record relating to personnel, or
     Commissioner, officer, or employee of                    proceedings shall be set aside for their                   a record relating to a hearing that was
     the House, or any other person entitled                  use. Reputable reporters and cor-                          closed under clause 2(g)(2) of rule XI
     to admission to the Hall of the House                    respondents shall be admitted thereto                      shall be made available if it has been in
     or rooms leading thereto by this rule,                   under such regulations as the Speaker                      existence for 50 years.
     may not knowingly distribute a polit-                    may prescribe from time to time. The                          (3) A record for which a time, sched-
     ical campaign contribution in the Hall                   Standing Committee of Correspondents                       ule, or condition for availability is
     of the House or rooms leading thereto.                   for the Press Gallery, and the Execu-                      specified by order of the House shall be
                      RULE V                                  tive Committee of Correspondents for                       made available in accordance with that
                                                              the Periodical Press Gallery, shall su-                    order. Except as otherwise provided by
             BROADCASTING THE HOUSE
                                                              pervise such galleries, including the                      order of the House, a record of a com-
       1. The Speaker shall administer, di-                   designation of its employees, subject to
     rect, and control a system for closed-                                                                              mittee for which a time, schedule, or
                                                              the direction and control of the Speak-                    condition for availability is specified
     circuit viewing of floor proceedings of                  er. The Speaker may admit to the
     the House in the offices of all Members,                                                                            by order of the committee (entered
                                                              floor, under such regulations as the                       during the Congress in which the
     Delegates, the Resident Commissioner,                    Speaker may prescribe, not more than
     and committees and in such other                                                                                    record is made or acquired by the com-
                                                              one representative of each press asso-                     mittee) shall be made available in ac-
     places in the Capitol and the House Of-                  ciation.
     fice Buildings as the Speaker considers                                                                             cordance with the order of the com-
                                                                3. A portion of the gallery as may be                    mittee.
     appropriate. Such system may include                     necessary to accommodate reporters of
     other communications functions as the                                                                                  (4) A record (other than a record re-
                                                              news to be disseminated by radio, tele-                    ferred to in subparagraph (1), (2), or (3))
     Speaker considers appropriate. Any                       vision, and similar means of trans-
     such communications shall be subject                                                                                shall be made available if it has been in
                                                              mission, wishing to report debates and                     existence for 30 years.
     to rules and regulations issued by the                   proceedings, shall be set aside for their
     Speaker.                                                                                                               4. (a) A record may not be made
                                                              use. Reputable reporters and cor-                          available for public use under clause 3
       2. (a) The Speaker shall administer,                   respondents shall be admitted thereto
     direct, and control a system for com-                                                                               if the Clerk determines that such avail-
                                                              under such regulations as the Speaker                      ability would be detrimental to the
     plete and unedited audio and visual                      may prescribe. The Executive Com-
     broadcasting and recording of the floor                                                                             public interest or inconsistent with the
                                                              mittee of the Radio and Television Cor-                    rights and privileges of the House. The
     proceedings of the House. The Speaker                    respondents’ Galleries shall supervise
     shall provide for the distribution of                                                                               Clerk shall notify in writing the chair
                                                              such gallery, including the designation                    and ranking minority member of the
     such broadcasts and recordings to news                   of its employees, subject to the direc-
     media, for the storage of audio and                                                                                 Committee on House Administration of
                                                              tion and control of the Speaker. The                       any such determination.
     video recordings of the proceedings,                     Speaker may admit to the floor, under
     and for the closed-captioning of the                                                                                   (b) A determination of the Clerk
                                                              such regulations as the Speaker may                        under paragraph (a) is subject to later
     proceedings for hearing-impaired per-                    prescribe, not more than one represent-
     sons.                                                                                                               orders of the House and, in the case of
                                                              ative of each media outlet.                                a record of a committee, later orders of
       (b) All television and radio broad-
     casting stations, networks, services,                                    RULE VII                                   the committee.
     and systems (including cable systems)                              RECORDS OF THE HOUSE                                5. (a) This rule does not supersede
     that are accredited to the House Radio                                                                              rule VIII or clause 11 of rule X and does
                                                              Archiving                                                  not authorize the public disclosure of
     and Television Correspondents’ Gal-
                                                                1. (a) At the end of each Congress, the                  any record if such disclosure is prohib-
     leries, and all radio and television cor-
                                                              chair of each committee shall transfer                     ited by law or executive order of the
     respondents who are so accredited,
                                                              to the Clerk any noncurrent records of                     President.
     shall be provided access to the live cov-
                                                              such committee, including the sub-                            (b) The Committee on House Admin-
     erage of the House.
                                                              committees thereof.                                        istration may prescribe guidelines and
       (c) Coverage made available under
                                                                (b) At the end of each Congress, each                    regulations governing the applicability
     this clause, including any recording
                                                              officer of the House elected under rule                    and implementation of this rule.
     thereof—
                                                              II shall transfer to the Clerk any non-                       (c) A committee may withdraw from
         (1) may not be used for any par-
                                                              current records made or acquired in                        the National Archives and Records Ad-
       tisan political campaign purpose;
                                                              the course of the duties of such officer.                  ministration any record of the com-
         (2) may not be used in any commer-
                                                                2. The Clerk shall deliver the records                   mittee delivered to the Archivist under
       cial advertisement; and
                                                              transferred under clause 1, together                       this rule. Such a withdrawal shall be
         (3) may not be broadcast with com-
                                                              with any other noncurrent records of                       on a temporary basis and for official
       mercial sponsorship except as part of
                                                              the House, to the Archivist of the                         use of the committee.
       a bona fide news program or public
                                                              United States for preservation at the                      Definition of record
       affairs documentary program.
                                                              National Archives and Records Admin-
       3. The Speaker may delegate any of                                                                                   6. (a) In this rule the term ‘‘record’’
                                                              istration. Records so delivered are the
     the responsibilities under this rule to                                                                             means any official, permanent record
                                                              permanent property of the House and
     such legislative entity as the Speaker                                                                              of the House (other than a record of an
                                                              remain subject to this rule and any
     considers appropriate.                                                                                              individual Member, Delegate, or Resi-
                                                              order of the House.
                      RULE VI                                                                                            dent Commissioner as described in
                                                              Public availability                                        paragraph (b)), including—
      OFFICIAL REPORTERS AND NEWS MEDIA
                     GALLERIES                                  3. (a) The Clerk shall authorize the                          (1) with respect to a committee, an
                                                              Archivist to make records delivered                           official, permanent record of the
     Official reporters                                       under clause 2 available for public use,                      committee (including any record of a
       1. Subject to the direction and con-                   subject to clause 4(b) and any order of                       legislative, oversight, or other activ-
     trol of the Speaker, the Clerk shall ap-                 the House.                                                    ity of such committee or a sub-
     point, and may remove for cause, the                       (b)(1) A record shall immediately be                        committee thereof); and
     official reporters of the House, includ-                 made available if it was previously                             (2) with respect to an officer of the
     ing stenographers of committees, and                     made available for public use by the                          House elected under rule II, an offi-
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                                                                         RULES OF THE
     Rule VII, clause 6                                                                                                                                Rule X, clause 1

       cial, permanent record made or ac-                     judicial subpoena or order is a proper                       (3) A resolution causing a vacancy in
       quired in the course of the duties of                  exercise of jurisdiction by the court                      the Office of Speaker shall not be privi-
       such officer.                                          and is consistent with the privileges                      leged except if offered by direction of a
       (b) Records created, generated, or re-                 and rights of the House, the Member,                       party caucus or conference.
     ceived by the congressional office of a                  Delegate, Resident Commissioner, offi-                       (b) A question of personal privilege
     Member, Delegate, or the Resident                        cer, or employee of the House shall                        shall have precedence of all other ques-
     Commissioner in the performance of of-                   comply with the judicial subpoena or                       tions except motions to adjourn.
     ficial duties are exclusively the per-                   order by supplying copies.                                                  RULE X
     sonal property of the individual Mem-                      (b) Under no circumstances may min-
                                                                                                                               ORGANIZATION OF COMMITTEES
     ber, Delegate, or the Resident Commis-                   utes or transcripts of executive ses-
     sioner and such Member, Delegate, or                     sions, or evidence of witnesses in re-                     Committees and their legislative
     Resident Commissioner has control                        spect thereto, be disclosed or copied.                     jurisdictions
     over such records.                                       During a period of recess or adjourn-                        1. There shall be in the House the fol-
     Withdrawal of papers                                     ment of longer than three days, the                        lowing standing committees, each of
                                                              Speaker may authorize compliance or                        which shall have the jurisdiction and
       7. A memorial or other paper pre-                      take such other action as the Speaker                      related functions assigned by this
     sented to the House may not be with-                     considers appropriate under the cir-                       clause and clauses 2, 3, and 4. All bills,
     drawn from its files without its leave.                  cumstances. Upon the reconvening of                        resolutions, and other matters relating
     If withdrawn certified copies thereof                    the House, all matters that transpired                     to subjects within the jurisdiction of
     shall be left in the Office of the Clerk.                under this clause shall promptly be                        the standing committees listed in this
     When an act passes for the settlement                    laid before the House by the Speaker.                      clause shall be referred to those com-
     of a claim, the Clerk may transmit to                      4. Nothing in this rule shall be con-                    mittees, in accordance with clause 2 of
     the officer charged with the settlement                  strued to deprive, condition, or waive                     rule XII, as follows:
     thereof the papers on file in the Office                 the constitutional or legal privileges or                      (a) Committee on Agriculture.
     of the Clerk relating to such claim.                     rights applicable or available at any                            (1) Adulteration of seeds, insect
     The Clerk may lend temporarily to an                     time to a Member, Delegate, Resident                           pests, and protection of birds and
     officer or bureau of the executive de-                   Commissioner, officer, or employee of                          animals in forest reserves.
     partments any papers on file in the Of-                  the House, or of the House itself, or the                        (2) Agriculture generally.
     fice of the Clerk relating to any matter                 right of such Member, Delegate, Resi-                            (3) Agricultural and industrial
     pending before such officer or bureau,                   dent Commissioner, officer, or em-                             chemistry.
     taking proper receipt therefor.                          ployee, or of the House itself, to assert                        (4) Agricultural colleges and ex-
                     RULE VIII                                such privileges or rights before a court                       periment stations.
              RESPONSE TO SUBPOENAS                           in the United States.                                            (5) Agricultural economics and
       1. (a) When a Member, Delegate, Resi-                                  RULE IX                                        research.
     dent Commissioner, officer, or em-                                QUESTIONS OF PRIVILEGE                                  (6) Agricultural education exten-
     ployee of the House is properly served                     1. Questions of privilege shall be,                          sion services.
     with a judicial subpoena or order, such                  first, those affecting the rights of the                         (7) Agricultural production and
     Member, Delegate, Resident Commis-                       House collectively, its safety, dignity,                       marketing and stabilization of
     sioner, officer, or employee shall com-                  and the integrity of its proceedings;                          prices of agricultural products, and
     ply, consistently with the privileges                    and second, those affecting the rights,                        commodities (not including dis-
     and rights of the House, with the judi-                  reputation, and conduct of Members,                            tribution outside of the United
     cial subpoena or order as hereinafter                    Delegates, or the Resident Commis-                             States).
     provided, unless otherwise determined                    sioner, individually, in their represent-                        (8) Animal industry and diseases
     under this rule.                                         ative capacity only.                                           of animals.
       (b) For purposes of this rule, ‘‘judi-                   2. (a)(1) A resolution reported as a                           (9) Commodity exchanges.
     cial subpoena or order’’ means a judi-                   question of the privileges of the House,                         (10) Crop insurance and soil con-
     cial subpoena or judicial order direct-                  or offered from the floor by the Major-                        servation.
     ing appearance as a witness relating to                  ity Leader or the Minority Leader as a                           (11) Dairy industry.
     the official functions of the House or                   question of the privileges of the House,                         (12) Entomology and plant quar-
     for the production or disclosure of any                  or offered as privileged under clause 1,                       antine.
     document relating to the official func-                  section 7, article I of the Constitution,                        (13) Extension of farm credit and
     tions of the House.                                      shall have precedence of all other ques-                       farm security.
       2. (a) Upon receipt of a properly                      tions except motions to adjourn. A res-                          (14) Inspection of livestock, poul-
     served judicial subpoena or order, a                     olution offered from the floor by a                            try, meat products, and seafood and
     Member, Delegate, Resident Commis-                       Member, Delegate, or Resident Com-                             seafood products.
     sioner, officer, or employee of the                      missioner other than the Majority                                (15) Forestry in general and for-
     House shall promptly notify the Speak-                   Leader or the Minority Leader as a                             est reserves other than those cre-
     er in writing of its receipt together                    question of the privileges of the House                        ated from the public domain.
     with either:                                             shall have precedence of all other ques-                         (16) Human nutrition and home
          (1) a determination as to whether                   tions except motions to adjourn only                           economics.
       the issuance of the judicial subpoena                  at a time or place, designated by the
                                                                                                                               (17) Plant industry, soils, and ag-
       or order is a proper exercise of juris-                Speaker, in the legislative schedule
                                                                                                                             ricultural engineering.
       diction by the court and is consistent                 within two legislative days after the
       with the privileges and rights of the                  day on which the proponent announces                             (18) Rural electrification.
       House; or                                              to the House an intention to offer the                           (19) Rural development.
          (2) a statement that such Member,                   resolution and the form of the resolu-                           (20) Water conservation related to
       Delegate, Resident Commissioner, of-                   tion. Oral announcement of the form of                         activities of the Department of Ag-
       ficer, or employee of the House in-                    the resolution may be dispensed with                           riculture.
       tends to make a determination with                     by unanimous consent.                                          (b) Committee on Appropriations.
       respect to the matters described in                      (2) The time allotted for debate on a                          (1) Appropriation of the revenue
       subparagraph (1).                                      resolution offered from the floor as a                         for the support of the Government.
       (b) The notification required by para-                 question of the privileges of the House                          (2) Rescissions of appropriations
     graph (a) shall promptly be laid before                  shall be equally divided between (A)                           contained in appropriation Acts.
     the House by the Speaker.                                the proponent of the resolution, and                             (3) Transfers of unexpended bal-
       3. (a) Except as specified in paragraph                (B) the Majority Leader, the Minority                          ances.
     (b) or otherwise ordered by the House,                   Leader, or a designee, as determined by                          (4) Bills and joint resolutions re-
     upon notification to the House that a                    the Speaker.                                                   ported by other committees that
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                                                          HOUSE OF REPRESENTATIVES
     Rule X, clause 1                                                                                                                                   Rule X, clause 1

          provide new entitlement authority                            (3) Establishment, extension, and                         (11) National energy policy gen-
          as defined in section 3(9) of the                         enforcement of special controls                           erally.
          Congressional Budget Act of 1974                          over the Federal budget, including                           (12) Public health and quarantine.
          and referred to the committee                             the budgetary treatment of off-                              (13) Regulation of the domestic
          under clause 4(a)(2).                                     budget Federal agencies and meas-                         nuclear energy industry, including
            (5) Bills and joint resolutions                         ures providing exemption from re-                         regulation of research and develop-
          that provide new budget authority,                        duction under any order issued                            ment reactors and nuclear regu-
          limitation on the use of funds, or                        under part C of the Balanced Budg-                        latory research.
          other authority relating to new di-                       et and Emergency Deficit Control                             (14) Regulation of interstate and
          rect loan obligations and new loan                        Act of 1985.                                              foreign communications.
          guarantee      commitments        ref-                    (e) Committee on Education and                               (15) Travel and tourism.
          erencing section 504(b) of the Con-                      Labor.                                                   The committee shall have the same
          gressional Budget Act of 1974.                               (1) Child labor.                                     jurisdiction with respect to regula-
          (c) Committee on Armed Services.                             (2) Gallaudet University and                         tion of nuclear facilities and of use of
            (1) Ammunition depots; forts; ar-                       Howard University and Hospital.                         nuclear energy as it has with respect
          senals; and Army, Navy, Marine                               (3) Convict labor and the entry of                   to regulation of nonnuclear facilities
          Corps, Air Force, and Space Force                         goods made by convicts into inter-                      and of use of nonnuclear energy.
          reservations and establishments.                          state commerce.                                           (g) Committee on Ethics.
            (2) Common defense generally.                              (4) Food programs for children in                         The Code of Official Conduct.
            (3) Conservation, development,                          schools.                                                  (h) Committee on Financial Serv-
          and use of naval petroleum and oil                           (5) Labor standards and statis-                      ices.
          shale reserves.                                           tics.                                                        (1) Banks and banking, including
            (4) The Department of Defense                              (6) Education or labor generally.                      deposit insurance and Federal mon-
          generally, including the Depart-                             (7) Mediation and arbitration of                       etary policy.
          ments of the Army, Navy, and Air                          labor disputes.                                              (2) Economic stabilization, de-
          Force, generally.                                            (8) Regulation or prevention of                        fense production, renegotiation,
            (5) Interoceanic canals generally,                      importation of foreign laborers                           and control of the price of commod-
          including measures relating to the                        under contract.                                           ities, rents, and services.
          maintenance, operation, and ad-                              (9) Workers’ compensation.                                (3) Financial aid to commerce
          ministration of interoceanic ca-                             (10) Vocational rehabilitation.                        and industry (other than transpor-
          nals.                                                                                                               tation).
                                                                       (11) Wages and hours of labor.
            (6) Merchant Marine Academy                                                                                          (4) Insurance generally.
                                                                       (12) Welfare of miners.
          and State Maritime Academies.                                                                                          (5) International finance.
                                                                       (13) Work incentive programs.
            (7) Military applications of nu-                                                                                     (6) International financial and
                                                                       (14) Organization, administration,
          clear energy.                                                                                                       monetary organizations.
                                                                    and general management of the De-
            (8) Tactical intelligence and in-                       partment of Education.                                       (7) Money and credit, including
          telligence-related activities of the                                                                                currency and the issuance of notes
                                                                       (15) Organization, administration,
          Department of Defense.                                                                                              and redemption thereof; gold and
                                                                    and general management of the De-
            (9) National security aspects of                                                                                  silver, including the coinage there-
                                                                    partment of Labor.
          merchant marine, including finan-                                                                                   of; valuation and revaluation of the
                                                                    (f) Committee on Energy and Com-
          cial assistance for the construction                                                                                dollar.
                                                                   merce.
          and operation of vessels, mainte-                            (1) Biomedical research and de-                           (8) Public and private housing.
          nance of the U.S. shipbuilding and                        velopment.                                                   (9) Securities and exchanges.
          ship repair industrial base, cabo-                           (2) Consumer affairs and con-                             (10) Urban development.
          tage, cargo preference, and mer-                          sumer protection.                                         (i) Committee on Foreign Affairs.
          chant marine officers and seafarers                                                                                    (1) Relations of the United States
                                                                       (3) Health and health facilities
          as these matters relate to the na-                                                                                  with foreign nations generally.
                                                                    (except health care supported by
          tional security.                                          payroll deductions).                                         (2) Acquisition of land and build-
            (10) Pay, promotion, retirement,                                                                                  ings for embassies and legations in
                                                                       (4) Interstate energy compacts.
          and other benefits and privileges of                                                                                foreign countries.
                                                                       (5) Interstate and foreign com-
          members of the armed forces.                                                                                           (3) Establishment of boundary
                                                                    merce generally.
            (11) Scientific research and devel-                                                                               lines between the United States
                                                                       (6) Exploration, production, stor-                     and foreign nations.
          opment in support of the armed                            age, supply, marketing, pricing,
          services.                                                                                                              (4) Export controls, including
                                                                    and regulation of energy resources,
            (12) Selective service.                                                                                           nonproliferation of nuclear tech-
                                                                    including all fossil fuels, solar en-
            (13) Size and composition of the                                                                                  nology and nuclear hardware.
                                                                    ergy, and other unconventional or
          Army, Navy, Marine Corps, Air                             renewable energy resources.                                  (5) Foreign loans.
          Force, and Space Force.                                      (7) Conservation of energy re-                            (6)    International    commodity
            (14) Soldiers’ and sailors’ homes.                      sources.                                                  agreements (other than those in-
            (15) Strategic and critical mate-                                                                                 volving sugar), including all agree-
                                                                       (8) Energy information generally.
          rials necessary for the common de-                                                                                  ments for cooperation in the export
                                                                       (9) The generation and marketing                       of nuclear technology and nuclear
          fense.                                                    of power (except by federally char-                       hardware.
            (16) Cemeteries administered by                         tered or Federal regional power
          the Department of Defense.                                                                                             (7) International conferences and
                                                                    marketing authorities); reliability
          (d) Committee on the Budget.                                                                                        congresses.
                                                                    and interstate transmission of, and
            (1) Concurrent resolutions on the                       ratemaking for, all power; and                               (8) International education.
          budget (as defined in section 3(4) of                     siting of generation facilities (ex-                         (9) Intervention abroad and dec-
          the Congressional Budget Act of                           cept the installation of inter-                           larations of war.
          1974), other matters required to be                       connections between Government                               (10) Diplomatic service.
          referred to the committee under ti-                       waterpower projects).                                        (11) Measures to foster commer-
          tles III and IV of that Act, and                             (10) General management of the                         cial intercourse with foreign na-
          other measures setting forth appro-                       Department of Energy and manage-                          tions and to safeguard American
          priate levels of budget totals for                        ment and all functions of the Fed-                        business interests abroad.
          the United States Government.                             eral Energy Regulatory Commis-                               (12) International economic pol-
            (2) Budget process generally.                           sion.                                                     icy.
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                                                                          RULES OF THE
     Rule X, clause 1                                                                                                                                   Rule X, clause 1

            (13) Neutrality.                                         Delegates, or the Resident Commis-                         (3) Forfeiture of land grants and
            (14) Protection of American citi-                        sioner; corrupt practices; contested                     alien ownership, including alien
         zens abroad and expatriation.                               elections; credentials and qualifica-                    ownership of mineral lands.
            (15) The American National Red                           tions; and Federal elections gen-                          (4) Geological Survey.
         Cross.                                                      erally.                                                    (5) International fishing agree-
            (16) Trading with the enemy.                                (13) Services to the House, includ-                   ments.
            (17) United Nations organiza-                            ing the House Restaurant, parking                          (6) Interstate compacts relating
         tions.                                                      facilities, and administration of the                    to apportionment of waters for irri-
         (j) Committee on Homeland Secu-                             House Office Buildings and of the                        gation purposes.
       rity.                                                         House wing of the Capitol.                                 (7) Irrigation and reclamation, in-
            (1) Overall homeland security pol-                          (14) Travel of Members, Dele-                         cluding water supply for reclama-
         icy.                                                        gates, and the Resident Commis-                          tion projects and easements of pub-
            (2) Organization, administration,                        sioner.                                                  lic lands for irrigation projects; and
         and general management of the De-                              (15) Raising, reporting, and use of                   acquisition of private lands when
         partment of Homeland Security.                              campaign contributions for can-                          necessary to complete irrigation
            (3) Functions of the Department                          didates for office of Representative,                    projects.
         of Homeland Security relating to                            of Delegate, and of Resident Com-                          (8) Native Americans generally,
         the following:                                              missioner.                                               including the care and allotment of
              (A) Border and port security                                                                                    Native American lands and general
                                                                        (16) Compensation, retirement,
            (except immigration policy and                                                                                    and special measures relating to
                                                                     and other benefits of the Members,
            non-border enforcement).                                                                                          claims that are paid out of Native
                                                                     Delegates, the Resident Commis-
              (B) Customs (except customs                                                                                     American funds.
                                                                     sioner, officers, and employees of
            revenue).                                                Congress.                                                  (9) Insular areas of the United
              (C) Integration, analysis, and                                                                                  States generally (except those af-
                                                                     (l) Committee on the Judiciary.
            dissemination of homeland secu-                                                                                   fecting the revenue and appropria-
                                                                        (1) The judiciary and judicial pro-                   tions).
            rity information.
                                                                     ceedings, civil and criminal.
              (D) Domestic preparedness for                                                                                     (10) Military parks and battle-
            and collective response to ter-                             (2) Administrative practice and                       fields, national cemeteries adminis-
            rorism.                                                  procedure.                                               tered by the Secretary of the Inte-
              (E) Research and development.                             (3) Apportionment of Representa-                      rior, parks within the District of
              (F) Transportation security.                           tives.                                                   Columbia, and the erection of
         (k) Committee on House Adminis-                                (4) Bankruptcy, mutiny, espio-                        monuments to the memory of indi-
       tration.                                                      nage, and counterfeiting.                                viduals.
            (1) Appropriations from accounts                            (5) Civil liberties.                                    (11) Mineral land laws and claims
         for committee salaries and ex-                                                                                       and entries thereunder.
                                                                        (6) Constitutional amendments.
         penses (except for the Committee                                                                                       (12) Mineral resources of public
         on Appropriations); House Informa-                             (7) Criminal law enforcement and
                                                                                                                              lands.
         tion Resources; and allowance and                           criminalization.
                                                                                                                                (13) Mining interests generally.
         expenses of Members, Delegates,                                (8) Federal courts and judges, and
                                                                                                                                (14) Mining schools and experi-
         the Resident Commissioner, offi-                            local courts in the Territories and
                                                                                                                              mental stations.
         cers, and administrative offices of                         possessions.
                                                                                                                                (15) Marine affairs, including
         the House.                                                     (9) Immigration policy and non-                       coastal zone management (except
            (2) Auditing and settling of all ac-                     border enforcement.                                      for measures relating to oil and
         counts described in subparagraph                               (10) Interstate compacts gen-                         other pollution of navigable wa-
         (1).                                                        erally.                                                  ters).
            (3) Employment of persons by the                            (11) Claims against the United                          (16) Oceanography.
         House, including staff for Members,                         States.                                                    (17) Petroleum conservation on
         Delegates, the Resident Commis-                                (12) Meetings of Congress; attend-                    public lands and conservation of
         sioner, and committees; and report-                         ance of Members, Delegates, and                          the radium supply in the United
         ers of debates, subject to rule VI.                         the Resident Commissioner; and                           States.
            (4) Except as provided in para-                          their acceptance of incompatible                           (18) Preservation of prehistoric
         graph (r)(11), the Library of Con-                          offices.                                                 ruins and objects of interest on the
         gress, including management there-                             (13) National penitentiaries.                         public domain.
         of; the House Library; statuary and                                                                                    (19) Public lands generally, in-
         pictures; acceptance or purchase of                            (14) Patents, the Patent and
                                                                     Trademark Office, copyrights, and                        cluding entry, easements, and graz-
         works of art for the Capitol; the                                                                                    ing thereon.
         Botanic Garden; and purchase of                             trademarks.
                                                                        (15) Presidential succession.                           (20) Relations of the United
         books and manuscripts.                                                                                               States with Native Americans and
            (5) The Smithsonian Institution                             (16) Protection of trade and com-                     Native American tribes.
         and the incorporation of similar in-                        merce against unlawful restraints
                                                                                                                                (21) Trans-Alaska Oil Pipeline
         stitutions (except as provided in                           and monopolies.
                                                                                                                              (except ratemaking).
         paragraph (r)(11)).                                            (17) Revision and codification of                     (n) Committee on Oversight and Re-
            (6) Expenditure of accounts de-                          the Statutes of the United States.                     form.
         scribed in subparagraph (1).                                   (18) State and territorial bound-                       (1) Federal civil service, includ-
            (7) Franking Commission.                                 ary lines.                                               ing intergovernmental personnel;
            (8) Printing and correction of the                          (19) Subversive activities affect-                    and the status of officers and em-
         Congressional Record.                                       ing the internal security of the                         ployees of the United States, in-
            (9) Accounts of the House gen-                           United States.                                           cluding their compensation, classi-
         erally.                                                     (m) Committee on Natural Re-                             fication, and retirement.
            (10) Assignment of office space for                    sources.                                                     (2) Municipal affairs of the Dis-
         Members, Delegates, the Resident                               (1) Fisheries and wildlife, includ-                   trict of Columbia in general (other
         Commissioner, and committees.                               ing research, restoration, refuges,                      than appropriations).
            (11) Disposition of useless execu-                       and conservation.                                          (3) Federal paperwork reduction.
         tive papers.                                                   (2) Forest reserves and national                        (4) Government management and
            (12) Election of the President,                          parks created from the public do-                        accounting measures generally.
         Vice President, Members, Senators,                          main.                                                      (5) Holidays and celebrations.
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                                                          HOUSE OF REPRESENTATIVES
     Rule X, clause 1                                                                                                                                  Rule X, clause 2

           (6) Overall economy, efficiency,                           (4) Inland waterways.                                     (5) Pensions of all the wars of the
         and management of government op-                             (5) Inspection of merchant marine                       United States, general and special.
         erations and activities, including                         vessels, lights and signals, life-                          (6) Readjustment of service-
         Federal procurement.                                       saving equipment, and fire protec-                        members to civil life.
           (7) National archives.                                   tion on such vessels.                                       (7) Servicemembers’ civil relief.
           (8) Population and demography                              (6) Navigation and laws relating                          (8) Veterans’ hospitals, medical
         generally, including the Census.                           thereto, including pilotage.                              care, and treatment of veterans.
           (9) Postal service generally, in-                          (7) Registering and licensing of                        (t) Committee on Ways and Means.
         cluding     transportation   of   the                      vessels and small boats.                                    (1) Customs revenue, collection
         mails.                                                       (8) Rules and international ar-                         districts, and ports of entry and de-
           (10)   Public    information    and                      rangements to prevent collisions at                       livery.
         records.                                                   sea.                                                        (2) Reciprocal trade agreements.
           (11) Relationship of the Federal                           (9) The Capitol Building and the                          (3) Revenue measures generally.
         Government to the States and mu-                           Senate and House Office Buildings.                          (4) Revenue measures relating to
         nicipalities generally.                                      (10) Construction or maintenance                        insular possessions.
           (12) Reorganizations in the execu-                       of roads and post roads (other than                         (5) Bonded debt of the United
         tive branch of the Government.                             appropriations therefor).                                 States, subject to the last sentence
         (o) Committee on Rules.                                      (11) Construction or reconstruc-                        of clause 4(f).
           (1) Rules and joint rules (other                         tion, maintenance, and care of                              (6) Deposit of public monies.
         than those relating to the Code of                         buildings and grounds of the Bo-                            (7) Transportation of dutiable
         Official Conduct) and the order of                         tanic Garden, the Library of Con-                         goods.
         business of the House.                                     gress, and the Smithsonian Institu-                         (8) Tax exempt foundations and
           (2) Recesses and final adjourn-                          tion.                                                     charitable trusts.
         ments of Congress.                                           (12) Merchant marine (except for                          (9) National social security (ex-
         (p) Committee on Science, Space,                           national security aspects thereof).                       cept health care and facilities pro-
       and Technology.                                                (13) Purchase of sites and con-                         grams that are supported from gen-
           (1) All energy research, develop-                        struction of post offices, custom-                        eral revenues as opposed to payroll
         ment, and demonstration, and                               houses, Federal courthouses, and                          deductions and except work incen-
         projects therefor, and all federally                       Government buildings within the                           tive programs).
         owned or operated nonmilitary en-                          District of Columbia.
                                                                                                                         General oversight responsibilities
         ergy laboratories.                                           (14) Oil and other pollution of
           (2) Astronautical research and de-                       navigable waters, including inland,                    2. (a) The various standing commit-
         velopment, including resources,                            coastal, and ocean waters.                           tees shall have general oversight re-
         personnel, equipment, and facili-                            (15) Marine affairs, including                     sponsibilities as provided in paragraph
         ties.                                                      coastal zone management, as they                     (b) in order to assist the House in—
           (3) Civil aviation research and de-                      relate to oil and other pollution of                      (1) its analysis, appraisal, and eval-
         velopment.                                                 navigable waters.                                      uation of—
                                                                      (16) Public buildings and occupied                        (A) the application, administra-
           (4) Environmental research and                                                                                     tion, execution, and effectiveness of
         development.                                               or improved grounds of the United
                                                                    States generally.                                         Federal laws; and
           (5) Marine research.                                                                                                 (B) conditions and circumstances
           (6) Commercial application of en-                          (17) Public works for the benefit
                                                                    of navigation, including bridges                          that may indicate the necessity or
         ergy technology.                                                                                                     desirability of enacting new or ad-
                                                                    and dams (other than international
           (7) National Institute of Stand-                                                                                   ditional legislation; and
                                                                    bridges and dams).
         ards and Technology, standardiza-                                                                                    (2) its formulation, consideration,
         tion of weights and measures, and                            (18) Related transportation regu-
                                                                                                                           and enactment of changes in Federal
         the metric system.                                         latory agencies (except the Trans-
                                                                                                                           laws, and of such additional legisla-
                                                                    portation Security Administra-
           (8) National Aeronautics and                                                                                    tion as may be necessary or appro-
                                                                    tion).
         Space Administration.                                                                                             priate.
                                                                      (19) Roads and the safety thereof.                   (b)(1) In order to determine whether
           (9) National Space Council.
                                                                      (20) Transportation, including                     laws and programs addressing subjects
           (10) National Science Foundation.
                                                                    civil aviation, railroads, water                     within the jurisdiction of a committee
           (11) National Weather Service.                           transportation,       transportation
           (12) Outer space, including explo-                                                                            are being implemented and carried out
                                                                    safety (except automobile safety                     in accordance with the intent of Con-
         ration and control thereof.                                and transportation security func-                    gress and whether they should be con-
           (13) Science scholarships.                               tions of the Department of Home-                     tinued, curtailed, or eliminated, each
           (14) Scientific research, develop-                       land Security), transportation in-                   standing committee (other than the
         ment, and demonstration, and                               frastructure, transportation labor,                  Committee on Appropriations) shall re-
         projects therefor.                                         and railroad retirement and unem-                    view and study on a continuing basis—
         (q) Committee on Small Business.                           ployment (except revenue measures                         (A) the application, administration,
           (1) Assistance to and protection                         related thereto).                                      execution, and effectiveness of laws
         of small business, including finan-                          (21) Water power.                                    and programs addressing subjects
         cial aid, regulatory flexibility, and                      (s) Committee on Veterans’ Affairs.                    within its jurisdiction;
         paperwork reduction.                                         (1) Veterans’ measures generally.                       (B) the organization and operation
           (2) Participation of small-busi-                           (2) Cemeteries of the United                         of Federal agencies and entities hav-
         ness enterprises in Federal procure-                       States in which veterans of any war                    ing responsibilities for the adminis-
         ment and Government contracts.                             or conflict are or may be buried,                      tration and execution of laws and
         (r) Committee on Transportation                            whether in the United States or                        programs addressing subjects within
       and Infrastructure.                                          abroad (except cemeteries adminis-                     its jurisdiction;
           (1) Coast Guard, including life-                         tered by the Secretary of the Inte-                       (C)     any    conditions    or   cir-
         saving       service,    lighthouses,                      rior).                                                 cumstances that may indicate the
         lightships, ocean derelicts, and the                         (3) Compensation, vocational re-                     necessity or desirability of enacting
         Coast Guard Academy.                                       habilitation, and education of vet-                    new or additional legislation address-
           (2) Federal management of emer-                          erans.                                                 ing subjects within its jurisdiction
         gencies and natural disasters.                               (4) Life insurance issued by the                     (whether or not a bill or resolution
           (3) Flood control and improve-                           Government on account of service                       has been introduced with respect
         ment of rivers and harbors.                                in the Armed Forces.                                   thereto); and
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                                                                         RULES OF THE
     Rule X, clause 2                                                                                                                              Rule X, clause 4

         (D) future research and forecasting                    dress issues of inequities on the basis              ments and agencies with the Depart-
       on subjects within its jurisdiction.                     of race, color, ethnicity, religion, sex,            ment of Homeland Security.
       (2) Each committee to which sub-                         sexual orientation, gender identity,                   (2) In addition, the committee shall
     paragraph (1) applies having more than                     disability, age, or national origin.                 review and study on a primary and con-
     20 members shall establish an oversight                    (3) Not later than April 15 in the first             tinuing basis all Government activi-
     subcommittee, or require its sub-                        session of a Congress, after consulta-                 ties, programs and organizations re-
     committees to conduct oversight in                       tion with the Speaker, the Majority                    lated to homeland security that fall
     their respective jurisdictions, to assist                Leader, and the Minority Leader, the                   within its primary legislative jurisdic-
     in carrying out its responsibilities                     Committee on Oversight and Reform                      tion.
     under this clause. The establishment of                  shall report to the House the oversight                  (h) The Committee on Natural Re-
     an oversight subcommittee does not                       plans submitted under subparagraph (1)                 sources shall review and study on a
     limit the responsibility of a sub-                       together with any recommendations                      continuing basis laws, programs, and
     committee with legislative jurisdiction                  that it, or the House leadership group                 Government activities relating to Na-
     in carrying out its oversight respon-                    described above, may make to ensure                    tive Americans.
     sibilities.                                              the most effective coordination of                       (i) The Committee on Oversight and
       (c) Each standing committee shall re-                  oversight plans and otherwise to                       Reform shall review and study on a
     view and study on a continuing basis                     achieve the objectives of this clause.                 continuing basis the operation of Gov-
     the impact or probable impact of tax                       (e) The Speaker, with the approval of                ernment activities at all levels, includ-
     policies affecting subjects within its                   the House, may appoint special ad hoc                  ing the Executive Office of the Presi-
     jurisdiction as described in clauses 1                   oversight committees for the purpose                   dent.
     and 3.                                                   of reviewing specific matters within                     (j) The Committee on Rules shall re-
       (d)(1) Not later than March 1 of the                   the jurisdiction of two or more stand-                 view and study on a continuing basis
     first session of a Congress, the chair of                ing committees.                                        the congressional budget process, and
     each standing committee (other than                                                                             the committee shall report its findings
     the Committee on Appropriations, the                     Special oversight functions                            and recommendations to the House
     Committee on Ethics, and the Com-                                                                               from time to time.
                                                                3. (a) The Committee on Appropria-
     mittee on Rules) shall—                                                                                           (k) The Committee on Science,
                                                              tions shall conduct such studies and
         (A) prepare, in consultation with                                                                           Space, and Technology shall review
                                                              examinations of the organization and
       the ranking minority member, an                                                                               and study on a continuing basis laws,
                                                              operation of executive departments
       oversight plan for that Congress;                                                                             programs, and Government activities
                                                              and other executive agencies (including
         (B) provide a copy of that plan to                                                                          relating to nonmilitary research and
                                                              an agency the majority of the stock of
       each member of the committee for at                                                                           development.
                                                              which is owned by the United States)
       least seven calendar days before its                                                                            (l) The Committee on Small Business
                                                              as it considers necessary to assist it in
       submission; and                                                                                               shall study and investigate on a con-
         (C) submit that plan (including any                  the determination of matters within
                                                              its jurisdiction.                                      tinuing basis the problems of all types
       supplemental, minority, additional,                                                                           of small business.
       or dissenting views submitted by a                       (b) The Committee on Armed Serv-
                                                              ices shall review and study on a con-                    (m) The Permanent Select Com-
       member of the committee) simulta-                                                                             mittee on Intelligence shall review and
       neously to the Committee on Over-                      tinuing basis laws, programs, and Gov-
                                                              ernment activities relating to inter-                  study on a continuing basis laws, pro-
       sight and Reform and the Committee                                                                            grams, and activities of the intel-
       on House Administration.                               national arms control and disar-
                                                              mament and the education of military                   ligence community and shall review
       (2) In developing the plan, the chair                                                                         and study on an exclusive basis the
     of each committee shall, to the max-                     dependents in schools.
                                                                (c) The Committee on the Budget                      sources and methods of entities de-
     imum extent feasible—                                                                                           scribed in clause 11(b)(1)(A).
         (A) consult with other committees                    shall study on a continuing basis the
       that have jurisdiction over the same                   effect on budget outlays of relevant ex-               Additional functions of committees
       or related laws, programs, or agen-                    isting and proposed legislation and re-                  4. (a)(1)(A) The Committee on Appro-
       cies with the objective of ensuring                    port the results of such studies to the                priations shall, within 30 days after the
       maximum coordination and coopera-                      House on a recurring basis.                            transmittal of the Budget to Congress
       tion among committees when con-                          (d) The Committee on Education and                   each year, hold hearings on the Budget
       ducting reviews of such laws, pro-                     Labor shall review, study, and coordi-                 as a whole with particular reference
       grams, or agencies and include in the                  nate on a continuing basis laws, pro-                  to—
       plan an explanation of steps that                      grams, and Government activities re-                        (i) the basic recommendations and
       have been or will be taken to ensure                   lating to domestic educational pro-                      budgetary policies of the President in
       such coordination and cooperation;                     grams and institutions and programs of                   the presentation of the Budget; and
         (B) review specific problems with                    student assistance within the jurisdic-                     (ii) the fiscal, financial, and eco-
       Federal rules, regulations, statutes,                  tion of other committees.                                nomic assumptions used as bases in
       and court decisions that are ambig-                      (e) The Committee on Energy and                        arriving at total estimated expendi-
       uous, arbitrary, or nonsensical, or                    Commerce shall review and study on a                     tures and receipts.
       that impose severe financial burdens                   continuing basis laws, programs, and                     (B) In holding hearings under sub-
       on individuals;                                        Government activities relating to nu-                  division (A), the committee shall re-
         (C) give priority consideration to                   clear and other energy and nonmilitary                 ceive testimony from the Secretary of
       including in the plan the review of                    nuclear energy research and develop-                   the Treasury, the Director of the Office
       those laws, programs, or agencies op-                  ment including the disposal of nuclear                 of Management and Budget, the Chair
       erating under permanent budget au-                     waste.                                                 of the Council of Economic Advisers,
       thority or permanent statutory au-                       (f) The Committee on Foreign Affairs                 and such other persons as the com-
       thority;                                               shall review and study on a continuing                 mittee may desire.
         (D) have a view toward ensuring                      basis laws, programs, and Government                     (C) A hearing under subdivision (A),
       that all significant laws, programs,                   activities relating to customs adminis-                or any part thereof, shall be held in
       or agencies within the committee’s                     tration, intelligence activities relating              open session, except when the com-
       jurisdiction are subject to review                     to foreign policy, international finan-                mittee, in open session and with a
       every 10 years;                                        cial and monetary organizations, and                   quorum present, determines by record
         (E) have a view toward insuring                      international fishing agreements.                      vote that the testimony to be taken at
       against duplication of Federal pro-                      (g)(1) The Committee on Homeland                     that hearing on that day may be re-
       grams; and                                             Security shall review and study on a                   lated to a matter of national security.
         (F) give priority consideration to                   continuing basis all Government ac-                    The committee may by the same proce-
       including in the plan a discussion of                  tivities relating to homeland security,                dure close one subsequent day of hear-
       how the committee’s work will ad-                      including the interaction of all depart-               ing. A transcript of all such hearings
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     Rule X, clause 4                                                                                                                              Rule X, clause 4

     shall be printed and a copy thereof fur-                     (4) study on a continuing basis                    covery until offered for admission in
     nished to each Member, Delegate, and                       those provisions of law that exempt                  evidence before the committee, at
     the Resident Commissioner.                                 Federal agencies or any of their ac-                 which time any proper objection shall
       (D) A hearing under subdivision (A),                     tivities or outlays from inclusion in                be timely.
     or any part thereof, may be held before                    the Budget of the United States Gov-                   (d)(1) The Committee on House Ad-
     a joint meeting of the committee and                       ernment, and report to the House                     ministration shall—
     the Committee on Appropriations of                         from time to time its recommenda-                         (A) provide policy direction for the
     the Senate in accordance with such                         tions for terminating or modifying                     Chief Administrative Officer, the In-
     procedures as the two committees                           such provisions;                                       spector General, the Office of Diver-
     jointly may determine.                                       (5) study on a continuing basis pro-                 sity and Inclusion, and the Office of
       (2) Pursuant to section 401(b)(2) of                     posals designed to improve and facili-                 the Whistleblower Ombuds and over-
     the Congressional Budget Act of 1974,                      tate the congressional budget proc-                    sight of the Clerk, Sergeant-at-Arms,
     when a committee reports a bill or                         ess, and report to the House from                      Chief Administrative Officer, Inspec-
     joint resolution that provides new enti-                   time to time the results of such stud-                 tor General, Office of Diversity and
     tlement authority as defined in section                    ies, together with its recommenda-                     Inclusion, and Office of the Whistle-
     3(9) of that Act, and enactment of the                     tions; and                                             blower Ombuds;
     bill or joint resolution, as reported,                       (6) request and evaluate continuing                     (B) oversee the management of
     would cause a breach of the commit-                        studies of tax expenditures, devise                    services provided to the House by the
     tee’s pertinent allocation of new bud                      methods of coordinating tax expendi-                   Architect of the Capitol, except those
     get authority under section 302(a) of                      tures, policies, and programs with di-                 services that lie within the jurisdic-
     that Act, the bill or joint resolution                     rect budget outlays, and report the                    tion of the Committee on Transpor-
     may be referred to the Committee on                        results of such studies to the House                   tation and Infrastructure under
     Appropriations with instructions to re-                    on a recurring basis.                                  clause 1(r);
     port it with recommendations (which                        (c)(1) The Committee on Oversight                         (C) have the function of accepting
     may include an amendment limiting                        and Reform shall—                                        on behalf of the House a gift, except
     the total amount of new entitlement                          (A) receive and examine reports of                   as otherwise provided by law, if the
     authority provided in the bill or joint                    the Comptroller General of the                         gift does not involve a duty, burden,
     resolution). If the Committee on Ap-                       United States and submit to the                        or condition, or is not made depend-
     propriations fails to report a bill or                     House such recommendations as it                       ent on some future performance by
     joint resolution so referred within 15                     considers necessary or desirable in                    the House;
     calendar days (not counting any day on                     connection with the subject matter                        (D) promulgate regulations to
     which the House is not in session), the                    of the reports;                                        carry out subdivision (C); and
     committee automatically shall be dis-                        (B) evaluate the effects of laws en-                    (E) establish and maintain stand-
     charged from consideration of the bill                     acted to reorganize the legislative                    ards for making documents publicly
     or joint resolution, and the bill or joint                 and executive branches of the Gov-                     available in electronic form by the
     resolution shall be placed on the appro-                   ernment; and                                           House and its committees.
     priate calendar.                                             (C) study intergovernmental rela-                    (2) An employing office of the House
       (3) In addition, the Committee on Ap-                    tionships between the United States                  may enter into a settlement of a com-
     propriations shall study on a con-                         and the States and municipalities                    plaint under the Congressional Ac-
     tinuing basis those provisions of law                      and between the United States and                    countability Act of 1995 that provides
     that (on the first day of the first fiscal                 international organizations of which                 for the payment of funds only after re-
     year for which the congressional budg-                     the United States is a member.                       ceiving the joint approval of the chair
     et process is effective) provide spending                  (2) In addition to its duties under                  and ranking minority member of the
     authority or permanent budget author-                    subparagraph (1), the Committee on                     Committee on House Administration
     ity and shall report to the House from                   Oversight and Reform may at any time                   concerning the amount of such pay-
     time to time its recommendations for                     conduct investigations of any matter                   ment.
     terminating or modifying such provi-                     without regard to clause 1, 2, 3, or this                (e)(1) Each standing committee shall,
     sions.                                                   clause conferring jurisdiction over the                in its consideration of all public bills
       (4) In the manner provided by section                  matter to another standing committee.                  and public joint resolutions within its
     302 of the Congressional Budget Act of                   The findings and recommendations of                    jurisdiction, ensure that appropria-
     1974, the Committee on Appropriations                    the committee in such an investigation                 tions for continuing programs and ac-
     (after consulting with the Committee                     shall be made available to any other                   tivities of the Federal Government and
     on Appropriations of the Senate) shall                   standing committee having jurisdic-                    the government of the District of Co-
     subdivide any allocations made to it in                  tion over the matter involved.                         lumbia will be made annually to the
     the joint explanatory statement ac-                        (3)(A) The Committee on Oversight                    maximum extent feasible and con-
     companying the conference report on                      and Reform may adopt a rule author-                    sistent with the nature, requirement,
     such      concurrent    resolution,   and                izing and regulating the taking of                     and objective of the programs and ac-
     promptly report the subdivisions to the                  depositions by a member or counsel of                  tivities involved. In this subparagraph
     House as soon as practicable after a                     the committee, including pursuant to                   programs and activities of the Federal
     concurrent resolution on the budget for                  subpoena under clause 2(m) of rule XI                  Government and the government of the
     a fiscal year is agreed to.                              (which hereby is made applicable for                   District of Columbia includes programs
       (b) The Committee on the Budget                        such purpose).                                         and activities of any department, agen-
     shall—                                                     (B) A rule adopted by the committee                  cy, establishment, wholly owned Gov-
          (1) review on a continuing basis the                pursuant to this subparagraph—                         ernment corporation, or instrumen-
       conduct by the Congressional Budget                        (i) may provide that a deponent be                 tality of the Federal Government or of
       Office of its functions and duties;                      directed to subscribe an oath or affir-              the government of the District of Co-
          (2) hold hearings and receive testi-                  mation before a person authorized by                 lumbia.
       mony from Members, Senators, Dele-                       law to administer the same; and                        (2) Each standing committee shall re-
       gates, the Resident Commissioner,                          (ii) shall ensure that the minority                view from time to time each con-
       and such appropriate representatives                     members and staff of the committee                   tinuing program within its jurisdiction
       of Federal departments and agencies,                     are accorded equitable treatment                     for which appropriations are not made
       the general public, and national orga-                   with respect to notice of and a rea-                 annually to ascertain whether the pro-
       nizations as it considers desirable in                   sonable opportunity to participate in                gram should be modified to provide for
       developing concurrent resolutions on                     any proceeding conducted there-                      annual appropriations.
       the budget for each fiscal year;                         under.
          (3) make all reports required of it                   (C) Information secured pursuant to                  Budget Act responsibilities
       by the Congressional Budget Act of                     the authority described in subdivision                   (f)(1) Each standing committee shall
       1974;                                                  (A) shall retain the character of dis-                 submit to the Committee on the Budg-
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     Rule X, clause 4                                                                                                                              Rule X, clause 6

     et not later than six weeks after the                    spective party of such individual who                  riod longer than six months in a Con-
     submission of the budget by the Presi-                   are not members of the Committee on                    gress.
     dent, or at such time as the Committee                   Ethics to be available to serve on in-                   (c) One of the members of each stand-
     on the Budget may request—                               vestigative subcommittees of that                      ing committee shall be elected by the
         (A) its views and estimates with re-                 committee during that Congress. The                    House, on the nomination of the major-
       spect to all matters to be set forth in                lists of Members, Delegates, or the                    ity party caucus or conference, as chair
       the concurrent resolution on the                       Resident Commissioner so named shall                   thereof. In the absence of the member
       budget for the ensuing fiscal year                     be announced to the House.                             serving as chair, the member next in
       that are within its jurisdiction or                       (B) Whenever the chair and the rank-                rank (and so on, as often as the case
       functions; and                                         ing minority member of the Committee                   shall happen) shall act as chair. Rank
         (B) an estimate of the total                         on Ethics jointly determine that Mem-                  shall be determined by the order mem-
       amounts of new budget authority,                       bers, Delegates, or the Resident Com-                  bers are named in resolutions electing
       and budget outlays resulting there-                    missioner named under subdivision (A)                  them to the committee. In the case of
       from, to be provided or authorized in                  should be assigned to serve on an inves-               a vacancy in the elected chair of a
       all bills and resolutions within its ju-               tigative subcommittee of that com-                     committee, the House shall elect an-
       risdiction that it intends to be effec-                mittee, each of them shall select an                   other chair.
       tive during that fiscal year.                          equal number of such Members, Dele-                      (d)(1) Except as permitted by sub-
       (2) The views and estimates sub-                       gates, or Resident Commissioner from                   paragraph (2), a committee may have
     mitted by the Committee on Ways and                      the respective party of such individual                not more than five subcommittees.
     Means under subparagraph (1) shall in-                   to serve on that subcommittee.                           (2)(A) A committee that maintains a
     clude a specific recommendation, made                       (b)(1) Membership on a standing com-                subcommittee on oversight may have
     after holding public hearings, as to the                 mittee during the course of a Congress                 not more than six subcommittees.
     appropriate level of the public debt                     shall be contingent on continuing                        (B) The Committee on Appropria-
     that should be set forth in the concur-                  membership in the party caucus or                      tions may have not more than 13 sub-
     rent resolution on the budget.                           conference that nominated the Mem-                     committees.
     Election and membership of standing                      ber, Delegate, or Resident Commis-                       (C) The Committee on Armed Serv-
     committees                                               sioner concerned for election to such                  ices may have not more than seven
                                                              committee. Should a Member, Dele-                      subcommittees.
       5. (a)(1) The standing committees                                                                               (D) The Committee on Foreign Af-
     specified in clause 1 shall be elected by                gate, or Resident Commissioner cease
                                                              to be a member of a particular party                   fairs may have not more than seven
     the House within seven calendar days                                                                            subcommittees.
     after the commencement of each Con-                      caucus or conference, that Member,
                                                              Delegate, or Resident Commissioner                       (E) The Committee on Oversight and
     gress, from nominations submitted by                                                                            Reform may have not more than seven
     the respective party caucus or con-                      shall automatically cease to be a mem-
                                                              ber of each standing committee to                      subcommittees.
     ference. A resolution proposing to                                                                                (F) The Committee on Transpor-
     change the composition of a standing                     which elected on the basis of nomina-
                                                              tion by that caucus or conference. The                 tation and Infrastructure may have not
     committee shall be privileged if offered                                                                        more than six subcommittees.
     by direction of the party caucus or con-                 chair of the relevant party caucus or
                                                              conference shall notify the Speaker                      (e) The House shall fill a vacancy on
     ference concerned.                                                                                              a standing committee by election on
       (2) The Committee on the Budget                        whenever a Member, Delegate, or Resi-
                                                              dent Commissioner ceases to be a                       the nomination of the respective party
     shall be composed of members as fol-                                                                            caucus or conference.
     lows:                                                    member of that caucus or conference.
       (A) Members, Delegates, or the Resi-                   The Speaker shall notify the chair of                  Expense resolutions
     dent Commissioner who are members                        each affected committee that the elec-                   6. (a) Whenever a committee, com-
     of other standing committees, includ-                    tion of such Member, Delegate, or Resi-                mission, or other entity (other than
     ing five from the Committee on Appro-                    dent Commissioner to the committee is                  the Committee on Appropriations) is
     priations, five from the Committee on                    automatically vacated under this sub-                  granted authorization for the payment
     Ways and Means, and one from the                         paragraph.                                             of its expenses (including staff salaries)
     Committee on Rules;                                         (2)(A) Except as specified in subdivi-              for a Congress, such authorization ini-
       (B) one Member designated by the                       sion (B), a Member, Delegate, or Resi-                 tially shall be procured by one primary
     elected leadership of the majority                       dent Commissioner may not serve si-                    expense resolution reported by the
     party; and                                               multaneously as a member of more                       Committee on House Administration.
       (C) one Member designated by the                       than two standing committees or more                   A primary expense resolution may in-
     elected leadership of the minority                       than four subcommittees of the stand-                  clude a reserve fund for unanticipated
     party.                                                   ing committees.                                        expenses of committees. An amount
       (3)(A) The Committee on Ethics shall                      (B)(i) Ex officio service by a chair or             from such a reserve fund may be allo-
     be composed of 10 members, five from                     ranking minority member of a com-                      cated to a committee only by the ap-
     the majority party and five from the                     mittee on each of its subcommittees                    proval of the Committee on House Ad-
     minority party.                                          under a committee rule does not count                  ministration. A primary expense reso-
       (B) Except as permitted by subdivi-                    against     the    limitation   on    sub-             lution reported to the House may not
     sion (C), a member of the Committee                      committee service.                                     be considered in the House unless a re-
     on Ethics may not serve on the com-                         (ii) Service on an investigative sub-               port thereon was available on the pre-
     mittee during more than three Con-                       committee of the Committee on Ethics                   vious calendar day. For the informa-
     gresses in a period of five successive                   under paragraph (a)(4) does not count                  tion of the House, such report shall—
     Congresses (disregarding for this pur-                   against     the    limitation   on    sub-                 (1) state the total amount of the
     pose any service for less than a full ses-               committee service.                                       funds to be provided to the com-
     sion in a Congress).                                        (iii) Any other exception to the limi-                mittee, commission, or other entity
       (C) A member of the Committee on                       tations in subdivision (A) may be ap-                    under the primary expense resolution
     Ethics may serve on the committee                        proved by the House on the rec-                          for all anticipated activities and pro-
     during a fourth or fifth Congress in a                   ommendation of the relevant party                        grams of the committee, commission,
     period of five successive Congresses                     caucus or conference.                                    or other entity; and
     only as either the chair or the ranking                     (C) In this subparagraph the term                       (2) to the extent practicable, con-
     minority member of the committee.                        ‘‘subcommittee’’ includes a panel                        tain such general statements regard-
       (4)(A) At the beginning of a Congress,                 (other than a special oversight panel of                 ing the estimated foreseeable expendi
     the Speaker or a designee and the Mi-                    the Committee on Armed Services),                        tures for the respective anticipated
     nority Leader or a designee each shall                   task force, special subcommittee, or                     activities and programs of the com-
     name 10 Members, Delegates, or the                       other subunit of a standing committee                    mittee, commission, or other entity
     Resident Commissioner from the re-                       that is established for a cumulative pe-                 as may be appropriate to provide the
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                                                          HOUSE OF REPRESENTATIVES
     Rule X, clause 6                                                                                                                              Rule X, clause 9

       House with basic estimates of the ex-                  night on March 31 in each odd-num-                     funds, including those authorized under
       penditures contemplated by the pri-                    bered year, such sums as may be nec-                   this clause and clause 6, may not be ex-
       mary expense resolution.                               essary shall be paid out of the com-                   pended for the purpose of defraying ex-
       (b) After the date of adoption by the                  mittee salary and expense accounts of                  penses of members of a committee or
     House of a primary expense resolution                    the House for continuance of necessary                 its employees in a country where local
     for a committee, commission, or other                    investigations and studies by—                         currencies are available for this pur-
     entity for a Congress, authorization for                      (1) each standing and select com-                 pose.
     the payment of additional expenses (in-                    mittee established by these rules;                     (b) The following conditions shall
     cluding staff salaries) in that Congress                   and                                                  apply with respect to travel outside the
     may be procured by one or more sup-                           (2) except as specified in paragraph              United States or its territories or pos-
     plemental expense resolutions reported                     (b), each select committee estab-                    sessions:
     by the Committee on House Adminis-                         lished by resolution.                                     (1) A member or employee of a
     tration, as necessary. A supplemental                      (b) In the case of the first session of                committee may not receive or expend
     expense resolution reported to the                       a Congress, amounts shall be made                        local currencies for subsistence in a
     House may not be considered in the                       available for a select committee estab-                  country for a day at a rate in excess
     House unless a report thereon was                        lished by resolution in the preceding                    of the maximum per diem set forth in
     available on the previous calendar day.                  Congress only if—                                        applicable Federal law.
     For the information of the House, such                        (1) a resolution proposing to rees-                    (2) A member or employee shall be
     report shall—                                              tablish such select committee is in-                   reimbursed for the expenses of such
         (1) state the total amount of addi-                    troduced in the present Congress; and                  individual for a day at the lesser of—
       tional funds to be provided to the                          (2) the House has not adopted a res-                     (A) the per diem set forth in ap-
       committee, commission, or other en-                      olution of the preceding Congress                         plicable Federal law; or
       tity under the supplemental expense                      providing for termination of funding                        (B) the actual, unreimbursed ex-
       resolution and the purposes for which                    for investigations and studies by                         penses (other than for transpor-
       those additional funds are available;                    such select committee.                                    tation) incurred during that day.
       and                                                      (c) Each committee described in                           (3) Each member or employee of a
         (2) state the reasons for the failure                paragraph (a) shall be entitled for each                 committee shall make to the chair of
       to procure the additional funds for                    month during the period specified in                     the committee an itemized report
       the committee, commission, or other                    paragraph (a) to 9 percent (or such less-                showing the dates each country was
       entity by means of the primary ex-                     er percentage as may be determined by                    visited, the amount of per diem fur-
       pense resolution.                                      the Committee on House Administra-                       nished, the cost of transportation
       (c) The preceding provisions of this                   tion) of the total annualized amount                     furnished, and funds expended for any
     clause do not apply to—                                  made available under expense resolu-                     other official purpose and shall sum-
         (1) a resolution providing for the                   tions for such committee in the pre-                     marize in these categories the total
       payment from committee salary and                      ceding session of Congress.                              foreign currencies or appropriated
       expense accounts of the House of                         (d) Payments under this clause shall                   funds expended. Each report shall be
       sums necessary to pay compensation                     be made on vouchers authorized by the                    filed with the chair of the committee
       for staff services performed for, or to                committee involved, signed by the                        not later than 60 days following the
       pay other expenses of, a committee,                    chair of the committee, except as pro-                   completion of travel for use in com-
       commission, or other entity at any                     vided in paragraph (e), and approved by                  plying with reporting requirements
       time after the beginning of an odd-                    the Committee on House Administra-                       in applicable Federal law and shall be
       numbered year and before the date of                   tion.                                                    open for public inspection.
       adoption by the House of the primary                     (e) Notwithstanding any provision of                   (c)(1) In carrying out the activities of
       expense resolution described in para-                  law, rule of the House, or other author-               a committee outside the United States
       graph (a) for that year; or                            ity, from noon on January 3 of the first               in a country where local currencies are
         (2) a resolution providing each of                   session of a Congress until the election               unavailable, a member or employee of
       the standing committees in a Con-                      by the House of the committee con-                     a committee may not receive reim-
       gress additional office equipment,                     cerned in that Congress, payments                      bursement for expenses (other than for
       airmail and special-delivery postage                   under this clause shall be made on                     transportation) in excess of the max-
       stamps, supplies, staff personnel, or                  vouchers signed by the ranking mem-                    imum per diem set forth in applicable
       any other specific item for the oper-                  ber of the committee as it was con-                    Federal law.
       ation of the standing committees,                      stituted at the expiration of the pre-                   (2) A member or employee shall be
       and containing an authorization for                    ceding Congress who is a member of                     reimbursed for the expenses of such in-
       the payment from committee salary                      the majority party in the present Con-                 dividual for a day, at the lesser of—
       and expense accounts of the House of                   gress.                                                      (A) the per diem set forth in appli-
       the expenses of any of the foregoing                     (f)(1) The authority of a committee                    cable Federal law; or
       items provided by that resolution,                     to incur expenses under this clause                         (B) the actual unreimbursed ex-
       subject to and until enactment of the                  shall expire upon adoption by the                        penses (other than for transpor-
       provisions of the resolution as per-                   House of a primary expense resolution                    tation) incurred during that day.
       manent law.                                            for the committee.                                       (3) A member or employee of a com-
       (d) From the funds made available                        (2) Amounts made available under                     mittee may not receive reimbursement
     for the appointment of committee staff                   this clause shall be expended in accord-               for the cost of any transportation in
     by a primary or additional expense res-                  ance with regulations prescribed by the                connection with travel outside the
     olution, the chair of each committee                     Committee on House Administration.                     United States unless the member or
     shall ensure that sufficient staff is                      (3) This clause shall be effective only              employee actually paid for the trans-
     made available to each subcommittee                      insofar as it is not inconsistent with a               portation.
     to carry out its responsibilities under                  resolution reported by the Committee                     (d) The restrictions respecting travel
     the rules of the committee and that                      on House Administration and adopted                    outside the United States set forth in
     the minority party is treated fairly in                  by the House after the adoption of                     paragraph (c) also shall apply to travel
     the appointment of such staff.                           these rules.                                           outside the United States by a Mem-
       (e) Funds authorized for a committee                   Travel                                                 ber, Delegate, Resident Commissioner,
     under this clause and clauses 7 and 8                                                                           officer, or employee of the House au-
     are for expenses incurred in the activi-                   8. (a) Local currencies owned by the                 thorized under any standing rule.
     ties of the committee.                                   United States shall be made available
                                                              to the committee and its employees en-                 Committee staffs
     Interim funding                                          gaged in carrying out their official du-                 9. (a)(1) Subject to subparagraph (2)
       7. (a) For the period beginning at                     ties outside the United States or its                  and paragraph (f), each standing com-
     noon on January 3 and ending at mid-                     territories or possessions. Appropriated               mittee may appoint, by majority vote,
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                                                                         RULES OF THE
     Rule X, clause 9                                                                                                                             Rule X, clause 11

     not more than 30 professional staff                      necessary (in addition to the clerk of                 dent Commissioner concerned was a
     members to be compensated from the                       the committee and assistants for the                   member at the time of appointment.
     funds provided for the appointment of                    minority). The staff appointed under                   Should a Member, Delegate, or Resi-
     committee staff by primary and addi-                     this paragraph, other than minority as-                dent Commissioner cease to be a mem-
     tional expense resolutions. Each pro-                    sistants, shall possess such qualifica-                ber of that caucus or conference, that
     fessional staff member appointed under                   tions as the committee may prescribe.                  Member, Delegate, or Resident Com-
     this subparagraph shall be assigned to                     (e) A committee may not appoint to                   missioner shall automatically cease to
     the chair and the ranking minority                       its staff an expert or other personnel                 be a member of any select or joint
     member of the committee, as the com-                     detailed or assigned from a department                 committee to which assigned. The
     mittee considers advisable.                              or agency of the Government except                     chair of the relevant party caucus or
        (2) Subject to paragraph (f) whenever                 with the written permission of the                     conference shall notify the Speaker
     a majority of the minority party mem-                    Committee on House Administration.                     whenever a Member, Delegate, or Resi-
     bers of a standing committee (other                        (f) If a request for the appointment of              dent Commissioner ceases to be a
     than the Committee on Ethics or the                      a minority professional staff member                   member of a party caucus or con-
     Permanent Select Committee on Intel-                     under paragraph (a) is made when no                    ference. The Speaker shall notify the
     ligence) so request, not more than 10                    vacancy exists for such an appoint-                    chair of each affected select or joint
     persons (or one-third of the total pro-                  ment, the committee nevertheless may                   committee that the appointment of
     fessional committee staff appointed                      appoint under paragraph (a) a person                   such Member, Delegate, or Resident
     under this clause, whichever is fewer)                   selected by the minority and accept-                   Commissioner to the select or joint
     may be selected, by majority vote of                     able to the committee. A person so ap-                 committee is automatically vacated
     the minority party members, for ap-                      pointed shall serve as an additional                   under this paragraph.
     pointment by the committee as profes-                    member of the professional staff of the                  (b) Each select or joint committee,
     sional staff members under subpara-                      committee until such a vacancy occurs                  other than a conference committee,
     graph (1). The committee shall appoint                   (other than a vacancy in the position                  shall comply with clause 2(a) of rule XI
     persons so selected whose character                      of head of the professional staff, by                  unless specifically exempted by law.
     and qualifications are acceptable to a                   whatever title designated), at which
     majority of the committee. If the com-                   time that person is considered as ap-                  Permanent Select Committee on
     mittee determines that the character                     pointed to that vacancy. Such a person                 Intelligence
     and qualifications of a person so se-                    shall be paid from the applicable ac-                    11. (a)(1) There is established a Per-
     lected are unacceptable, a majority of                   counts of the House described in clause                manent Select Committee on Intel-
     the minority party members may se-                       1(k)(1) of rule X. If such a vacancy oc-               ligence (hereafter in this clause re-
     lect another person for appointment by                   curs on the professional staff when                    ferred to as the ‘‘select committee’’).
     the committee to the professional staff                  seven or more persons have been so ap-                 The select committee shall be com-
     until such appointment is made. Each                     pointed who are eligible to fill that va-              posed of not more than 22 Members,
     professional staff member appointed                      cancy, a majority of the minority                      Delegates, or the Resident Commis-
     under this subparagraph shall be as-                     party members shall designate which                    sioner, of whom not more than 13 may
     signed to such committee business as                     of those persons shall fill the vacancy.               be from the same party. The select
     the minority party members of the                          (g) Each staff member appointed pur-                 committee shall include at least one
     committee consider advisable.                            suant to a request by minority party                   Member, Delegate, or the Resident
        (b)(1) The professional staff members                 members under paragraph (a), and each                  Commissioner from each of the fol-
     of each standing committee—                              staff member appointed to assist mi-
          (A) may not engage in any work                                                                             lowing committees:
                                                              nority members of a committee pursu-                       (A) the Committee on Appropria-
        other than committee business dur-                    ant to an expense resolution described
        ing congressional working hours; and                                                                           tions;
                                                              in clause 6(a), shall be accorded equi-                    (B) the Committee on Armed Serv-
          (B) may not be assigned a duty                      table treatment with respect to the fix-
        other than one pertaining to com-                                                                              ices;
                                                              ing of the rate of pay, the assignment                     (C) the Committee on Foreign Af-
        mittee business.                                      of work facilities, and the accessibility
        (2)(A) Subparagraph (1) does not                                                                               fairs; and
                                                              of committee records.                                      (D) the Committee on the Judici-
     apply to staff designated by a com-                        (h) Paragraph (a) may not be con-
     mittee as ‘‘associate’’ or ‘‘shared’’ staff                                                                       ary.
                                                              strued to authorize the appointment of                   (2) The Speaker and the Minority
     who are not paid exclusively by the                      additional professional staff members
     committee, provided that the chair                                                                              Leader shall be ex officio members of
                                                              of a committee pursuant to a request                   the select committee but shall have no
     certifies that the compensation paid by                  under paragraph (a) by the minority
     the committee for any such staff is                                                                             vote in the select committee and may
                                                              party members of that committee if 10                  not be counted for purposes of deter-
     commensurate with the work per-                          or more professional staff members
     formed for the committee in accord-                                                                             mining a quorum thereof.
                                                              provided for in paragraph (a)(1) who are
     ance with clause 8 of rule XXIII.                                                                                 (3) The Speaker and Minority Leader
                                                              satisfactory to a majority of the mi-
        (B) The use of any ‘‘associate’’ or                                                                          each may designate a respective lead-
                                                              nority party members are otherwise as-
     ‘‘shared’’ staff by a committee other                                                                           ership staff member to assist in the ca-
                                                              signed to assist the minority party
     than the Committee on Appropriations                                                                            pacity of the Speaker or Minority
                                                              members.
     shall be subject to the review of, and to                                                                       Leader as ex officio member, with the
                                                                (i) Notwithstanding paragraph (a)(2),
     any terms, conditions, or limitations                                                                           same access to committee meetings,
                                                              a committee may employ nonpartisan
     established by, the Committee on                                                                                hearings, briefings, and materials as
                                                              staff, in lieu of or in addition to com-
     House Administration in connection                                                                              employees of the select committee and
                                                              mittee staff designated exclusively for
     with the reporting of any primary or                                                                            subject to the same security clearance
                                                              the majority or minority party, by an
     additional expense resolution.                                                                                  and confidentiality requirements as
                                                              affirmative vote of a majority of the
        (c) Each employee on the profes-                                                                             employees of the select committee
                                                              members of the majority party and of a
     sional or investigative staff of a stand-                                                                       under this clause.
                                                              majority of the members of the minor-
     ing committee shall be entitled to pay                                                                            (4)(A) Except as permitted by sub-
                                                              ity party.
     at a single gross per annum rate, to be                                                                         division (B), a Member, Delegate, or
     fixed by the chair and that does not ex-                 Select and joint committees                            Resident Commissioner, other than the
     ceed the maximum rate of pay as in ef-                     10. (a) Membership on a select or                    Speaker or the Minority Leader, may
     fect from time to time under applicable                  joint committee appointed by the                       not serve as a member of the select
     provisions of law.                                       Speaker under clause 11 of rule I during               committee during more than four Con-
        (d) Subject to appropriations hereby                  the course of a Congress shall be con-                 gresses in a period of six successive
     authorized, the Committee on Appro-                      tingent on continuing membership in                    Congresses (disregarding for this pur-
     priations may appoint by majority                        the party caucus or conference of                      pose any service for less than a full ses-
     vote such staff as it determines to be                   which the Member, Delegate, or Resi-                   sion in a Congress).
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                                                          HOUSE OF REPRESENTATIVES
     Rule X, clause 11                                                                                                                            Rule X, clause 11

       (B) In the case of a Member, Dele-                     prompt access to the product of the in-                  (e) An employee of the select com-
     gate, or Resident Commissioner ap-                       telligence and intelligence-related ac-                mittee, or a person engaged by con-
     pointed to serve as the chair or the                     tivities of a department or agency of                  tract or otherwise to perform services
     ranking minority member of the select                    the Government relevant to a matter                    for or at the request of the select com-
     committee, tenure on the select com-                     otherwise within the jurisdiction of                   mittee, may not be given access to any
     mittee shall not be limited.                             that committee.                                        classified information by the select
       (b)(1) There shall be referred to the                    (c)(1) For purposes of accountability                committee unless such employee or
     select committee proposed legislation,                   to the House, the select committee                     person has—
     messages, petitions, memorials, and                      shall make regular and periodic reports                     (1) agreed in writing and under
     other matters relating to the fol-                       to the House on the nature and extent                    oath to be bound by the Rules of the
     lowing:                                                  of the intelligence and intelligence-re-                 House, including the jurisdiction of
         (A) The Central Intelligence Agen-                   lated activities of the various depart-                  the Committee on Ethics and of the
       cy, the Director of National Intel-                    ments and agencies of the United                         select committee concerning the se-
       ligence, and the National Intel-                       States. The select committee shall                       curity of classified information dur-
       ligence Program as defined in section                  promptly call to the attention of the                    ing and after the period of the em-
       3(6) of the National Security Act of                   House, or to any other appropriate                       ployment or contractual agreement
       1947.                                                  committee, a matter requiring the at-                    of such employee or person with the
         (B) Intelligence and intelligence-re-                tention of the House or another com-                     select committee; and
       lated activities of all other depart-                  mittee. In making such report, the se-                      (2) received an appropriate security
       ments and agencies of the Govern-                      lect committee shall proceed in a man-                   clearance, as determined by the se-
       ment, including the tactical intel-                    ner consistent with paragraph (g) to                     lect committee in consultation with
       ligence and intelligence-related ac-                   protect national security.                               the Director of National Intelligence,
       tivities of the Department of De-                                                                               that is commensurate with the sensi-
                                                                (2) The select committee shall obtain
       fense.                                                                                                          tivity of the classified information to
                                                              annual reports from the Director of Na-
         (C) The organization or reorganiza-                                                                           which such employee or person will
                                                              tional Intelligence, the Director of the
       tion of a department or agency of the                                                                           be given access by the select com-
                                                              Central Intelligence Agency, the Sec-
       Government to the extent that the                                                                               mittee.
                                                              retary of Defense, the Secretary of
       organization or reorganization re-                                                                              (f) The select committee shall formu-
                                                              State, and the Director of the Federal
       lates to a function or activity involv-                                                                       late and carry out such rules and pro-
                                                              Bureau of Investigation. Such reports
       ing intelligence or intelligence-re-                                                                          cedures as it considers necessary to
                                                              shall review the intelligence and intel-               prevent the disclosure, without the
       lated activities.
         (D) Authorizations for appropria-                    ligence-related activities of the agency               consent of each person concerned, of
       tions, both direct and indirect, for                   or department concerned and the intel-                 information in the possession of the se-
       the following:                                         ligence and intelligence-related activi-               lect committee that unduly infringes
           (i) The Central Intelligence Agen-                 ties of foreign countries directed at the              on the privacy or that violates the con-
         cy, the Director of National Intel-                  United States or its interests. An un-                 stitutional rights of such person. Noth-
         ligence, and the National Intel-                     classified version of each report may be               ing herein shall be construed to pre-
         ligence Program as defined in sec-                   made available to the public at the dis-               vent the select committee from pub-
         tion 3(6) of the National Security                   cretion of the select committee. Noth-                 licly disclosing classified information
         Act of 1947.                                         ing herein shall be construed as requir-               in a case in which it determines that
           (ii) Intelligence and intelligence-                ing the public disclosure in such re-                  national interest in the disclosure of
         related activities of all other de-                  ports of the names of persons engaged                  classified information clearly out-
         partments and agencies of the Gov-                   in intelligence or intelligence-related                weighs any infringement on the pri-
         ernment, including the tactical in-                  activities for the United States or the                vacy of a person.
         telligence and intelligence-related                  divulging of intelligence methods em-                    (g)(1) The select committee may dis-
         activities of the Department of De-                  ployed or the sources of information on                close publicly any information in its
         fense.                                               which the reports are based or the                     possession after a determination by the
           (iii) A department, agency, sub-                   amount of funds authorized to be ap-                   select committee that the public inter-
         division, or program that is a suc-                  propriated for intelligence and intel-                 est would be served by such disclosure.
         cessor to an agency or program                       ligence-related activities.                            With respect to the disclosure of infor-
         named or referred to in (i) or (ii).                   (3) Within six weeks after the Presi-                mation for which this paragraph re-
       (2) Proposed legislation initially re-                 dent submits a budget under section                    quires action by the select com-
     ported by the select committee (other                    1105(a) of title 31, United States Code,               mittee—
     than provisions solely involving mat-                    or at such time as the Committee on                         (A) the select committee shall
     ters specified in subparagraph (1)(A) or                 the Budget may request, the select                       meet to vote on the matter within
     subparagraph (1)(D)(i)) containing any                   committee shall submit to the Com-                       five days after a member of the select
     matter otherwise within the jurisdic-                    mittee on the Budget the views and es-                   committee requests a vote; and
     tion of a standing committee shall be                    timates described in section 301(d) of                      (B) a member of the select com-
     referred by the Speaker to that stand-                   the Congressional Budget Act of 1974                     mittee may not make such a disclo-
     ing committee. Proposed legislation                      regarding matters within the jurisdic-                   sure before a vote by the select com-
     initially reported by another com-                       tion of the select committee.                            mittee on the matter, or after a vote
     mittee that contains matter within the                     (d)(1) Except as specified in subpara-                 by the select committee on the mat-
     jurisdiction of the select committee                     graph (2), clauses 8(a), (b), and (c) and                ter except in accordance with this
     shall be referred by the Speaker to the                  9(a), (b), and (c) of this rule, and                     paragraph.
     select committee if requested by the                     clauses 1, 2, and 4 of rule XI shall apply               (2)(A) In a case in which the select
     chair of the select committee.                           to the select committee to the extent                  committee votes to disclose publicly
       (3) Nothing in this clause shall be                    not inconsistent with this clause.                     any information that has been classi-
     construed as prohibiting or otherwise                      (2) Notwithstanding the requirements                 fied under established security proce-
     restricting the authority of any other                   of the first sentence of clause 2(g)(2) of             dures, that has been submitted to it by
     committee to study and review an in-                     rule XI, in the presence of the number                 the executive branch, and that the ex-
     telligence or intelligence-related activ-                of members required under the rules of                 ecutive branch requests be kept secret,
     ity to the extent that such activity di-                 the select committee for the purpose of                the select committee shall notify the
     rectly affects a matter otherwise with-                  taking testimony or receiving evi-                     President of such vote.
     in the jurisdiction of that committee.                   dence, the select committee may vote                     (B) The select committee may dis-
       (4) Nothing in this clause shall be                    to close a hearing whenever a majority                 close publicly such information after
     construed as amending, limiting, or                      of those present determines that the                   the expiration of a five-day period fol-
     otherwise changing the authority of a                    testimony or evidence would endanger                   lowing the day on which notice of the
     standing committee to obtain full and                    the national security.                                 vote to disclose is transmitted to the
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                                                                         RULES OF THE
     Rule X, clause 11                                                                                                                            Rule X, clause 11

     President unless, before the expiration                  been classified under established secu-                the House during the same or preceding
     of the five-day period, the President,                   rity procedures, and that the select                   fiscal year to carry out such activity
     personally in writing, notifies the se-                  committee has determined should not                    for such fiscal year:
     lect committee that the President ob-                    be disclosed under subparagraph (1) or                      (1) The activities of the Director of
     jects to the disclosure of such informa-                 (2), may not be made available to any                    National Intelligence and the Office
     tion, provides reasons therefor, and                     person by a Member, Delegate, Resi-                      of the Director of National Intel-
     certifies that the threat to the na-                     dent Commissioner, officer, or em-                       ligence.
     tional interest of the United States                     ployee of the House except as provided                      (2) The activities of the Central In-
     posed by the disclosure is of such grav-                 in subdivision (B).                                      telligence Agency.
     ity that it outweighs any public inter-                    (B) The select committee shall, under                     (3) The activities of the Defense In-
     est in the disclosure.                                   such regulations as it may prescribe,                    telligence Agency.
       (C) If the President, personally in                    make information described in subdivi-                      (4) The activities of the National
     writing, notifies the select committee                   sion (A) available to a committee or a                   Security Agency.
     of objections to the disclosure of infor-                Member, Delegate, or Resident Com-                          (5) The intelligence and intel-
     mation as provided in subdivision (B),                   missioner, and permit a Member, Dele-                    ligence-related activities of other
     the select committee may, by majority                    gate, or Resident Commissioner to at-                    agencies and subdivisions of the De-
     vote, refer the question of the disclo-                  tend a hearing of the select committee                   partment of Defense.
     sure of such information, with a rec-                    that is closed to the public. Whenever                      (6) The intelligence and intel-
     ommendation thereon, to the House.                       the select committee makes such infor-                   ligence-related activities of the De-
     The select committee may not publicly                    mation available, it shall keep a writ-                  partment of State.
     disclose such information without                        ten record showing, in the case of par-                     (7) The intelligence and intel-
     leave of the House.                                      ticular information, which committee                     ligence-related activities of the Fed-
       (D) Whenever the select committee                      or which Member, Delegate, or Resi-                      eral Bureau of Investigation.
     votes to refer the question of disclosure                dent Commissioner received the infor-                       (8) The intelligence and intel-
     of any information to the House under                    mation. A Member, Delegate, or Resi-                     ligence-related activities of all other
     subdivision (C), the chair shall, not                    dent Commissioner who, and a com-                        departments and agencies of the ex-
     later than the first day on which the                    mittee that, receives information                        ecutive branch.
     House is in session following the day                    under this subdivision may not disclose                  (j)(1) In this clause the term ‘‘intel-
     on which the vote occurs, report the                     the information except in a closed ses-                ligence and intelligence-related activi-
     matter to the House for its consider-                    sion of the House.                                     ties’’ includes—
     ation.                                                     (4) The Committee on Ethics shall in-                     (A) the collection, analysis, produc-
       (E) If the chair of the select com-                    vestigate any unauthorized disclosure                    tion, dissemination, or use of infor-
     mittee does not offer in the House a                     of intelligence or intelligence-related                  mation that relates to a foreign
     motion to consider in closed session a                   information by a Member, Delegate,                       country, or a government, political
     matter reported under subdivision (D)                    Resident Commissioner, officer, or em-                   group, party, military force, move-
     within four calendar days on which the                   ployee of the House in violation of sub-                 ment, or other association in a for-
     House is in session after the rec-                       paragraph (3) and report to the House                    eign country, and that relates to the
     ommendation described in subdivision                     concerning any allegation that it finds                  defense, foreign policy, national se-
     (C) is reported, then such a motion                      to be substantiated.                                     curity, or related policies of the
     shall be privileged when offered by a                      (5) Upon the request of a person who                   United States and other activity in
     Member, Delegate, or Resident Com-                       is subject to an investigation described                 support of the collection, analysis,
     missioner. In either case such a motion                  in subparagraph (4), the Committee on                    production, dissemination, or use of
     shall be decided without debate or in-                   Ethics shall release to such person at                   such information;
     tervening motion except one that the                     the conclusion of its investigation a                       (B) activities taken to counter
     House adjourn.                                           summary of its investigation, together                   similar activities directed against
       (F) Upon adoption by the House of a                    with its findings. If, at the conclusion                 the United States;
     motion to resolve into closed session as                 of its investigation, the Committee on                      (C) covert or clandestine activities
     described in subdivision (E), the Speak-                 Ethics determines that there has been                    affecting the relations of the United
     er may declare a recess subject to the                   a significant breach of confidentiality                  States with a foreign government,
     call of the Chair. At the expiration of                  or unauthorized disclosure by a Mem-                     political group, party, military force,
     the recess, the pending question, in                     ber, Delegate, Resident Commissioner,                    movement, or other association;
     closed session, shall be, ‘‘Shall the                    officer, or employee of the House, it                       (D) the collection, analysis, produc-
     House approve the recommendation of                      shall report its findings to the House                   tion, dissemination, or use of infor-
     the select committee?’’.                                 and recommend appropriate action.                        mation about activities of persons
       (G) Debate on the question described                   Recommendations may include cen-                         within the United States, its terri-
     in subdivision (F) shall be limited to                   sure, removal from committee mem-                        tories and possessions, or nationals
     two hours equally divided and con-                       bership, or expulsion from the House,                    of the United States abroad whose
     trolled by the chair and ranking minor-                  in the case of a Member, or removal                      political and related activities pose,
     ity member of the select committee.                      from office or employment or punish-                     or may be considered by a depart-
     After such debate the previous ques-                     ment for contempt, in the case of an of-                 ment, agency, bureau, office, divi-
     tion shall be considered as ordered on                   ficer or employee.                                       sion, instrumentality, or employee of
     the question of approving the rec-                         (h) The select committee may permit                    the United States to pose, a threat to
     ommendation without intervening mo-                      a personal representative of the Presi-                  the internal security of the United
     tion except one motion that the House                    dent, designated by the President to                     States; and
     adjourn. The House shall vote on the                     serve as a liaison to the select com-                       (E) covert or clandestine activities
     question in open session but without                     mittee, to attend any closed meeting of                  directed against persons described in
     divulging the information with respect                   the select committee.                                    subdivision (D).
     to which the vote is taken. If the rec-                    (i) Subject to the Rules of the House,                 (2) In this clause the term ‘‘depart-
     ommendation of the select committee                      funds may not be appropriated for a fis-               ment or agency’’ includes any organi-
     is not approved, then the question is                    cal year, with the exception of a bill or              zation, committee, council, establish-
     considered as recommitted to the se-                     joint resolution continuing appropria-                 ment, or office within the Federal Gov-
     lect committee for further rec-                          tions, or an amendment thereto, or a                   ernment.
     ommendation.                                             conference report thereon, to, or for                    (3) For purposes of this clause, ref-
       (3)(A) Information in the possession                   use of, a department or agency of the                  erence to a department, agency, bu-
     of the select committee relating to the                  United States to carry out any of the                  reau, or subdivision shall include a ref-
     lawful intelligence or intelligence-re-                  following activities, unless the funds                 erence to any successor department,
     lated activities of a department or                      shall previously have been authorized                  agency, bureau, or subdivision to the
     agency of the United States that has                     by a bill or joint resolution passed by                extent that a successor engages in in-
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                                                          HOUSE OF REPRESENTATIVES
     Rule X, clause 11                                                                                                                            Rule XI, clause 2

     telligence or intelligence-related ac-                   ble accounts of the House described in                 XXII whenever the chair considers it
     tivities now conducted by the depart-                    clause 1(k)(1) of rule X.                              appropriate.
     ment, agency, bureau, or subdivision                       (d)(1) Not later than January 2 of
                                                                                                                     Regular meeting days
     referred to in this clause.                              each odd-numbered year, a committee
       (k) Clause 12(a) of rule XXII does not                 shall submit to the House a report on                    (b) Each standing committee shall
     apply to meetings of a conference com-                   the activities of that committee.                      establish regular meeting days for the
     mittee respecting legislation (or any                      (2) Such report shall include—                       conduct of its business, which shall be
     part thereof) reported by the Perma-                         (A) separate sections summarizing                  not less frequent than monthly. Each
     nent Select Committee on Intelligence.                     the legislative and oversight activi-                such committee shall meet for the con-
                     RULE XI                                    ties of that committee under this                    sideration of a bill or resolution pend-
                                                                rule and rule X during the Congress;                 ing before the committee or the trans-
         PROCEDURES OF COMMITTEES AND                                                                                action of other committee business on
               UNFINISHED BUSINESS                                (B) a summary of the oversight
                                                                plans submitted by the committee                     all regular meeting days fixed by the
     In general                                                                                                      committee if notice is given pursuant
                                                                under clause 2(d) of rule X;
       1. (a)(1)(A) The Rules of the House                        (C) a summary of the actions taken                 to paragraph (g)(3).
     are the rules of its committees and                        and recommendations made with re-                    Additional and special meetings
     subcommittees so far as applicable.                        spect to the oversight plans specified
       (B) Each subcommittee is a part of                                                                              (c)(1) The chair of each standing com-
                                                                in subdivision (B);
     its committee and is subject to the au-                                                                         mittee may call and convene, as the
                                                                  (D) a summary of any additional
     thority and direction of that com-                                                                              chair considers necessary, additional
                                                                oversight activities undertaken by
     mittee and to its rules, so far as appli-                                                                       and special meetings of the committee
                                                                that    committee     and    any  rec-
     cable.                                                                                                          for the consideration of a bill or resolu-
                                                                ommendations made or actions taken
       (2)(A) In a committee or sub-                                                                                 tion pending before the committee or
                                                                thereon; and
     committee—                                                                                                      for the conduct of other committee
                                                                  (E) a delineation of any hearings                  business, subject to such rules as the
         (i) a motion to recess from day to                     held pursuant to clauses 2(n), (o), or
       day, or to recess subject to the call of                                                                      committee may adopt. The committee
                                                                (p) of this rule.                                    shall meet for such purpose under that
       the Chair (within 24 hours), shall be
                                                                (3) After an adjournment sine die of                 call of the chair.
       privileged; and
                                                              the last regular session of a Congress,                  (2) Three or more members of a
         (ii) a motion to dispense with the
                                                              or after December 15 of an even-num-                   standing committee may file in the of-
       first reading (in full) of a bill or reso-
                                                              bered year, whichever occurs first, the                fices of the committee a written re-
       lution shall be privileged if printed
                                                              chair of a committee may file the re-                  quest that the chair call a special
       copies are available.
                                                              port described in subparagraph (1) with                meeting of the committee. Such re-
       (B) A motion accorded privilege
                                                              the Clerk at any time and without ap-                  quest shall specify the measure or mat-
     under this subparagraph shall be de-
     cided without debate.                                    proval of the committee, provided                      ter to be considered. Immediately upon
       (b)(1) Each committee may conduct                      that—                                                  the filing of the request, the clerk of
     at any time such investigations and                          (A) a copy of the report has been                  the committee shall notify the chair of
     studies as it considers necessary or ap-                   available to each member of the com-                 the filing of the request. If the chair
     propriate in the exercise of its respon-                   mittee for at least seven calendar                   does not call the requested special
     sibilities under rule X. Subject to the                    days; and                                            meeting within three calendar days
     adoption of expense resolutions as re-                       (B) the report includes any supple-                after the filing of the request (to be
     quired by clause 6 of rule X, each com-                    mental, minority, additional, or dis-                held within seven calendar days after
     mittee may incur expenses, including                       senting views submitted by a member                  the filing of the request) a majority of
     travel expenses, in connection with                        of the committee.                                    the members of the committee may file
     such investigations and studies.                         Adoption of written rules                              in the offices of the committee their
       (2) A proposed investigative or over-                                                                         written notice that a special meeting
     sight report shall be considered as read                   2. (a)(1) Each standing committee                    of the committee will be held. The
     in committee if it has been available to                 shall adopt written rules governing its                written notice shall specify the date
     the members for at least 24 hours (ex-                   procedure. Such rules—                                 and hour of the special meeting and the
     cluding Saturdays, Sundays, or legal                         (A) shall be adopted in a meeting                  measure or matter to be considered.
     holidays except when the House is in                       that is open to the public unless the                The committee shall meet on that date
     session on such a day).                                    committee, in open session and with                  and hour. Immediately upon the filing
       (3) A report of an investigation or                      a quorum present, determines by                      of the notice, the clerk of the com-
     study conducted jointly by more than                       record vote that all or part of the                  mittee shall notify all members of the
     one committee may be filed jointly,                        meeting on that day shall be closed                  committee that such special meeting
     provided that each of the committees                       to the public;                                       will be held and inform them of its date
     complies independently with all re-                          (B) may not be inconsistent with                   and hour and the measure or matter to
     quirements for approval and filing of                      the Rules of the House or with those                 be considered. Such notice shall also be
     the report.                                                provisions of law having the force                   made publicly available in electronic
       (4) After an adjournment sine die of                     and effect of Rules of the House;                    form and shall be deemed to satisfy
     the last regular session of a Congress,                      (C) shall in any event incorporate                 paragraph (g)(3)(A)(ii). Only the meas-
     an investigative or oversight report                       all of the succeeding provisions of                  ure or matter specified in that notice
     may be filed with the Clerk at any                         this clause to the extent applicable;                may be considered at that special
     time, provided that a member who                           and                                                  meeting.
     gives timely notice of intention to file                     (D) shall include provisions to gov-
     supplemental, minority, additional, or                     ern the implementation of clause 4 as                Temporary absence of chair
     dissenting views shall be entitled to                      provided in paragraph (f) of such                      (d) A member of the majority party
     not less than seven calendar days in                       clause.                                              on each standing committee or sub-
     which to submit such views for inclu-                      (2) Each committee shall make its                    committee thereof shall be designated
     sion in the report.                                      rules publicly available in electronic                 by the chair of the full committee as
       (c) Each committee may have printed                    form and submit such rules for publica-                the vice chair of the committee or sub-
     and bound such testimony and other                       tion in the Congressional Record not                   committee, as the case may be, and
     data as may be presented at hearings                     later than 60 days after the chair of the              shall preside during the absence of the
     held by the committee or its sub-                        committee is elected in each odd-num-                  chair from any meeting. If the chair
     committees. All costs of stenographic                    bered year.                                            and vice chair of a committee or sub-
     services and transcripts in connection                     (3) A committee may adopt a rule                     committee are not present at any
     with a meeting or hearing of a com-                      providing that the chair be directed to                meeting of the committee or sub-
     mittee shall be paid from the applica-                   offer a motion under clause 1 of rule                  committee, the ranking majority mem-
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     Rule XI, clause 2                                                                                                                            Rule XI, clause 2

     ber who is present shall preside at that                   ner that allows the public to easily                     (i) agree to close the hearing for
     meeting.                                                   listen to and view the proceedings;                    the sole purpose of discussing wheth-
     Committee records                                          and                                                    er testimony or evidence to be re-
                                                                   (B) maintain the recordings of such                 ceived would endanger national secu-
       (e)(1)(A) Each committee shall keep a                    coverage in a manner that is easily                    rity, would compromise sensitive law
     complete record of all committee ac-                       accessible to the public.                              enforcement information, or would
     tion which shall include—                                  (6) Not later than 24 hours after the                  violate clause 2(k)(5); or
          (i) in the case of a meeting or hear-               adoption of any amendment, or 48                           (ii) agree to close the hearing as
       ing transcript, a substantially ver-                   hours after the disposition or with-                     provided in clause 2(k)(5).
       batim account of remarks actually                      drawal of any other amendment, to a                      (C) A Member, Delegate, or Resident
       made during the proceedings, subject                   measure or matter considered by a                      Commissioner may not be excluded
       only to technical, grammatical, and                    committee, the chair of such com-                      from nonparticipatory attendance at a
       typographical corrections authorized                   mittee shall cause the text of each                    hearing of a committee or sub-
       by the person making the remarks                       such amendment to be made publicly                     committee (other than the Committee
       involved; and                                          available in electronic form.                          on Ethics or its subcommittees) unless
          (ii) a record of the votes on any                                                                          the House by majority vote authorizes
                                                              Prohibition against proxy voting
       question on which a record vote is                                                                            a    particular    committee     or   sub-
       taken.                                                   (f) A vote by a member of a com-                     committee, for purposes of a particular
       (B)(i) Except as provided in item (ii)                 mittee or subcommittee with respect                    series of hearings on a particular arti-
     and subject to paragraph (k)(7), the re-                 to any measure or matter may not be                    cle of legislation or on a particular
     sult of each such record vote shall be                   cast by proxy.                                         subject of investigation, to close its
     made publicly available in electronic                    Open meetings and hearings                             hearings to Members, Delegates, and
     form within 48 hours of such record                        (g)(1) Each meeting for the trans-                   the Resident Commissioner by the
     vote. Information so available shall in-                 action of business, including the mark-                same procedures specified in this sub-
     clude a description of the amendment,                    up of legislation, by a standing com-                  paragraph for closing hearings to the
     motion, order, or other proposition, the                 mittee or subcommittee thereof (other                  public.
     name of each member voting for and                       than the Committee on Ethics or its                      (D) The committee or subcommittee
     each member voting against such                          subcommittees) shall be open to the                    may vote by the same procedure de-
     amendment, motion, order, or propo-                      public, including to radio, television,                scribed in this subparagraph to close
     sition, and the names of those members                   and still photography coverage, except                 one subsequent day of hearing, except
     of the committee present but not vot-                    when the committee or subcommittee,                    that the Committee on Appropriations,
     ing.                                                     in open session and with a majority                    the Committee on Armed Services, the
       (ii) The result of any record vote                     present, determines by record vote that                Committee on Homeland Security, and
     taken in executive session in the Com-                   all or part of the remainder of the                    the Permanent Select Committee on
     mittee on Ethics may not be made pub-                    meeting on that day shall be in execu-                 Intelligence, and the subcommittees
     licly available without an affirmative                   tive session because disclosure of mat-                thereof, may vote by the same proce-
     vote of a majority of the members of                     ters to be considered would endanger                   dure to close up to five additional, con-
     the committee.                                           national security, would compromise                    secutive days of hearings.
       (2)(A) Except as provided in subdivi-                  sensitive law enforcement information,                   (3)(A) The chair of a committee shall
     sion (B), all committee records (includ-                 would tend to defame, degrade, or in-                  announce the date, place, and subject
     ing hearings, data, charts, and files)                   criminate any person, or otherwise                     matter of—
     shall be kept separate and distinct                      would violate a law or rule of the                         (i) a committee hearing, which may
     from the congressional office records of                 House. Persons, other than members of                    not commence earlier than one week
     the member serving as its chair. Such                    the committee and such noncommittee                      after such notice; or
     records shall be the property of the                     Members, Delegates, Resident Commis-                       (ii) a committee meeting, which
     House, and each Member, Delegate, and                    sioner, congressional staff, or depart-                  may not commence earlier than the
     the Resident Commissioner shall have                     mental representatives as the com-                       third calendar day (excluding Satur-
     access thereto.                                          mittee may authorize, may not be                         days, Sundays, or legal holidays ex-
       (B) A Member, Delegate, or Resident                    present at a business or markup ses-                     cept when the House is in session on
     Commissioner, other than members of                      sion that is held in executive session.                  such a day) on which members have
     the Committee on Ethics, may not                         This subparagraph does not apply to                      notice thereof.
     have access to the records of that com-                  open committee hearings, which are                       (B) A hearing or meeting may begin
     mittee respecting the conduct of a                       governed by clause 4(a)(1) of rule X or                sooner than specified in subdivision (A)
     Member, Delegate, Resident Commis-                       by subparagraph (2).                                   in either of the following cir-
     sioner, officer, or employee of the                        (2)(A) Each hearing conducted by a                   cumstances (in which case the chair
     House without the specific prior per-                    committee or subcommittee (other                       shall make the announcement specified
     mission of that committee.                               than the Committee on Ethics or its                    in subdivision (A) at the earliest pos-
       (3) Each committee shall include in                    subcommittees) shall be open to the                    sible time):
     its rules standards for availability of                  public, including to radio, television,                    (i) the chair of the committee, with
     records of the committee delivered to                    and still photography coverage, except                   the concurrence of the ranking mi-
     the Archivist of the United States                       when the committee or subcommittee,                      nority member, determines that
     under rule VII. Such standards shall                     in open session and with a majority                      there is good cause; or
     specify procedures for orders of the                     present, determines by record vote that                    (ii) the committee so determines by
     committee under clause 3(b)(3) and                       all or part of the remainder of that                     majority vote in the presence of the
     clause 4(b) of rule VII, including a re-                 hearing on that day shall be closed to                   number of members required under
     quirement that nonavailability of a                      the public because disclosure of testi-                  the rules of the committee for the
     record for a period longer than the pe-                  mony, evidence, or other matters to be                   transaction of business.
     riod otherwise applicable under that                     considered would endanger national se-                   (C) An announcement made under
     rule shall be approved by vote of the                    curity, would compromise sensitive law                 this subparagraph shall be published
     committee.                                               enforcement information, or would vio-                 promptly in the Daily Digest and made
       (4) Each committee shall make its                      late a law or rule of the House.                       publicly available in electronic form.
     publications available in electronic                       (B) Notwithstanding the require-                       (D) This subparagraph and subpara-
     form to the maximum extent feasible.                     ments of subdivision (A), in the pres-                 graph (4) shall not apply to the Com-
       (5) To the maximum extent prac-                        ence of the number of members re-                      mittee on Rules.
     ticable, each committee shall—                           quired under the rules of the com-                       (4) At least 24 hours prior to the com-
          (A) provide audio and video cov-                    mittee for the purpose of taking testi-                mencement of a meeting for the mark-
       erage of each hearing or meeting for                   mony, a majority of those present                      up of legislation, or at the time of an
       the transaction of business in a man-                  may—                                                   announcement        under    subparagraph
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                                                          HOUSE OF REPRESENTATIVES
     Rule XI, clause 2                                                                                                                            Rule XI, clause 2

     (3)(B) made within 24 hours before such                  ceiving evidence, which may not be                     Hearing procedures
     meeting, the chair of the committee                      less than two.                                           (k)(1) The chair at a hearing shall an-
     shall cause the text of such legislation                   (3) Each committee (other than the                   nounce in an opening statement the
     to be made publicly available in elec-                   Committee on Appropriations, the                       subject of the hearing.
     tronic form.                                             Committee on the Budget, and the                         (2) A copy of the committee rules and
       (5)(A) Each committee shall, to the                    Committee on Ways and Means) may                       of this clause shall be made available
     greatest extent practicable, require                     fix the number of its members to con-                  to each witness on request.
     witnesses who appear before it to sub-                   stitute a quorum for taking any action                   (3) Witnesses at hearings may be ac-
     mit in advance written statements of                     other than one for which the presence                  companied by their own counsel for the
     proposed testimony and to limit their                    of a majority of the committee is oth-                 purpose of advising them concerning
     initial presentations to the committee                   erwise required, which may not be less                 their constitutional rights.
     to brief summaries thereof.                              than one-third of the members.                           (4) The chair may punish breaches of
       (B) In the case of a witness appearing                   (4)(A) Each committee may adopt a                    order and decorum, and of professional
     in a non-governmental capacity, a                        rule authorizing the chair of a com-                   ethics on the part of counsel, by cen-
     written statement of proposed testi-                     mittee or subcommittee—                                sure and exclusion from the hearings;
     mony shall include—                                          (i) to postpone further proceedings                and the committee may cite the of-
         (i) a curriculum vitae;                                when a record vote is ordered on the                 fender to the House for contempt.
         (ii) a disclosure of any Federal                       question of approving a measure or                     (5) Whenever it is asserted by a mem-
       grants or contracts, or contracts,                       matter or on adopting an amend-                      ber of the committee that the evidence
       grants, or payments originating with                     ment; and                                            or testimony at a hearing may tend to
       a foreign government, received dur-                                                                           defame, degrade, or incriminate any
                                                                  (ii) to resume proceedings on a
       ing the past 36 months by the witness                                                                         person, or it is asserted by a witness
                                                                postponed question at any time after
       or by an entity represented by the                                                                            that the evidence or testimony that
                                                                reasonable notice.
       witness and related to the subject                                                                            the witness would give at a hearing
                                                                (B) A rule adopted pursuant to this                  may tend to defame, degrade, or in-
       matter of the hearing; and
                                                              subparagraph shall provide that when                   criminate the witness—
         (iii) a disclosure of whether the
                                                              proceedings resume on a postponed                           (A)    notwithstanding    paragraph
       witness is a fiduciary (including, but
                                                              question, notwithstanding any inter-                     (g)(2), such testimony or evidence
       not limited to, a director, officer, ad-
                                                              vening order for the previous question,                  shall be presented in executive ses-
       visor, or resident agent) of any orga-
                                                              an underlying proposition shall remain                   sion if, in the presence of the number
       nization or entity that has an inter-
                                                              subject to further debate or amend-                      of members required under the rules
       est in the subject matter of the hear-
                                                              ment to the same extent as when the                      of the committee for the purpose of
       ing.
                                                              question was postponed.                                  taking testimony, the committee de-
       (C) The disclosure referred to in sub-
     division (B)(ii) shall include—                          Limitation on committee sittings                         termines by vote of a majority of
         (i) the amount and source of each                                                                             those present that such evidence or
       Federal grant (or subgrant thereof)                      (i) A committee may not sit during a                   testimony may tend to defame, de-
       or contract (or subcontract thereof)                   joint session of the House and Senate                    grade, or incriminate any person; and
       related to the subject matter of the                   or during a recess when a joint meeting                     (B) the committee shall proceed to
       hearing; and                                           of the House and Senate is in progress.                  receive such testimony in open ses-
         (ii) the amount and country of ori-                                                                           sion only if the committee, a major-
                                                              Calling and questioning of witnesses                     ity being present, determines that
       gin of any payment or contract re-
       lated to the subject matter of the                       (j)(1) Whenever a hearing is con-                      such evidence or testimony will not
       hearing originating with a foreign                     ducted by a committee on a measure or                    tend to defame, degrade, or incrimi-
       government.                                            matter, the minority members of the                      nate any person.
       (D) Such statements, with appro-                       committee shall be entitled, upon re-                  In either case the committee shall af-
     priate redactions to protect the pri-                    quest to the chair by a majority of                    ford such person an opportunity volun-
     vacy or security of the witness, shall                   them before the completion of the                      tarily to appear as a witness, and re-
     be made publicly available in elec-                      hearing, to call witnesses selected by                 ceive and dispose of requests from such
     tronic form 24 hours before the witness                  the minority to testify with respect to                person to subpoena additional wit-
     appears to the extent practicable, but                   that measure or matter during at least                 nesses.
     not later than one day after the wit-                    one day of hearing thereon.                              (6) Except as provided in subpara-
     ness appears.                                              (2)(A) Subject to subdivisions (B) and               graph (5), the chair shall receive and
       (6)(A) Except as provided in subdivi-                  (C), each committee shall apply the                    the committee shall dispose of requests
     sion (B), a point of order does not lie                  five-minute rule during the ques-                      to subpoena additional witnesses.
     with respect to a measure reported by                    tioning of witnesses in a hearing until                  (7) Evidence or testimony taken in
     a committee on the ground that hear-                     such time as each member of the com-                   executive session, and proceedings con-
     ings on such measure were not con-                       mittee who so desires has had an op-                   ducted in executive session, may be re-
     ducted in accordance with this clause.                   portunity to question each witness.                    leased or used in public sessions only
                                                                (B) A committee may adopt a rule or                  when authorized by the committee, a
       (B) A point of order on the ground de-
                                                              motion permitting a specified number                   majority being present.
     scribed in subdivision (A) may be made
                                                                                                                       (8) In the discretion of the com-
     by a member of the committee that re-                    of its members to question a witness
                                                                                                                     mittee, witnesses may submit brief and
     ported the measure if such point of                      for longer than five minutes. The time
                                                                                                                     pertinent sworn statements in writing
     order was timely made and improperly                     for extended questioning of a witness
                                                                                                                     for inclusion in the record. The com-
     disposed of in the committee.                            under this subdivision shall be equal
                                                                                                                     mittee is the sole judge of the perti-
       (7) This paragraph does not apply to                   for the majority party and the minor-
                                                                                                                     nence of testimony and evidence ad-
     hearings of the Committee on Appro-                      ity party and may not exceed one hour
                                                                                                                     duced at its hearing.
     priations under clause 4(a)(1) of                        in the aggregate.
                                                                                                                       (9) A witness may obtain a transcript
     rule X.                                                    (C) A committee may adopt a rule or                  copy of the testimony of such witness
                                                              motion permitting committee staff for                  given at a public session or, if given at
     Quorum requirements                                      its majority and minority party mem-                   an executive session, when authorized
       (h)(1) A measure or recommendation                     bers to question a witness for equal                   by the committee.
     may not be reported by a committee                       specified periods. The time for ex-
     unless a majority of the committee is                    tended questioning of a witness under                  Supplemental, minority, additional, or
     actually present.                                        this subdivision shall be equal for the                dissenting views
       (2) Each committee may fix the num-                    majority party and the minority party                    (l) If at the time of approval of a
     ber of its members to constitute a                       and may not exceed one hour in the ag-                 measure or matter by a committee
     quorum for taking testimony and re-                      gregate.                                               (other than the Committee on Rules) a
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                                                                         RULES OF THE
     Rule XI, clause 2                                                                                                                            Rule XI, clause 3

     member of the committee gives notice                     President, the Executive Office of the                   final disposition of any such inves-
     of intention to file supplemental, mi-                   President, and any individual currently                  tigation and such action as the com-
     nority, additional, or dissenting views                  or formerly employed in the White                        mittee may consider appropriate in
     for inclusion in the report to the House                 House, Office of the President, or Exec-                 the circumstances.
     thereon, all members shall be entitled                   utive Office of the President.                             (3) The committee may report to
     to not less than two additional cal-                       (n)(1) Each standing committee, or a                   the appropriate Federal or State au-
     endar days after the day of such notice                  subcommittee thereof, shall hold at                      thorities, either with the approval of
     (excluding Saturdays, Sundays, and                       least one hearing during each 120-day                    the House or by an affirmative vote
     legal holidays except when the House is                  period following the establishment of                    of two-thirds of the members of the
     in session on such a day) to file such                   the committee on the topic of waste,                     committee, any substantial evidence
     written and signed views (including in                   fraud, abuse, or mismanagement in                        of a violation by a Member, Delegate,
     electronic form) with the clerk of the                   Government programs which that com-                      Resident Commissioner, officer, or
     committee.                                               mittee may authorize.                                    employee of the House, of a law ap-
     Power to sit and act; subpoena power                       (2) A hearing described in subpara-                    plicable to the performance of the
                                                              graph (1) shall include a focus on the                   duties or the discharge of the respon-
       (m)(1) For the purpose of carrying                     most egregious instances of waste,                       sibilities of such individual that may
     out any of its functions and duties                      fraud, abuse, or mismanagement as                        have been disclosed in a committee
     under this rule and rule X (including                    documented by any report the com-                        investigation.
     any matters referred to it under clause                  mittee has received from a Federal Of-                     (4) The committee may consider
     2 of rule XII), a committee or sub-                      fice of the Inspector General or the                     the request of a Member, Delegate,
     committee is authorized (subject to                      Comptroller General of the United                        Resident Commissioner, officer, or
     subparagraph (3)(A))—                                    States.                                                  employee of the House for an advi-
          (A) to sit and act at such times and                  (o) Each committee, or a sub-                          sory opinion with respect to the gen-
       places within the United States,                       committee thereof, shall hold at least                   eral propriety of any current or pro-
       whether the House is in session, has                   one hearing in any session in which the                  posed conduct of such Member, Dele-
       recessed, or has adjourned, and to                     committee has received disclaimers of                    gate, Resident Commissioner, officer,
       hold such hearings as it considers                     agency financial statements from audi-                   or employee. With appropriate dele-
       necessary; and                                         tors of any Federal agency that the                      tions to ensure the privacy of the
          (B) to require, by subpoena or oth-                 committee may authorize to hear testi-                   person concerned, the committee
       erwise, the attendance and testimony                   mony on such disclaimers from rep-                       may publish such opinion for the
       of such witnesses and the production                   resentatives of any such agency.                         guidance of other Members, Dele-
       of such books, records, correspond-                      (p) Each standing committee, or a                      gates, the Resident Commissioner,
       ence, memoranda, papers, and docu-                     subcommittee thereof, shall hold at                      officers, and employees of the House.
       ments as it considers necessary.                       least one hearing on issues raised by                      (5) The committee may consider
       (2) The chair of the committee, or a                   reports issued by the Comptroller Gen-                   the request of a Member, Delegate,
     member designated by the chair, may                      eral of the United States indicating                     Resident Commissioner, officer, or
     administer oaths to witnesses.                           that Federal programs or operations                      employee of the House for a written
       (3)(A)(i) Except as provided in sub-                   that the committee may authorize are                     waiver in exceptional circumstances
     division (A)(ii), a subpoena may be au-                  at high risk for waste, fraud, and mis-                  with respect to clause 4 of rule XXIII.
     thorized and issued by a committee or                    management, known as the ‘‘high-risk                       (6)(A) The committee shall offer
     subcommittee       under     subparagraph                list’’ or the ‘‘high-risk series.’’                      annual ethics training to each Mem-
     (1)(B) in the conduct of an investiga-                                                                            ber, Delegate, Resident Commis-
     tion or series of investigations or ac-                  Committee on Ethics                                      sioner, officer, and employee of the
     tivities only when authorized by the                       3. (a) The Committee on Ethics has                     House. Such training shall—
     committee or subcommittee, a major-                      the following functions:                                      (i) involve the classes of employ-
     ity being present. The power to author-                       (1) The committee may recommend                       ees for whom the committee deter-
     ize and issue subpoenas under subpara-                     to the House from time to time such                      mines such training to be appro-
     graph (1)(B) may be delegated to the                       administrative actions as it may con-                    priate; and
     chair of the committee under such                          sider appropriate to establish or en-                       (ii) include such knowledge of the
     rules and under such limitations as the                    force standards of official conduct for                  Code of Official Conduct and re-
     committee may prescribe. Authorized                        Members, Delegates, the Resident                         lated House rules as may be deter-
     subpoenas shall be signed by the chair                     Commissioner, officers, and employ-                      mined appropriate by the com-
     of the committee or by a member des-                       ees of the House. A letter of reproval                   mittee.
     ignated by the committee.                                  or other administrative action of the                    (B)(i) A new Member, Delegate,
       (ii) In the case of a subcommittee of                    committee pursuant to an investiga-                    Resident Commissioner, officer, or
     the Committee on Ethics, a subpoena                        tion under subparagraph (2) shall                      employee of the House shall receive
     may be authorized and issued only by                       only be issued or implemented as a                     training under this paragraph not
     an affirmative vote of a majority of its                   part of a report required by such sub-                 later than 60 days after beginning
     members.                                                   paragraph.                                             service to the House.
       (B) A subpoena duces tecum may                              (2) The committee may investigate,                    (ii) Not later than January 31 of
     specify terms of return other than at a                    subject to paragraph (b), an alleged                   each year, each Member, Delegate,
     meeting or hearing of the committee                        violation by a Member, Delegate,                       Resident Commissioner, officer, and
     or subcommittee authorizing the sub-                       Resident Commissioner, officer, or                     employee of the House shall file a
     poena.                                                     employee of the House of the Code of                   certification with the committee
       (C) Compliance with a subpoena                           Official Conduct or of a law, rule,                    that the Member, Delegate, Resident
     issued by a committee or sub-                              regulation, or other standard of con-                  Commissioner, officer or employee
     committee under subparagraph (1)(B)                        duct applicable to the conduct of                      attended ethics training in the last
     may be enforced only as authorized or                      such Member, Delegate, Resident                        year as established by this subpara-
     directed by the House.                                     Commissioner, officer, or employee                     graph.
       (D) Subpoenas for documents or tes-                      in the performance of the duties or                    (b)(1)(A) Unless approved by an af-
     timony may be issued to any person or                      the discharge of the responsibilities                firmative vote of a majority of its
     entity, whether governmental, public,                      of such individual. After notice and                 members, the Committee on Ethics
     or private, within the United States,                      hearing (unless the right to a hearing               may not report a resolution, report,
     including, but not limited to, the                         is waived by the Member, Delegate,                   recommendation, or advisory opinion
     President, and the Vice President,                         Resident Commissioner, officer, or                   relating to the official conduct of a
     whether current or former, in a per-                       employee), the committee shall re-                   Member, Delegate, Resident Commis-
     sonal or official capacity, as well as                     port to the House its findings of fact               sioner, officer, or employee of the
     the White House, the Office of the                         and recommendations, if any, for the                 House, or, except as provided in sub-
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                                                          HOUSE OF REPRESENTATIVES
     Rule XI, clause 3                                                                                                                            Rule XI, clause 3

     paragraph (2), undertake an investiga-                   leged violation that occurred in a more                At least one calendar day before the
     tion of such conduct.                                    recent Congress.                                       committee makes public any written
       (B)(i) Upon the receipt of information                   (4) A member of the committee shall                  report and findings of the board, the
     offered as a complaint that is in com-                   be ineligible to participate as a mem-                 chair shall notify such board and the
     pliance with this rule and the rules of                  ber of the committee in a committee                    applicable Member, Delegate, Resident
     the committee, the chair and ranking                     proceeding relating to the member’s of-                Commissioner, officer, or employee of
     minority member jointly may appoint                      ficial conduct. Whenever a member of                   that fact and transmit to such indi-
     members to serve as an investigative                     the committee is ineligible to act as a                vidual a copy of the statement on the
     subcommittee.                                            member of the committee under the                      committee’s disposition of, and any
       (ii) The chair and ranking minority                    preceding sentence, the Speaker shall                  committee report on, the matter.
     member of the committee jointly may                      designate a Member, Delegate, or Resi-                   (B)(i) Notwithstanding subdivision
     gather additional information con-                       dent Commissioner from the same po-                    (A)(i), if the committee votes to dis-
     cerning alleged conduct that is the                      litical party as the ineligible member                 miss a matter which is the subject of a
     basis of a complaint or of information                   to act in any proceeding of the com-                   referral from the board of the Office of
     offered as a complaint until they have                   mittee relating to that conduct.                       Congressional Ethics, the committee is
     established    an    investigative   sub-                  (5) A member of the committee may                    not required to make public the writ-
     committee or either of them has placed                   seek disqualification from partici-                    ten report and findings described in
     on the agenda of the committee the                       pating in an investigation of the con-                 such subdivision unless the commit-
     issue of whether to establish an inves-                  duct of a Member, Delegate, Resident                   tee’s vote is inconsistent with the rec-
     tigative subcommittee.                                   Commissioner, officer, or employee of                  ommendation of the board. For pur-
       (2) Except in the case of an investiga-                the House upon the submission in writ-                 poses of the previous sentence, a vote
     tion undertaken by the committee on                      ing and under oath of an affidavit of                  by the committee to dismiss a matter
     its own initiative, the committee may                    disqualification stating that the mem-                 is not inconsistent with a report from
     undertake an investigation relating to                   ber cannot render an impartial and un-                 the board respecting the matter as un-
     the official conduct of an individual                    biased decision in the case in which the               resolved due to a tie vote.
     Member, Delegate, Resident Commis-                       member seeks to be disqualified. If the
                                                                                                                       (ii)    Notwithstanding       subdivision
     sioner, officer, or employee of the                      committee approves and accepts such
                                                                                                                     (A)(ii), if the board transmits a report
     House only—                                              affidavit of disqualification, the chair
                                                                                                                     respecting any matter with a rec-
          (A) upon receipt of information of-                 shall so notify the Speaker and request
                                                                                                                     ommendation to dismiss or as unre-
       fered as a complaint, in writing and                   the Speaker to designate a Member,
                                                                                                                     solved due to a tie vote, and the the
       under oath, from a Member, Dele-                       Delegate, or Resident Commissioner
                                                                                                                     matter is extended for an additional
       gate, or Resident Commissioner and                     from the same political party as the
       transmitted to the committee by                                                                               period as provided in subdivision (A),
                                                              disqualifying member to act in any
       such Member, Delegate, or Resident                     proceeding of the committee relating                   the committee is not required to make
       Commissioner;                                          to that case.                                          a public statement that the matter has
          (B) upon receipt of information of-                   (6) Information or testimony re-                     been extended.
       fered as a complaint, in writing and                   ceived, or the contents of a complaint                   (iii) Except as provided by subdivi-
       under oath, from a person not a                        or the fact of its filing, may not be                  sion (E), if the committee establishes
       Member, Delegate, or Resident Com-                     publicly disclosed by any committee or                 an investigative subcommittee respect-
       missioner provided that a Member,                      staff member unless specifically au-                   ing any such matter, then the report
       Delegate, or Resident Commissioner                     thorized in each instance by a vote of                 and findings of the board shall not be
       certifies in writing to the committee                  the full committee.                                    made public until the conclusion of the
       that such Member, Delegate, or Resi-                     (7) The committee shall have the                     investigative subcommittee process
       dent Commissioner believes the in-                     functions designated in titles I and V                 and the committee shall issue a public
       formation is submitted in good faith                   of the Ethics in Government Act of                     statement of the establishment of an
       and warrants the review and consid-                    1978, in sections 7342, 7351, and 7353 of              investigative      subcommittee,     which
       eration of the committee; or                           title 5, United States Code, and in                    statement shall include the name of
          (C) upon receipt of a report regard-                clause 11(g)(4) of rule X.                             the applicable Member, Delegate, Resi-
       ing a referral from the board of the                     (8)(A) Except as provided by subdivi-                dent Commissioner, officer, or em-
       Office of Congressional Ethics.                        sions (B), (C), and (D), not later than 45             ployee, and shall set forth the alleged
     If a complaint is not disposed of within                 calendar days or 5 legislative days,                   violation. If any such investigative
     the applicable periods set forth in the                  whichever is later, after receipt of a                 subcommittee does not conclude its re-
     rules of the Committee on Ethics, the                    written report and any findings and                    view within one year after the board
     chair and ranking minority member                        supporting documentation regarding a                   transmits a report respecting any mat-
     shall establish jointly an investigative                 referral from the board of the Office of               ter, then the committee shall make
     subcommittee and forward the com-                        Congressional Ethics or of a referral of               public the report and upon the expira-
     plaint, or any portion thereof, to that                  the matter from the board pursuant to                  tion of the Congress in which the re-
     subcommittee for its consideration.                      a request under paragraph (r), the chair               port is made public, the committee
     However, if at any time during those                     of the Committee on Ethics shall make                  shall make public any findings.
     periods either the chair or ranking mi-                  public the written report and findings                   (C)(i) If, after receipt of a written re-
     nority member places on the agenda                       of the board unless the chair and rank-                port and any findings and supporting
     the issue of whether to establish an in-                 ing member, acting jointly, decide or                  documentation regarding a referral
     vestigative subcommittee, then an in-                    the committee votes to withhold such                   from the board of the Office of Congres-
     vestigative subcommittee may be es-                      information for not more than one ad-                  sional Ethics or of a referral of the
     tablished only by an affirmative vote                    ditional period of the same duration, in               matter from the board pursuant to a
     of a majority of the members of the                      which case the chair shall—                            request under paragraph (r), the com-
     committee.                                                    (i) upon the termination of such ad-              mittee agrees to a request from an ap-
       (3) The committee may not under-                         ditional period, make public the                     propriate law enforcement or regu-
     take an investigation of an alleged vio-                   written report and findings; and                     latory authority to defer taking action
     lation of a law, rule, regulation, or                         (ii) upon the day of such decision or             on the matter—
     standard of conduct that was not in ef-                    vote, make a public statement that                        (I)   notwithstanding      subdivision
     fect at the time of the alleged viola-                     the matter, relating to the referral                   (A)(i), the committee is not required
     tion. The committee may not under-                         made by the board of the Office of                     to make public the written report
     take an investigation of such an al-                       Congressional Ethics regarding the                     and findings described in such sub-
     leged violation that occurred before                       Member, Delegate, Resident Commis-                     division, except that if the rec-
     the third previous Congress unless the                     sioner, officer, or employee of the                    ommendation of the board with re-
     committee determines that the alleged                      House who is the subject of the appli-                 spect to the report is that the matter
     violation is directly related to an al-                    cable referral, has been extended.                     requires further review, the com-
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                                                                         RULES OF THE
     Rule XI, clause 3                                                                                                                            Rule XI, clause 3

       mittee shall make public the written                     the committee or in accordance with                    (B) Subject to the approval of the
       report but not the findings; and                         its rules.’’                                         Committee on House Administration,
          (II) before the end of the first day                Copies of the executed oath shall be re-               the committee may retain counsel not
       (excluding Saturdays, Sundays, and                     tained by the Clerk as part of the                     employed by the House of Representa-
       public holidays) after the day that                    records of the House. This paragraph                   tives whenever the committee deter-
       the committee agrees to the request,                   establishes a standard of conduct with-                mines, by an affirmative vote of a ma-
       the committee shall make a public                      in the meaning of paragraph (a)(2).                    jority of the members of the com-
       statement that it is deferring taking                  Breaches of confidentiality shall be in-               mittee, that the retention of outside
       action on the matter at the request                    vestigated by the Committee on Ethics                  counsel is necessary and appropriate.
       of such authority.                                     and appropriate action shall be taken.                   (C) If the committee determines that
       (ii) If, upon the expiration of the one-                 (e)(1) If a complaint or information                 it is necessary to retain staff members
     year period that begins on the date the                  offered as a complaint is deemed frivo-                for the purpose of a particular inves-
     committee makes the public statement                     lous by an affirmative vote of a major-                tigation or other proceeding, then such
     described in item (i)(II), the committee                 ity of the members of the Committee                    staff shall be retained only for the du-
     has not acted on the matter, the com-                    on Ethics, the committee may take                      ration of that particular investigation
     mittee shall make a new public state-                    such action as it, by an affirmative                   or proceeding.
     ment that it is still deferring taking                   vote of a majority of its members, con-                  (D) Outside counsel may be dismissed
     action on the matter, and shall make a                   siders    appropriate    in    the    cir-             before the end of a contract between
     new statement upon the expiration of                     cumstances.                                            the committee and such counsel only
     each succeeding one-year period during                     (2) Complaints filed before the One                  by an affirmative vote of a majority of
     which the committee has not acted on                     Hundred Fifth Congress may not be                      the members of the committee.
     the matter.                                              deemed frivolous by the Committee on                     (4) In addition to any other staff pro-
       (D) The committee may not receive                      Ethics.                                                vided for by law, rule, or other author-
     any referral from the board of the Of-                   Committee agendas                                      ity, with respect to the committee, the
     fice of Congressional Ethics within 60                                                                          chair and ranking minority member
     days before a Federal, State, or local                     (f) The committee shall adopt rules
                                                                                                                     each may appoint one individual as a
     election in which the subject of the re-                 providing that the chair shall establish
                                                                                                                     shared staff member from the respec-
     ferral is a candidate. The committee                     the agenda for meetings of the com-
                                                              mittee, but shall not preclude the                     tive personal staff of the chair or rank-
     may delay any reporting requirement                                                                             ing minority member to perform serv-
     under this subparagraph that falls                       ranking minority member from placing
                                                              any item on the agenda.                                ice for the committee. Such shared
     within that 60-day period until the end                                                                         staff may assist the chair or ranking
     of such period and in that case, for pur-                Committee staff                                        minority      member     on   any    sub-
     poses of subdivision (A), days within                      (g)(1) The committee shall adopt                     committee on which the chair or rank-
     the 60-day period shall not be counted.                  rules providing that—                                  ing minority member serves.
       (E) If, at the close of any applicable                      (A) the staff be assembled and re-                Meetings and hearings
     period for a reporting requirement                         tained as a professional, nonpartisan
     under this subparagraph with respect                       staff;                                                 (h) The committee shall adopt rules
     to a referral from the board of the Of-                       (B) each member of the staff shall                providing that—
     fice of Congressional Ethics, the vote                     be professional and demonstrably                          (1) all meetings or hearings of the
     of the committee is a tie or the com-                      qualified for the position for which                   committee or any subcommittee
     mittee fails to act, the report and the                    hired;                                                 thereof, other than any hearing held
     findings of the board shall be made                           (C) the staff as a whole and each                   by an adjudicatory subcommittee or
     public by the committee, along with a                      member of the staff shall perform all                  any sanction hearing held by the
     public statement by the chair explain-                     official duties in a nonpartisan man-                  committee, shall occur in executive
     ing the status of the matter.                              ner;                                                   session unless the committee or sub-
       (c)(1) Notwithstanding clause 2(g)(1)                       (D) no member of the staff shall en-                committee by an affirmative vote of
     of rule XI, each meeting of the Com-                       gage in any partisan political activ-                  a majority of its members opens the
     mittee on Ethics or a subcommittee                         ity directly affecting any congres-                    meeting or hearing to the public; and
     thereof shall occur in executive session                   sional or presidential election;                          (2) any hearing held by an adjudica-
     unless      the   committee     or    sub-                    (E) no member of the staff or out-                  tory subcommittee or any sanction
     committee, by an affirmative vote of a                     side counsel may accept public                         hearing held by the committee shall
     majority of its members, opens the                         speaking engagements or write for                      be open to the public unless the com-
     meeting to the public.                                     publication on any subject that is in                  mittee or subcommittee by an af-
       (2) Notwithstanding clause 2(g)(2) of                    any way related to the employment                      firmative vote of a majority of its
     rule XI, each hearing of an adjudica-                      or duties with the committee of such                   members closes the hearing to the
     tory subcommittee or sanction hearing                      individual without specific prior ap-                  public.
     of the Committee on Ethics shall be                        proval from the chair and ranking                    Public disclosure
     held in open session unless the com-                       minority member; and                                   (i) The committee shall adopt rules
     mittee or subcommittee, in open ses-                          (F) no member of the staff or out-                providing that, unless otherwise deter-
     sion by an affirmative vote of a major-                    side counsel may make public, unless                 mined by a vote of the committee, only
     ity of its members, closes all or part of                  approved by an affirmative vote of a                 the chair or ranking minority member,
     the remainder of the hearing on that                       majority of the members of the com-                  after consultation with each other,
     day to the public.                                         mittee, any information, document,                   may make public statements regarding
       (d) Before a member, officer, or em-                     or other material that is confiden-                  matters before the committee or any
     ployee of the Committee on Ethics, in-                     tial, derived from executive session,                subcommittee thereof.
     cluding members of a subcommittee of                       or classified and that is obtained dur-
     the committee selected under clause                        ing the course of employment with                    Requirements to constitute a complaint
     5(a)(4) of rule X and shared staff, may                    the committee.                                         (j) The committee shall adopt rules
     have access to information that is con-                    (2) Only subdivisions (C), (E), and (F)              regarding complaints to provide that
     fidential under the rules of the com-                    of subparagraph (1) shall apply to                     whenever information offered as a com-
     mittee, the following oath (or affirma-                  shared staff.                                          plaint is submitted to the committee,
     tion) shall be executed:                                   (3)(A) All staff members shall be ap-                the chair and ranking minority mem-
          ‘‘I do solemnly swear (or affirm)                   pointed by an affirmative vote of a ma-                ber shall have 14 calendar days or five
       that I will not disclose, to any person                jority of the members of the com-                      legislative days, whichever is sooner,
       or entity outside the Committee on                     mittee. Such vote shall occur at the                   to determine whether the information
       Ethics, any information received in                    first meeting of the membership of the                 meets the requirements of the rules of
       the course of my service with the                      committee during each Congress and as                  the committee for what constitutes a
       committee, except as authorized by                     necessary during the Congress.                         complaint.
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                                                          HOUSE OF REPRESENTATIVES
     Rule XI, clause 3                                                                                                                            Rule XI, clause 3

     Duties of chair and ranking minority                     Investigative and adjudicatory                         pand the scope of its investigation
     member regarding properly filed                          subcommittees                                          when approved by an affirmative vote
     complaints                                                 (m) The committee shall adopt rules                  of a majority of the members of the
       (k)(1) The committee shall adopt                       providing that—                                        committee.
     rules providing that whenever the                            (1)(A)    an    investigative    sub-                (3) The committee shall adopt rules
     chair and ranking minority member                          committee shall be composed of four                  to provide that—
     jointly determine that information                         Members, Delegates, or the Resident                      (A) an investigative subcommittee
     submitted to the committee meets the                       Commissioner (with equal represen-                     may, upon an affirmative vote of a
     requirements of the rules of the com-                      tation from the majority and minor-                    majority of its members, amend its
     mittee for what constitutes a com-                         ity parties) whenever such a sub-                      statement of alleged violation any-
     plaint, they shall have 45 calendar days                   committee is established pursuant to                   time before the statement of alleged
     or five legislative days, whichever is                     the rules of the committee;                            violation is transmitted to the com-
     later, after that determination (unless                      (B) an adjudicatory subcommittee                     mittee; and
     the committee by an affirmative vote                       shall be composed of the members of                      (B)   if   an   investigative    sub-
     of a majority of its members votes oth-                    the committee who did not serve on                     committee amends its statement of
     erwise) to—                                                the pertinent investigative sub-                       alleged violation, the respondent
         (A) recommend to the committee                         committee (with equal representa-                      shall be notified in writing and shall
       that it dispose of the complaint, or                     tion from the majority and minority                    have 30 calendar days from the date
       any portion thereof, in any manner                       parties) whenever such a sub-                          of that notification to file an answer
       that does not require action by the                      committee is established pursuant to                   to the amended statement of alleged
       House, which may include dismissal                       the rules of the committee; and                        violation.
       of the complaint or resolution of the                      (C) notwithstanding any other pro-                 Due process rights of respondents
       complaint by a letter to the Member,                     vision of this clause, the chair and                   (p) The committee shall adopt rules
       Delegate, Resident Commissioner, of-                     ranking minority member of the                       to provide that—
       ficer, or employee of the House                          committee may consult with an in-                        (1) not less than 10 calendar days
       against whom the complaint is made;                      vestigative subcommittee either on                     before a scheduled vote by an inves-
         (B) establish an investigative sub-                    their own initiative or on the initia-                 tigative subcommittee on a state-
       committee; or                                            tive of the subcommittee, shall have                   ment of alleged violation, the sub-
         (C) request that the committee ex-                     access to information before a sub-                    committee shall provide the respond-
       tend the applicable 45-calendar day                      committee with which they so con-                      ent with a copy of the statement of
       or five-legislative day period by one                    sult, and shall not thereby be pre-                    alleged violation it intends to adopt
       additional 45-calendar day period                        cluded from serving as full, voting                    together with all evidence it intends
       when they determine more time is                         members of any adjudicatory sub-                       to use to prove those charges which
       necessary in order to make a rec-                        committee;                                             it intends to adopt, including docu-
       ommendation under subdivision (A).                         (2) at the time of appointment, the                  mentary evidence, witness testi-
       (2) The committee shall adopt rules                      chair shall designate one member of                    mony, memoranda of witness inter-
     providing that if the chair and ranking                    a subcommittee to serve as chair and                   views, and physical evidence, unless
     minority member jointly determine                          the ranking minority member shall                      the subcommittee by an affirmative
     that information submitted to the                          designate one member of the sub-                       vote of a majority of its members de-
     committee meets the requirements of                        committee to serve as the ranking                      cides to withhold certain evidence in
     the rules of the committee for what                        minority member; and                                   order to protect a witness; but if such
     constitutes a complaint, and the com-                        (3) the chair and ranking minority                   evidence is withheld, the sub-
     plaint is not disposed of within the ap-                   member of the committee may serve                      committee shall inform the respond-
     plicable time periods under subpara-                       as members of an investigative sub-                    ent that evidence is being withheld
     graph (1), then they shall establish an                    committee, but may not serve as                        and of the count to which such evi-
     investigative subcommittee and for-                        non-voting, ex officio members.                        dence relates;
     ward the complaint, or any portion                       Standard of proof for adoption of                          (2) neither the respondent nor the
     thereof, to that subcommittee for its                    statement of alleged violation                           counsel of the respondent shall, di-
     consideration. However, if, at any time                                                                           rectly or indirectly, contact the sub-
                                                                (n) The committee shall adopt rules
     during those periods, either the chair                                                                            committee or any member thereof
                                                              to provide that an investigative sub-
     or ranking minority member places on                                                                              during the period of time set forth in
                                                              committee may adopt a statement of
     the agenda the issue of whether to es-                                                                            paragraph (1) except for the sole pur-
                                                              alleged violation only if it determines
     tablish an investigative subcommittee,                                                                            pose of settlement discussions where
                                                              by an affirmative vote of a majority of
     then an investigative subcommittee                                                                                counsel for the respondent and the
                                                              the members of the subcommittee that
     may be established only by an affirma-                                                                            subcommittee are present;
                                                              there is substantial reason to believe
     tive vote of a majority of the members                                                                              (3) if, at any time after the
                                                              that a violation of the Code of Official
     of the committee.                                                                                                 issuance of a statement of alleged
                                                              Conduct, or of a law, rule, regulation,
                                                              or other standard of conduct applicable                  violation, the committee or any sub-
     Duties of chair and ranking minority                                                                              committee thereof determines that it
     member regarding information not                         to the performance of official duties or
                                                              the discharge of official responsibilities               intends to use evidence not provided
     constituting a complaint                                                                                          to a respondent under paragraph (1)
                                                              by a Member, Delegate, Resident Com-
       (l) The committee shall adopt rules                    missioner, officer, or employee of the                   to prove the charges contained in the
     providing that whenever the chair and                    House of Representatives, has oc-                        statement of alleged violation (or
     ranking minority member jointly de-                      curred.                                                  any amendment thereof), such evi-
     termine that information submitted to                                                                             dence shall be made immediately
     the committee does not meet the re-                      Subcommittee powers                                      available to the respondent, and it
     quirements of the rules of the com-                        (o)(1) The committee shall adopt                       may be used in any further pro-
     mittee for what constitutes a com-                       rules providing that an investigative                    ceeding under the rules of the com-
     plaint, they may—                                        subcommittee or an adjudicatory sub-                     mittee;
          (1) return the information to the                   committee may authorize and issue                          (4) evidence provided pursuant to
       complainant with a statement that it                   subpoenas only when authorized by an                     paragraph (1) or (3) shall be made
       fails to meet the requirements of the                  affirmative vote of a majority of the                    available to the respondent and the
       rules of the committee for what con-                   members of the subcommittee.                             counsel of the respondent only after
       stitutes a complaint; or                                 (2) The committee shall adopt rules                    each agrees, in writing, that no docu-
          (2) recommend to the committee                      providing that an investigative sub-                     ment, information, or other mate-
       that it authorize the establishment                    committee may, upon an affirmative                       rials obtained pursuant to that para-
       of an investigative subcommittee.                      vote of a majority of its members, ex-                   graph shall be made public until—
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                                                                         RULES OF THE
     Rule XI, clause 3                                                                                                                            Rule XI, clause 4

            (A) such time as a statement of                     evidence the trial transcript and all                extension) the committee has not
          alleged violation is made public by                   exhibits admitted into evidence at                   reached a final resolution of the matter
          the committee if the respondent                       the trial.                                           or has not referred the matter to the
          has waived the adjudicatory hear-                   Committee reporting requirements                       appropriate Federal or State authori-
          ing; or                                                                                                    ties, the committee shall so notify the
                                                                (q) The committee shall adopt rules
            (B) the commencement of an ad-                                                                           board of the Office of Congressional
                                                              to provide that—
          judicatory hearing if the respond-                                                                         Ethics in writing. The committee may
                                                                  (1) whenever an investigative sub-
          ent has not waived an adjudicatory                                                                         not request the same matter from the
                                                                committee does not adopt a state-
          hearing;                                                                                                   board more than one time.
                                                                ment of alleged violation and trans-
       but the failure of respondent and the                                                                           (s) The committee may not take any
                                                                mits a report to that effect to the
       counsel of the respondent to so agree                                                                         action that would deny any person any
                                                                committee, the committee may by
       in writing, and their consequent fail-                                                                        right or protection provided under the
                                                                an affirmative vote of a majority of
       ure to receive the evidence, shall not                                                                        Constitution of the United States.
                                                                its members transmit such report to
       preclude the issuance of a statement                     the House of Representatives;                        Audio and visual coverage of committee
       of alleged violation at the end of the                     (2) whenever an investigative sub-                 proceedings
       period referred to in paragraph (1);                     committee adopts a statement of al-                    4. (a) The purpose of this clause is to
          (5) a respondent shall receive writ-                  leged violation, the respondent ad-                  provide a means, in conformity with
       ten notice whenever—                                     mits to the violations set forth in                  acceptable standards of dignity, pro-
            (A) the chair and ranking minor-                    such statement, the respondent                       priety, and decorum, by which com-
          ity member determine that infor-                      waives the right to an adjudicatory                  mittee hearings or committee meet-
          mation the committee has received                     hearing, and the respondent’s waiver                 ings that are open to the public may be
          constitutes a complaint;                              is approved by the committee—                        covered by audio and visual means—
            (B) a complaint or allegation is                        (A) the subcommittee shall pre-                      (1) for the education, enlighten-
          transmitted to an investigative                         pare a report for transmittal to the                 ment, and information of the general
          subcommittee;                                           committee, a final draft of which                    public, on the basis of accurate and
            (C)    an     investigative   sub-                    shall be provided to the respondent                  impartial news coverage, regarding
          committee votes to authorize its                        not less than 15 calendar days be-                   the operations, procedures, and prac-
          first subpoena or to take testimony                     fore the subcommittee votes on                       tices of the House as a legislative and
          under oath, whichever occurs first;                     whether to adopt the report;                         representative body, and regarding
            (D)    an     investigative   sub-                      (B) the respondent may submit                      the measures, public issues, and
          committee votes to expand the                           views in writing regarding the final                 other matters before the House and
          scope of its investigation; or                          draft to the subcommittee within                     its committees, the consideration
            (E) the committee or an inves-                        seven calendar days of receipt of                    thereof, and the action taken there-
          tigative subcommittee determines                        that draft;                                          on; and
          to take into evidence the trial                           (C) the subcommittee shall trans-                    (2) for the development of the per-
          transcript or exhibits admitted                         mit a report to the committee re-                    spective and understanding of the
          into evidence at a criminal trial                       garding the statement of alleged                     general public with respect to the
          pursuant to subparagraph (9);                           violation together with any views                    role and function of the House under
          (6) whenever an investigative sub-                      submitted by the respondent pursu-                   the Constitution as an institution of
       committee adopts a statement of al-                        ant to subdivision (B), and the com-                 the Federal Government.
       leged violation and a respondent en-                       mittee shall make the report to-                     (b) In addition, it is the intent of this
       ters into an agreement with that sub-                      gether with the respondent’s views                 clause that audio and video recordings
       committee to settle a complaint on                         available to the public before the                 of any coverage under this clause may
       which that statement is based, that                        commencement of any sanction                       not be used for any partisan political
       agreement, unless the respondent re-                       hearing; and                                       campaign purpose or be made available
       quests otherwise, shall be in writing                        (D) the committee shall by an af-                for such use.
       and signed by the respondent and re-                       firmative vote of a majority of its                  (c) It is, further, the intent of this
       spondent’s counsel, the chair and                          members issue a report and trans-                  clause that the general conduct of each
       ranking minority member of the sub-                        mit such report to the House of                    meeting (whether of a hearing or other-
       committee, and the outside counsel,                        Representatives, together with the                 wise) covered under authority of this
       if any;                                                    respondent’s views previously sub-                 clause by audio or visual means, and
          (7) statements or information de-                       mitted pursuant to subdivision (B)                 the personal behavior of the committee
       rived solely from a respondent or the                      and any additional views respond-                  members and staff, other Government
       counsel of a respondent during any                         ent may submit for attachment to                   officials and personnel, witnesses, tele-
       settlement discussions between the                         the final report; and                              vision, radio, and press media per-
       committee or a subcommittee there-                         (3) members of the committee shall                 sonnel, and the general public at the
       of and the respondent shall not be in-                   have not less than 72 hours to review                hearing or other meeting, shall be in
       cluded in any report of the sub-                         any report transmitted to the com-                   strict conformity with and observance
       committee or the committee or oth-                       mittee by an investigative sub-                      of the acceptable standards of dignity,
       erwise publicly disclosed without the                    committee before both the com-                       propriety, courtesy, and decorum tradi-
       consent of the respondent;                               mencement of a sanction hearing and                  tionally observed by the House in its
          (8) whenever a motion to establish                    the committee vote on whether to                     operations, and may not be such as to—
       an investigative subcommittee does                       adopt the report.                                        (1) distort the objects and purposes
       not prevail, the committee shall                         (r) Upon receipt of any written notifi-                of the hearing or other meeting or
       promptly send a letter to the re-                      cation from the board of the Office of                   the activities of committee members
       spondent informing the respondent of                   Congressional Ethics that the board is                   in connection with that hearing or
       such vote; and                                         undertaking a review of any alleged                      meeting or in connection with the
          (9) in any investigation permitted                  conduct of any Member, Delegate,                         general work of the committee or of
       by House or committee rules, in addi-                  Resident Commissioner, officer, or em-                   the House; or
       tion to any other evidence which the                   ployee of the House and if the com-                        (2) cast discredit or dishonor on the
       committee or an investigative sub-                     mittee is investigating such matter,                     House, the committee, or a Member,
       committee may consider, if the re-                     the committee may at any time so no-                     Delegate, or Resident Commissioner
       spondent has been convicted by a                       tify the board and request that the                      or bring the House, the committee,
       court of record for a crime which is                   board cease its review and refer the                     or a Member, Delegate, or Resident
       related to the subject of the inves-                   matter to the committee for its consid-                  Commissioner into disrepute.
       tigation, the committee or investiga-                  eration. If at the end of the applicable                 (d) The coverage of committee hear-
       tive subcommittee may take into                        time period (including any permissible                 ings and meetings by audio and visual
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                                                          HOUSE OF REPRESENTATIVES
     Rule XI, clause 4                                                                                                                            Rule XII, clause 5

     means shall be permitted and con-                             devised by the Standing Committee                  tribute to the achievement of the ob-
     ducted only in strict conformity with                         of Press Photographers.                            jectives of this clause.
     the purposes, provisions, and require-                          (8) Photographers may not position                 (c) In carrying out paragraphs (a) and
     ments of this clause.                                         themselves between the witness table               (b) with respect to the referral of a
       (e) Whenever a hearing or meeting                           and the members of the committee at                matter, the Speaker—
     conducted by a committee or sub-                              any time during the course of a hear-                  (1) shall designate a committee of
     committee is open to the public, those                        ing or meeting.                                      primary jurisdiction (except where
     proceedings shall be open to coverage                           (9) Photographers may not place                    the Speaker determines that extraor-
     by audio and visual means. A com-                             themselves in positions that obstruct                dinary circumstances justify review
     mittee or subcommittee chair may not                          unnecessarily the coverage of the                    by more than one committee as
     limit the number of television or still                       hearing by the other media.                          though primary);
     cameras to fewer than two representa-                           (10) Personnel providing coverage                    (2) may refer the matter to one or
     tives from each medium (except for le-                        by the television and radio media                    more additional committees for con-
     gitimate space or safety consider-                            shall be currently accredited to the                 sideration in sequence, either ini-
     ations, in which case pool coverage                           Radio and Television Correspondents’                 tially or after the matter has been
     shall be authorized).                                         Galleries.                                           reported by the committee of pri-
       (f) Written rules adopted by each                             (11) Personnel providing coverage                  mary jurisdiction;
     committee        pursuant    to   clause                      by still photography shall be cur-                     (3) may refer portions of the matter
     2(a)(1)(D) shall contain provisions to                        rently accredited to the Press Pho-                  reflecting different subjects and ju-
     the following effect:                                         tographers’ Gallery.                                 risdictions to one or more additional
          (1) If audio or visual coverage of                         (12) Personnel providing coverage                  committees;
       the hearing or meeting is to be pre-                        by the television and radio media and                  (4) may refer the matter to a spe-
       sented to the public as live coverage,                      by still photography shall conduct                   cial, ad hoc committee appointed by
       that coverage shall be conducted and                        themselves and their coverage activi-                the Speaker with the approval of the
       presented without commercial spon-                          ties in an orderly and unobtrusive                   House, and including members of the
       sorship.                                                    manner.                                              committees of jurisdiction, for the
          (2) The allocation among the tele-                  Pay of witnesses                                          specific purpose of considering that
       vision media of the positions or the                                                                             matter and reporting to the House
                                                                5. Witnesses appearing before the                       thereon;
       number of television cameras per-
                                                              House or any of its committees shall be                     (5) may subject a referral to appro-
       mitted by a committee or sub-
                                                              paid the same per diem rate as estab-                     priate time limitations; and
       committee chair in a hearing or
                                                              lished, authorized, and regulated by                        (6) may make such other provision
       meeting room shall be in accordance
                                                              the Committee on House Administra-                        as may be considered appropriate.
       with fair and equitable procedures
                                                              tion for Members, Delegates, the Resi-                    (d) A bill for the payment or adju-
       devised by the Executive Committee
                                                              dent Commissioner, and employees of                     dication of a private claim against the
       of the Radio and Television Cor-
                                                              the House, plus actual expenses of trav-                Government may not be referred to a
       respondents’ Galleries.
                                                              el to or from the place of examination.                 committee other than the Committee
          (3) Television cameras shall be
                                                              Such per diem may not be paid when a                    on Foreign Affairs or the Committee
       placed so as not to obstruct in any
                                                              witness has been summoned at the                        on the Judiciary, except by unanimous
       way the space between a witness giv-
                                                              place of examination.                                   consent.
       ing evidence or testimony and any
       member of the committee or the visi-                   Unfinished business of the session                      Petitions, memorials, and private bills
       bility of that witness and that mem-                     6. All business of the House at the                      3. If a Member, Delegate, or Resident
       ber to each other.                                     end of one session shall be resumed at                  Commissioner has a petition, memo-
          (4) Television cameras shall oper-                  the commencement of the next session                    rial, or private bill to present, the
       ate from fixed positions but may not                   of the same Congress in the same man-                   Member, Delegate, or Resident Com-
       be placed in positions that obstruct                   ner as if no adjournment had taken                      missioner shall sign it, deliver it to the
       unnecessarily the coverage of the                      place.                                                  Clerk, and may specify the reference or
       hearing or meeting by the other
                                                                                   RULE XII                           disposition to be made thereof. Such
       media.
                                                                   RECEIPT AND REFERRAL OF MEASURES                   petition, memorial, or private bill (ex-
          (5) Equipment necessary for cov-                                                                            cept when judged by the Speaker to be
       erage by the television and radio                                     AND MATTERS
                                                                                                                      obscene or insulting) shall be entered
       media may not be installed in, or re-                  Messages                                                on the Journal with the name of the
       moved from, the hearing or meeting                                                                             Member, Delegate, or Resident Com-
                                                                1. Messages received from the Senate,
       room while the committee is in ses-                                                                            missioner presenting it and shall be
                                                              or from the President, shall be entered
       sion.                                                                                                          printed in the Congressional Record.
                                                              on the Journal and published in the
          (6)(A) Except as provided in sub-                   Congressional Record of the pro-                           4. A private bill or private resolution
       division (B), floodlights, spotlights,                 ceedings of that day.                                   (including an omnibus claim or pension
       strobelights, and flashguns may not                                                                            bill), or amendment thereto, may not
       be used in providing any method of                     Referral
                                                                                                                      be received or considered in the House
       coverage of the hearing or meeting.                      2. (a) The Speaker shall refer each                   if it authorizes or directs—
          (B) The television media may in-                    bill, resolution, or other matter that                       (a) the payment of money for prop-
       stall additional lighting in a hearing                 relates to a subject listed under a                        erty damages, for personal injuries or
       or meeting room, without cost to the                   standing committee named in clause 1                       death for which suit may be insti-
       Government, in order to raise the                      of rule X in accordance with the provi-                    tuted under the Tort Claims Proce-
       ambient lighting level in a hearing or                 sions of this clause.                                      dure provided in title 28, United
       meeting room to the lowest level                         (b) The Speaker shall refer matters                      States Code, or for a pension (other
       necessary to provide adequate tele-                    under paragraph (a) in such manner as                      than to carry out a provision of law
       vision coverage of a hearing or meet-                  to ensure to the maximum extent fea-                       or treaty stipulation);
       ing at the current state of the art of                 sible that each committee that has ju-                       (b) the construction of a bridge
       television coverage.                                   risdiction under clause 1 of rule X over                   across a navigable stream; or
          (7) If requests are made by more of                 the subject matter of a provision there-                     (c) the correction of a military or
       the media than will be permitted by                    of may consider such provision and re-                     naval record.
       a committee or subcommittee chair                      port to the House thereon. Precedents,
       for coverage of a hearing or meeting                   rulings, or procedures in effect before                 Prohibition on commemorations
       by still photography, that coverage                    the Ninety-Fourth Congress shall be                       5. (a) A bill or resolution, or an
       shall be permitted on the basis of a                   applied to referrals under this clause                  amendment thereto, may not be intro-
       fair and equitable pool arrangement                    only to the extent that they will con-                  duced or considered in the House if it
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                                                                          RULES OF THE
     Rule XII, clause 5                                                                                                                          Rule XIII, clause 3

     establishes or expresses a commemora-                    and printed in the Congressional                        Filing and printing of reports
     tion.                                                    Record of that day.                                       2. (a)(1) Except as provided in sub-
        (b) In this clause the term ‘‘com-                      (4) A bill or resolution shall be re-                 paragraphs (2) and (3), all reports of
     memoration’’ means a remembrance,                        printed on the written request of the                   committees (other than those filed
     celebration, or recognition for any pur-                 sponsor. Such a request may be sub-                     from the floor) shall be delivered to the
     pose through the designation of a spec-                  mitted to the Speaker only when 20 or                   Clerk for printing and reference to the
     ified period of time.                                    more cosponsors have been added since                   proper calendar under the direction of
     Excluded matters                                         the last printing of the bill or resolu-                the Speaker in accordance with clause
                                                              tion.                                                   1. The title or subject of each report
       6. A petition, memorial, bill, or reso-                  (5) When a bill or resolution is intro-
     lution excluded under this rule shall be                                                                         shall be entered on the Journal and
                                                              duced ‘‘by request,’’ those words shall                 printed in the Congressional Record.
     returned to the Member, Delegate, or                     be entered on the Journal and printed
     Resident Commissioner from whom it                                                                                 (2) A bill or resolution reported ad-
                                                              in the Congressional Record.                            versely (other than those filed as privi-
     was received. A petition or private bill                   (c)(1) A bill or joint resolution may
     that has been inappropriately referred                                                                           leged) shall be laid on the table unless
                                                              not be introduced unless the sponsor                    a committee to which the bill or reso-
     may, by direction of the committee                       submits for printing in the Congres-
     having possession of it, be properly re-                                                                         lution was referred requests at the
                                                              sional Record a statement citing as                     time of the report its referral to an ap-
     ferred in the manner originally pre-                     specifically as practicable the power or
     sented. An erroneous reference of a pe-                                                                          propriate calendar under clause 1 or
                                                              powers granted to Congress in the Con-                  unless, within three days thereafter, a
     tition or private bill under this clause                 stitution to enact the bill or joint reso-
     does not confer jurisdiction on a com-                                                                           Member, Delegate, or Resident Com-
                                                              lution. The statement shall appear in a                 missioner makes such a request.
     mittee to consider or report it.                         portion of the Record designated for                      (3) All reports of committees may be
     Sponsorship                                              that purpose and be made publicly                       delivered to the Clerk in electronic
                                                              available in electronic form by the                     form.
       7. (a) Bills, memorials, petitions, and
                                                              Clerk.                                                    (b)(1) It shall be the duty of the chair
     resolutions, endorsed with the names
                                                                (2) Before consideration of a Senate                  of each committee to report or cause to
     of Members, Delegates, or the Resident
                                                              bill or joint resolution, the chair of a                be reported promptly to the House a
     Commissioner introducing them, may
                                                              committee of jurisdiction may submit                    measure or matter approved by the
     be delivered to the Speaker to be re-
                                                              the statement required under subpara-                   committee and to take or cause to be
     ferred. The titles and references of all
                                                              graph (1) as though the chair were the                  taken steps necessary to bring the
     bills, memorials, petitions, resolutions,
                                                              sponsor of the Senate bill or joint reso-               measure or matter to a vote.
     and other documents referred under
                                                              lution.                                                   (2) In any event, the report of a com-
     this rule shall be entered on the Jour-
     nal and printed in the Congressional                     Executive communications                                mittee on a measure that has been ap-
     Record. An erroneous reference may be                      8. Estimates of appropriations and all                proved by the committee shall be filed
     corrected by the House in accordance                     other communications from the execu-                    within seven calendar days (exclusive
     with rule X on any day immediately                       tive departments intended for the con-                  of days on which the House is not in
     after the Pledge of Allegiance to the                    sideration of any committees of the                     session) after the day on which a writ-
     Flag by unanimous consent or motion.                     House shall be addressed to the Speak-                  ten request for the filing of the report,
     Such a motion shall be privileged if of-                 er for referral as provided in clause 2 of              signed by a majority of the members of
     fered by direction of a committee to                     rule XIV.                                               the committee, has been filed with the
     which the bill has been erroneously re-                                                                          clerk of the committee. The clerk of
     ferred or by direction of a committee                                        RULE XIII                           the committee shall immediately no-
     claiming jurisdiction and shall be de-                        CALENDARS AND COMMITTEE REPORTS                    tify the chair of the filing of such a re-
     cided without debate.                                                                                            quest. This subparagraph does not
       (b)(1) The sponsor of a public bill or                 Calendars                                               apply to a report of the Committee on
     public resolution may name cospon-                         1. (a) All business reported by com-                  Rules with respect to a rule, joint rule,
     sors. The name of a cosponsor added                      mittees shall be referred to one of the                 or order of business of the House, or to
     after the initial printing of a bill or                  following three calendars:                              the reporting of a resolution of inquiry
     resolution shall appear in the next                          (1) A Calendar of the Committee of                  addressed to the head of an executive
     printing of the bill or resolution on the                  the Whole House on the state of the                   department.
     written request of the sponsor. Such a                     Union, to which shall be referred pub-                  (c) All supplemental, minority, addi-
     request may be submitted to the                            lic bills and public resolutions rais-                tional, or dissenting views filed under
     Speaker at any time until the last                         ing revenue, involving a tax or                       clause 2(l) of rule XI by one or more
     committee authorized to consider and                       charge on the people, directly or indi-               members of a committee shall be in-
     report the bill or resolution reports it                   rectly making appropriations of                       cluded in, and shall be a part of, the re-
     to the House or is discharged from its                     money or property or requiring such                   port filed by the committee with re-
     consideration.                                             appropriations to be made, author-                    spect to a measure or matter. When
       (2) The name of a cosponsor of a bill                    izing payments out of appropriations                  time guaranteed by clause 2(l) of rule
     or resolution may be deleted only by a                     already made, or releasing any liabil-                XI has expired (or, if sooner, when all
     demand from the floor made by the                          ity to the United States for money or                 separate views have been received), the
     Member, Delegate, or Resident Com-                         property.                                             committee may arrange to file its re-
     missioner whose name is to be deleted,                       (2) A House Calendar, to which                      port with the Clerk not later than one
     or by a unanimous-consent request                          shall be referred all public bills and                hour after the expiration of such time.
     from the sponsor. The Speaker may                          public resolutions not requiring re-                  This clause and provisions of clause 2(l)
     only entertain such a demand or re-                        ferral to the Calendar of the Com-                    of rule XI do not preclude the imme-
     quest until the last committee author-                     mittee of the Whole House on the                      diate filing or printing of a committee
     ized to consider and report the bill or                    state of the Union.                                   report in the absence of a timely re-
     resolution reports it to the House or is                     (3) A Private Calendar as provided                  quest for the opportunity to file sup-
     discharged from its consideration. The                     in clause 5 of rule XV, to which shall                plemental, minority, additional, or dis-
     Speaker may not entertain a request to                     be referred all private bills and pri-                senting views as provided in clause 2(l)
     delete the name of the sponsor of a bill                   vate resolutions.                                     of rule XI.
     or resolution. A deletion shall be indi-                   (b) There is established a Calendar of
     cated by date in the next printing of                    Motions to Discharge Committees as                      Content of reports
     the bill or resolution.                                  provided in clause 2 of rule XV.                          3. (a)(1) Except as provided in sub-
       (3) The addition or deletion of the                      (c) There is established a Consensus                  paragraph (2), the report of a com-
     name of a cosponsor of a bill or resolu-                 Calendar as provided in clause 7 of rule                mittee on a measure or matter shall be
     tion shall be entered on the Journal                     XV.                                                     printed in a single volume that—
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                                                          HOUSE OF REPRESENTATIVES
     Rule XIII, clause 3                                                                                                                        Rule XIII, clause 3

         (A) shall include all supplemental,                    Code) identified other programs re-                    section of a statute that the bill or
       minority, additional, or dissenting                      lated to the program established or                    joint resolution proposes to make.
       views that have been submitted by                        reauthorized by the measure.                           (2) If a committee reports a bill or
       the time of the filing of the report;                      (6)(A) On a bill or joint resolution               joint resolution proposing to repeal or
       and                                                      to be considered pursuant to a special               amend a statute or part thereof with a
         (B) shall bear on its cover a recital                  order of business reported by the                    recommendation that the bill or joint
       that any such supplemental, minor-                       Committee on Rules—                                  resolution be amended, the compara-
       ity, additional, or dissenting views                         (i) a list of related committee and              tive print required by subparagraph (1)
       (and any material submitted under                          subcommittee hearings; and                         shall reflect the changes in existing
       paragraph (c)(3)) are included as part                       (ii) a designation of at least one               law proposed to be made by the bill or
       of the report.                                             committee or subcommittee hear-                    joint resolution as proposed to be
       (2) A committee may file a supple-                         ing that was used to develop or                    amended.
     mental report for the correction of a                        consider such bill or joint resolu-                  (f)(1) A report of the Committee on
     technical error in its previous report                       tion.                                              Appropriations on a general appropria-
     on a measure or matter. A supple-                            (B) Subdivision (A) shall not apply                tion bill shall include—
     mental report only correcting errors in                    to a bill or joint resolution—                            (A) a concise statement describing
     the depiction of record votes under                            (i) continuing appropriations for                  the effect of any provision of the ac-
     paragraph (b) may be filed under this                        a fiscal year; or                                    companying bill that directly or indi-
     subparagraph and shall not be subject                          (ii) containing an emergency des-                  rectly changes the application of ex-
     to the requirement in clause 4 or clause                     ignation under section 251(b)(2) or                  isting law; and
     6 concerning the availability of re-                         section 252(e) of the Balanced Budg-                    (B) a list of all appropriations con-
     ports.                                                       et and Emergency Deficit Control                     tained in the bill for expenditures not
       (b) With respect to each record vote                       Act of 1985.                                         currently authorized by law for the
     on a motion to report a measure or                         (d) Each report of a committee on a                    period concerned (excepting classi-
     matter of a public nature, and on any                    public bill or public joint resolution                   fied intelligence or national security
     amendment offered to the measure or                      shall contain the following:                             programs, projects, or activities),
     matter, the total number of votes cast                       (1)(A) An estimate by the com-                       along with a statement of the last
     for and against, and the names of mem-                     mittee of the costs that would be in-                  year for which such expenditures
     bers voting for and against, shall be in-                  curred in carrying out the bill or                     were authorized, the level of expendi-
     cluded in the committee report. The                        joint resolution in the fiscal year in                 tures authorized for that year, the
     preceding sentence does not apply to                       which it is reported and in each of                    actual level of expenditures for that
     votes taken in executive session by the                    the five fiscal years following that                   year, and the level of appropriations
     Committee on Ethics, and applies only                      fiscal year (or for the authorized du-                 in the bill for such expenditures.
     to the maximum extent practicable to                       ration of any program authorized by
     a report by the Committee on Rules on                                                                             (2) Whenever the Committee on Ap-
                                                                the bill or joint resolution if less                 propriations reports a bill or joint reso-
     a rule, joint rule, or the order of busi-                  than five years);
     ness.                                                                                                           lution including matter specified in
                                                                  (B) a comparison of the estimate of
       (c) The report of a committee on a                                                                            clause 1(b)(2) or (3) of rule X, it shall
                                                                costs described in subdivision (A)
     measure that has been approved by the                                                                           include—
                                                                made by the committee with any es-
     committee shall include, separately set                                                                              (A) in the bill or joint resolution,
                                                                timate of such costs made by a Gov-
     out and clearly identified, the fol-                                                                              separate headings for ‘‘Rescissions’’
                                                                ernment agency and submitted to
     lowing:                                                                                                           and ‘‘Transfers of Unexpended Bal-
                                                                such committee; and
         (1) Oversight findings and rec-                          (C) when practicable, a comparison                   ances’’; and
       ommendations under clause 2(b)(1) of                     of the total estimated funding level                      (B) in the report of the committee,
       rule X.                                                  for the relevant programs with the                     a separate section listing such rescis-
         (2) The statement required by sec-                     appropriate levels under current law.                  sions and transfers.
       tion 308(a) of the Congressional Bud                       (2)(A) In subparagraph (1) the term                  (g) Whenever the Committee on
       get Act of 1974, except that an esti-                    ‘‘Government agency’’ includes any                   Rules reports a resolution proposing to
       mate of new budget authority shall                       department, agency, establishment,                   repeal or amend a standing rule of the
       include, when practicable, a compari-                    wholly owned Government corpora-                     House, it shall include in its report or
       son of the total estimated funding                       tion, or instrumentality of the Fed-                 in an accompanying document—
       level for the relevant programs to the                   eral Government or the government                         (1) the text of any rule or part
       appropriate levels under current law.                    of the District of Columbia.                           thereof that is proposed to be re-
         (3) An estimate and comparison                           (B) Subparagraph (1) does not apply                  pealed; and
       prepared by the Director of the Con-                     to the Committee on Appropriations,                       (2) a comparative print of any part
       gressional Budget Office under sec-                      the Committee on House Administra-                     of the resolution proposing to amend
       tion 402 of the Congressional Budget                     tion, the Committee on Rules, or the                   the rule and of the rule or part there-
       Act of 1974 if timely submitted to the                   Committee on Ethics, and does not                      of proposed to be amended, showing
       committee before the filing of the re-                   apply when a cost estimate and com-                    by appropriate typographical devices
       port.                                                    parison prepared by the Director of                    the omissions and insertions pro-
         (4) A statement of general perform-                    the Congressional Budget Office                        posed.
       ance goals and objectives, including                     under section 402 of the Congres-                      (h) It shall not be in order to consider
       outcome-related goals and objectives,                    sional Budget Act of 1974 has been in-               a bill or joint resolution reported by
       for which the measure authorizes                         cluded in the report under paragraph                 the Committee on Ways and Means
       funding.                                                 (c)(3).                                              that proposes to amend the Internal
         (5) On a bill or joint resolution that                 (e)(1) Whenever a committee reports                  Revenue Code of 1986 unless—
       establishes or reauthorizes a Federal                  a bill or joint resolution proposing to                     (1) the report includes a tax com-
       program, a statement indicating                        repeal or amend a statute or part                        plexity analysis prepared by the
       whether any such program is known                      thereof, it shall include in its report or               Joint Committee on Taxation in ac-
       to be duplicative of another such pro-                 in an accompanying document (show-                       cordance with section 4022(b) of the
       gram, including at a minimum an ex-                    ing by appropriate typographical de-                     Internal Revenue Service Restruc-
       planation of whether any such pro-                     vices the omissions and insertions pro-                  turing and Reform Act of 1998; or
       gram was included in a report to Con-                  posed)—                                                     (2) the chair of the Committee on
       gress pursuant to section 21 of Public                     (A) the entire text of each section                  Ways and Means causes such a tax
       Law 111-139 or whether the most re-                      of a statute that is proposed to be re-                complexity analysis to be printed in
       cent Catalog of Federal Domestic As-                     pealed; and                                            the Congressional Record before con-
       sistance (published pursuant to sec-                       (B) a comparative print of each                      sideration of the bill or joint resolu-
       tion 6104 of title 31, United States                     amendment to the entire text of a                      tion.
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                                                                         RULES OF THE
     Rule XIII, clause 4                                                                                                                         Rule XIV, clause 2

     Availability of reports                                      (4) The Committee on Rules, on                       (e) An adverse report by the Com-
        4. (a)(1) Except as specified in sub-                   rules, joint rules, and the order of                 mittee on Rules on a resolution pro-
     paragraph (2), it shall not be in order                    business.                                            posing a special order of business for
     to consider in the House a measure or                        (5) The Committee on Ethics, on                    the consideration of a public bill or
     matter reported by a committee until                       resolutions recommending action by                   public joint resolution may be called
     the proposed text of each report (ex-                      the House with respect to a Member,                  up as a privileged question by a Mem-
     cept views referred to in clause 2(l) of                   Delegate, Resident Commissioner, of-                 ber, Delegate, or Resident Commis-
     rule XI) of a committee on that meas-                      ficer, or employee of the House as a                 sioner on the second and fourth Mon-
     ure or matter has been available to                        result of an investigation by the                    days of a month.
     Members, Delegates, and the Resident                       committee relating to the official                     (f) If the House has adopted a resolu-
     Commissioner for 72 hours.                                 conduct of such Member, Delegate,                    tion making in order a motion to con-
        (2) Subparagraph (1) does not apply                     Resident Commissioner, officer, or                   sider a bill or resolution, and such a
     to—                                                        employee.                                            motion has not been offered within
          (A) a resolution providing a rule,                    (b) A report filed from the floor, pur-              seven calendar days thereafter, such a
        joint rule, or order of business re-                  suant to clause 2(a)(3), or pursuant to                motion shall be privileged if offered by
        ported by the Committee on Rules                      clause 2(c), as privileged under para-                 direction of all reporting committees
        considered under clause 6;                            graph (a) may be called up as a privi-                 having initial jurisdiction of the bill or
          (B) a resolution providing amounts                  leged question by direction of the re-                 resolution.
        from the applicable accounts de-                      porting committee, subject to any re-                    (g) Whenever the Committee on
        scribed in clause 1(k)(1) of rule X re-               quirement concerning its availability                  Rules reports a resolution providing for
        ported by the Committee on House                      to Members, Delegates, and the Resi-                   the consideration of a measure, it shall
        Administration      considered   under                dent Commissioner under clause 4 or                    to the maximum extent possible speci-
        clause 6 of rule X;                                   concerning the timing of its consider-                 fy in the accompanying report any
          (C) a resolution presenting a ques-                 ation under clause 6.                                  waiver of a point of order against the
        tion of the privileges of the House re-               Privileged reports by the Committee on                 measure or against its consideration.
        ported by any committee;                              Rules                                                  Resolutions of inquiry
          (D) a measure for the declaration of
                                                                6. (a) A report by the Committee on                    7. A report on a resolution of inquiry
        war, or the declaration of a national
                                                              Rules on a rule, joint rule, or the order              addressed to the head of an executive
        emergency, by Congress; and
                                                              of business may not be called up for                   department may be filed from the floor
          (E) a measure providing for the dis-
                                                              consideration on the same day it is pre-               as privileged. If such a resolution is not
        approval of a decision, determina-
                                                              sented to the House except—                            reported to the House within 14 legisla-
        tion, or action by a Government
                                                                  (1) when so determined by a vote of                tive days after its introduction, a mo-
        agency that would become, or con-
                                                                two-thirds of the Members voting, a                  tion to discharge a committee from its
        tinue to be, effective unless dis-
                                                                quorum being present;                                consideration shall be privileged.
        approved or otherwise invalidated by
                                                                  (2) in the case of a resolution pro-
        one or both Houses of Congress. In                                                                                           RULE XIV
                                                                posing only to waive a requirement
        this subdivision the term ‘‘Govern-                                                                              ORDER AND PRIORITY OF BUSINESS
                                                                of clause 4 or of clause 8 of rule XXII
        ment agency’’ includes any depart-
                                                                concerning the availability of re-                     1. The daily order of business (unless
        ment, agency, establishment, wholly
                                                                ports; or                                            varied by the application of other rules
        owned Government corporation, or
                                                                  (3) during the last three days of a                and except for the disposition of mat-
        instrumentality of the Federal Gov-
                                                                session of Congress.                                 ters of higher precedence) shall be as
        ernment or of the government of the
                                                                (b) Pending the consideration of a re-               follows:
        District of Columbia.
                                                              port by the Committee on Rules on a                         First. Prayer by the Chaplain.
        (b) A committee that reports a meas-
                                                              rule, joint rule, or the order of busi-                     Second. Reading and approval of
     ure or matter shall make every reason-
                                                              ness, the Speaker may entertain one                      the Journal, unless postponed under
     able effort to have its hearings thereon
                                                              motion that the House adjourn but                        clause 8 of rule XX.
     (if any) printed and available for dis-
                                                              may not entertain any other dilatory                        Third. The Pledge of Allegiance to
     tribution to Members, Delegates, and
                                                              motion until the report shall have been                  the Flag.
     the Resident Commissioner before the
                                                              disposed of.                                                Fourth. Correction of reference of
     consideration of the measure or matter
                                                                (c) The Committee on Rules may not                     public bills.
     in the House.
                                                              report a rule or order that would pre-                      Fifth. Disposal of business on the
     Privileged reports, generally                            vent the motion to recommit a bill or                    Speaker’s table as provided in clause
        5. (a) The following committees shall                 joint resolution from being made as                      2.
     have leave to report at any time on the                  provided in clause 2(b) of rule XIX, if                     Sixth. Unfinished business as pro-
     following matters, respectively:                         offered by the Minority Leader or a                      vided in clause 3.
          (1) The Committee on Appropria-                     designee, except with respect to a Sen-                     Seventh. The morning hour for the
        tions, on general appropriation bills                 ate bill or joint resolution for which                   consideration of bills called up by
        and on joint resolutions continuing                   the text of a House-passed measure has                   committees as provided in clause 4.
        appropriations for a fiscal year after                been substituted.                                           Eighth. Motions that the House re-
        September 15 in the preceding fiscal                    (d) The Committee on Rules shall                       solve into the Committee of the
        year.                                                 present to the House reports con-                        Whole House on the state of the
          (2) The Committee on the Budget,                    cerning rules, joint rules, and the order                Union subject to clause 5.
        on the matters required to be re-                     of business, within three legislative                       Ninth. Orders of the day.
        ported by such committee under ti-                    days of the time when they are or-                       2. Business on the Speaker’s table
        tles III and IV of the Congressional                  dered. If such a report is not considered              shall be disposed of as follows:
        Budget Act of 1974.                                   immediately, it shall be referred to the                    (a) Messages from the President
          (3) The Committee on House Ad-                      calendar. If such a report on the cal-                   shall be referred to the appropriate
        ministration, on enrolled bills, on                   endar is not called up by the member of                  committees without debate.
        contested elections, on matters re-                   the committee who filed the report                          (b) Communications addressed to
        ferred to it concerning printing for                  within seven legislative days, any                       the House, including reports and
        the use of the House or the two                       member of the committee may call it                      communications from heads of de-
        Houses, on expenditure of the appli-                  up as a privileged question on the day                   partments and bills, resolutions, and
        cable accounts of the House described                 after the calendar day on which the                      messages from the Senate, may be re-
        in clause 1(k)(1) of rule X, and on                   member announces to the House inten-                     ferred to the appropriate committees
        matters relating to preservation and                  tion to do so. The Speaker shall recog-                  in the same manner and with the
        availability of noncurrent records of                 nize a member of the committee who                       same right of correction as public
        the House under rule VII.                             seeks recognition for that purpose.                      bills and public resolutions presented
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                                                          HOUSE OF REPRESENTATIVES
     Rule XIV, clause 2                                                                                                                          Rule XV, clause 3

       by Members, Delegates, or the Resi-                    and Wednesdays and during the last six                 is called up, the House shall proceed to
       dent Commissioner.                                     days of a session of Congress.                         its consideration under this paragraph
         (c) Motions to dispose of Senate                       (b) Pending a motion that the House                  without intervening motion except one
       amendments on the Speaker’s table                      suspend the rules, the Speaker may en-                 motion to adjourn. Privileged motions
       may be entertained as provided in                      tertain one motion that the House ad-                  to discharge shall have precedence in
       clauses 1, 2, and 4 of rule XXII.                      journ but may not entertain any other                  the order of their entry on the Journal.
         (d) Senate bills and resolutions sub-                motion until the vote is taken on the                     (2) When a motion to discharge is
       stantially the same as House mea                       suspension.                                            called up, the bill or resolution to
       sures already favorably reported and                     (c) A motion that the House suspend                  which it relates shall be read by title
       not required to be considered in the                   the rules is debatable for 40 minutes,                 only. The motion is debatable for 20
       Committee of the Whole House on                        one-half in favor of the motion and                    minutes, one-half in favor of the mo-
       the state of the Union may be dis-                     one-half in opposition thereto.                        tion and one-half in opposition thereto.
       posed of by motion. Such a motion                      Discharge motions                                         (d)(1) If a motion prevails to dis-
       shall be privileged if offered by direc-                                                                      charge the Committee on Rules from
       tion of all reporting committees hav-                    2. (a)(1) A Member may present to the                consideration of a resolution, the
       ing initial jurisdiction of the House                  Clerk a motion in writing to dis-                      House shall immediately consider the
       measure.                                               charge—                                                resolution, pending which the Speaker
       3. Consideration of unfinished busi-                       (A) a committee from consider-
                                                                                                                     may entertain one motion that the
     ness in which the House may have been                      ation of a public bill or public resolu-
                                                                                                                     House adjourn but may not entertain
     engaged at an adjournment, except                          tion that has been referred to it for
                                                                                                                     any other dilatory motion until the
     business in the morning hour and pro-                      30 legislative days; or
                                                                                                                     resolution has been disposed of. If the
     ceedings postponed under clause 8 of                         (B) the Committee on Rules from
                                                                                                                     resolution is adopted, the House shall
     rule XX, shall be resumed as soon as                       consideration of a resolution that has
                                                                                                                     immediately proceed to its execution.
     the business on the Speaker’s table is                     been referred to it for seven legisla-
                                                                                                                        (2) If a motion prevails to discharge a
     finished, and at the same time each                        tive days and that proposes a special
                                                                                                                     committee from consideration of a
     day thereafter until disposed of. The                      order of business for the consider-
                                                                                                                     public bill or public resolution, a mo-
     consideration of all other unfinished                      ation of a public bill or public resolu-
                                                                                                                     tion that the House proceed to the im-
     business shall be resumed whenever the                     tion that has been reported by a com-
                                                                                                                     mediate consideration of such bill or
     class of business to which it belongs                      mittee or has been referred to a com-
                                                                                                                     resolution shall be privileged if offered
     shall be in order under the rules.                         mittee for 30 legislative days.
                                                                                                                     by a Member whose signature appeared
       4. After the unfinished business has                     (2) Only one motion may be presented
                                                                                                                     on the motion to discharge. The mo-
     been disposed of, the Speaker shall call                 for a bill or resolution. A Member may
                                                                                                                     tion to proceed is not debatable. If the
     each standing committee in regular                       not file a motion to discharge the Com-
                                                                                                                     motion to proceed is adopted, the bill
     order and then select committees. Each                   mittee on Rules from consideration of
                                                                                                                     or resolution shall be considered imme-
     committee when named may call up for                     a resolution providing for the consider-
                                                                                                                     diately under the general rules of the
     consideration a bill or resolution re-                   ation of more than one public bill or
                                                                                                                     House. If unfinished before adjourn-
     ported by it on a previous day and on                    public resolution or admitting or ef-
                                                                                                                     ment of the day on which it is called
     the House Calendar. If the Speaker                       fecting a nongermane amendment to a
                                                                                                                     up, the bill or resolution shall remain
     does not complete the call of the com-                   public bill or public resolution.
                                                                                                                     the unfinished business until it is dis-
     mittees before the House passes to                         (b) A motion presented under para-
                                                                                                                     posed of. If the motion to proceed is re-
     other business, the next call shall re-                  graph (a) shall be placed in the custody
                                                                                                                     jected, the bill or resolution shall be
     sume at the point it left off, giving                    of the Clerk, who shall arrange a con-
                                                                                                                     referred to the appropriate calendar,
     preference to the last bill or resolution                venient place for the signatures of
                                                                                                                     where it shall have the same status as
     under consideration. A committee that                    Members. A signature may be with-
                                                                                                                     if the committee from which it was dis-
     has occupied the call for two days may                   drawn by a Member in writing at any
                                                                                                                     charged had duly reported it to the
     not call up another bill or resolution                   time before a motion is entered on the
                                                                                                                     House.
     until the other committees have been                     Journal. The Clerk shall make the sig-
                                                                                                                        (e)(1) When a motion to discharge
     called in their turn.                                    natories a matter of public record,
                                                                                                                     originated under this clause has once
       5. After consideration of bills or reso-               causing the names of the Members who
                                                                                                                     been acted on by the House, it shall not
     lutions under clause 4 for one hour, it                  have signed a discharge motion during
                                                                                                                     be in order to entertain during the
     shall be in order, pending consideration                 a week to be published in a portion of
                                                                                                                     same session of Congress—
     thereof, to entertain a motion that the                  the Congressional Record designated                         (A) a motion to discharge a com-
     House resolve into the Committee of                      for that purpose on the last legislative                  mittee from consideration of that
     the Whole House on the state of the                      day of the week and making cumu-                          bill or resolution or of any other bill
     Union or, when authorized by a com-                      lative lists of such names available                      or resolution that, by relating in sub-
     mittee, that the House resolve into the                  each day for public inspection in an ap-                  stance to or dealing with the same
     Committee of the Whole House on the                      propriate office of the House. The Clerk                  subject matter, is substantially the
     state of the Union to consider a par-                    shall devise a means for making such                      same; or
     ticular bill. Such a motion shall be                     lists available to offices of the House                     (B) a motion to discharge the Com-
     subject to only one amendment desig-                     and to the public in electronic form.                     mittee on Rules from consideration
     nating another bill. If such a motion is                 When a majority of the total member-                      of a resolution providing a special
     decided in the negative, another such                    ship of the House shall have signed the                   order of business for the consider-
     motion may not be considered until the                   motion, it shall be entered on the Jour-                  ation of that bill or resolution or of
     matter that was pending when such                        nal, published with the signatories                       any other bill or resolution that, by
     motion was offered is disposed of.                       thereto in the Record, and referred to                    relating in substance to or dealing
       6. All questions relating to the pri-                  the Calendar of Motions to Discharge                      with the same subject matter, is sub-
     ority of business shall be decided by a                  Committees.                                               stantially the same.
     majority without debate.                                   (c)(1) A motion to discharge that has                   (2) A motion to discharge on the Cal-
                      RULE XV                                 been on the calendar for at least seven                endar of Motions to Discharge Commit-
       BUSINESS IN ORDER ON SPECIAL DAYS                      legislative days (except during the last               tees that is rendered out of order under
                                                              six days of a session of Congress) shall               subparagraph (1) shall be stricken from
     Suspensions                                              be privileged only at a time or place,                 that calendar.
       1. (a) A rule may not be suspended ex-                 designated by the Speaker, in the legis-
     cept by a vote of two-thirds of the                      lative schedule within two legislative                 Adverse report by the Committee on
     Members voting, a quorum being                           days after the day on which a Member                   Rules, second and fourth Mondays
     present. The Speaker may not enter-                      whose signature appears thereon an-                       3. An adverse report by the Com-
     tain a motion that the House suspend                     nounces to the House an intention to                   mittee on Rules on a resolution pro-
     the rules except on Mondays, Tuesdays,                   offer the motion. When such a motion                   posing a special order of business for
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                                                                         RULES OF THE
     Rule XV, clause 3                                                                                                                           Rule XVI, clause 5

     the consideration of a public bill or                    limited to five minutes in support and                 Such measure shall remain on the Con-
     public joint resolution may be called                    five minutes in opposition.                            sensus Calendar until it is—
     up under clause 6(e) of rule XIII as a                   Calendar Call of Committees,                                (1) considered in the House; or
     privileged question by a Member, Dele-                   Wednesdays                                                  (2) reported by the committee of
     gate, or Resident Commissioner on the                                                                             primary jurisdiction.
     second and fourth Mondays of a month.                      6. (a) On Wednesday of each week,
                                                                                                                                      RULE XVI
       4. (RESERVED.)                                         business shall not be in order before
                                                              completion of the call of those commit-                         MOTIONS AND AMENDMENTS
     Private Calendar                                         tees (except as provided by clause 4 of                Motions
                                                              rule XIV) whose chair, or other mem-                     1. Every motion entertained by the
       5. (a) On the first Tuesday of a
                                                              ber authorized by the committee, has                   Speaker shall be reduced to writing on
     month, the Speaker shall direct the
                                                              announced to the House a request for                   the demand of a Member, Delegate, or
     Clerk to call the bills and resolutions
                                                              such call on the preceding legislative                 Resident Commissioner and, unless it
     on the Private Calendar after disposal
                                                              day.                                                   is withdrawn the same day, shall be en-
     of such business on the Speaker’s table
                                                                (b) A bill or resolution on either the               tered on the Journal with the name of
     as requires reference only. If two or
                                                              House or the Union Calendar, except                    the Member, Delegate, or Resident
     more Members, Delegates, or the Resi-
                                                              bills or resolutions that are privileged               Commissioner offering it. A dilatory
     dent Commissioner object to the con-
                                                              under the Rules of the House, may be                   motion may not be entertained by the
     sideration of a bill or resolution so
                                                              called under this clause. A bill or reso-              Speaker.
     called, it shall be recommitted to the
                                                              lution called up from the Union Cal-
     committee that reported it. No other                                                                            Withdrawal
                                                              endar shall be considered in the Com-
     business shall be in order before com-
                                                              mittee of the Whole House on the state                   2. When a motion is entertained, the
     pletion of the call of the Private Cal-
                                                              of the Union without motion, subject                   Speaker shall state it or cause it to be
     endar on this day unless two-thirds of
                                                              to clause 3 of rule XVI. General debate                read aloud by the Clerk before it is de-
     the Members voting, a quorum being
                                                              on a measure considered under this                     bated. The motion then shall be in the
     present, agree to a motion that the
                                                              clause shall be confined to the measure                possession of the House but may be
     House dispense with the call.
                                                              and may not exceed two hours equally                   withdrawn at any time before a deci-
       (b)(1) On any day, after the disposal                  divided between a proponent and an op-                 sion or amendment thereon.
     of such business on the Speaker’s table                  ponent.
     as requires reference only, the Speaker                                                                         Question of consideration
                                                                (c) This clause does not apply during
     may direct the Clerk to call any bill or                                                                          3. When a motion or proposition is
                                                              the last two weeks of a session of Con-
     resolution that has been on the Private                                                                         entertained, the question, ‘‘Will the
                                                              gress.
     Calendar for at least seven days, but                                                                           House now consider it?’’ may not be
                                                                (d) Precedents, rulings, or procedures
     only on the second legislative day after                                                                        put unless demanded by a Member, Del-
                                                              in effect before the One Hundred Elev-
     the legislative day on which the Speak-                                                                         egate, or Resident Commissioner.
                                                              enth Congress regarding the priority of
     er or a designee announces to the                        business and the availability of other                 Precedence of motions
     House an intention to do so. Preference                  business on Wednesday shall be applied
     shall be given to omnibus bills con-                                                                              4. (a) When a question is under de-
                                                              only to the extent consistent with this                bate, only the following motions may
     taining the texts of bills or resolutions                clause.
     that have previously been objected to                                                                           be entertained (which shall have prece-
     on a call of the Private Calendar. If                    Consensus Calendar                                     dence in the following order):
     two or more Members, Delegates, or                                                                                   (1) To adjourn.
                                                                7. (a)(1) At least once during any                        (2) To lay on the table.
     the Resident Commissioner object to                      week in which the House convenes, the
     the consideration of a bill or resolution                                                                            (3) For the previous question.
                                                              House shall consider a measure on the                       (4) To postpone to a day certain.
     so called (other than an omnibus bill),                  Consensus Calendar as designated by
     it shall be recommitted to the com-                                                                                  (5) To refer.
                                                              the Speaker.                                                (6) To amend.
     mittee that reported it. Two-thirds of                     (2) This paragraph does not apply be-
     the Members voting, a quorum being                                                                                   (7) To postpone indefinitely.
                                                              fore March 1 of an odd-numbered year                     (b) A motion to adjourn, to lay on
     present, may adopt a motion that the                     or after September 30 of an even-num-
     House dispense with the call on this                                                                            the table, or for the previous question
                                                              bered year.                                            shall be decided without debate. A mo-
     day.                                                       (b)(1) The sponsor of a measure that                 tion to postpone to a day certain, to
       (2) Omnibus bills shall be read for                    has accumulated 290 cosponsors and                     refer, or to postpone indefinitely, being
     amendment by paragraph. No amend-                        has not been reported by the com-                      decided, may not be allowed again on
     ment shall be in order except to strike                  mittee of primary jurisdiction may                     the same day at the same stage of the
     or to reduce amounts of money or to                      present to the Clerk a motion in writ-                 question.
     provide limitations. An item or matter                   ing to place that measure on the Con-                    (c)(1) It shall be in order at any time
     stricken from an omnibus bill may not                    sensus Calendar.                                       for the Speaker, in the discretion of
     thereafter during the same session of                      (2) A proper motion presented under                  the Speaker, to entertain a motion—
     Congress be included in an omnibus                       subparagraph (1) shall be placed in the                     (A) that the Speaker be authorized
     bill. Upon passage such an omnibus bill                  custody of the Clerk, and shall appear                   to declare a recess; or
     shall be resolved into the several bills                 in a portion of the Congressional                           (B) that when the House adjourns it
     and resolutions of which it is com-                      Record designated for that purpose.                      stand adjourned to a day and time
     posed. The several bills and resolu-                     The Clerk shall maintain a cumulative                    certain.
     tions, with any amendments adopted                       list of such motions, and shall make                     (2) Either motion shall be of equal
     by the House, shall be engrossed, when                   such list publicly available in elec-                  privilege with the motion to adjourn
     necessary, and otherwise considered as                   tronic form.                                           and shall be decided without debate.
     passed severally by the House as dis-                      (3) A motion presented under sub-
     tinct bills and resolutions.                             paragraph (1) shall be considered as                   Divisibility
       (c) The Speaker may not entertain a                    withdrawn if the measure is reported                     5. (a) Except as provided in paragraph
     reservation of the right to object to the                by the committee of primary jurisdic-                  (b), a question shall be divided on the
     consideration of a bill or resolution                    tion prior to its placement on the Con-                demand of a Member, Delegate, or
     under this clause. A bill or resolution                  sensus Calendar.                                       Resident Commissioner before the
     considered under this clause shall be                      (c) After a measure has maintained                   question is put if it includes propo-
     considered in the House as in the Com-                   at least 290 cosponsors for a cumulative               sitions so distinct in substance that,
     mittee of the Whole. A motion to dis-                    period of 25 legislative days after the                one being taken away, a substantive
     pense with the call of the Private Cal-                  presentation of a motion under para-                   proposition remains.
     endar under this clause shall be privi-                  graph (b)(1), the measure shall be                       (b)(1) A motion or resolution to elect
     leged. Debate on such a motion shall be                  placed on the Consensus Calendar.                      members to a standing committee of
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                                                          HOUSE OF REPRESENTATIVES
     Rule XVI, clause 5                                                                                                                        Rule XVII, clause 10

     the House, or to a joint standing com-                   Recognition                                            missioner may not pass between the
     mittee, is not divisible.                                  2. When two or more Members, Dele-                   person speaking and the Chair. During
       (2) A resolution or order reported by                  gates, or the Resident Commissioner                    the session of the House, a Member,
     the Committee on Rules providing a                       seek recognition, the Speaker shall                    Delegate, or Resident Commissioner
     special order of business is not divis-                  name the Member, Delegate, or Resi-                    may not wear non-religious headdress
     ible.                                                    dent Commissioner who is first to                      or a hat or remain by the Clerk’s desk
       (c) A motion to strike and insert is                   speak. A Member, Delegate, or Resi-                    during the call of the roll or the count-
     not divisible, but rejection of a motion                 dent Commissioner may not occupy                       ing of ballots. A person on the floor of
     to strike does not preclude another mo-                  more than one hour in debate on a                      the House may not smoke or use a mo-
     tion to amend.                                           question in the House or in the Com-                   bile electronic device that impairs de-
                                                              mittee of the Whole House on the state                 corum.     The     Sergeant-at-Arms     is
     Amendments
                                                              of the Union except as otherwise pro-                  charged with the strict enforcement of
       6. When an amendable proposition is                                                                           this clause.
                                                              vided in this rule.
     under consideration, a motion to                                                                                Exhibits
     amend and a motion to amend that                         Managing debate
     amendment shall be in order, and it                        3. (a) The Member, Delegate, or Resi-                  6. When the use of an exhibit in de-
     also shall be in order to offer a further                dent Commissioner who calls up a                       bate is objected to by a Member, Dele-
     amendment by way of substitute for                       measure may open and close debate                      gate, or Resident Commissioner, the
     the original motion to amend, to which                   thereon. When general debate extends                   Chair, in the discretion of the Chair,
     one amendment may be offered but                         beyond one day, that Member, Dele-                     may submit the question of its use to
     which may not be voted on until the                      gate, or Resident Commissioner shall                   the House without debate.
     original amendment is perfected. An                      be entitled to one hour to close with-                 Galleries
     amendment may be withdrawn in the                        out regard to the time used in opening.                  7. During a session of the House, it
     House at any time before a decision or                     (b) Except as provided in paragraph                  shall not be in order for a Member, Del-
     amendment thereon. An amendment to                       (a), a Member, Delegate, or Resident                   egate, or Resident Commissioner to in-
     the title of a bill or resolution shall                  Commissioner may not speak more                        troduce to or to bring to the attention
     not be in order until after its passage                  than once to the same question with-                   of the House an occupant in the gal-
     or adoption, shall be in order only if of-               out leave of the House.                                leries of the House. The Speaker may
     fered by the Majority Leader or a des-                     (c) A manager of a measure who op-                   not entertain a request for the suspen-
     ignee, and shall be decided without de-                  poses an amendment thereto is entitled                 sion of this rule by unanimous consent
     bate.                                                    to close controlled debate thereon.                    or otherwise.
     Germaneness                                              Call to order                                          Congressional Record
       7. No motion or proposition on a sub-                    4. (a) If a Member, Delegate, or Resi-                 8. (a) The Congressional Record shall
     ject different from that under consider-                 dent Commissioner, in speaking or oth-                 be a substantially verbatim account of
     ation shall be admitted under color of                   erwise, transgresses the Rules of the                  remarks made during the proceedings
     amendment.                                               House, the Speaker shall, or a Member,                 of the House, subject only to technical,
                                                              Delegate, or Resident Commissioner                     grammatical, and typographical cor-
     Readings                                                 may, call to order the offending Mem-                  rections authorized by the Member,
       8. Bills and joint resolutions are sub-                ber, Delegate, or Resident Commis-                     Delegate, or Resident Commissioner
     ject to readings as follows:                             sioner, who shall immediately sit down                 making the remarks.
         (a) A first reading is in full when                  unless permitted on motion of another                    (b) Unparliamentary remarks may be
       the bill or joint resolution is first                  Member, Delegate, or the Resident                      deleted only by permission or order of
       considered.                                            Commissioner to explain. If a Member,                  the House.
         (b) A second reading occurs only                     Delegate, or Resident Commissioner is                    (c) This clause establishes a standard
       when the bill or joint resolution is                   called to order, the Member, Delegate,                 of conduct within the meaning of
       read for amendment in a Committee                      or Resident Commissioner making the
                                                                                                                     clause 3(a)(2) of rule XI.
       of the Whole House on the state of                     call to order shall indicate the words
       the Union under clause 5 of rule                       excepted to, which shall be taken down                 Legislative Proceedings
       XVIII.                                                 in writing at the Clerk’s desk and read                  9.(a) A Member, Delegate, the Resi-
         (c) A third reading precedes passage                 aloud to the House.                                    dent Commissioner, officer, or em-
       when the Speaker states the ques-                        (b) The Speaker shall decide the va-                 ployee of the House may not engage in
       tion: ‘‘Shall the bill [or joint resolu-               lidity of a call to order. The House, if               disorderly or disruptive conduct in the
       tion] be engrossed [when applicable]                   appealed to, shall decide the question                 Chamber, including—
       and read a third time?’’ If that ques-                 without debate. If the decision is in                      (1) intentionally obstructing or im-
       tion is decided in the affirmative,                    favor of the Member, Delegate, or Resi-                  peding the passage of others in the
       then the bill or joint resolution shall                dent Commissioner called to order, the                   Chamber;
       be read the final time by title and                    Member, Delegate, or Resident Com-                         (2) the use of an exhibit to impede,
       then the question shall be put on its                  missioner shall be at liberty to pro-                    disrupt, or disturb the proceedings of
       passage.                                               ceed, but not otherwise. If the case re-                 the House; and
                                                              quires it, an offending Member, Dele-                      (3) the denial of legislative instru-
                       RULE XVII
                                                              gate, or Resident Commissioner shall                     ments to others seeking to engage in
                DECORUM AND DEBATE                            be liable to censure or such other pun-                  legislative proceedings.
     Decorum                                                  ishment as the House may consider                        (b) This clause establishes a standard
                                                              proper. A Member, Delegate, or Resi-                   of conduct within the meaning of
       1. (a) A Member, Delegate, or Resi-                    dent Commissioner may not be held to                   clause 3(a)(2) of rule XI.
     dent Commissioner who desires to                         answer a call to order, and may not be
     speak or deliver a matter to the House                                                                          Secret sessions
                                                              subject to the censure of the House
     shall respectfully address the Speaker                                                                            10. When confidential communica-
                                                              therefor, if further debate or other
     and, on being recognized, may address                                                                           tions are received from the President,
                                                              business has intervened.
     the House from any place on the floor.                                                                          or when the Speaker or a Member, Del-
     When invited by the Chair, a Member,                     Comportment                                            egate, or Resident Commissioner in-
     Delegate, or Resident Commissioner                         5. When the Speaker is putting a                     forms the House that such individual
     may speak from the Clerk’s desk.                         question or addressing the House, a                    has communications that such indi-
       (b) Remarks in debate (which may in-                   Member, Delegate, or Resident Com-                     vidual believes ought to be kept secret
     clude references to the Senate or its                    missioner may not exit or cross the                    for the present, the House shall be
     Members) shall be confined to the ques-                  Hall. When a Member, Delegate, or                      cleared of all persons except the Mem-
     tion under debate, avoiding person-                      Resident Commissioner is speaking, a                   bers, Delegates, Resident Commis-
     ality.                                                   Member, Delegate, or Resident Com-                     sioner, and officers of the House for the
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                                                                         RULES OF THE
     Rule XVII, clause 10                                                                                                                      Rule XVIII, clause 7

     reading of such communications, and                      general appropriations have precedence                 the state of the Union, the Chair may
     debates and proceedings thereon, un-                     under this clause.                                     announce an intention to declare that
     less otherwise ordered by the House.                     Reading for amendment                                  a quorum is constituted at any time
                    RULE XVIII                                                                                       during the quorum call when the Chair
                                                                5. (a) Before general debate com-                    determines that a quorum has ap-
       THE COMMITTEE OF THE WHOLE HOUSE                       mences on a measure in the Committee
                                                                                                                     peared. If the Chair interrupts the
            ON THE STATE OF THE UNION                         of the Whole House on the state of the
                                                                                                                     quorum call by declaring that a
     Resolving into the Committee of the                      Union, it shall be read in full. When
                                                                                                                     quorum is constituted, proceedings
     Whole                                                    general debate is concluded or closed
                                                                                                                     under the quorum call shall be consid-
                                                              by order of the House, the measure
       1. Whenever the House resolves into                                                                           ered as vacated, and the Committee of
                                                              under consideration shall be read for
     the Committee of the Whole House on                                                                             the Whole shall continue its sitting
                                                              amendment. A Member, Delegate, or
     the state of the Union, the Speaker                                                                             and resume its business.
                                                              Resident Commissioner who offers an
     shall leave the chair after appointing a                                                                          (d) A quorum is not required in the
                                                              amendment shall be allowed five min-
     Member, Delegate, or the Resident                                                                               Committee of the Whole House on the
                                                              utes to explain it, after which the
     Commissioner as Chair to preside. In                                                                            state of the Union for adoption of a
                                                              Member, Delegate, or Resident Com-
     case of disturbance or disorderly con-                                                                          motion that the Committee rise.
                                                              missioner who shall first obtain the
     duct in the galleries or lobby, the Chair                                                                         (e) In the Committee of the Whole
                                                              floor shall be allowed five minutes to
     may cause the same to be cleared.                                                                               House on the state of the Union, the
                                                              speak in opposition to it. There shall
       2. (a) Except as provided in paragraph                 be no further debate thereon, but the                  Chair shall order a recorded vote on a
     (b) and in clause 6 of rule XV, the                      same privilege of debate shall be al-                  request supported by at least 25 Mem-
     House resolves into the Committee of                     lowed in favor of and against any                      bers, Delegates, and the Resident Com-
     the Whole House on the state of the                      amendment that may be offered to an                    missioner.
     Union by motion. When such a motion                      amendment. An amendment, or an                           (f) In the Committee of the Whole
     is entertained, the Speaker shall put                    amendment to an amendment, may be                      House on the state of the Union, the
     the question without debate: ‘‘Shall                     withdrawn by its proponent only by the                 Chair may reduce to not less than two
     the House resolve itself into the Com-                   unanimous consent of the Committee                     minutes the minimum time for elec-
     mittee of the Whole House on the state                   of the Whole.                                          tronic voting on any or all pending
     of the Union for consideration of this                     (b) When a Member, Delegate, or                      amendments after a record vote has
     matter?’’, naming it.                                    Resident     Commissioner    offers  an                been taken on the first pending amend-
       (b) After the House has adopted a res-                 amendment in the Committee of the                      ment, if in the discretion of the Chair
     olution reported by the Committee on                     Whole House on the state of the Union,                 Members, Delegates, and the Resident
     Rules providing a special order of busi-                 the Clerk shall promptly transmit five                 Commissioner would be afforded an
     ness for the consideration of a measure                  copies of the amendment to the major-                  adequate opportunity to vote.
     in the Committee of the Whole House                      ity committee table and five copies to                   (g) The Chair may postpone a request
     on the state of the Union, the Speaker                   the minority committee table. The                      for a recorded vote on any amendment.
     may at any time, when no question is                     Clerk also shall deliver at least one                  The Chair may resume proceedings on
     pending before the House, declare the                    copy of the amendment to the majority                  a postponed request at any time. The
     House resolved into the Committee of                     cloakroom and at least one copy to the                 Chair may reduce to not less than two
     the Whole for the consideration of that                  minority cloakroom.                                    minutes the minimum time for elec-
     measure without intervening motion,                                                                             tronic voting—
                                                              Quorum and voting
     unless the special order of business pro-                                                                            (1) on any postponed question that
                                                                6. (a) A quorum of a Committee of                      follows another electronic vote, pro-
     vides otherwise.
                                                              the Whole House on the state of the                      vided that the minimum time for
     Measures requiring initial                               Union is 100 Members, Delegates, and                     electronic voting on the first in any
     consideration in the Committee of the                    the Resident Commissioner. The first                     series of questions shall be 15 min-
     Whole                                                    time that a Committee of the Whole                       utes; or
       3. All public bills, resolutions, or                   finds itself without a quorum during a                      (2) on any postponed question
     Senate amendments (as provided in                        day, the Chair shall invoke the proce-                   taken after the Committee of the
     clause 3 of rule XXII) involving a tax or                dure for a quorum call set forth in                      Whole resumes its sitting if in the
     charge on the people, raising revenue,                   clause 2 of rule XX, unless the Chair                    discretion of the Chair Members, Del-
     directly or indirectly making appro-                     elects to invoke an alternate procedure                  egates, and the Resident Commis-
     priations of money or property or re-                    set forth in clause 3 or clause 4(a) of                  sioner would be afforded an adequate
     quiring such appropriations to be                        rule XX. If a quorum appears, the Com-                   opportunity to vote.
     made, authorizing payments out of ap-                    mittee of the Whole shall continue its                   (h) Whenever a recorded vote on any
     propriations already made, or releasing                  business. If a quorum does not appear,                 question has been decided by a margin
     any liability to the United States for                   the Committee of the Whole shall rise,                 within which the votes cast by the Del-
     money or property, shall be first con-                   and the Chair shall report the names of                egates and the Resident Commissioner
     sidered in the Committee of the Whole                    absentees to the House.                                have been decisive, the Committee of
     House on the state of the Union. A bill,                   (b)(1) The Chair may refuse to enter-                the Whole shall rise and the Speaker
     resolution, or Senate amendment that                     tain a point of order that a quorum is                 shall put such question de novo with-
     fails to comply with this clause is sub-                 not present during general debate.                     out intervening motion. Upon the an-
     ject to a point of order against its con-                  (2) After a quorum has once been es-                 nouncement of the vote on that ques-
     sideration.                                              tablished on a day, the Chair may en-                  tion, the Committee of the Whole shall
                                                              tertain a point of order that a quorum                 resume its sitting without intervening
     Order of business                                        is not present only when the Com-                      motion.
       4. (a) Subject to subparagraph (b)                     mittee of the Whole House on the state
     business on the calendar of the Com-                     of the Union is operating under the                    Dispensing with the reading of an
     mittee of the Whole House on the state                   five-minute rule and the Chair has put                 amendment
     of the Union may be taken up in reg-                     the pending proposition to a vote.                       7. It shall be in order in the Com-
     ular order, or in such order as the Com-                   (3) Upon sustaining a point of order                 mittee of the Whole House on the state
     mittee may determine, unless the                         that a quorum is not present, the Chair                of the Union to move that the Com-
     measure to be considered was deter-                      may announce that, following a regular                 mittee of the Whole dispense with the
     mined by the House at the time of re-                    quorum call under paragraph (a), the                   reading of an amendment that has been
     solving into the Committee of the                        minimum time for electronic voting on                  printed in the bill or resolution as re-
     Whole.                                                   the pending question shall be not less                 ported by a committee, or an amend-
       (b) Motions to resolve into the Com-                   than two minutes.                                      ment that a Member, Delegate, or Resi-
     mittee of the Whole for consideration                      (c) When ordering a quorum call in                   dent Commissioner has caused to be
     of bills and joint resolutions making                    the Committee of the Whole House on                    printed in the Congressional Record.
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                                                          HOUSE OF REPRESENTATIVES
     Rule XVIII, clause 7                                                                                                                         Rule XX, clause 1

     Such a motion shall be decided without                   Committee of the Whole without de-                     include the bill or resolution to its pas-
     debate.                                                  bate.                                                  sage, adoption, or rejection.
     Closing debate                                           Concurrent resolution on the budget                      (b) Incidental questions of order aris-
                                                                                                                     ing during the pendency of a motion
       8. (a) Subject to paragraph (b) at any                   10. (a) At the conclusion of general                 for the previous question shall be de-
     time after the Committee of the Whole                    debate in the Committee of the Whole                   cided, whether on appeal or otherwise,
     House on the state of the Union has                      House on the state of the Union on a                   without debate.
     begun five-minute debate on amend-                       concurrent resolution on the budget                      (c) Notwithstanding paragraph (a),
     ments to any portion of a bill or reso-                  under section 305(a) of the Congres-                   when the previous question is oper-
     lution, it shall be in order to move that                sional Budget Act of 1974, the concur-                 ating to adoption or passage of a meas-
     the Committee of the Whole close all                     rent resolution shall be considered as                 ure pursuant to a special order of busi-
     debate on that portion of the bill or                    read for amendment.                                    ness, the Chair may postpone further
     resolution or on the pending amend-                        (b) It shall not be in order in the                  consideration of such measure in the
     ments only. Such a motion shall be de-                   House or in the Committee of the                       House to such time as may be des-
     cided without debate. The adoption of                    Whole House on the state of the Union                  ignated by the Speaker.
     such a motion does not preclude fur-                     to consider an amendment to a concur-
                                                                                                                     Recommit
     ther amendment, to be decided without                    rent resolution on the budget, or an
     debate.                                                  amendment thereto, unless the concur-                    2. (a) After the previous question has
       (b) If the Committee of the Whole                      rent resolution, as amended by such                    been ordered on passage or adoption of
     House on the state of the Union closes                   amendment or amendments—                               a measure, or pending a motion to that
     debate on any portion of a bill or reso-                     (1) would be mathematically con-                   end, it shall be in order to move that
     lution before there has been debate on                     sistent except as limited by para-                   the House recommit (or commit, as the
     an amendment that a Member, Dele-                          graph (c); and                                       case may be) the measure, without in-
     gate, or Resident Commissioner has                           (2) would contain all the matter set               structions, to a standing or select com-
     caused to be printed in the Congres-                       forth in paragraphs (1) through (5) of               mittee. For such a motion to recom-
     sional Record at least one day before                      section 301(a) of the Congressional                  mit, the Speaker shall give preference
     its consideration, the Member, Dele-                       Budget Act of 1974.                                  in recognition to a Member, Delegate,
     gate, or Resident Commissioner who                         (c)(1) Except as specified in subpara-               or Resident Commissioner who is op-
     caused the amendment to be printed in                    graph (2), it shall not be in order in the             posed to the measure.
     the Record shall be allowed five min-                    House or in the Committee of the                         (b) The previous question shall be
     utes to explain it, after which the                      Whole House on the state of the Union                  considered as ordered on any motion to
     Member, Delegate, or Resident Com-                       to consider an amendment to a concur-                  recommit (or commit, as the case may
     missioner who shall first obtain the                     rent resolution on the budget, or an                   be).
     floor shall be allowed five minutes to                   amendment thereto, that proposes to                    Reconsideration
     speak in opposition to it. There shall                   change the amount of the appropriate                     3. When a motion has been carried or
     be no further debate thereon.                            level of the public debt set forth in the              lost, it shall be in order on the same or
       (c) Material submitted for printing in                 concurrent resolution, as reported.                    succeeding day for a Member on the
     the Congressional Record under this                        (2) Amendments to achieve mathe-                     prevailing side of the question to enter
     clause shall indicate the full text of                   matical consistency under section                      a motion for the reconsideration there-
     the proposed amendment, the name of                      305(a)(5) of the Congressional Budget                  of. The entry of such a motion shall
     the Member, Delegate, or Resident                        Act of 1974, if offered by direction of                take precedence over all other ques-
     Commissioner proposing it, the number                    the Committee on the Budget, may                       tions except the consideration of a con-
     of the bill or resolution to which it will               propose to adjust the amount of the ap-                ference report or a motion to adjourn,
     be offered, and the point in the bill or                 propriate level of the public debt set                 and may not be withdrawn after such
     resolution or amendment thereto                          forth in the concurrent resolution, as                 succeeding day without the consent of
     where the amendment is intended to be                    reported, to reflect changes made in                   the House. Once entered, a motion may
     offered. The amendment shall appear                      other figures contained in the concur-                 be called up for consideration by any
     in a portion of the Record designated                    rent resolution.                                       Member. During the last six days of a
     for that purpose. Amendments to a                        Applicability of Rules of the House                    session of Congress, such a motion
     specified measure submitted for print-                                                                          shall be disposed of when entered.
                                                                11. The Rules of the House are the
     ing in that portion of the Record shall                                                                           4. A bill, petition, memorial, or reso-
                                                              rules of the Committee of the Whole
     be numbered in the order printed.                                                                               lution referred to a committee, or re-
                                                              House on the state of the Union so far
     Striking the enacting clause                             as applicable.                                         ported therefrom for printing and re-
                                                                                                                     commitment, may not be brought back
        9. A motion that the Committee of                                     RULE XIX                               to the House on a motion to reconsider.
     the Whole House on the state of the                        MOTIONS FOLLOWING THE AMENDMENT
     Union rise and report a bill or resolu-                                                                                          RULE XX
                                                                                STAGE
     tion to the House with the rec-                                                                                         VOTING AND QUORUM CALLS
     ommendation that the enacting or re-                     Previous question                                        1. (a) The House shall divide after the
     solving clause be stricken shall have                      1. (a) There shall be a motion for the               Speaker has put a question to a vote by
     precedence of a motion to amend, and,                    previous question, which, being or-                    voice as provided in clause 6 of rule I if
     if carried in the House, shall constitute                dered, shall have the effect of cutting                the Speaker is in doubt or division is
     a rejection of the bill or resolution.                   off all debate and bringing the House to               demanded. Those in favor of the ques-
     Whenever a bill or resolution is re-                     a direct vote on the immediate ques-                   tion shall first rise or otherwise indi-
     ported from the Committee of the                         tion or questions on which it has been                 cate from their seats and be counted,
     Whole with such adverse recommenda-                      ordered. Whenever the previous ques-                   and then those opposed.
     tion and the recommendation is re-                       tion has been ordered on an otherwise                    (b) If a Member, Delegate, or Resi-
     jected by the House, the bill or resolu-                 debatable question on which there has                  dent Commissioner requests a recorded
     tion shall stand recommitted to the                      been no debate, it shall be in order to                vote, and that request is supported by
     Committee of the Whole without fur-                      debate that question for 40 minutes,                   at least one-fifth of a quorum, the vote
     ther action by the House. Before the                     equally divided and controlled by a                    shall be taken by electronic device un-
     question of concurrence is submitted,                    proponent of the question and an oppo-                 less the Speaker invokes another pro-
     it shall be in order to move that the                    nent. The previous question may be                     cedure for recording votes provided in
     House refer the bill or resolution to a                  moved and ordered on a single ques-                    this rule. A recorded vote taken in the
     committee, with or without instruc-                      tion, on a series of questions allowable               House under this paragraph shall be
     tions. If a bill or resolution is so re-                 under the rules, or on an amendment                    considered a vote by the yeas and nays.
     ferred, then when it is again reported                   or amendments, or may embrace all                        (c) In case of a tie vote, a question
     to the House it shall be referred to the                 authorized motions or amendments and                   shall be lost.
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                                                                         RULES OF THE
     Rule XX, clause 2                                                                                                                            Rule XX, clause 6

       2. (a) Unless the Speaker directs oth-                 shall be discharged. Unless the House                      (i) The number of vacancies in the
     erwise, the Clerk shall conduct a                        otherwise directs, the Members who                       House and the names of former Rep-
     record vote or quorum call by elec-                      voluntarily appear shall be admitted                     resentatives whose seats are vacant.
     tronic device. In such a case the Clerk                  immediately to the Hall of the House                       (ii) The names of Representatives
     shall enter on the Journal and publish                   and shall report their names to the                      considered incapacitated.
     in the Congressional Record, in alpha-                   Clerk to be entered on the Journal as                      (iii) The names of Representatives
     betical order in each category, the                      present.                                                 not incapacitated but otherwise in-
     names of Members recorded as voting                        (c)(1) If the House should be without                  capable of attending the proceedings
     in the affirmative, the names of Mem-                    a quorum due to catastrophic cir-                        of the House.
     bers recorded as voting in the negative,                 cumstances, then—                                          (iv) The names of Representatives
     and the names of Members answering                            (A) until there appear in the House                 unaccounted for.
     present as if they had been called in                      a sufficient number of Representa-                     (C) Such report shall be prepared on
     the manner provided in clause 3. Ex-                       tives to constitute a quorum among                   the basis of the most authoritative in-
     cept as otherwise permitted under                          the whole number of the House, a                     formation available after consultation
     clause 8 or 9 of this rule or under                        quorum in the House shall be deter-                  with the Attending Physician to the
     clause 6 of rule XVIII, the minimum                        mined based upon the provisional                     Congress and the Clerk (or their re-
     time for a record vote or quorum call                      number of the House; and                             spective designees) and pertinent pub-
     by electronic device shall be 15 min-                         (B) the provisional number of the                 lic health and law enforcement offi-
     utes.                                                      House, as of the close of the call of                cials.
       (b) When the electronic voting sys-                      the House described in subparagraph                    (D) Such report shall be updated
     tem is inoperable or is not used, the                      (3)(C), shall be the number of Rep-                  every legislative day for the duration
     Speaker or Chair may direct the Clerk                      resentatives responding to that call                 of any proceedings under or in reliance
     to conduct a record vote or quorum                         of the House.                                        on this paragraph. The Speaker shall
     call as provided in clause 3 or 4.                         (2) If a Representative counted in de-               make such updates available to the
       3. The Speaker may direct the Clerk                    termining the provisional number of                    House.
     to conduct a record vote or quorum                       the House thereafter ceases to be a                      (5) An announcement by the Speaker
     call by call of the roll. In such a case                 Representative, or if a Representative                 under subparagraph (3)(B)(iii) shall not
     the Clerk shall call the names of Mem-                   not counted in determining the provi-                  be subject to appeal.
     bers, alphabetically by surname. When                                                                             (6) Subparagraph (1) does not apply
                                                              sional number of the House thereafter
     two or more have the same surname,                                                                              to a proposal to create a vacancy in the
                                                              appears in the House, the provisional
     the name of the State (and, if nec-                                                                             representation from any State in re-
                                                              number of the House shall be adjusted
     essary to distinguish among Members                                                                             spect of a Representative not incapaci-
                                                              accordingly.
     from the same State, the given names                                                                            tated but otherwise incapable of at-
                                                                (3) For the purposes of subparagraph
     of the Members) shall be added. After                                                                           tending the proceedings of the House.
                                                              (1), the House shall be considered to be
     the roll has been called once, the Clerk                                                                          (7) For purposes of this paragraph:
                                                              without a quorum due to catastrophic
     shall call the names of those not re-                                                                               (A) The term ‘‘provisional number
                                                              circumstances if, after a motion under
     corded, alphabetically by surname.                                                                                of the House’’ means the number of
                                                              paragraph (a) has been disposed of and
     Members appearing after the second                                                                                Representatives     upon     which   a
                                                              without intervening adjournment, each
     call, but before the result is an-                                                                                quorum will be computed in the
     nounced, may vote or announce a pair.                    of the following occurs in the stated se-
                                                                                                                       House until Representatives suffi-
       4. (a) The Speaker may direct a                        quence:
                                                                                                                       cient in number to constitute a
     record vote or quorum call to be con-                         (A) A call of the House (or a series
                                                                                                                       quorum among the whole number of
     ducted by tellers. In such a case the                      of calls of the House) is closed after
                                                                                                                       the House appear in the House.
     tellers named by the Speaker shall                         aggregating a period in excess of 72                     (B) The term ‘‘whole number of the
     record the names of the Members vot-                       hours (excluding time the House is in                  House’’ means the number of Rep-
     ing on each side of the question or                        recess) without producing a quorum.                    resentatives chosen, sworn, and liv-
     record their presence, as the case may                        (B) The Speaker—                                    ing whose membership in the House
     be, which the Clerk shall enter on the                          (i) with the Majority Leader and                  has not been terminated by resigna-
     Journal and publish in the Congres-                           the Minority Leader (or their re-                   tion or by the action of the House.
     sional Record. Absentees shall be                             spective designees), receives from                  (d) Upon the death, resignation, ex-
     noted, but the doors may not be closed                        the Sergeant-at-Arms (or a des-                   pulsion, disqualification, removal, or
     except when ordered by the Speaker.                           ignee) a catastrophic quorum fail-                swearing of a Member, the whole num-
     The minimum time for a record vote or                         ure report, as described in subpara-              ber of the House shall be adjusted ac-
     quorum call by tellers shall be 15 min-                       graph (4);                                        cordingly. The Speaker shall announce
     utes.                                                           (ii) consults with the Majority                 the adjustment to the House. Such an
       (b) On the demand of a Member, or at                        Leader and the Minority Leader (or                announcement shall not be subject to
     the suggestion of the Speaker, the                            their respective designees) on the                appeal. In the case of a death, the
     names of Members sufficient to make a                         content of that report; and                       Speaker may lay before the House such
     quorum in the Hall of the House who                             (iii) announces the content of                  documentation from Federal, State, or
     do not vote shall be noted by the Clerk,                      that report to the House.                         local officials as the Speaker deems
     entered on the Journal, reported to the                       (C) A further call of the House (or               pertinent.
     Speaker with the names of the Mem-                         a series of calls of the House) is                     6. (a) When a quorum fails to vote on
     bers voting, and be counted and an-                        closed after aggregating a period in                 a question, a quorum is not present,
     nounced in determining the presence of                     excess of 24 hours (excluding time the               and objection is made for that cause
     a quorum to do business.                                   House is in recess) without producing                (unless the House shall adjourn)—
       5. (a) In the absence of a quorum, a                     a quorum.                                                (1) there shall be a call of the
     majority comprising at least 15 Mem-                       (4)(A) For purposes of subparagraph                    House;
     bers, which may include the Speaker,                     (3), a catastrophic quorum failure re-                     (2) the Sergeant-at-Arms shall pro-
     may compel the attendance of absent                      port is a report advising that the in-                   ceed forthwith to bring in absent
     Members.                                                 ability of the House to establish a                      Members; and
       (b) Subject to clause 7(b) a majority                  quorum is attributable to catastrophic                     (3) the yeas and nays on the pend-
     described in paragraph (a) may order                     circumstances involving natural dis-                     ing question shall at the same time
     the Sergeant-at-Arms to send officers                    aster, attack, contagion, or similar ca-                 be considered as ordered.
     appointed by the Sergeant-at-Arms to                     lamity rendering Representatives in-                     (b) The Clerk shall record Members
     arrest those Members for whom no suf-                    capable of attending the proceedings of                by the yeas and nays on the pending
     ficient excuse is made and shall secure                  the House.                                             question, using such procedure as the
     and retain their attendance. The House                     (B) Such report shall specify the fol-               Speaker may invoke under clause 2, 3,
     shall determine on what condition they                   lowing:                                                or 4. Each Member arrested under this
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                                                          HOUSE OF REPRESENTATIVES
     Rule XX, clause 6                                                                                                                           Rule XXI, clause 2

     clause shall be brought by the Ser-                        if the managers have filed a report in               General appropriation bills and
     geant-at-Arms      before   the   House,                   the House).                                          amendments
     whereupon the Member shall be noted                           (D) The question of agreeing to a                   2. (a)(1) An appropriation may not be
     as present, discharged from arrest, and                    conference report.                                   reported in a general appropriation
     given an opportunity to vote; and such                        (E) The question of adopting a mo-                bill, and may not be in order as an
     vote shall be recorded. If those voting                    tion to recommit.                                    amendment thereto, for an expenditure
     on the question and those who are                             (F) The question of adopting a mo-                not previously authorized by law, ex-
     present and decline to vote together                       tion to concur in a Senate amend-                    cept to continue appropriations for
     make a majority of the House, the                          ment, with or without amendment.                     public works and objects that are al-
     Speaker shall declare that a quorum is                        (G) The question of agreeing to an                ready in progress.
     constituted, and the pending question                      amendment.                                             (2) A reappropriation of unexpended
     shall be decided as the requisite major-                      (H) The question of ordering the                  balances of appropriations may not be
     ity of those voting shall have deter-                      previous question on a question de-                  reported in a general appropriation
     mined. Thereupon further proceedings                       scribed in subdivisions (A) through                  bill, and may not be in order as an
     under the call shall be considered as                      (G).                                                 amendment thereto, except to continue
     dispensed with.                                               (I) The question of agreeing to a                 appropriations for public works and ob-
       (c) At any time after Members have                       motion to suspend the rules.                         jects that are already in progress. This
     had the requisite opportunity to re-                          (J) The question of agreeing to a                 subparagraph does not apply to trans-
     spond by the yeas and nays ordered                         motion to reconsider or the question                 fers of unexpended balances within the
     under this clause, but before a result                     of agreeing to a motion to lay on the                department or agency for which they
     has been announced, a motion that the                      table a motion to reconsider.                        were originally appropriated that are
     House adjourn shall be in order if sec-                    (b) At the time designated by the                    reported by the Committee on Appro-
     onded by a majority of those present,                    Speaker for further proceedings on                     priations.
     to be ascertained by actual count by                     questions postponed under paragraph                      (b) A provision changing existing law
     the Speaker. If the House adjourns on                    (a), the Speaker shall resume pro-                     may not be reported in a general appro-
     such a motion, all proceedings under                     ceedings on each postponed question.                   priation bill, including a provision
     this clause shall be considered as va-                     (c) If the House adjourns on a legisla-              making the availability of funds con-
     cated.                                                   tive day designated for further pro-                   tingent on the receipt or possession of
       7. (a) The Speaker may not entertain                   ceedings on questions postponed under                  information not required by existing
     a point of order that a quorum is not                    this clause without disposing of such                  law for the period of the appropriation,
     present unless a question has been put                   questions, then on the next legislative                except germane provisions that re-
     to a vote.                                               day the unfinished business is the dis-                trench expenditures by the reduction of
       (b) Subject to paragraph (c) the                       position of such questions.                            amounts of money covered by the bill
     Speaker may recognize a Member, Del-                                                                            (which     may    include   those    rec-
                                                              Five-minute votes                                      ommended to the Committee on Appro-
     egate, or Resident Commissioner to
     move a call of the House at any time.                      9. (a) The Speaker may reduce to five                priations by direction of a legislative
     When a quorum is established pursuant                    minutes the minimum time for elec-                     committee having jurisdiction over the
     to a call of the House, further pro-                     tronic voting on any question that fol-                subject matter) and except rescissions
     ceedings under the call shall be consid-                 lows another electronic vote or a re-                  of appropriations contained in appro-
     ered as dispensed with unless the                        port from the Committee of the Whole,                  priation Acts.
     Speaker recognizes for a motion to                       if in the discretion of the Speaker                      (c) An amendment to a general ap-
     compel attendance of Members under                       Members would be afforded an ade-                      propriation bill shall not be in order if
     clause 5(b).                                             quate opportunity to vote.                             changing existing law, including an
       (c) A call of the House shall not be in                  (b) To the maximum extent prac-                      amendment making the availability of
     order after the previous question is or-                 ticable, notice of possible five-minute                funds contingent on the receipt or pos-
     dered unless the Speaker determines by                   voting for a given series of votes shall               session of information not required by
     actual count that a quorum is not                        be issued prior to the first electronic                existing law for the period of the ap-
     present.                                                 vote in the series.                                    propriation. Except as provided in
                                                                                                                     paragraph (d), an amendment pro-
                                                              Automatic yeas and nays                                posing a limitation not specifically
     Postponement of proceedings
                                                                10. The yeas and nays shall be consid-               contained or authorized in existing law
       8. (a)(1) When a recorded vote is or-
                                                              ered as ordered when the Speaker puts                  for the period of the limitation shall
     dered, or the yeas and nays are or-
                                                              the question on passage of a bill or                   not be in order during consideration of
     dered, or a vote is objected to under                                                                           a general appropriation bill.
                                                              joint resolution, or on adoption of a
     clause 6—                                                                                                         (d) After a general appropriation bill
                                                              conference report, making general ap-
         (A) on any of the questions speci-                   propriations, or on final adoption of a                has been read for amendment, a motion
       fied in subparagraph (2), the Speaker                  concurrent resolution on the budget or                 that the Committee of the Whole
       may postpone further proceedings to                    conference report thereon.                             House on the state of the Union rise
       a designated place in the legislative                                                                         and report the bill to the House with
       schedule within two additional legis-                  Ballot votes                                           such amendments as may have been
       lative days; and                                         11. In a case of ballot for election, a              adopted shall, if offered by the Major-
         (B) on the question of agreeing to                   majority of the votes shall be nec-                    ity Leader or a designee, have prece-
       the Speaker’s approval of the Jour-                    essary to an election. When there is                   dence over motions to amend the bill.
       nal, the Speaker may postpone fur-                     not such a majority on the first ballot,               If such a motion to rise and report is
       ther proceedings to a designated                       the process shall be repeated until a                  rejected or not offered, amendments
       place in the legislative schedule on                   majority is obtained. In all balloting                 proposing limitations not specifically
       that legislative day.                                  blanks shall be rejected, may not be                   contained or authorized in existing law
       (2) The questions described in sub-                    counted in the enumeration of votes,                   for the period of the limitation or pro-
     paragraph (1) are as follows:                            and may not be reported by the tellers.                posing germane amendments that re-
         (A) The question of passing a bill or                                                                       trench expenditures by reductions of
       joint resolution.                                                          RULE XXI                           amounts of money covered by the bill
         (B) The question of adopting a reso-                       RESTRICTIONS ON CERTAIN BILLS                    may be considered.
       lution or concurrent resolution.                                                                                (e) A provision other than an appro-
         (C) The question of agreeing to a                    Reservation of certain points of order                 priation designated an emergency
       motion to instruct managers on the                       1. At the time a general appropria-                  under section 251(b)(2) or section 252(e)
       part of the House (except that pro-                    tion bill is reported, all points of order             of the Balanced Budget and Emergency
       ceedings may not resume on such a                      against provisions therein shall be con-               Deficit Control Act, a rescission of
       motion under clause 7(c) of rule XXII                  sidered as reserved.                                   budget authority, or a reduction in di-
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     Rule XXI, clause 2                                                                                                                          Rule XXI, clause 9

     rect spending or an amount for a des-                    Consideration of retroactive tax rate                    that the proposition contains no con-
     ignated emergency may not be re-                         increases                                                gressional earmarks, limited tax ben-
     ported in an appropriation bill or joint                   (b) It shall not be in order to consider               efits, or limited tariff benefits to be
     resolution containing an emergency                       a bill, joint resolution, amendment, or                  printed in the Congressional Record
     designation under section 251(b)(2) or                   conference report carrying a retro-                      prior to its consideration;
     section 252(e) of such Act and may not                   active Federal income tax rate in-                          (3) an amendment to a bill or joint
     be in order as an amendment thereto.                     crease. In this paragraph—                               resolution to be offered at the outset
       (f) During the reading of an appro-                         (1) the term ‘‘Federal income tax                   of its consideration for amendment
     priation bill for amendment in the                         rate increase’’ means any amend-                       by a member of a committee of ini-
     Committee of the Whole House on the                        ment to subsection (a), (b), (c), (d), or              tial referral as designated in a report
     state of the Union, it shall be in order                   (e) of section 1, or to section 11(b) or               of the Committee on Rules to accom-
     to consider en bloc amendments pro-                        55(b), of the Internal Revenue Code of                 pany a resolution prescribing a spe-
     posing only to transfer appropriations                     1986, that imposes a new percentage                    cial order of business unless the pro-
     among objects in the bill without in-                      as a rate of tax and thereby increases                 ponent has caused a list of congres-
     creasing the levels of budget authority                    the amount of tax imposed by any                       sional earmarks, limited tax bene-
     or outlays in the bill. When considered                    such section; and                                      fits, and limited tariff benefits in the
     en bloc under this paragraph, such                            (2) a Federal income tax rate in-                   amendment (and the name of any
     amendments may amend portions of                           crease is retroactive if it applies to a               Member, Delegate, or Resident Com-
     the bill not yet read for amendment                        period beginning before the enact-                     missioner who submitted a request to
     (following disposition of any points of                    ment of the provision.                                 the proponent for each respective
     order against such portions) and are                                                                              item included in such list) or a state-
                                                              Designation of public works                              ment that the proposition contains
     not subject to a demand for division of
     the question in the House or in the                        6. It shall not be in order to consider                no congressional earmarks, limited
     Committee of the Whole.                                  a bill, joint resolution, amendment, or                  tax benefits, or limited tariff benefits
                                                              conference report that provides for the                  to be printed in the Congressional
       3. It shall not be in order to consider
                                                              designation or redesignation of a public                 Record prior to its consideration; or
     a general appropriation bill or joint
                                                              work in honor of an individual then                         (4) a conference report to accom-
     resolution, or conference report there-
                                                              serving as a Member, Delegate, Resi-                     pany a bill or joint resolution unless
     on, that—
                                                              dent Commissioner, or Senator.                           the joint explanatory statement pre-
          (a) provides spending authority de-                   7. (RESERVED.)                                         pared by the managers on the part of
       rived from receipts deposited in the                     8. With respect to measures consid-                    the House and the managers on the
       Highway Trust Fund (excluding any                      ered pursuant to a special order of                      part of the Senate includes a list of
       transfers from the General Fund of                     business, points of order under title III                congressional earmarks, limited tax
       the Treasury); or                                      of the Congressional Budget Act of 1974                  benefits, and limited tariff benefits
          (b) reduces or otherwise limits the                 shall operate without regard to wheth-                   in the conference report or joint
       accruing balances of the Highway                       er the measure concerned has been re-                    statement (and the name of any
       Trust Fund,                                            ported from committee. Such points of                    Member, Delegate, Resident Commis-
     for any purpose other than for those                     order shall operate with respect to (as                  sioner, or Senator who submitted a
     activities authorized for the highway                    the case may be)—                                        request to the House or Senate com-
     or mass transit categories.                                   (a) the form of a measure rec-                      mittees of jurisdiction for each re-
     Appropriations on legislative bills                        ommended by the reporting com-                         spective item included in such list)
                                                                mittee where the statute uses the                      or a statement that the proposition
       4. A bill or joint resolution carrying                   term ‘‘as reported’’ (in the case of a                 contains no congressional earmarks,
     an appropriation may not be reported                       measure that has been so reported);                    limited tax benefits, or limited tariff
     by a committee not having jurisdiction                        (b) the form of the measure made in                 benefits.
     to report appropriations, and an                           order as an original bill or joint reso-               (b) It shall not be in order to consider
     amendment proposing an appropriation                       lution for the purpose of amendment;                 a conference report to accompany a
     shall not be in order during the consid-                   or                                                   regular general appropriation bill un-
     eration of a bill or joint resolution re-                     (c) the form of the measure on                    less the joint explanatory statement
     ported by a committee not having that                      which the previous question is or-                   prepared by the managers on the part
     jurisdiction. A point of order against                     dered directly to passage.                           of the House and the managers on the
     an appropriation in such a bill, joint                     9. (a) It shall not be in order to con-              part of the Senate includes—
     resolution, or amendment thereto may                     sider—                                                      (1) a list of congressional earmarks,
     be raised at any time during pendency                         (1) a bill or joint resolution re-                  limited tax benefits, and limited tar-
     of that measure for amendment.                             ported by a committee unless the re-                   iff benefits in the conference report
                                                                port includes a list of congressional                  or joint statement (and the name of
     Tax and tariff measures and
                                                                earmarks, limited tax benefits, and                    any Member, Delegate, Resident
     amendments
                                                                limited tariff benefits in the bill or in              Commissioner, or Senator who sub-
       5. (a)(1) A bill or joint resolution car-                the report (and the name of any                        mitted a request to the House or Sen-
     rying a tax or tariff measure may not                      Member, Delegate, or Resident Com-                     ate committees of jurisdiction for
     be reported by a committee not having                      missioner who submitted a request to                   each respective item included in such
     jurisdiction to report tax or tariff                       the committee for each respective                      list) that were neither committed to
     measures, and an amendment in the                          item included in such list) or a state-                the conference committee by either
     House or proposed by the Senate car-                       ment that the proposition contains                     House nor in a report of a committee
     rying a tax or tariff measure shall not                    no congressional earmarks, limited                     of either House on such bill or on a
     be in order during the consideration of                    tax benefits, or limited tariff bene-                  companion measure; or
     a bill or joint resolution reported by a                   fits;                                                     (2) a statement that the propo-
     committee not having that jurisdic-                           (2) a bill or joint resolution not re-              sition contains no such congressional
     tion. A point of order against a tax or                    ported by a committee unless the                       earmarks, limited tax benefits, or
     tariff measure in such a bill, joint reso-                 chair of each committee of initial re-                 limited tariff benefits.
     lution, or amendment thereto may be                        ferral has caused a list of congres-                   (c) It shall not be in order to consider
     raised at any time during pendency of                      sional earmarks, limited tax bene-                   a rule or order that waives the applica-
     that measure for amendment.                                fits, and limited tariff benefits in the             tion of paragraph (a) or (b). As disposi-
       (2) For purposes of subparagraph (1),                    bill (and the name of any Member,                    tion of a point of order under this para-
     a tax or tariff measure includes an                        Delegate, or Resident Commissioner                   graph or paragraph (b), the Chair shall
     amendment proposing a limitation on                        who submitted a request to the com-                  put the question of consideration with
     funds in a general appropriation bill for                  mittee for each respective item in-                  respect to the rule or order or con-
     the administration of a tax or tariff.                     cluded in such list) or a statement                  ference report, as applicable. The ques-
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                                                          HOUSE OF REPRESENTATIVES
     Rule XXI, clause 9                                                                                                                         Rule XXII, clause 7

     tion of consideration shall be debatable                 with section 257 of the Balanced Budget                    (3) designated pursuant to clause
     for 10 minutes by the Member initi-                      and Emergency Deficit Control Act of                     7(a) of rule XV; or
     ating the point of order and for 10 min-                 1985.                                                      (4) not referred to committee.
     utes by an opponent, but shall other-                      (b) If a bill, joint resolution, or                    (c) Paragraph (a) does not apply be-
     wise be decided without intervening                      amendment is considered pursuant to a                  fore March 1 of an odd-numbered year.
     motion except one that the House ad-                     special order of the House directing the                              RULE XXII
     journ.                                                   Clerk to add as new matter at the end                        HOUSE AND SENATE RELATIONS
       (d) In order to be cognizable by the                   of such measure the provisions of a sep-
     Chair, a point of order raised under                     arate measure as passed by the House,                  Senate amendments
     paragraph (a) may be based only on the                   the provisions of such separate meas-                    1. A motion to disagree to Senate
     failure of a report, submission to the                   ure as passed by the House shall be in-                amendments to a House proposition
     Congressional Record, or joint explana-                  cluded in the evaluation under para-                   and to request or agree to a conference
     tory statement to include a list re-                     graph (a) of the bill, joint resolution,               with the Senate, or a motion to insist
     quired by paragraph (a) or a statement                   or amendment.                                          on House amendments to a Senate
     that the proposition contains no con-                      (c)(1) Except as provided in subpara-                proposition and to request or agree to
     gressional earmarks, limited tax bene-                   graph (2), the evaluation under para-                  a conference with the Senate, shall be
     fits, or limited tariff benefits.                        graph (a) shall exclude a provision ex-                privileged in the discretion of the
       (e) For the purpose of this clause, the                pressly designated as an emergency for                 Speaker if offered by direction of the
     term ‘‘congressional earmark’’ means a                   purposes of pay-as-you-go principles in                primary committee and of all reporting
     provision or report language included                    the case of a point of order under this                committees that had initial referral of
     primarily at the request of a Member,                    clause against consideration of—                       the proposition.
     Delegate, Resident Commissioner, or                           (A) a bill or joint resolution;                     2. A motion to dispose of House bills
     Senator providing, authorizing or rec-                        (B) an amendment made in order as                 with Senate amendments not requiring
     ommending a specific amount of dis-                        original text by a special order of                  consideration in the Committee of the
     cretionary budget authority, credit au-                    business;                                            Whole House on the state of the Union
     thority, or other spending authority                                                                            shall be privileged.
                                                                   (C) a conference report; or
     for a contract, loan, loan guarantee,                                                                             3. Except as permitted by clause 1,
                                                                   (D) an amendment between the
     grant, loan authority, or other expend-                                                                         before the stage of disagreement, a
                                                                Houses.
     iture with or to an entity, or targeted                                                                         Senate amendment to a House bill or
     to a specific State, locality or Congres-                  (2) In the case of an amendment
                                                              (other than one specified in subpara-                  resolution shall be subject to the point
     sional district, other than through a                                                                           of order that it must first be consid-
     statutory or administrative formula-                     graph (1)) to a bill or joint resolution,
                                                              the evaluation under paragraph (a)                     ered in the Committee of the Whole
     driven or competitive award process.                                                                            House on the state of the Union if,
       (f) For the purpose of this clause, the                shall give no cognizance to any des-
                                                              ignation of emergency.                                 originating in the House, it would be
     term ‘‘limited tax benefit’’ means—                                                                             subject to such a point under clause 3
          (1) any revenue-losing provision                      (3) If a bill, joint resolution, an
                                                              amendment made in order as original                    of rule XVIII.
       that—                                                                                                           4. When the stage of disagreement
            (A) provides a Federal tax deduc-                 text by a special order of business, a
                                                              conference report, or an amendment                     has been reached on a bill or resolution
          tion, credit, exclusion, or pref-                                                                          with House or Senate amendments, a
          erence to 10 or fewer beneficiaries                 between the Houses includes a provi-
                                                              sion expressly designated as an emer-                  motion to dispose of any amendment
          under the Internal Revenue Code of
                                                              gency for purposes of pay-as-you-go                    shall be privileged.
          1986, and
                                                              principles, the Chair shall put the ques-                5. (a) Managers on the part of the
            (B) contains eligibility criteria                                                                        House may not agree to a Senate
          that are not uniform in application                 tion of consideration with respect
                                                              thereto.                                               amendment described in paragraph (b)
          with respect to potential bene-                                                                            unless specific authority to agree to
          ficiaries of such provision; or                       (d) For the purpose of this clause, the
                                                              terms ‘‘budget year’’ and ‘‘current                    the amendment first is given by the
          (2) any Federal tax provision which                                                                        House by a separate vote with respect
       provides one beneficiary temporary                     year’’ have the meanings specified in
                                                              section 250 of the Balanced Budget and                 thereto. If specific authority is not
       or permanent transition relief from a                                                                         granted, the Senate amendment shall
       change to the Internal Revenue Code                    Emergency Deficit Control Act of 1985,
                                                              and the term ‘‘direct spending’’ has the               be reported in disagreement by the
       of 1986.                                                                                                      conference committee back to the two
       (g) For the purpose of this clause, the                meaning specified in such section 250
                                                              except that such term shall also in-                   Houses for disposition by separate mo-
     term ‘‘limited tariff benefit’’ means a                                                                         tion.
     provision modifying the Harmonized                       clude provisions in appropriations Acts
                                                              that make outyear modifications to                       (b) The managers on the part of the
     Tariff Schedule of the United States in                                                                         House may not agree to a Senate
     a manner that benefits 10 or fewer enti-                 substantive law as described in section
                                                              3(4)(C) of the Statutory Pay-As-You-Go                 amendment described in paragraph (a)
     ties.                                                                                                           that—
       10. (a)(1) Except as provided in para-                 Act of 2010.
                                                                11. It shall not be in order to consider                 (1) would violate clause 2(a)(1) or
     graphs (b) and (c), it shall not be in                                                                            (c) of rule XXI if originating in the
     order to consider any bill, joint resolu-                a bill or joint resolution which has not
                                                              been reported by a committee until the                   House; or
     tion, amendment, or conference report                                                                               (2) proposes an appropriation on a
     if the provisions of such measure af-                    text of such measure has been available
                                                              to Members, Delegates, and the Resi-                     bill other than a general appropria-
     fecting direct spending and revenues                                                                              tion bill.
     have the net effect of increasing the                    dent Commissioner for 72 hours.
                                                                                                                       6. A Senate amendment carrying a
     deficit or reducing the surplus for ei-                    12. (a) It shall not be in order to con-
                                                                                                                     tax or tariff measure in violation of
     ther the period comprising—                              sider a bill or joint resolution pursuant
                                                                                                                     clause 5(a) of rule XXI may not be
          (A) the current fiscal year, the                    to a special order of business reported
                                                                                                                     agreed to.
       budget year, and the four fiscal years                 by the Committee on Rules that has
       following that budget year; or                         not been reported by a committee.                      Conference reports; amendments
          (B) the current fiscal year, the                      (b) Paragraph (a) shall not apply to a               reported in disagreement
       budget year, and the nine fiscal years                 bill or joint resolution—                                7. (a) The presentation of a con-
       following that budget year.                                 (1) continuing appropriations for a               ference report shall be in order at any
       (2) The effect of such measure on the                    fiscal year;                                         time except during a reading of the
     deficit or surplus shall be determined                        (2) containing an emergency des-                  Journal or the conduct of a record
     on the basis of estimates made by the                      ignation under section 251(b)(2) or                  vote, a vote by division, or a quorum
     Committee on the Budget relative to                        section 252(e) of the Balanced Budget                call.
     baseline estimates supplied by the Con-                    and Emergency Deficit Control Act                      (b)(1) Subject to subparagraph (2) the
     gressional Budget Office consistent                        of 1985;                                             time allotted for debate on a motion to
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                                                                         RULES OF THE
     Rule XXII, clause 7                                                                                                                       Rule XXII, clause 10

     instruct managers on the part of the                         (A) the report in disagreement and                 committed to the conference com-
     House shall be equally divided between                     any accompanying statement have                      mittee by either House does not con-
     the majority and minority parties.                         been available to Members, Dele-                     stitute a germane modification of the
       (2) If the proponent of a motion to in-                  gates, and the Resident Commis-                      matter in disagreement. Moreover, a
     struct managers on the part of the                         sioner for 72 hours in the Congres-                  conference report may not include
     House and the Member, Delegate, or                         sional Record or pursuant to clause 3                matter not committed to the con-
     Resident Commissioner of the other                         of rule XXIX; and                                    ference committee by either House and
     party identified under subparagraph (1)                      (B) copies of the report in disagree-              may not include a modification of spe-
     both support the motion, one-third of                      ment and any accompanying state-                     cific matter committed to the con-
     the time for debate thereon shall be al-                   ment, together with the text of the                  ference committee by either or both
     lotted to a Member, Delegate, or Resi-                     Senate amendment, have been avail-                   Houses if that modification is beyond
     dent Commissioner who opposes the                          able to Members, Delegates, and the                  the scope of that specific matter as
     motion on demand of that Member,                           Resident Commissioner for at least                   committed to the conference com-
     Delegate, or Resident Commissioner.                        two hours.                                           mittee.
       (c)(1) A motion to instruct managers                     (2) Subparagraph (1)(A) does not                       10. (a)(1) A Member, Delegate, or
     on the part of the House, or a motion                    apply during the last six days of a ses-               Resident Commissioner may raise a
     to discharge all managers on the part                    sion of Congress.                                      point of order against nongermane
     of the House and to appoint new con-                       (3) During consideration of a Senate                 matter, as specified in subparagraph
     ferees, shall be privileged after a con-                 amendment reported in disagreement                     (2), before the commencement of de-
     ference committee has been appointed                     by a conference committee on a gen-                    bate on—
     for 45 calendar days and 25 legislative                  eral appropriation bill, a motion to in-                    (A) a conference report;
     days without making a report, but only                   sist on disagreement to the Senate                          (B) a motion that the House recede
     on the day after the calendar day on                     amendment shall be preferential to any                   from its disagreement to a Senate
     which the Member, Delegate, or Resi-                     other motion to dispose of that amend-                   amendment reported in disagreement
     dent Commissioner offering the motion                    ment if the original motion offered by                   by a conference committee and con-
     announces to the House intention to do                   the floor manager proposes to change                     cur therein, with or without amend-
     so and the form of the motion.                           existing law and the motion to insist is                 ment; or
       (2) The Speaker may designate a time                   offered before debate on the original                       (C) a motion that the House recede
     in the legislative schedule on that leg-                 motion by the chair of the committee                     from its disagreement to a Senate
     islative day for consideration of a mo-                  having jurisdiction of the subject mat-                  amendment on which the stage of
     tion described in subparagraph (1).                      ter of the amendment or a designee.                      disagreement has been reached and
       (3) During the last six days of a ses-                 Such a preferential motion shall be                      concur therein, with or without
     sion of Congress, a motion under sub-                    separately debatable for one hour                        amendment.
     paragraph (1) shall be privileged after a                equally divided between its proponent                    (2) A point of order against non-
     conference committee has been ap-                        and the proponent of the original mo-                  germane matter is one asserting that a
     pointed for 36 hours without making a                    tion. The previous question shall be                   proposition described in subparagraph
     report and the proponent meets the no-                   considered as ordered on the pref-                     (1) contains specified matter that
     tice requirement in subparagraph (1).                    erential motion to its adoption without                would violate clause 7 of rule XVI if it
       (d) Instructions to conferees in a mo-                 intervening motion.                                    were offered in the House as an amend-
     tion to instruct may not include argu-                     (c) A conference report or a Senate                  ment to the underlying measure in the
     ment.                                                    amendment reported in disagreement                     form it was passed by the House.
       (e) Each conference report to the                      by a conference committee that has                       (b) If a point of order under para-
     House shall be printed as a report of                    been available as provided in paragraph                graph (a) is sustained, a motion that
     the House. Each such report shall be                     (a) or (b) shall be considered as read                 the House reject the nongermane mat-
     accompanied by a joint explanatory                       when called up.                                        ter identified by the point of order
     statement prepared jointly by the man-                     (d)(1) Subject to subparagraph (2), the              shall be privileged. Such a motion is
     agers on the part of the House and the                   time allotted for debate on a con-                     debatable for 40 minutes, one-half in
     managers on the part of the Senate.                      ference report or on a motion to dis-                  favor of the motion and one-half in op-
     The joint explanatory statement shall                    pose of a Senate amendment reported                    position thereto.
     be sufficiently detailed and explicit to                 in disagreement by a conference com-                     (c) After disposition of a point of
     inform the House of the effects of the                   mittee shall be equally divided between                order under paragraph (a) or a motion
     report on the matters committed to                       the majority and minority parties.                     to reject under paragraph (b), any fur-
     conference.                                                (2) If the floor manager for the ma-                 ther points of order under paragraph
       8. (a)(1) Except as specified in sub-                  jority and the floor manager for the                   (a) not covered by a previous point of
     paragraph (2), it shall not be in order                  minority both support the conference                   order, and any consequent motions to
     to consider a conference report until—                   report or motion, one-third of the time                reject under paragraph (b), shall be
         (A) the conference report and the                    for debate thereon shall be allotted to                likewise disposed of.
       accompanying       joint   explanatory                 a Member, Delegate, or Resident Com-                     (d)(1) If a motion to reject under
       statement have been available to                       missioner who opposes the conference                   paragraph (b) is adopted, then after dis-
       Members, Delegates, and the Resi-                      report or motion on demand of that                     position of all points of order under
       dent Commissioner for 72 hours in                      Member, Delegate, or Resident Com-                     paragraph (a) and any consequent mo-
       the Congressional Record or pursuant                   missioner.                                             tions to reject under paragraph (b), the
       to clause 3 of rule XXIX; and                            (e) Under clause 6(a)(2) of rule XIII, a             conference report or motion, as the
         (B) printed or electronic copies of                  resolution proposing only to waive a                   case may be, shall be considered as re-
       the conference report and the accom-                   requirement of this clause concerning                  jected and the matter remaining in dis-
       panying joint explanatory statement                    the availability of reports to Members,                agreement shall be disposed of under
       have been available to Members, Del-                   Delegates, and the Resident Commis-                    subparagraph (2) or (3), as the case may
       egates, and the Resident Commis-                       sioner may be considered by the House                  be.
       sioner for at least two hours.                         on the same day it is reported by the                    (2) After the House has adopted one
       (2) Subparagraph (1)(A) does not                       Committee on Rules.                                    or more motions to reject nongermane
     apply during the last six days of a ses-                   9. Whenever a disagreement to an                     matter contained in a conference re-
     sion of Congress.                                        amendment has been committed to a                      port under the preceding provisions of
       (b)(1) Except as specified in subpara-                 conference committee, the managers                     this clause—
     graph (2), it shall not be in order to                   on the part of the House may propose a                      (A) if the conference report accom-
     consider a motion to dispose of a Sen-                   substitute that is a germane modifica-                   panied a House measure amended by
     ate amendment reported in disagree-                      tion of the matter in disagreement.                      the Senate, the pending question
     ment by a conference committee                           The introduction of any language pre-                    shall be whether the House shall re-
     until—                                                   senting specific additional matter not                   cede and concur in the Senate
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                                                          HOUSE OF REPRESENTATIVES
     Rule XXII, clause 10                                                                                                                      Rule XXIII, clause 9

       amendment with an amendment con-                         the meeting and a reasonable oppor-                      4. A Member, Delegate, Resident
       sisting of so much of the conference                     tunity to attend;                                      Commissioner, officer, or employee
       report as was not rejected; and                            (B) that all provisions on which the                 of the House may not accept gifts ex-
          (B) if the conference report accom-                   two Houses disagree are considered                     cept as provided by clause 5 of rule
       panied a Senate measure amended by                       as open to discussion at any meeting                   XXV.
       the House, the pending question shall                    of a conference committee; and                           5. A Member, Delegate, Resident
       be whether the House shall insist fur-                     (C) that papers reflecting a con-                    Commissioner, officer, or employee
       ther on the House amendment.                             ference agreement are held inviolate                   of the House may not accept an hono-
       (3) After the House has adopted one                      to change without renewal of the op-                   rarium for a speech, a writing for
     or more motions to reject nongermane                       portunity of all managers on the part                  publication, or other similar activ-
     matter contained in a motion that the                      of the House to reconsider their deci-                 ity, except as otherwise provided
     House recede and concur in a Senate                        sions to sign or not to sign the agree-                under rule XXV.
     amendment, with or without amend-                          ment.                                                    6. A Member, Delegate, or Resident
     ment, the following motions shall be                       (4) Managers on the part of the House                  Commissioner—
     privileged and shall have precedence in                  shall be provided a unitary time and                         (a) shall keep the campaign funds
     the order stated:                                        place with access to at least one com-                     of such individual separate from
          (A) A motion that the House recede                  plete copy of the final conference                         the personal funds of such indi-
       and concur in the Senate amendment                     agreement for the purpose of recording                     vidual;
       with an amendment in writing then                      their approval (or not) of the final con-                    (b) may not convert campaign
       available on the floor.                                ference agreement by placing their sig-                    funds to personal use in excess of
          (B) A motion that the House insist                  natures (or not) on the sheets prepared                    an amount representing reimburse-
       on its disagreement to the Senate                      to accompany the conference report                         ment for legitimate and verifiable
       amendment and request a further                        and joint explanatory statement of the                     campaign expenditures; and
       conference with the Senate.                            managers.                                                    (c) except as provided in clause
          (C) A motion that the House insist                    (b) A point of order that a conference                   1(b) of rule XXIV, may not expend
       on its disagreement to the Senate                      committee failed to comply with para-                      funds from a campaign account of
       amendment.                                             graph (a) may be raised immediately                        such individual that are not attrib-
       (e) If, on a division of the question on               after the conference report is read or                     utable to bona fide campaign or po-
     a motion described in paragraph                          considered as read. If such a point of                     litical purposes.
     (a)(1)(B) or (C), the House agrees to re-                order is sustained, the conference re-                     7. A Member, Delegate, or Resident
     cede, then a Member, Delegate, or Resi-                  port shall be considered as rejected, the                Commissioner shall treat as cam-
     dent Commissioner may raise a point                      House shall be considered to have in-                    paign contributions all proceeds from
     of order against nongermane matter, as                   sisted on its amendments or on dis-                      testimonial dinners or other fund-
     specified in paragraph (a)(2), before the                agreement to the Senate amendments,                      raising events.
                                                              as the case may be, and to have re-                        8. (a) A Member, Delegate, Resident
     commencement of debate on concur-
                                                              quested a further conference with the                    Commissioner, or officer of the House
     ring in the Senate amendment, with or
                                                              Senate, and the Speaker may appoint                      may not retain an employee who does
     without amendment. A point of order
                                                              new conferees without intervening mo-                    not perform duties for the offices of
     under this paragraph shall be disposed
                                                              tion.                                                    the employing authority commensu-
     of according to the preceding provi-
                                                                13. It shall not be in order to consider               rate with the compensation such em-
     sions of this clause in the same manner
                                                              a conference report the text of which                    ployee receives.
     as a point of order under paragraph (a).
                                                              differs in any way, other than clerical,                   (b) In the case of a committee em-
       11. It shall not be in order to consider                                                                        ployee who works under the direct
     a conference report to accompany a                       from the text that reflects the action
                                                              of the conferees on all of the dif-                      supervision of a member of the com-
     bill or joint resolution that proposes to                                                                         mittee other than a chair, the chair
     amend the Internal Revenue Code of                       ferences between the two Houses, as re-
                                                              corded by their placement of their sig-                  may require that such member affirm
     1986 unless—                                                                                                      in writing that the employee has
          (a) the joint explanatory statement                 natures (or not) on the sheets prepared
                                                              to accompany the conference report                       complied with clause 8(a) (subject to
       of the managers includes a tax com-                                                                             clause 9 of rule X) as evidence of
       plexity analysis prepared by the                       and joint explanatory statement of the
                                                              managers.                                                compliance by the chair with this
       Joint Committee on Taxation in ac-                                                                              clause and with clause 9 of rule X.
       cordance with section 4022(b) of the                                  RULE XXIII                                  (c)(1) Except as specified in sub-
       Internal Revenue Service Restruc-                              CODE OF OFFICIAL CONDUCT                         paragraph (2)—
       turing and Reform Act of 1998; or                        There is hereby established by and                         (A) a Member, Delegate, or Resi-
          (b) the chair of the Committee on                   for the House the following code of con-                   dent Commissioner may not retain
       Ways and Means causes such a tax                       duct, to be known as the ‘‘Code of Offi-                   the relative of such individual in a
       complexity analysis to be printed in                   cial Conduct’’:                                            paid position; and
       the Congressional Record before con-                       1. A Member, Delegate, Resident                          (B) an employee of the House
       sideration of the conference report.                     Commissioner, officer, or employee                       may not accept compensation for
       12. (a)(1) Subject to subparagraph (2),                  of the House shall behave at all times                   work for a committee on which the
     a meeting of each conference com-                          in a manner that shall reflect                           relative of such employee serves as
     mittee shall be open to the public.                        creditably on the House.                                 a member.
       (2) In open session of the House, a                        2. A Member, Delegate, Resident                        (2) Subparagraph (1) shall not apply
     motion that managers on the part of                        Commissioner, officer, or employee                     in the case of a relative whose perti-
     the House be permitted to close to the                     of the House shall adhere to the spir-                 nent employment predates the One
     public a meeting or meetings of their                      it and the letter of the Rules of the                  Hundred Thirteenth Congress.
     conference committee shall be privi-                       House and to the rules of duly con-                      (3) As used in this paragraph, the
     leged, shall be decided without debate,                    stituted committees thereof.                           term ‘‘relative’’ means an individual
     and shall be decided by the yeas and                         3. A Member, Delegate, Resident                      who is related to the Member, Dele-
     nays.                                                      Commissioner, officer, or employee                     gate, or Resident Commissioner as
       (3) In conducting conferences with                       of the House may not receive com-                      parent, child, sibling, parent’s sib-
     the Senate, managers on the part of                        pensation and may not permit com-                      ling, first cousin, sibling’s child,
     the House should endeavor to ensure—                       pensation to accrue to the beneficial                  spouse, parent-in-law, child-in-law,
          (A) that meetings for the resolu-                     interest of such individual from any                   sibling-in-law, stepparent, stepchild,
       tion of differences between the two                      source, the receipt of which would                     stepsibling, half-sibling, or grand-
       Houses      occur   only    under    cir-                occur by virtue of influence improp-                   child.
       cumstances in which every manager                        erly exerted from the position of such                   9. A Member, Delegate, Resident
       on the part of the House has notice of                   individual in Congress.                                Commissioner, officer, or employee
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                                                                          RULES OF THE
     Rule XXIII, clause 9                                                                                                                      Rule XXIII, clause 16

       of the House may not discharge and                            (b) Paragraph (a) does not apply if                  ducted under air carrier safety
       may not refuse to hire an individual,                       an employee first advises the em-                      rules;
       or otherwise discriminate against an                        ploying authority of such employee                       (2) the aircraft is owned or leased
       individual with respect to compensa-                        of a significant financial interest de-                by a Member, Delegate, Resident
       tion, terms, conditions, or privileges                      scribed in paragraph (a) and obtains                   Commissioner or a family member
       of employment, because of the race,                         from such employing authority a                        of a Member, Delegate, or Resident
       color, religion, sex (including marital                     written waiver stating that the par-                   Commissioner (including an air-
       or parental status), sexual orienta-                        ticipation of the employee in the ac-                  craft owned by an entity that is not
       tion, gender identity, disability, age,                     tivity described in paragraph (a) is                   a public corporation in which the
       or national origin of such individual,                      necessary. A copy of each such waiv-                   Member, Delegate, Resident Com-
       including by committing an act of                           er shall be filed with the Committee                   missioner or a family member of a
       sexual harassment against such indi-                        on Ethics.                                             Member, Delegate, or Resident
       vidual, but may take into consider-                           13. Before a Member, Delegate,                       Commissioner has an ownership in-
       ation the domicile or political affili-                     Resident Commissioner, officer, or                     terest, provided that such Member,
       ation of such individual.                                   employee of the House may have ac-                     Delegate, or Resident Commis-
         10. (a) A Member, Delegate, or Resi-                      cess to classified information, the                    sioner does not use the aircraft any
       dent Commissioner who has been                              following oath (or affirmation) shall                  more than the Member, Delegate,
       convicted by a court of record for the                      be executed:                                           Resident Commissioner, or family
       commission of a crime for which a                               ‘‘I do solemnly swear (or affirm)                  member’s proportionate share of
       sentence of two or more years’ im-                            that I will not disclose any classi-                 ownership allows);
       prisonment may be imposed should                              fied information received in the                       (3) the flight consists of the per-
       refrain from participation in the                             course of my service with the                        sonal use of an aircraft by a Mem-
       business of each committee of which                           House of Representatives, except as                  ber, Delegate, or the Resident Com-
       such individual is a member, and a                            authorized by the House of Rep-                      missioner that is supplied by—
       Member should refrain from voting                             resentatives or in accordance with                        (A) an individual on the basis of
       on any question at a meeting of the                           its Rules.’’                                           personal friendship; or
       House or of the Committee of the                            Copies of the executed oath (or affir-                      (B) another Member, Delegate,
       Whole House on the state of the                             mation) shall be retained as part of                     or the Resident Commissioner;
       Union, unless or until judicial or ex-                      the records of the House, in the case                    (4) the aircraft is operated by an
       ecutive proceedings result in rein-                         of a Member, Delegate, or the Resi-                    entity of the Federal government
       statement of the presumption of the                         dent Commissioner, by the Clerk, and                   or an entity of the government of
       innocence of such Member or until                           in the case of an officer or employee                  any State; or
       the Member is reelected to the House                        of the House, by the Sergeant-at-                        (5) the owner or operator of the
       after the date of such conviction.                          Arms. The Clerk shall make the sig-                    aircraft is paid a pro rata share of
         (b) A Member, Delegate, or Resi-                          natories a matter of public record,                    the fair market value of the normal
       dent Commissioner who has been in-                          causing the names of each Member,                      and usual charter fare or rental
       dicted for or otherwise formally                            Delegate, or Resident Commissioner                     charge for a comparable plane of
       charged with criminal conduct in any                        who has signed the oath during a                       comparable size as determined by
       Federal, State, or local court punish-                      week (if any) to be published in a por-                dividing such cost by the number of
       able as a felony for which a sentence                       tion of the Congressional Record des-                  Members, Delegates, or the Resi-
       of two or more years’ imprisonment                          ignated for that purpose on the last                   dent Commissioner, officers, or em-
       may be imposed should resign from                           legislative day of the week and mak-                   ployees of Congress on the flight.
       any standing, select, joint or ad hoc                       ing cumulative lists of such names                     (c) An advance written request for
       committee, and any subcommittee                             available each day for public inspec-                a waiver of the restriction in para-
       thereof, on which such Member, Dele-                        tion in an appropriate office of the                 graph (a) may be granted jointly by
       gate, or Resident Commissioner                              House.                                               the chair and ranking minority mem-
       serves, and should step aside from                            14. A Member, Delegate, or Resi-                   ber of the Committee on Ethics, sub-
       any party caucus or conference lead-                        dent Commissioner may not, with                      ject to such conditions as they may
       ership position such Member, Dele-                          the intent to influence on the basis of              prescribe.
       gate, or Resident Commissioner                              partisan political affiliation an em-                  (d) In this clause—
       holds, unless or until judicial or exec-                    ployment decision or employment                          (1) the term ‘‘campaign funds’’ in-
       utive proceedings result in acquittal                       practice of any private entity—                        cludes funds of any political com-
       or the charges are dismissed or re-                             (a) take or withhold, or offer or                  mittee under the Federal Election
       duced to less than a felony as de-                            threaten to take or withhold, an of-                 Campaign Act of 1971, without re-
       scribed in this paragraph.                                    ficial act; or                                       gard to whether the committee is
         11. A Member, Delegate, or Resi-                              (b) influence, or offer or threaten                an authorized committee of the
       dent Commissioner may not author-                             to influence, the official act of an-                Member, Delegate, or Resident
       ize or otherwise allow an individual,                         other.                                               Commissioner involved under such
       group, or organization not under the                          15. (a) Except as provided in para-                  Act;
       direction and control of the House to                       graphs (b) and (c), a Member, Dele-                      (2) the term ‘‘family member’’
       use the words ‘‘Congress of the                             gate, or Resident Commissioner may                     means an individual who is related
       United States,’’ ‘‘House of Represen                        not use personal funds, official funds,                to the Member, Delegate, or Resi-
       tatives,’’ or ‘‘Official Business,’’ or                     or campaign funds for a flight on an                   dent Commissioner, as parent,
       any combination of words thereof, on                        aircraft.                                              child, sibling, spouse, or parent-in-
       any letterhead or envelope.                                   (b) Paragraph (a) does not apply                     law; and
         12. (a) Except as provided in para-                       if—                                                      (3) the term ‘‘on the basis of per-
       graph (b), an employee of the House                             (1) the aircraft is operated by an                 sonal friendship’’ has the same
       who is required to file a report under                        air carrier or commercial operator                   meaning as in clause 5 of rule XXV
       rule XXVI may not participate per-                            certificated by the Federal Avia-                    and shall be determined as under
       sonally and substantially as an em-                           tion Administration and the flight                   clause 5(a)(3)(D)(ii) of rule XXV.
       ployee of the House in a contact with                         is required to be conducted under                    16. A Member, Delegate, or Resi-
       an agency of the executive or judicial                        air carrier safety rules, or, in the               dent Commissioner may not condi-
       branches of Government with respect                           case of travel which is abroad, by                 tion the inclusion of language to pro-
       to nonlegislative matters affecting                           an air carrier or commercial oper-                 vide funding for a congressional ear-
       any nongovernmental person in                                 ator certificated by an appropriate                mark, a limited tax benefit, or a lim-
       which the employee has a significant                          foreign civil aviation authority and               ited tariff benefit in any bill or joint
       financial interest.                                           the flight is required to be con-                  resolution (or an accompanying re-
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                                                          HOUSE OF REPRESENTATIVES
     Rule XXIII, clause 16                                                                                                                      Rule XXIV, clause 1

       port) or in any conference report on a                      Resident Commissioner, officer, or                     of the committee that such disclo-
       bill or joint resolution (including an                      employee of the House.                                 sure is in the public interest.
       accompanying        joint   explanatory                        (c) In this clause, the term ‘‘em-                  (c) Nothing in this clause shall pre-
       statement of managers) on any vote                          ployee’’ includes an applicant for em-               vent—
       cast by another Member, Delegate, or                        ployment, a paid or unpaid intern                         (1) an investigation of any allega-
       Resident Commissioner. For purposes                         (including an applicant for an intern-                 tion of wrongdoing disclosed by any
       of this clause and clause 17, the                           ship), a detailee, and an individual                   individual; or
       terms      ‘‘congressional    earmark,’’                    participating in a fellowship pro-                        (2) the public disclosure of sub-
       ‘‘limited tax benefit,’’ and ‘‘limited                      gram.                                                  stantive information shared by any
       tariff benefit’’ shall have the mean-                          19. (a) A Member, Delegate, Resi-                   individual that is not personally
       ings given them in clause 9 of rule                         dent Commissioner, officer, or em-                     identifiable to that individual.
       XXI.                                                        ployee of the House may not serve as                   (d) Disclosures made pursuant to
          17. (a) A Member, Delegate, or Resi-                     an officer or director of any public                 paragraph (b)(3) shall be subject to
       dent Commissioner who requests a                            company.                                             appropriate safeguards, including
       congressional earmark, a limited tax                           (b) In paragraph (a), the term ‘‘pub-             that the individual be provided time-
       benefit, or a limited tariff benefit in                     lic company’’ means an issuer as de-                 ly advance notice if possible before
       any bill or joint resolution (or an ac-                     fined in section 3 of the Securities                 their identity or any personally iden-
       companying report) or in any con-                           Exchange Act of 1934 (15 U.S.C. 78c)—                tifiable information is disclosed prior
       ference report on a bill or joint reso-                          (1) the securities of which are re-             to the vote described in paragraph
       lution (or an accompanying joint                               quired to be registered under sec-                (b)(3), unless such information would
       statement of managers) shall provide                           tion 12 of such Act (15 U.S.C. 78l);              jeopardize the related investigations.
       a written statement to the chair and                           or                                                When providing such notice to the in-
       ranking minority member of the                                   (2) that is required to file reports            dividual the committee chair shall
       committee of jurisdiction, includ-                             under section 15(d) of such Act (15               send the individual a written expla-
       ing—                                                           U.S.C. 78o(d)).                                   nation of the reasons for the disclo-
            (1) the name of the Member, Dele-                         (c) A Member, Delegate, Resident                  sure.
          gate, or Resident Commissioner;                          Commissioner, officer, or employee                     22. (a) In this Code of Official Con-
            (2) in the case of a congressional                     of the House shall comply with regu-                 duct, the term ‘‘officer or employee
          earmark, the name and address of                         lations issued and revised, as nec-                  of the House’’ means an individual
          the intended recipient or, if there is                   essary, by the Committee on Ethics                   whose compensation is disbursed by
          no specifically intended recipient,                      regarding types of prohibited service                the Chief Administrative Officer.
          the intended location of the activ-                      or positions that could lead to con-                   (b) An individual whose services are
          ity;                                                     flicts of interest.                                  compensated by the House pursuant
                                                                      20. A Member, Delegate, Resident                  to a consultant contract shall be con-
            (3) in the case of a limited tax or                    Commissioner, officer, or employee
          tariff benefit, identification of the                                                                         sidered an employee of the House for
                                                                   of the House may not, directly or in-
          individual or entities reasonably                                                                             purposes of clauses 1, 2, 3, 4, 8, 9, and
                                                                   directly, take any actions to prevent
          anticipated to benefit, to the ex-                                                                            13 of this rule. An individual whose
                                                                   any individual from or retaliate
          tent known to the Member, Dele-                                                                               services are compensated by the
                                                                   against any individual for providing
          gate, or Resident Commissioner;                                                                               House pursuant to a consultant con-
                                                                   truthful information to the Com-
            (4) the purpose of such congres-                                                                            tract may not lobby the contracting
                                                                   mittee on Ethics, the Office of Con-
          sional earmark or limited tax or                                                                              committee or the members or staff of
                                                                   gressional Ethics, the Office of Con-
          tariff benefit; and                                                                                           the contracting committee on any
                                                                   gressional Workplace Rights, or any
            (5) a certification that the Mem-                                                                           matter. Such an individual may
                                                                   law enforcement official, provided
          ber, Delegate, or Resident Commis-                       that the disclosure of such informa-                 lobby other Members, Delegates, or
          sioner or spouse has no financial                        tion is not otherwise prohibited by                  the Resident Commissioner or staff
          interest in such congressional ear-                      law or House rules.                                  of the House on matters outside the
          mark or limited tax or tariff ben-                          21. (a) Except as provided in para-               jurisdiction of the contracting com-
          efit.                                                    graphs (b) and (c), a Member, Dele-                  mittee. In the case of such an indi-
          (b) Each committee shall maintain                        gate, Resident Commissioner, officer,                vidual who is a member or employee
       the information transmitted under                           or employee of the House shall not                   of a firm, partnership, or other busi-
       paragraph (a), and the written disclo-                      knowingly and willfully disclose pub-                ness organization, the other members
       sures for any congressional ear-                            licly the identity of, or personally                 and employees of the firm, partner-
       marks, limited tax benefits, or lim-                        identifiable information about, any                  ship, or other business organization
       ited tariff benefits included in any                        individual who has reported allega-                  shall be subject to the same restric-
       measure reported by the committee                           tions of possible wrongdoing, includ-                tions on lobbying that apply to the
       or conference report filed by the                           ing retaliation, under processes and                 individual under this paragraph.
       chair of the committee or any sub-                          protections provided by the Civil                                  RULE XXIV
       committee thereof shall be open for                         Service Reform Act of 1978, the Whis-              LIMITATIONS ON USE OF OFFICIAL FUNDS
       public inspection.                                          tleblower Protection Act of 1989, the
          18. (a) A Member, Delegate, or Resi-                     Intelligence Community Whistle-                    Limitations on use of official and
       dent Commissioner may not engage                            blower Protection Act of 1998, or any              unofficial accounts
       in a sexual relationship with any em-                       other Federal law that establishes                   1. (a) Except as provided in paragraph
       ployee of the House who works under                         the right for individuals to make pro-             (b), a Member, Delegate, or Resident
       the supervision of the Member, Dele-                        tected disclosures to Congress.                    Commissioner may not maintain, or
       gate, or Resident Commissioner, or                             (b) The limitation in paragraph (a)             have maintained for the use of such in-
       who is an employee of a committee                           shall not apply to any disclosure of               dividual, an unofficial office account.
       on which the Member, Delegate, or                           an individual’s identity or personally             Funds may not be paid into an unoffi-
       Resident Commissioner serves. This                          identifiable information if—                       cial office account.
       paragraph does not apply with re-                                (1) the individual has provided ex-             (b)(1) Except as provided in subpara-
       spect to any relationship between                              press written consent prior to such             graph (2), a Member, Delegate, or Resi-
       two people who are married to each                             disclosure;                                     dent Commissioner may defray official
       other.                                                           (2) the individual has already vol-           expenses with funds of the principal
          (b) A Member, Delegate, Resident                            untarily and publicly disclosed                 campaign committee of such individual
       Commissioner, officer, or employee                             their identity; or                              under the Federal Election Campaign
       of the House may not engage in un-                               (3) the disclosure is by the chair            Act of 1971 (2 U.S.C. 431 et seq.).
       welcome sexual advances or conduct                             of a committee after an affirmative               (2) The funds specified in subpara-
       towards another Member, Delegate,                              vote by two-thirds of the members               graph (1) may not be used to defray of-
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                                                                         RULES OF THE
     Rule XXIV, clause 1                                                                                                                        Rule XXV, clause 3

     ficial expenses for mail or other com-                   of mail are deposited singly or in bulk,                 of the official duties of the indi-
     munications, compensation for serv-                      or at the same time or different times),                 vidual.
     ices, office space, office furniture, of-                totaling more than 500 pieces of mail in                 (b) In the case of an individual who
     fice equipment, or any associated in-                    that session, or any other unsolicited                 becomes a Member, Delegate, Resident
     formation technology services (exclud-                   communication of substantially iden-                   Commissioner, officer, or employee of
     ing handheld communications devices).                    tical content which is transmitted to                  the House, such individual may not
       2. Notwithstanding any other provi-                    500 or more persons in that session or,                have outside earned income attrib-
     sion of this rule, if an amount from the                 in the case of a digital communication                 utable to the portion of a calendar year
     Official Expenses Allowance of a Mem-                    of substantially identical content,                    that occurs after such individual be-
     ber, Delegate, or Resident Commis-                       which is disseminated at a cost exceed-                comes a Member, Delegate, Resident
     sioner is paid into the House Recording                  ing a designated amounts provided                      Commissioner, officer, or employee
     Studio     revolving    fund   for    tele-              under regulations of the House Com-                    that exceeds 15 percent of the annual
     communications satellite services, the                   munications Standards Commission,                      rate of basic pay for level II of the Ex-
     Member, Delegate, or Resident Com-                       except that such term does not include                 ecutive Schedule under section 5313 of
     missioner may accept reimbursement                       a mailing—                                             title 5, United States Code, as of Janu-
     from nonpolitical entities in that                           (a) of matter in direct response to a              ary 1 of that calendar year multiplied
     amount for transmission to the Chief                       communication from a person to                       by a fraction, the numerator of which
     Administrative Officer for credit to the                   whom the matter is mailed;                           is the number of days the individual is
     Official Expenses Allowance.                                 (b) from a Member, Delegate, or                    a Member, Delegate, Resident Commis-
       3. In this rule the term ‘‘unofficial of-                Resident Commissioner to other                       sioner, officer, or employee during that
     fice account’’ means an account or re-                     Members, Delegates, the Resident                     calendar year and the denominator of
     pository in which funds are received for                   Commissioner, or Senators, or to                     which is 365.
     the purpose of defraying otherwise un-                     Federal, State, or local government                    (c) A payment in lieu of an hono-
     reimbursed expenses allowable under                        officials; or                                        rarium that is made to a charitable or-
     section 162(a) of the Internal Revenue                       (c) of a news release to the commu-                ganization on behalf of a Member, Del-
     Code of 1986 as ordinary and necessary                     nications media.                                     egate, Resident Commissioner, officer,
     in the operation of a congressional of-                                                                         or employee of the House may not be
                                                              Prohibition on use of funds by
     fice, and includes a newsletter fund re-                                                                        received by that Member, Delegate,
                                                              Members not elected to succeeding
     ferred to in section 527(g) of the Inter-                                                                       Resident Commissioner, officer, or em-
                                                              Congress
     nal Revenue Code of 1986.                                                                                       ployee. Such a payment may not ex-
     Limitations on use of the frank                            10. Funds from the applicable ac-                    ceed $2,000 or be made to a charitable
                                                              counts described in clause 1(k)(1) of                  organization from which the Member,
       4. A Member, Delegate, or Resident                     rule X, including funds from com-                      Delegate, Resident Commissioner, offi-
     Commissioner shall mail franked mail                     mittee expense resolutions, and funds                  cer, or employee or a parent, sibling,
     under section 3210(d) of title 39, United                in any local currencies owned by the                   spouse, child, or dependent relative of
     States Code at the most economical                       United States may not be made avail-                   the Member, Delegate, Resident Com-
     rate of postage practicable.                             able for travel by a Member, Delegate,                 missioner, officer, or employee, derives
       5. Before making a mass mailing, a                     Resident Commissioner, or Senator                      a financial benefit.
     Member, Delegate, or Resident Com-                       after the date of a general election in                  2. A Member, Delegate, Resident
     missioner shall submit a sample or de-                   which such individual was not elected                  Commissioner, officer, or employee of
     scription of the mail matter involved                    to the succeeding Congress or, in the                  the House may not—
     to the House Communications Stand-                       case of a Member, Delegate, or Resi-                       (a)    receive   compensation     for
     ards Commission for an advisory opin-                    dent Commissioner who is not a can-                      affiliating with or being employed by
     ion as to whether the proposed mailing                   didate in a general election, after the                  a firm, partnership, association, cor-
     is in compliance with applicable provi-                  earlier of the date of such general elec-                poration, or other entity that pro-
     sions of law, rule, or regulation.                       tion or the adjournment sine die of the                  vides professional services involving
       6. A mass mailing that is otherwise                    last regular session of the Congress.                    a fiduciary relationship except for
     frankable by a Member, Delegate, or                                                                               the practice of medicine;
     Resident Commissioner under the pro-                                        RULE XXV
                                                                                                                         (b) permit the name of such indi-
     visions of section 3210(e) of title 39,                        LIMITATIONS ON OUTSIDE EARNED                      vidual to be used by such a firm,
     United States Code, is not frankable                          INCOME AND ACCEPTANCE OF GIFTS                      partnership, association, corporation,
     unless the cost of preparing and print-                                                                           or other entity;
     ing it is defrayed exclusively from                      Outside earned income; honoraria
                                                                                                                         (c) receive compensation for prac-
     funds made available in an appropria-                      1. (a) Except as provided by para-
                                                                                                                       ticing a profession that involves a fi-
     tion Act.                                                graph (b), a Member, Delegate, Resi-
                                                                                                                       duciary relationship except for the
       7. A Member, Delegate, or Resident                     dent Commissioner, officer, or em-
                                                                                                                       practice of medicine;
     Commissioner may not send a mass                         ployee of the House may not—                               (d) serve for compensation as an of-
     mailing outside the congressional dis-                       (1) have outside earned income at-                   ficer or member of the board of an as-
     trict from which elected.                                  tributable to a calendar year that ex-                 sociation, corporation, or other enti-
       8. In the case of a Member, Delegate,                    ceeds 15 percent of the annual rate of                 ty; or
     or Resident Commissioner, a mass                           basic pay for level II of the Executive                  (e) receive compensation for teach-
     mailing is not frankable under section                     Schedule under section 5313 of title 5,                ing, without the prior notification
     3210 of title 39, United States Code,                      United States Code, as of January 1                    and approval of the Committee on
     when it is postmarked less than 90 days                    of that calendar year; or                              Ethics.
     before the date of a primary or general                      (2) receive any honorarium, except
     election (whether regular, special, or                     that an officer or employee of the                   Copyright royalties
     runoff) in which such individual is a                      House who is paid at a rate less than                  3. (a) A Member, Delegate, Resident
     candidate for public office. If the mail                   120 percent of the minimum rate of                   Commissioner, officer, or employee of
     matter is of a type that is not custom-                    basic pay for GS–15 of the General                   the House may not receive an advance
     arily postmarked, the date on which it                     Schedule may receive an honorarium                   payment on copyright royalties. This
     would have been postmarked, if it were                     unless the subject matter is directly                paragraph does not prohibit a literary
     of a type customarily postmarked, ap-                      related to the official duties of the                agent, researcher, or other individual
     plies.                                                     individual, the payment is made be-                  (other than an individual employed by
       9. In this rule the term ‘‘mass mail-                    cause of the status of the individual                the House or a relative of a Member,
     ing’’ means, with respect to a session                     with the House, or the person offer-                 Delegate, Resident Commissioner, offi-
     of Congress, a mailing of newsletters or                   ing the honorarium has interests                     cer, or employee) working on behalf of
     other pieces of mail with substantially                    that may be substantially affected by                a Member, Delegate, Resident Commis-
     identical content (whether such pieces                     the performance or nonperformance                    sioner, officer, or employee with re-
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                                                          HOUSE OF REPRESENTATIVES
     Rule XXV, clause 3                                                                                                                         Rule XXV, clause 5

     spect to a publication from receiving                         (A) the salary of a Member, Dele-                 required by this subdivision, but a
     an advance payment of a copyright                          gate, Resident Commissioner, officer,                Member, Delegate, Resident Commis-
     royalty directly from a publisher and                      or employee;                                         sioner, officer, or employee of the
     solely for the benefit of that literary                       (B) any compensation derived by a                 House shall make a good faith effort to
     agent, researcher, or other individual.                    Member, Delegate, Resident Commis-                   comply with this subdivision.
       (b) A Member, Delegate, Resident                         sioner, officer, or employee of the                    (ii) A gift of a ticket to a sporting or
     Commissioner, officer, or employee of                      House for personal services actually                 entertainment event shall be valued at
     the House may not receive copyright                        rendered before the adoption of this                 the face value of the ticket or, in the
     royalties under a contract entered into                    rule or before such individual became                case of a ticket without a face value, at
     on or after January 1, 1996, unless that                   a Member, Delegate, Resident Com-                    the highest cost of a ticket with a face
     contract is first approved by the Com-                     missioner, officer, or employee;                     value for the event. The price printed
     mittee on Ethics as complying with the                        (C) any amount paid by, or on be-                 on a ticket to an event shall be deemed
     requirement of clause 4(d)(1)(E) (that                     half of, a Member, Delegate, Resident                its face value only if it also is the price
     royalties are received from an estab-                      Commissioner, officer, or employee                   at which the issuer offers that ticket
     lished publisher under usual and cus-                      of the House to a tax-qualified pen-                 for sale to the public.
     tomary contractual terms).                                 sion, profit-sharing, or stock bonus                   (2)(A) In this clause the term ‘‘gift’’
     Definitions                                                plan and received by such individual                 means a gratuity, favor, discount, en-
                                                                from such a plan;                                    tertainment, hospitality, loan, forbear-
       4. (a)(1) In this rule, except as pro-                      (D) in the case of a Member, Dele-                ance, or other item having monetary
     vided in subparagraph (2), the term ‘‘of-                  gate, Resident Commissioner, officer,                value. The term includes gifts of serv-
     ficer or employee of the House’’ means                     or employee of the House engaged in                  ices, training, transportation, lodging,
     an individual (other than a Member,                        a trade or business in which such in-                and meals, whether provided in kind,
     Delegate, or Resident Commissioner)                        dividual or the family of such indi-                 by purchase of a ticket, payment in ad-
     whose pay is disbursed by the Chief Ad-                    vidual holds a controlling interest                  vance, or reimbursement after the ex-
     ministrative Officer, who is paid at a                     and in which both personal services                  pense has been incurred.
     rate equal to or greater than 120 per-                     and capital are income-producing                       (B)(i) A gift to a family member of a
     cent of the minimum rate of basic pay                      factors, any amount received by the                  Member, Delegate, Resident Commis-
     for GS–15 of the General Schedule, and                     Member, Delegate, Resident Commis-                   sioner, officer, or employee of the
     who is so employed for more than 90                        sioner, officer, or employee, so long                House, or a gift to any other individual
     days in a calendar year.                                   as the personal services actually ren-               based on that individual’s relationship
       (2)(A) When used with respect to an                      dered by such individual in the trade                with the Member, Delegate, Resident
     honorarium, the term ‘‘officer or em-                      or business do not generate a signifi-               Commissioner, officer, or employee,
     ployee of the House’’ means an indi-                       cant amount of income; or                            shall be considered a gift to the Mem-
     vidual (other than a Member, Delegate,                        (E) copyright royalties received                  ber, Delegate, Resident Commissioner,
     or Resident Commissioner) whose sal-                       from established publishers under                    officer, or employee if it is given with
     ary is disbursed by the Chief Adminis-                     usual and customary contractual                      the knowledge and acquiescence of the
     trative Officer.                                           terms; and                                           Member, Delegate, Resident Commis-
       (B) When used in clause 5 of this rule,                  (2) outside earned income shall be de-               sioner, officer, or employee and the
     the terms ‘‘officer’’ and ‘‘employee’’                   termined without regard to community                   Member, Delegate, Resident Commis-
     have the same meanings as in rule                        property law.                                          sioner, officer, or employee has reason
     XXIII.                                                     (e) In this rule the term ‘‘charitable               to believe the gift was given because of
       (b) In this rule the term ‘‘hono-                      organization’’ means an organization                   the official position of such individual.
     rarium’’ means a payment of money or                     described in section 170(c) of the Inter-                (ii) If food or refreshment is provided
     a thing of value for an appearance,                      nal Revenue Code of 1986.                              at the same time and place to both a
     speech, or article (including a series of                                                                       Member, Delegate, Resident Commis-
     appearances, speeches, or articles) by a                 Gifts                                                  sioner, officer, or employee of the
     Member, Delegate, Resident Commis-                         5. (a)(1)(A)(i) A Member, Delegate,                  House and the spouse or dependent
     sioner, officer, or employee of the                      Resident Commissioner, officer, or em-                 thereof, only the food or refreshment
     House, excluding any actual and nec-                     ployee of the House may not knowingly                  provided to the Member, Delegate,
     essary travel expenses incurred by that                  accept a gift except as provided in this               Resident Commissioner, officer, or em-
     Member, Delegate, Resident Commis-                       clause.                                                ployee shall be treated as a gift for pur-
     sioner, officer, or employee (and one                      (ii) A Member, Delegate, Resident                    poses of this clause.
     relative) to the extent that such ex-                    Commissioner, officer, or employee of                    (3) The restrictions in subparagraph
     penses are paid or reimbursed by any                     the House may not knowingly accept a                   (1) do not apply to the following:
     other person. The amount otherwise                       gift from a registered lobbyist or agent                    (A) Anything for which the Mem-
     determined shall be reduced by the                       of a foreign principal or from a private                 ber, Delegate, Resident Commis-
     amount of any such expenses to the ex-                   entity that retains or employs reg-                      sioner, officer, or employee of the
     tent that such expenses are not so paid                  istered lobbyists or agents of a foreign                 House pays the market value, or does
     or reimbursed.                                           principal except as provided in sub-                     not use and promptly returns to the
       (c) In this rule the term ‘‘travel ex-                 paragraph (3) of this paragraph.                         donor.
     penses’’ means, with respect to a Mem-                     (B)(i) A Member, Delegate, Resident                       (B) A contribution, as defined in
     ber, Delegate, Resident Commissioner,                    Commissioner, officer, or employee of                    section 301(8) of the Federal Election
     officer, or employee of the House, or a                  the House may accept a gift (other                       Campaign Act of 1971 (2 U.S.C. 431)
     relative of such Member, Delegate,                       than cash or cash equivalent) not pro-                   that is lawfully made under that Act,
     Resident Commissioner, officer, or em-                   hibited by subdivision (A)(ii) that the                  a lawful contribution for election to
     ployee, the cost of transportation, and                  Member, Delegate, Resident Commis-                       a State or local government office, or
     the cost of lodging and meals while                      sioner, officer, or employee reasonably                  attendance at a fundraising event
     away from the residence or principal                     and in good faith believes to have a                     sponsored by a political organization
     place of employment of such indi-                        value of less than $50 and a cumulative                  described in section 527(e) of the In-
     vidual.                                                  value from one source during a cal-                      ternal Revenue Code of 1986.
       (d)(1) In this rule the term ‘‘outside                 endar year of less than $100. A gift hav-                   (C) A gift from a relative as de-
     earned income’’ means, with respect to                   ing a value of less than $10 does not                    scribed in section 109(16) of title I of
     a Member, Delegate, Resident Commis-                     count toward the $100 annual limit.                      the Ethics in Government Act of 1978
     sioner, officer, or employee of the                      The value of perishable food sent to an                  (5 U.S.C. App. 109(16)).
     House, wages, salaries, fees, and other                  office shall be allocated among the in-                     (D)(i) Anything provided by an in-
     amounts received or to be received as                    dividual recipients and not to the                       dividual on the basis of a personal
     compensation for personal services ac-                   Member, Delegate, or Resident Com-                       friendship unless the Member, Dele-
     tually rendered, but does not include —                  missioner. Formal recordkeeping is not                   gate, Resident Commissioner, officer,
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     Rule XXV, clause 5                                                                                                                          Rule XXV, clause 5

       or employee of the House has reason                           (I) Informational materials that                        (vi) in the form of reduced mem-
       to believe that, under the cir-                             are sent to the office of the Member,                  bership or other fees for participa-
       cumstances, the gift was provided be-                       Delegate, Resident Commissioner, of-                   tion in organization activities of-
       cause of the official position of such                      ficer, or employee of the House in the                 fered to all Government employees
       individual and not because of the per-                      form of books, articles, periodicals,                  by professional organizations if the
       sonal friendship.                                           other written materials, audiotapes,                   only restrictions on membership
         (ii) In determining whether a gift is                     videotapes, or other forms of commu-                   relate to professional qualifica-
       provided on the basis of personal                           nication.                                              tions.
       friendship, the Member, Delegate,                             (J) Awards or prizes that are given                  (S) A plaque, trophy, or other item
       Resident Commissioner, officer, or                          to competitors in contests or events                 that is substantially commemorative
       employee of the House shall consider                        open to the public, including random                 in nature and that is intended for
       the circumstances under which the                           drawings.                                            presentation.
       gift was offered, such as:                                    (K) Honorary degrees (and associ-                    (T) Anything for which, in an un-
            (I) The history of the relationship                    ated travel, food, refreshments, and                 usual case, a waiver is granted by the
         of such individual with the indi-                         entertainment) and other bona fide,                  Committee on Ethics.
         vidual giving the gift, including                         nonmonetary awards presented in                        (U) Food or refreshments of a nomi-
         any previous exchange of gifts be-                        recognition of public service (and as-               nal value offered other than as a part
         tween them.                                               sociated food, refreshments, and en-                 of a meal.
                                                                   tertainment provided in the presen-                    (V) Donations of products from the
            (II) Whether to the actual knowl-                                                                           district or State that the Member,
         edge of such individual the indi-                         tation of such degrees and awards).
                                                                                                                        Delegate, or Resident Commissioner
         vidual who gave the gift personally                         (L) Training (including food and re-
                                                                                                                        represents that are intended pri-
         paid for the gift or sought a tax de-                     freshments furnished to all attendees
                                                                                                                        marily for promotional purposes,
         duction or business reimbursement                         as an integral part of the training) if
                                                                                                                        such as display or free distribution,
         for the gift.                                             such training is in the interest of the
                                                                                                                        and are of minimal value to any sin-
            (III) Whether to the actual                            House.                                               gle recipient.
         knowledge of such individual the                            (M) Bequests, inheritances, and                      (W) An item of nominal value such
         individual who gave the gift also                         other transfers at death.                            as a greeting card, baseball cap, or a
         gave the same or similar gifts to                           (N) An item, the receipt of which is               T-shirt.
         other Members, Delegates, the                             authorized by the Foreign Gifts and                  (4)(A) A Member, Delegate, Resident
         Resident Commissioners, officers,                         Decorations Act, the Mutual Edu-                   Commissioner, officer, or employee of
         or employees of the House.                                cational and Cultural Exchange Act,                the House may accept an offer of free
         (E) Except as provided in paragraph                       or any other statute.                              attendance at a widely attended con-
       (e)(3), a contribution or other pay-                          (O) Anything that is paid for by the             vention,      conference,    symposium,
       ment to a legal expense fund estab-                         Federal Government, by a State or                  forum, panel discussion, dinner, view-
       lished for the benefit of a Member,                         local government, or secured by the                ing, reception, or similar event, pro-
       Delegate, Resident Commissioner, of-                        Government under a Government                      vided by the sponsor of the event, if—
       ficer, or employee of the House that                        contract.                                              (i) the Member, Delegate, Resident
       is otherwise lawfully made in accord-                         (P) A gift of personal hospitality                 Commissioner, officer, or employee
       ance with the restrictions and disclo-                      (as defined in section 109(14) of the                of the House participates in the event
       sure requirements of the Committee                          Ethics in Government Act) of an in-                  as a speaker or a panel participant,
       on Ethics.                                                  dividual other than a registered lob-                by presenting information related to
         (F) A gift from another Member,                           byist or agent of a foreign principal.               Congress or matters before Congress,
       Delegate, Resident Commissioner, of-                          (Q) Free attendance at an event                    or by performing a ceremonial func-
       ficer, or employee of the House or                          permitted under subparagraph (4).                    tion appropriate to the official posi-
       Senate.                                                       (R) Opportunities and benefits that                tion of such individual; or
         (G) Food, refreshments, lodging,                          are—                                                   (ii) attendance at the event is ap-
       transportation, and other benefits—                             (i) available to the public or to a              propriate to the performance of the
            (i) resulting from the outside                           class consisting of all Federal em-                official duties or representative func-
         business or employment activities                           ployees, whether or not restricted                 tion of the Member, Delegate, Resi-
         of the Member, Delegate, Resident                           on the basis of geographic consider-               dent Commissioner, officer, or em-
         Commissioner, officer, or employee                          ation;                                             ployee of the House.
                                                                       (ii) offered to members of a group               (B) A Member, Delegate, Resident
         of the House (or other outside ac-
                                                                     or class in which membership is un-              Commissioner, officer, or employee of
         tivities that are not connected to
                                                                     related to congressional employ-                 the House who attends an event de-
         the duties of such individual as an
                                                                     ment;                                            scribed in subdivision (A) may accept a
         officeholder), or of the spouse of
                                                                                                                      sponsor’s unsolicited offer of free at-
         such individual, if such benefits                             (iii) offered to members of an or-             tendance at the event for an accom-
         have not been offered or enhanced                           ganization, such as an employees’                panying individual.
         because of the official position of                         association or congressional credit                (C) A Member, Delegate, Resident
         such individual and are custom-                             union, in which membership is re-                Commissioner, officer, or employee of
         arily provided to others in similar                         lated to congressional employment                the House, or the spouse or dependent
         circumstances;                                              and similar opportunities are avail-             thereof, may accept a sponsor’s unso-
            (ii) customarily provided by a                           able to large segments of the public             licited offer of free attendance at a
         prospective employer in connection                          through organizations of similar                 charity event, except that reimburse-
         with bona fide employment discus-                           size;                                            ment for transportation and lodging
         sions; or                                                     (iv) offered to a group or class               may not be accepted in connection
            (iii) provided by a political orga-                      that is not defined in a manner                  with the event unless—
         nization described in section 527(e)                        that     specifically  discriminates                 (i) all of the net proceeds of the
         of the Internal Revenue Code of                             among Government employees on                      event are for the benefit of an organi-
         1986 in connection with a fund-                             the basis of branch of Government                  zation described in section 501(c)(3) of
         raising or campaign event spon-                             or type of responsibility, or on a                 the Internal Revenue Code of 1986 and
         sored by such organization.                                 basis that favors those of higher                  exempt from taxation under section
         (H) Pension and other benefits re-                          rank or rate of pay;                               501(a) of such Code;
       sulting from continued participation                            (v) in the form of loans from                      (ii) reimbursement for the trans-
       in an employee welfare and benefits                           banks and other financial institu-                 portation and lodging in connection
       plan maintained by a former em-                               tions on terms generally available                 with the event is paid by such organi-
       ployer.                                                       to the public; or                                  zation; and
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                                                          HOUSE OF REPRESENTATIVES
     Rule XXV, clause 5                                                                                                                         Rule XXV, clause 5

         (iii) the offer of free attendance at                clause (without regard to whether the                    (4) In this paragraph the term ‘‘nec-
       the event is made by such organiza-                    source retains or employs registered                   essary transportation, lodging, and re-
       tion.                                                  lobbyists or agents of a foreign prin-                 lated expenses’’—
       (D) In this paragraph the term ‘‘free                  cipal) if it is, under regulations pre-                    (A) includes reasonable expenses
     attendance’’ may include waiver of all                   scribed by the Committee on Ethics to                    that are necessary for travel for a pe-
     or part of a conference or other fee, the                implement this provision—                                riod not exceeding four days within
     provision of local transportation, or                        (i) directly from an institution of                  the United States or seven days ex-
     the provision of food, refreshments, en-                   higher education within the meaning                    clusive of travel time outside of the
     tertainment, and instructional mate-                       of section 101 of the Higher Edu-                      United States unless approved in ad-
     rials furnished to all attendees as an                     cation Act of 1965; or                                 vance by the Committee on Ethics;
     integral part of the event. The term                         (ii) provided only for attendance at                   (B) is limited to reasonable expend-
     does not include entertainment collat-                     or participation in a one-day event                    itures for transportation, lodging,
     eral to the event, nor does it include                     (exclusive of travel time and an over-                 conference fees and materials, and
     food or refreshments taken other than                      night stay).                                           food and refreshments, including re-
     in a group setting with all or substan-                  Regulations prescribed to implement                      imbursement for necessary transpor-
     tially all other attendees.                              this provision may permit a two-night                    tation, whether or not such transpor-
       (5) A Member, Delegate, Resident                       stay when determined by the com-                         tation occurs within the periods de-
     Commissioner, officer, or employee of                    mittee on a case-by-case basis to be                     scribed in subdivision (A);
     the House may not accept a gift the                      practically required to participate in                     (C) does not include expenditures
     value of which exceeds $250 on the basis                 the one-day event.                                       for recreational activities, nor does it
     of the personal friendship exception in                    (2) Each advance authorization to ac-                  include entertainment other than
     subparagraph (3)(D) unless the Com-                      cept reimbursement shall be signed (in-                  that provided to all attendees as an
     mittee on Ethics issues a written de-                    cluding in electronic form) by the                       integral part of the event, except for
     termination that such exception ap-                      Member, Delegate, Resident Commis-                       activities or entertainment otherwise
     plies. A determination under this sub-                   sioner, or officer of the House under                    permissible under this clause; and
     paragraph is not required for gifts                      whose direct supervision the employee                      (D) may include travel expenses in-
     given on the basis of the family rela-                   works and shall include—                                 curred on behalf of a relative of the
     tionship exception in subparagraph                           (A) the name of the employee;                        Member, Delegate, Resident Commis-
     (3)(C).                                                      (B) the name of the person who will                  sioner, officer, or employee.
       (6) When it is not practicable to re-                    make the reimbursement;                                (5) The Clerk of the House shall make
     turn a tangible item because it is per-                      (C) the time, place, and purpose of                all advance authorizations, certifi-
     ishable, the item may, at the discre-                      the travel; and                                      cations, and disclosures filed pursuant
     tion of the recipient, be given to an ap-                    (D) a determination that the travel                to this paragraph available for public
     propriate charity or destroyed.                            is in connection with the duties of                  inspection as soon as possible after
       (b)(1)(A) A reimbursement (including                     the employee as an officeholder and                  they are received.
     payment in kind) to a Member, Dele-                        would not create the appearance that                   (c)(1)(A) Except as provided in sub-
     gate, Resident Commissioner, officer,                      the employee is using public office                  division (B), a Member, Delegate, Resi-
     or employee of the House for necessary                     for private gain.                                    dent Commissioner, officer, or em-
     transportation, lodging, and related ex-                   (3) Each disclosure made under sub-                  ployee of the House may not accept a
     penses for travel to a meeting, speak-                   paragraph (1)(A) shall be signed (in-                  reimbursement (including payment in
     ing engagement, factfinding trip, or                     cluding in electronic form) by the                     kind) for transportation, lodging, or re-
     similar event in connection with the                     Member, Delegate, Resident Commis-                     lated expenses for a trip on which the
     duties of such individual as an office-                  sioner, or officer (in the case of travel              traveler is accompanied on any seg-
     holder shall be considered as a reim-                    by that Member, Delegate, Resident                     ment by a registered lobbyist or agent
     bursement to the House and not a gift                    Commissioner, or officer) or by the                    of a foreign principal.
     prohibited by this clause when it is                     Member, Delegate, Resident Commis-                       (B) Subdivision (A) does not apply to
     from a private source other than a reg-                  sioner, or officer under whose direct su-              a trip for which the source of reim-
     istered lobbyist or agent of a foreign                   pervision the employee works (in the                   bursement is an institution of higher
     principal or a private entity that re-                   case of travel by an employee) and                     education within the meaning of sec-
     tains or employs registered lobbyists                    shall include—                                         tion 101 of the Higher Education Act of
     or agents of a foreign principal (except                     (A) a good faith estimate of total                 1965.
     as provided in subdivision (C)), if the                    transportation expenses reimbursed                     (2) A Member, Delegate, Resident
     Member, Delegate, Resident Commis-                         or to be reimbursed;                                 Commissioner, officer, or employee of
     sioner, officer, or employee—                                (B) a good faith estimate of total                 the House may not accept a reimburse-
         (i) in the case of an employee, re-                    lodging expenses reimbursed or to be                 ment (including payment in kind) for
       ceives advance authorization, from                       reimbursed;                                          transportation, lodging, or related ex-
       the Member, Delegate, Resident                             (C) a good faith estimate of total                 penses under the exception in para-
       Commissioner, or officer under whose                     meal expenses reimbursed or to be re-                graph (b)(1)(C)(ii) of this clause for a
       direct supervision the employee                          imbursed;                                            trip that is financed in whole or in part
       works, to accept reimbursement; and                        (D) a good faith estimate of the                   by a private entity that retains or em-
         (ii) discloses the expenses reim-                      total of other expenses reimbursed or                ploys registered lobbyists or agents of
       bursed or to be reimbursed and the                       to be reimbursed;                                    a foreign principal unless any involve-
       authorization to the Clerk within 15                       (E) a determination that all such                  ment of a registered lobbyist or agent
       days after the travel is completed.                      expenses are necessary transpor-                     of a foreign principal in the planning,
       (B) For purposes of subdivision (A),                     tation, lodging, and related expenses                organization, request, or arrangement
     events, the activities of which are sub-                   as defined in subparagraph (4);                      of the trip is de minimis under rules
     stantially recreational in nature, are                       (F) a description of meetings and                  prescribed by the Committee on Ethics
     not considered to be in connection with                    events attended; and                                 to implement paragraph (b)(1)(C) of
     the duties of a Member, Delegate, Resi-                      (G) in the case of a reimbursement                 this clause.
     dent Commissioner, officer, or em-                         to a Member, Delegate, Resident                        (3) A Member, Delegate, Resident
     ployee of the House as an officeholder.                    Commissioner, or officer, a deter-                   Commissioner, officer, or employee of
       (C) A reimbursement (including pay-                      mination that the travel was in con-                 the House may not accept a reimburse-
     ment in kind) to a Member, Delegate,                       nection with the duties of such indi-                ment (including payment in kind) for
     Resident Commissioner, officer, or em-                     vidual as an officeholder and would                  transportation, lodging, or related ex-
     ployee of the House for any purpose de-                    not create the appearance that the                   penses for a trip (other than a trip per-
     scribed in subdivision (A) also shall be                   Member, Delegate, Resident Commis-                   mitted under paragraph (b)(1)(C) of this
     considered as a reimbursement to the                       sioner, or officer is using public of-               clause) if such trip is in any part
     House and not a gift prohibited by this                    fice for private gain.                               planned, organized, requested, or ar-
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     Rule XXV, clause 5                                                                                                                        Rule XXVI, clause 1

     ranged by a registered lobbyist or                         ignation, recommendation, or other                   Committee on Ethics shall develop and
     agent of a foreign principal.                              specification of a Member, Delegate,                 revise, as necessary—
       (d) A Member, Delegate, Resident                         Resident Commissioner, officer, or                        (A) guidelines on judging the rea-
     Commissioner, officer, or employee of                      employee of the House (not including                    sonableness of an expense or expendi-
     the House shall, before accepting travel                   a mass mailing or other solicitation                    ture for purposes of this clause, in-
     otherwise permissible under paragraph                      directed to a broad category of per-                    cluding the factors that tend to es-
     (b)(1) of this clause from any private                     sons or entities), other than a chari-                  tablish—
     source—                                                    table contribution permitted by para-                         (i) a connection between a trip
         (1) provide to the Committee on                        graph (f).                                                  and official duties;
       Ethics before such trip a written cer-                      (3) A contribution or other pay-                           (ii) the reasonableness of an
       tification signed (including in elec-                    ment by a registered lobbyist or an                         amount spent by a sponsor;
       tronic form) by the source or (in the                    agent of a foreign principal to a legal                       (iii) a relationship between an
       case of a corporate person) by an offi-                  expense fund established for the ben-                       event and an officially connected
       cer of the source—                                       efit of a Member, Delegate, Resident                        purpose; and
            (A) that the trip will not be fi-                   Commissioner, officer, or employee                            (iv) a direct and immediate re-
         nanced in any part by a registered                     of the House.                                               lationship between a source of
         lobbyist or agent of a foreign prin-                      (4) A financial contribution or ex-                      funding and an event; and
         cipal;                                                 penditure made by a registered lob-                       (B) regulations describing the in-
            (B) that the source either—                         byist or an agent of a foreign prin-                    formation it will require individuals
              (i) does not retain or employ                     cipal relating to a conference, re-                     subject to this clause to submit to
            registered lobbyists or agents of a                 treat, or similar event, sponsored by                   the committee in order to obtain the
            foreign principal; or                               or affiliated with an official congres-                 prior approval of the committee for
              (ii) is an institution of higher                  sional organization, for or on behalf                   any travel covered by this clause, in-
            education within the meaning of                     of Members, Delegates, the Resident                     cluding any required certifications.
            section 101 of the Higher Edu-                      Commissioner, officers, or employees                    (2) In developing and revising guide-
            cation Act of 1965; or                              of the House.                                        lines under subparagraph (1)(A), the
              (iii) certifies that the trip                     (f)(1) A charitable contribution (as                 committee shall take into account the
            meets the requirements specified                  defined in section 170(c) of the Internal              maximum per diem rates for official
            in rules prescribed by the Com-                   Revenue Code of 1986) made by a reg-                   Government travel published annually
            mittee on Ethics to implement                     istered lobbyist or an agent of a foreign              by the General Services Administra-
            paragraph (b)(1)(C)(ii) of this                   principal in lieu of an honorarium to a                tion, the Department of State, and the
            clause and specifically details the               Member, Delegate, Resident Commis-                     Department of Defense.
            extent of any involvement of a                    sioner, officer, or employee of the                    Claims against the Government
            registered lobbyist or agent of a                 House is not considered a gift under                      6. A person may not be an officer or
            foreign principal in the planning,                this clause if it is reported as provided              employee of the House, or continue in
            organization, request, or arrange-                in subparagraph (2).                                   its employment, if acting as an agent
            ment of the trip considered to                      (2) A Member, Delegate, Resident                     for the prosecution of a claim against
            qualify as de minimis under such                  Commissioner, officer, or employee                     the Government or if interested in such
            rules;                                            who designates or recommends a con-                    claim, except as an original claimant
            (C) that the source will not ac-                  tribution to a charitable organization                 or in the proper discharge of official
         cept from another source any funds                   in lieu of an honorarium described in                  duties.
         earmarked directly or indirectly                     subparagraph (1) shall report within 30                   7. A Member, Delegate, or Resident
         for the purpose of financing any as-                 days after such designation or rec-                    Commissioner shall prohibit all staff
         pect of the trip;                                    ommendation to the Clerk—                              employed by that Member, Delegate, or
            (D) that the traveler will not be                      (A) the name and address of the                   Resident Commissioner (including staff
         accompanied on any segment of the                      registered lobbyist who is making                    in personal, committee, and leadership
         trip by a registered lobbyist or                       the contribution in lieu of an hono-                 offices) from making any lobbying con-
         agent of a foreign principal (except                   rarium;                                              tact (as defined in section 3 of the Lob-
         in the case of a trip for which the                       (B) the date and amount of the con-               bying Disclosure Act of 1995) with that
         source of reimbursement is an in-                      tribution; and                                       individual’s spouse if that spouse is a
         stitution of higher education with-                       (C) the name and address of the                   lobbyist under the Lobbying Disclosure
         in the meaning of section 101 of the                   charitable organization designated or                Act of 1995 or is employed or retained
         Higher Education Act of 1965); and                     recommended by the Member, Dele-                     by such a lobbyist for the purpose of
            (E) that (except as permitted in                    gate, or Resident Commissioner.                      influencing legislation.
         paragraph (b)(1)(C) of this clause)                  The Clerk shall make public informa-                      8. During the dates on which the na-
         the trip will not in any part be                     tion received under this subparagraph                  tional political party to which a Mem-
         planned, organized, requested, or                    as soon as possible after it is received.              ber (including a Delegate or Resident
         arranged by a registered lobbyist or                   (g) In this clause—                                  Commissioner) belongs holds its con-
         agent of a foreign principal; and                         (1) the term ‘‘registered lobbyist’’              vention to nominate a candidate for
         (2) after the Committee on Ethics                      means a lobbyist registered under the                the office of President or Vice Presi-
       has promulgated the regulations                          Federal Regulation of Lobbying Act                   dent, the Member may not participate
       mandated in paragraph (i)(1)(B) of                       or any successor statute;                            in an event honoring that Member,
       this clause, obtain the prior approval                      (2) the term ‘‘agent of a foreign                 other than in the capacity as a can-
       of the committee for such trip.                          principal’’ means an agent of a for-                 didate for such office, if such event is
       (e) A gift prohibited by paragraph                       eign principal registered under the                  directly paid for by a registered lob-
     (a)(1) includes the following:                             Foreign Agents Registration Act; and                 byist under the Lobbying Disclosure
         (1) Anything provided by a reg-                           (3) the terms ‘‘officer’’ and ‘‘em-               Act of 1995 or a private entity that re-
       istered lobbyist or an agent of a for-                   ployee’’ have the same meanings as                   tains or employs such a registered lob-
       eign principal to an entity that is                      in rule XXIII.                                       byist.
       maintained or controlled by a Mem-                       (h) All the provisions of this clause
       ber, Delegate, Resident Commis-                        shall be interpreted and enforced solely                               RULE XXVI
       sioner, officer, or employee of the                    by the Committee on Ethics. The Com-                             FINANCIAL DISCLOSURE
       House.                                                 mittee on Ethics is authorized to issue                   1. The Clerk shall send a copy of each
         (2) A charitable contribution (as de-                guidance on any matter contained in                    report filed with the Clerk under title
       fined in section 170(c) of the Internal                this clause.                                           I of the Ethics in Government Act of
       Revenue Code of 1986) made by a reg-                     (i)(1) Not later than 45 days after the              1978 within the seven-day period begin-
       istered lobbyist or an agent of a for-                 date of adoption of this paragraph and                 ning on the date on which the report is
       eign principal on the basis of a des-                  at annual intervals thereafter, the                    filed to the Committee on Ethics.
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                                                          HOUSE OF REPRESENTATIVES
     Rule XXVI, clause 2                                                                                                                       Rule XXIX, clause 4

        2. For the purposes of this rule, the                   3. The disclosure and notification                       (a) the power of the House or the
     provisions of title I of the Ethics in                   under this rule shall be made within 3                   Senate to consider and pass bills or
     Government Act of 1978 shall be consid-                  business days after the commencement                     joint resolutions, without regard to
     ered Rules of the House as they pertain                  of such negotiation or agreement of fu-                  the procedures under clause 1, that
     to Members, Delegates, the Resident                      ture employment or compensation.                         would change the statutory limit on
     Commissioner, officers, and employees                      4. A Member, Delegate, or Resident                     the public debt; or
     of the House.                                            Commissioner, and an officer or em-                        (b) the rights of Members, Dele-
        3. Members of the board of the Office                 ployee to whom this rule applies, shall                  gates, the Resident Commissioner, or
     of Congressional Ethics shall file an-                   recuse themself from any matter in                       committees with respect to the intro-
     nual financial disclosure reports with                   which there is a conflict of interest or                 duction, consideration, and reporting
     the Clerk of the House on or before                      an appearance of a conflict for that                     of such bills or joint resolutions.
     May 15 of each calendar year after any                   Member, Delegate, Resident Commis-                       4. In this rule the term ‘‘statutory
     year in which they perform the duties                    sioner, officer, or employee under this                limit on the public debt’’ means the
     of that position. Such reports shall be                  rule and shall notify the Committee on                 maximum face amount of obligations
     on a form prepared by the Clerk that is                  Ethics of such recusal. A Member, Del-                 issued under authority of chapter 31 of
     substantially similar to form 450 of the                 egate, or Resident Commissioner mak-                   title 31, United States Code, and obli-
     Office of Government Ethics. The Clerk                   ing such recusal shall, upon such                      gations guaranteed as to principal and
     shall send a copy of each such report                    recusal, submit to the Clerk for public                interest by the United States (except
     filed with the Clerk within the seven-                   disclosure the statement of disclosure                 such guaranteed obligations as may be
     day period beginning on the date on                      under clause 1 with respect to which                   held by the Secretary of the Treasury),
     which the report is filed to the Com-                    the recusal was made.                                  as determined under section 3101(b) of
     mittee on Ethics and shall have them                                   RULE XXVIII                              such title after the application of sec-
     printed as a House document and made                                                                            tion 3101(a) of such title, that may be
                                                               STATUTORY LIMIT ON THE PUBLIC DEBT
     available to the public by August 1 of                                                                          outstanding at any one time.
     each year.                                                 1. Upon adoption by the House of a
                                                              concurrent resolution on the budget                                    RULE XXIX
                   RULE XXVII                                 under section 301 or 304 of the Congres-
      DISCLOSURE BY MEMBERS AND STAFF OF                      sional Budget Act of 1974, the Clerk                             GENERAL PROVISIONS
            EMPLOYMENT NEGOTIATIONS                           shall prepare an engrossment of a joint                  1. The provisions of law that con-
        1. A Member, Delegate, or Resident                    resolution suspending the statutory                    stituted the Rules of the House at the
     Commissioner shall not directly nego-                    limit on the public debt in the form                   end of the previous Congress shall gov-
     tiate or have any agreement of future                    prescribed in clause 2. Upon engross-                  ern the House in all cases to which
     employment or compensation unless                        ment of the joint resolution, the vote                 they are applicable, and the rules of
     such Member, Delegate, or Resident                       by which the concurrent resolution on                  parliamentary practice comprised by
     Commissioner, within 3 business days                     the budget was adopted by the House                    Jefferson’s Manual shall govern the
     after the commencement of such nego-                     shall also be considered as a vote on                  House in all cases to which they are ap-
     tiation or agreement of future employ-                   passage of the joint resolution in the                 plicable and in which they are not in-
     ment or compensation, files with the                     House, and the joint resolution shall be               consistent with the Rules and orders of
     Committee on Ethics a statement,                         considered as passed by the House and                  the House.
     which must be signed (including in                       duly certified and examined. The en-                     2. (RESERVED.)
     electronic form) by the Member, Dele-                    grossed copy shall be signed by the                      3. If a measure or matter is publicly
     gate, or Resident Commissioner, re-                      Clerk and transmitted to the Senate                    available at an electronic document re-
     garding such negotiations or agree-                      for further legislative action.                        pository operated by the Clerk, it shall
     ment, including the name of the pri-                       2. The matter after the resolving                    be considered as having been available
     vate entity or entities involved in such                 clause in a joint resolution described in              to Members, Delegates, and the Resi-
     negotiations or agreement, and the                       clause 1 shall be as follows: ‘‘Section                dent Commissioner for purposes of
     date such negotiations or agreement                      3101(b) of title 31, United States Code,               these rules.
     commenced.                                               shall not apply for the period beginning                 4. Authoritative guidance from the
        2. An officer or an employee of the                   on the date of enactment and ending on                 Committee on the Budget concerning
     House earning in excess of 75 percent of                 September 30, llll.’’ with the blank                   the impact of a legislative proposition
     the salary paid to a Member shall no-                    being filled with the budget year for                  on the levels of new budget authority,
     tify the Committee on Ethics that such                   the concurrent resolution.                             outlays, direct spending, new entitle-
     individual is negotiating or has any                       3. Nothing in this rule shall be con-                ment authority and revenues may be
     agreement of future employment or                        strued as limiting or otherwise affect-                provided by the chair of the com-
     compensation.                                            ing—                                                   mittee.

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